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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


IN RE: HAIR RELAXER MARKETING                 MDL No. 3060
SALES PRACTICES AND PRODUCTS
LIABILITY LITIGATION                          Master Docket Case No. 1:23-cv-00818

                                              Honorable Mary M. Rowland



               CONSOLIDATED CLASS ACTION COMPLAINT
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       Plaintiffs Theresa L. Baldwin, Nicole Boyd, Antonia Buchanan, Angela Burton, Temitrius

Burton, Natasha M. Casby, Marcia Dalton, Dollie Dillon, Tori Duncan, MMRenee Edwards,

Alicia Glenn, Ramika Guillory, Cynthia W. Harris, DaShawn Harris-Robinson, Markeia Hines,

Shaquota Jackson, Tiana Lane, Laura Lawes, Sondra Loggins, Cyleisia Longley, Gaudy Martinez,

Hattie McDonald, Tameka M. Meadows, Carolyn A. Provo, Bridgette Quinn, Melanie C. Reid,

Ariel Richardson, Carliss Smith, Cordelia Smith-Pullen, Tabatha Taggart, Trisha A. Vaughn,

Jennifer Wall, Tanica Washington, and Evelyn Williams (“Plaintiffs”), on behalf of themselves

and all others similarly situated, file this Class Action Complaint (“CAC”) against Defendants

L’Oréal USA, Inc., L’Oréal USA Products, Inc. (collectively, “L’Oréal”), SoftSheen-Carson LLC

(“SoftSheen”), Revlon, Inc., Revlon Consumer Products Corporation, Revlon Group Holdings

LLC (collectively, “Revlon”), Godrej SON Holdings, Inc., Strength of Nature, LLC (collectively,

“Strength of Nature”), Dabur International Ltd., Dabur International USA Ltd. (collectively,

“Dabur”), Namaste Laboratories, L.L.C. (“Namaste”), AFAM Concept, Inc. d/b/a JF Labs, Inc.

(“JF Labs”), McBride Research Laboratories, Inc. (“McBride”), Avlon Industries (“Avlon”),

Beauty Bell Enterprises, LLC d/b/a House of Cheatham, Inc., House of Cheatham, LLC

(collectively, “House of Cheatham”), and Luster Products, Inc. (“Luster”) (collectively,

“Defendants”), and in support state the following.

                                 NATURE OF THE ACTION

               This is a class action lawsuit by Plaintiffs, and others similarly situated, who

purchased Hair Straighteners and/or Relaxers manufactured, sold, and distributed by Defendants.

Defendants distribute, market, and sell several over-the-counter hair straightener and/or relaxer

products under their brand names, including but not limited to Dark & Lovely (L’Oréal and

SoftSheen), Optimum (L’Oréal and SoftSheen), Mizani (L’Oréal), Crème of Nature (Revlon),



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Revlon Realistic (Revlon), Motions (Strength of Nature), Just for Me (Strength of Nature), Soft &

Beautiful (Strength of Nature), TCB (Strength of Nature), TCB Naturals (Strength of Nature),

Profectiv Mega Growth (Strength of Nature), African Pride (Strength of Nature), Dream Kids

(Strength of Nature), Dr. Miracle’s (Strength of Nature), ORS Olive Oil (Dabur and Namaste),

Hawaiian Silky (JF Labs), Design Essentials (McBride), Affirm (Avlon), Africa’s Best (House of

Cheatham), Pink Conditioning No-Lye Relaxer (Luster), and Smooth Touch No-Lye Relaxer

(Luster) (collectively, the “Toxic Hair Relaxer Products”).

               Defendants’ Toxic Hair Relaxer Products increase a woman’s risk of uterine and

ovarian cancer, and more than double the risks of these cancers with frequent use. The Toxic Hair

Relaxer Products contain constituent chemicals and active ingredients which include chemicals

that disrupt the endocrine system, alter hormonal balance, cause inflammation, alter immune

response, and cause other toxic responses that both initiate and promote cancer. The Toxic Hair

Relaxer Products, as they are intended to be used, are unsafe, toxic, and carcinogenic. The products

are defective, adulterated, misbranded and dangerous to human health, unfit and unsuitable to be

advertised, marketed, and sold in the United States and lack a proper warning associated with use.

Defendants misrepresented this information and did not disclose it to Plaintiffs, in violation of

state and federal law.

               Plaintiffs’ use of these Toxic Hair Relaxer Products was a direct result of

Defendants’ wrongful marketing practices. Defendants systematically omitted, misrepresented,

and continue to omit and misrepresent the significant health impacts of Toxic Hair Relaxer Product

use, all while targeting women of color and taking advantage of centuries of racial discrimination

and cultural coercion which emphasized—both socially and professionally—the desirability of

maintaining straight hair.



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               Rather than disclosing the risks and warnings to consumers, Defendants exploited

for profit this deep-rooted connection between hair and identity in how they chose to market their

Toxic Hair Relaxer Products. Defendants’ advertising and marketing of their Toxic Hair Relaxer

Products and failure to take reasonable and necessary steps to protect Plaintiffs and the other Class

members from harm, (1) exposed Plaintiffs to brutally toxic products without warning; and (2)

amplified institutionalized systems of discrimination that have minimized the cultural identity and

heritage of women of African descent. Defendants advertised their Toxic Hair Relaxer Products

as, inter alia, “organic,” “safe,” “botanicals,” “natural,” and “ultra nourishing” in newspapers,

magazines, and media predominantly consumed by Black and Brown women. The advertisements,

commercials, and packaging for Defendants’ Toxic Hair Relaxer Products feature almost

exclusively women of color with smooth hair texture.

               Indeed, Defendants purposely targeted children to increase sales and ensure

generations of dedicated consumers—all while having knowledge that the Toxic Hair Relaxer

Products they designed, manufactured, advertised, and sold were carcinogenic.

               Plaintiffs and the other proposed Class members suffered economic damages due

to Defendants’ misconduct (as set forth below), in that they paid more for the Toxic Hair Relaxer

Products than they would have paid had they known about the toxic, unsafe, adulterated nature of

the products and the attendant risks that the products presented to their personal health or in that

they would not have purchased the Toxic Hair Relaxer Products at all had they been informed of

the toxic nature of the products and the risks to their personal health.

               Medical Monitoring Plaintiffs and the Medical Monitoring Class members (defined

below) were further damaged in that they are at a significantly increased risk of developing uterine

and ovarian cancer due to their frequent exposure to the Toxic Hair Relaxer Products. As a result,



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they have a present need to incur the cost of medical monitoring to facilitate the early detection

and treatment of those serious and potentially fatal cancers.

                Plaintiffs, on their own behalf and on behalf of the other proposed Class members,

seek: (1) actual damages for their economic losses from their purchases of Toxic Hair Relaxer

Products; (2) the establishment and funding of a medical monitoring program to pay their current

and future medical monitoring expenses or, in the alternative, the costs of that medical monitoring;

(3) statutory damages; (4) exemplary and/or punitive damages; (5) injunctive and declaratory

relief; (6) pre-and post-judgment interest; (7) attorneys’ fees and costs; and (8) such other relief

that this Court may deem appropriate.

                Plaintiffs allege the following based upon personal knowledge as well as

investigation by counsel, and as to all other matters, upon information and belief. Plaintiffs further

believe that substantial evidentiary support will exist for the allegations set forth herein after a

reasonable opportunity for discovery.

                                  JURISDICTION AND VENUE

                This Court has original jurisdiction pursuant to 28 U.S.C. §1332(d)(2)(A) and/or

(C). The matter in controversy, exclusive of interest and costs, exceeds the sum or value of

$5,000,000 and is a class action in which there are in excess of 100 class members and at least one

Plaintiff is a citizen of a state different from any Defendant’s state of residence, and/or at least one

Plaintiff is a citizen of a U.S. state and at least one Defendant is a citizen of a foreign state.

                This Court has jurisdiction over each Defendant because Defendants are authorized

to conduct and do business in Illinois. Defendants have marketed, promoted, distributed, and sold

toxic hair relaxer products, including the Toxic Hair Relaxer Products identified below, in Illinois

and Defendants have sufficient minimum contacts with this State and/or have sufficiently availed



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themselves of the markets in this State through promotion, sales, distribution, and marketing within

this State to render the exercise of jurisdiction by this Court permissible.

                Venue is proper in this Court pursuant to 28 U.S.C. §1391(a) and (b) because a

substantial part of the events or omissions giving rise to the claims herein occurred in this judicial

district. Venue is also proper under 18 U.S.C. §1965(a) because Defendants transact substantial

business in this District.

I.      THE PARTIES

        A.      Plaintiffs

                Plaintiffs are individuals who purchased and used Defendants’ Toxic Hair Relaxer

Products, as described below and infra.

                Plaintiff Theresa L. Baldwin (for the purpose of this paragraph, “Plaintiff”) is and

at all relevant times was a citizen of the State of Illinois and the United States. From approximately

1994 to 2023, Plaintiff paid money for and used one or more of Defendants’ Toxic Hair Relaxer

Products to straighten and/or relax her hair, including Dark & Lovely and Just For Me

manufactured, marketed, distributed, and/or sold by L’Oréal, SoftSheen, and Strength of Nature.

She used these products at least four times per year for at least 29 years. Plaintiff was unaware that

Defendants’ Toxic Hair Relaxer Products were adulterated and unsafe for human use. She

purchased and used Defendants’ Toxic Hair Relaxer Products with the understanding that

Defendants’ product labeling was accurate and that the products were unadulterated, and would

not increase her risk of cancer. Had Plaintiff known that Defendants’ Toxic Hair Relaxer Products

were adulterated, would cause exposure to dangerous toxins and an increased risk of cancer,

Plaintiff would not have purchased or used them. However, Plaintiff would be interested in

purchasing similar hair care products in the future provided that they are not adulterated, and do

not increase the risk of cancer.
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               Plaintiff Nicole Boyd (for the purpose of this paragraph, “Plaintiff”) is and at all

relevant times was a citizen of the State of Florida and the United States. From approximately

1998 to 2011, Plaintiff paid money for and used one or more of Defendants’ Toxic Hair Relaxer

Products to straighten and/or relax her hair, including Dark & Lovely manufactured, marketed,

distributed, and/or sold by L’Oréal and SoftSheen. She used these products at least four times per

year for at least 13 years. Plaintiff was unaware that Defendants’ Toxic Hair Relaxer Products

were adulterated and unsafe for human use. She purchased and used Defendants’ Toxic Hair

Relaxer Products with the understanding that Defendants’ product labeling was accurate and that

the products were unadulterated, and would not increase her risk of cancer. As a direct and

proximate result of Defendants’ deception and tortious conduct and Plaintiff’s exposure to

Defendants’ Toxic Hair Relaxer Products, Plaintiff is at an increased risk of developing uterine

and ovarian cancer and needs medical monitoring. Had Plaintiff known that Defendants’ Toxic

Hair Relaxer Products were adulterated, would cause exposure to dangerous toxins, an increased

risk of cancer, and the need for medical monitoring, Plaintiff would not have purchased or used

them. However, Plaintiff would be interested in purchasing similar hair care products in the future

provided that they are not adulterated, and do not increase the risk of cancer.

               Plaintiff Antonia Buchanan (for the purpose of this paragraph, “Plaintiff”) is and at

all relevant times was a citizen of the State of Florida and the United States. From approximately

1989 to 2017, Plaintiff paid money for and used one or more of Defendants’ Toxic Hair Relaxer

Products to straighten and/or relax her hair, including Optimum, Crème of Nature, TCB, ORS

Olive Oil, African Pride, Motions, and Hawaiian Silky manufactured, marketed, distributed, and/or

sold by L’Oréal, SoftSheen, Revlon, Dabur, Namaste, Strength of Nature, and JF Labs. She used

these products at least four times per year for at least 28 years. Plaintiff was unaware that



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Defendants’ Toxic Hair Relaxer Products were adulterated and unsafe for human use. She

purchased and used Defendants’ Toxic Hair Relaxer Products with the understanding that

Defendants’ product labeling was accurate and that the products were unadulterated, and would

not increase her risk of cancer. Had Plaintiff known that Defendants’ Toxic Hair Relaxer Products

were adulterated, would cause exposure to dangerous toxins and an increased risk of cancer,

Plaintiff would not have purchased or used them. However, Plaintiff would be interested in

purchasing similar hair care products in the future provided that they are not adulterated, and do

not increase the risk of cancer.

               Plaintiff Angela Burton (for the purpose of this paragraph, “Plaintiff”) is and at all

relevant times was a citizen of the State of Michigan and the United States. From approximately

1985 to 2023, Plaintiff paid money for and used one or more of Defendants’ Toxic Hair Relaxer

Products to straighten and/or relax her hair, including Dark & Lovely and Pink manufactured,

marketed, distributed, and/or sold by L’Oréal, SoftSheen, and Luster. She used these products at

least four times per year for at least 38 years. Plaintiff was unaware that Defendants’ Toxic Hair

Relaxer Products were adulterated and unsafe for human use. She purchased and used Defendants’

Toxic Hair Relaxer Products with the understanding that Defendants’ product labeling was

accurate and that the products were unadulterated, and would not increase her risk of cancer. Had

Plaintiff known that Defendants’ Toxic Hair Relaxer Products were adulterated, would cause

exposure to dangerous toxins and an increased risk of cancer, Plaintiff would not have purchased

or used them. However, Plaintiff would be interested in purchasing similar hair care products in

the future provided that they are not adulterated, and do not increase the risk of cancer.

               Plaintiff Temitrius Burton (for the purpose of this paragraph, “Plaintiff”) is and at

all relevant times was a citizen of the State of Florida and the United States. From approximately



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1990 to 2019, Plaintiff paid money for and used one or more of Defendants’ Toxic Hair Relaxer

Products to straighten and/or relax her hair, including Dark & Lovely, Just For Me, ORS Olive

Oil, African Pride, Crème of Nature, Optimum, Motions, Soft & Beautiful, TCB, Design

Essentials, and Mizani manufactured, marketed, distributed, and/or sold by L’Oréal, SoftSheen,

Strength of Nature, Dabur, Namaste, McBride, and Revlon. She used these products at least four

times per year for at least 29 years. Plaintiff was unaware that Defendants’ Toxic Hair Relaxer

Products were adulterated and unsafe for human use. She purchased and used Defendants’ Toxic

Hair Relaxer Products with the understanding that Defendants’ product labeling was accurate and

that the products were unadulterated, and would not increase her risk of cancer. As a direct and

proximate result of Defendants’ deception and tortious conduct, and Plaintiff’s exposure to

Defendants’ Toxic Hair Relaxer Products, Plaintiff is at an increased risk of developing uterine

and ovarian cancer and needs medical monitoring. Had Plaintiff known that Defendants’ Toxic

Hair Relaxer Products were adulterated, would cause exposure to dangerous toxins, an increased

risk of cancer, and the need for medical monitoring, Plaintiff would not have purchased or used

them. However, Plaintiff would be interested in purchasing similar hair care products in the future

provided that they are not adulterated, and do not increase the risk of cancer.

               Plaintiff Natasha M. Casby (for the purpose of this paragraph, “Plaintiff”) is and at

all relevant times was a citizen of the United States. Plaintiff is currently a citizen of the State of

Louisiana and has also been at relevant times a citizen of the States of Illinois and Texas. From

approximately 1982 to 2020, Plaintiff paid money for and used one or more of Defendants’ Toxic

Hair Relaxer Products to straighten and/or relax her hair, including Dark & Lovely, TCB, and

Motions manufactured, marketed, distributed, and/or sold by L’Oréal, SoftSheen, and Strength of

Nature. She used these products at least four times per year for at least 38 years. Plaintiff was



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unaware that Defendants’ Toxic Hair Relaxer Products were adulterated and unsafe for human

use. She purchased and used Defendants’ Toxic Hair Relaxer Products with the understanding that

Defendants’ product labeling was accurate and that the products were unadulterated, and would

not increase her risk of cancer. Had Plaintiff known that Defendants’ Toxic Hair Relaxer Products

were adulterated, would cause exposure to dangerous toxins and an increased risk of cancer,

Plaintiff would not have purchased or used them. However, Plaintiff would be interested in

purchasing similar hair care products in the future provided that they are not adulterated, and do

not increase the risk of cancer.

               Plaintiff Marcia Dalton (for the purpose of this paragraph, “Plaintiff”) is and at all

relevant times was a citizen of the State of Illinois and the United States. From approximately 1979

to 2011, Plaintiff paid money for and used one or more of Defendants’ Toxic Hair Relaxer Products

to straighten and/or relax her hair, including Just For Me, Dark & Lovely, Olive Oil, Africa’s Best,

Motions, Optimum, Mizani, and Crème of Nature manufactured, marketed, distributed, and/or sold

by Strength of Nature, Revlon, L’Oréal, SoftSheen, Dabur, and Namaste. She used these products

at least four times per year for at least 32 years. Plaintiff was unaware that Defendants’ Toxic Hair

Relaxer Products were adulterated and unsafe for human use. She purchased and used Defendants’

Toxic Hair Relaxer Products with the understanding that Defendants’ product labeling was

accurate and that the products were unadulterated, and would not increase her risk of cancer. Had

Plaintiff known that Defendants’ Toxic Hair Relaxer Products were adulterated, would cause

exposure to dangerous toxins and an increased risk of cancer, Plaintiff would not have purchased

or used them. However, Plaintiff would be interested in purchasing similar hair care products in

the future provided that they are not adulterated, and do not increase the risk of cancer.




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               Plaintiff Dollie Dillon (for the purpose of this paragraph, “Plaintiff”) is and at all

relevant times was a citizen of the State of Mississippi and the United States. From approximately

1990 to 2018, Plaintiff paid money for and used one or more of Defendants’ Toxic Hair Relaxer

Products to straighten and/or relax her hair, including Crème of Nature, Revlon Professional

Realistic, African Pride, Dark & Lovely, Design Essentials, and ORS Olive Oil manufactured,

marketed, distributed, and/or sold by Revlon, Dabur, and Namaste. She used these products at least

four times per year for at least 28 years. Plaintiff was unaware that Defendants’ Toxic Hair Relaxer

Products were adulterated and unsafe for human use. She purchased and used Defendants’ Toxic

Hair Relaxer Products with the understanding that Defendants’ product labeling was accurate and

that the products were unadulterated, and would not increase her risk of cancer. Had Plaintiff

known that Defendants’ Toxic Hair Relaxer Products were adulterated, would cause exposure to

dangerous toxins and an increased risk of cancer, Plaintiff would not have purchased or used them.

However, Plaintiff would be interested in purchasing similar hair care products in the future

provided that they are not adulterated, and do not increase the risk of cancer.

               Plaintiff Tori Duncan (for the purpose of this paragraph, “Plaintiff”) is and at all

relevant times was a citizen of the State of Colorado and the United States. From approximately

2000 to 2018, Plaintiff paid money for and used one or more of Defendants’ Toxic Hair Relaxer

Products to straighten and/or relax her hair, including Motions and Just For Me manufactured,

marketed, distributed, and/or sold by Strength of Nature. She used these products for at least 18

years. Plaintiff was unaware that Defendants’ Toxic Hair Relaxer Products were adulterated and

unsafe for human use. She purchased and used Defendants’ Toxic Hair Relaxer Products with the

understanding that Defendants’ product labeling was accurate and that the products were

unadulterated, and would not increase her risk of cancer. Had Plaintiff known that Defendants’



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Toxic Hair Relaxer Products were adulterated, would cause exposure to dangerous toxins and an

increased risk of cancer, Plaintiff would not have purchased or used them. However, Plaintiff

would be interested in purchasing similar hair care products in the future provided that they are

not adulterated, and do not increase the risk of cancer.

               Plaintiff MMRenee Edwards (for the purpose of this paragraph, “Plaintiff”) is and

at all relevant times was a citizen of the United States. Plaintiff is currently a citizen of the State

of Tennessee and has also been at relevant times a citizen of the States of Illinois and Mississippi.

From approximately 1973 to 2021, Plaintiff paid money for and used one or more of Defendants’

Toxic Hair Relaxer Products to straighten and/or relax her hair, including Dark & Lovely, Crème

of Nature, African Pride and Revlon Realistic manufactured, marketed, distributed, and/or sold by

L’Oréal, SoftSheen, Strength of Nature, and Revlon. She used these products at least four times

per year for at least 48 years. Plaintiff was unaware that Defendants’ Toxic Hair Relaxer Products

were adulterated and unsafe for human use. She purchased and used Defendants’ Toxic Hair

Relaxer Products with the understanding that Defendants’ product labeling was accurate and that

the products were unadulterated, and would not increase her risk of cancer. Had Plaintiff known

that Defendants’ Toxic Hair Relaxer Products were adulterated, would cause exposure to

dangerous toxins and an increased risk of cancer, Plaintiff would not have purchased or used them.

However, Plaintiff would be interested in purchasing similar hair care products in the future

provided that they are not adulterated, and do not increase the risk of cancer.

               Plaintiff Alicia Glenn (for the purpose of this paragraph, “Plaintiff”) is and at all

relevant times was a citizen of the State of Indiana and the United States. From approximately

1990 to 2010, Plaintiff paid money for and used one or more of Defendants’ Toxic Hair Relaxer

Products to straighten and/or relax her hair, including Dark & Lovely, Just For Me, and Optimum



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manufactured, marketed, distributed, and/or sold by L’Oréal, SoftSheen, and Strength of Nature.

She used these products for at least 20 years. Plaintiff was unaware that Defendants’ Toxic Hair

Relaxer Products were adulterated and unsafe for human use. She purchased and used Defendants’

Toxic Hair Relaxer Products with the understanding that Defendants’ product labeling was

accurate and that the products were unadulterated, and would not increase her risk of cancer. As a

direct and proximate result of Defendants’ deception and tortious conduct and Plaintiff’s exposure

to Defendants’ Toxic Hair Relaxer Products, Plaintiff is at an increased risk of developing uterine

and ovarian cancer and needs medical monitoring. Had Plaintiff known that Defendants’ Toxic

Hair Relaxer Products were adulterated, would cause exposure to dangerous toxins, an increased

risk of cancer, and the need for medical monitoring, Plaintiff would not have purchased or used

them. However, Plaintiff would be interested in purchasing similar hair care products in the future

provided that they are not adulterated, and do not increase the risk of cancer.

               Plaintiff Ramika Guillory (for the purpose of this paragraph, “Plaintiff”) is and at

all relevant times was a citizen of the Commonwealth of Pennsylvania and the United States. From

approximately 1985 to 2023, Plaintiff paid money for and used one or more of Defendants’ Toxic

Hair Relaxer Products to straighten and/or relax her hair, including Mizani, Affirm, Hawaiian

Silky, Design Essentials, Influence, Essations, Revlon, Motions, Optimum, TCB, Dark & Lovely,

and Just For Me manufactured, marketed, distributed, and/or sold by L’Oréal, SoftSheen, Avlon,

JF Labs, McBride, Revlon, and Strength of Nature. She used these products for at least 38 years.

Plaintiff was unaware that Defendants’ Toxic Hair Relaxer Products were adulterated and unsafe

for human use. She purchased and used Defendants’ Toxic Hair Relaxer Products with the

understanding that Defendants’ product labeling was accurate and that the products were

unadulterated, and would not increase her risk of cancer. As a direct and proximate result of



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Defendants’ deception and tortious conduct and Plaintiff’s exposure to Defendants’ Toxic Hair

Relaxer Products, Plaintiff is at an increased risk of developing uterine and ovarian cancer and

needs medical monitoring. Had Plaintiff known that Defendants’ Toxic Hair Relaxer Products

were adulterated, would cause exposure to dangerous toxins, an increased risk of cancer, and the

need for medical monitoring, Plaintiff would not have purchased or used them. However, Plaintiff

would be interested in purchasing similar hair care products in the future provided that they are

not adulterated, and do not increase the risk of cancer.

               Plaintiff Cynthia W. Harris (for the purpose of this paragraph, “Plaintiff”) is and at

all relevant times was a citizen of the State of Alabama and the United States. From approximately

1977 to 2021, Plaintiff paid money for and used one or more of Defendants’ Toxic Hair Relaxer

Products to straighten and/or relax her hair, including Hawaiian Silky, Dark & Lovely, Affirm,

and ORS Olive Oil manufactured, marketed, distributed, and/or sold by L’Oréal, SoftSheen,

Avlon, JF Labs, Dabur, and Namaste. She used these products for at least 44 years. Plaintiff was

unaware that Defendants’ Toxic Hair Relaxer Products were adulterated and unsafe for human

use. She purchased and used Defendants’ Toxic Hair Relaxer Products with the understanding that

Defendants’ product labeling was accurate and that the products were unadulterated, and would

not increase her risk of cancer. As a direct and proximate result of Defendants’ deception and

tortious conduct and Plaintiff’s exposure to Defendants’ Toxic Hair Relaxer Products, Plaintiff is

at an increased risk of developing uterine and ovarian cancer and needs medical monitoring. Had

Plaintiff known that Defendants’ Toxic Hair Relaxer Products were adulterated, would cause

exposure to dangerous toxins, an increased risk of cancer, and the need for medical monitoring

Plaintiff would not have purchased or used them. However, Plaintiff would be interested in




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purchasing similar hair care products in the future provided that they are not adulterated, and do

not increase the risk of cancer.

               Plaintiff DaShawn Harris-Robinson (for the purpose of this paragraph, “Plaintiff”)

is and at all relevant times was a citizen of the State of Florida and the United States. From

approximately 1990 to 2016, Plaintiff paid money for and used one or more of Defendants’ Toxic

Hair Relaxer Products to straighten and/or relax her hair, including Dark & Lovely and Pink Hair

Relaxer manufactured, marketed, distributed, and/or sold by L’Oréal, SoftSheen, and Luster. She

used these products at least four times per year for at least 26 years. Plaintiff was unaware that

Defendants’ Toxic Hair Relaxer Products were adulterated and unsafe for human use. She

purchased and used Defendants’ Toxic Hair Relaxer Products with the understanding that

Defendants’ product labeling was accurate and that the products were unadulterated, and would

not increase her risk of cancer. As a direct and proximate result of Defendants’ deception and

tortious conduct and Plaintiff’s exposure to Defendants’ Toxic Hair Relaxer Products, Plaintiff is

at an increased risk of developing uterine and ovarian cancer and needs medical monitoring. Had

Plaintiff known that Defendants’ Toxic Hair Relaxer Products were adulterated, would cause

exposure to dangerous toxins, an increased risk of cancer, and the need for medical monitoring,

Plaintiff would not have purchased or used them. However, Plaintiff would be interested in

purchasing similar hair care products in the future provided that they are not adulterated, and do

not increase the risk of cancer.

               Plaintiff Markeia Hines (for the purpose of this paragraph, “Plaintiff”) is and at all

relevant times was a citizen of the Commonwealth of Pennsylvania and the United States. From

approximately 1991 to 2023, Plaintiff paid money for and used one or more of Defendants’ Toxic

Hair Relaxer Products to straighten and/or relax her hair, including Optimum, Motions, TCB, Dark



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& Lovely, Soft & Beautiful, Just For Me, ORS Olive Oil, Hawaiian Silky, Crème of Nature, and

African Pride manufactured, marketed, distributed, and/or sold by L’Oréal, SoftSheen, Strength of

Nature, Dabur, Namaste, Revlon, and JF Labs. She used these products at least four times per year

for at least 32 years. Plaintiff was unaware that Defendants’ Toxic Hair Relaxer Products were

adulterated and unsafe for human use. She purchased and used Defendants’ Toxic Hair Relaxer

Products with the understanding that Defendants’ product labeling was accurate and that the

products were unadulterated, and would not increase her risk of cancer. As a direct and proximate

result of Defendants’ deception and tortious conduct and Plaintiff’s exposure to Defendants’ Toxic

Hair Relaxer Products, Plaintiff is at an increased risk of developing uterine and ovarian cancer

and needs medical monitoring. Had Plaintiff known that Defendants’ Toxic Hair Relaxer Products

were adulterated, would cause exposure to dangerous toxins, an increased risk of cancer, and the

need for medical monitoring, Plaintiff would not have purchased or used them. However, Plaintiff

would be interested in purchasing similar hair care products in the future provided that they are

not adulterated, and do not increase the risk of cancer.

               Plaintiff Shaquota Jackson (for the purpose of this paragraph, “Plaintiff”) is and at

all relevant times was a citizen of the State of Florida and the United States. From approximately

1999 to 2017, Plaintiff paid money for and used one or more of Defendants’ Toxic Hair Relaxer

Products to straighten and/or relax her hair, including Just For Me, Dr. Miracle’s, ORS Olive Oil,

and Dark & Lovely manufactured, marketed, distributed, and/or sold by L’Oréal, SoftSheen,

Strength of Nature, Dabur, and Namaste. She used these products at least four times per year for

at least 18 years. Plaintiff was unaware that Defendants’ Toxic Hair Relaxer Products were

adulterated and unsafe for human use. She purchased and used Defendants’ Toxic Hair Relaxer

Products with the understanding that Defendants’ product labeling was accurate and that the



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products were unadulterated, and would not increase her risk of cancer. As a direct and proximate

result of Defendants’ deception and tortious conduct and Plaintiff’s exposure to Defendants’ Toxic

Hair Relaxer Products, Plaintiff is at an increased risk of developing uterine and ovarian cancer

and needs medical monitoring. Had Plaintiff known that Defendants’ Toxic Hair Relaxer Products

were adulterated, would cause exposure to dangerous toxins, an increased risk of cancer, and the

need for medical monitoring, Plaintiff would not have purchased or used them. However, Plaintiff

would be interested in purchasing similar hair care products in the future provided that they are

not adulterated, and do not increase the risk of cancer.

               Plaintiff Tiana Lane (for the purpose of this paragraph, “Plaintiff”) is and at all

relevant times was a citizen of the United States. Plaintiff is currently a citizen of the

Commonwealth of Pennsylvania and has also been at relevant times a citizen of the States of

Illinois, Maryland, and Virginia. From approximately 1989 to 2023, Plaintiff paid money for and

used one or more of Defendants’ Toxic Hair Relaxer Products to straighten and/or relax her hair,

including Crème of Nature, Motions, Optimum, Dark & Lovely, TCB, Just For Me, Hawaiian

Silky, Soft & Beautiful, Dr. Miracles, and Luster’s Pink manufactured, marketed, distributed,

and/or sold by Revlon, Strength of Nature, L’Oréal, SoftSheen, JF Labs, and Luster. She used

these products at least four times per year for at least 34 years. Plaintiff was unaware that

Defendants’ Toxic Hair Relaxer Products were adulterated and unsafe for human use. She

purchased and used Defendants’ Toxic Hair Relaxer Products with the understanding that

Defendants’ product labeling was accurate and that the products were unadulterated, and would

not increase her risk of cancer. As a direct and proximate result of Defendants’ deception and

tortious conduct and Plaintiff’s exposure to Defendants’ Toxic Hair Relaxer Products, Plaintiff is

at an increased risk of developing uterine and ovarian cancer and needs medical monitoring. Had



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Plaintiff known that Defendants’ Toxic Hair Relaxer Products were adulterated, would cause

exposure to dangerous toxins, an increased risk of cancer, and the need for medical monitoring,

Plaintiff would not have purchased or used them. However, Plaintiff would be interested in

purchasing similar hair care products in the future provided that they are not adulterated, and do

not increase the risk of cancer.

               Plaintiff Laura Lawes (for the purpose of this paragraph, “Plaintiff”) is and at all

relevant times was a citizen of the Commonwealth of Pennsylvania and the United States. From

approximately 1997 to 2021, Plaintiff paid money for and used one or more of Defendants’ Toxic

Hair Relaxer Products to straighten and/or relax her hair, including Optimum, Dark & Lovely, Soft

& Beautiful, Just For Me, Olive Oil, and Crème of Nature manufactured, marketed, distributed,

and/or sold by L’Oréal, SoftSheen, Strength of Nature, Dabur, Namaste, and Revlon. She used

these products at least four times per year for at least 24 years. Plaintiff was unaware that

Defendants’ Toxic Hair Relaxer Products were adulterated and unsafe for human use. She

purchased and used Defendants’ Toxic Hair Relaxer Products with the understanding that

Defendants’ product labeling was accurate and that the products were unadulterated, and would

not increase her risk of cancer. Had Plaintiff known that Defendants’ Toxic Hair Relaxer Products

were adulterated, would cause exposure to dangerous toxins and an increased risk of cancer,

Plaintiff would not have purchased or used them. However, Plaintiff would be interested in

purchasing similar hair care products in the future provided that they are not adulterated, and do

not increase the risk of cancer.

               Plaintiff Sondra Loggins (for the purpose of this paragraph, “Plaintiff”) is and at all

relevant times was a citizen of the State of New Jersey and the United States. From approximately

1988 to 2011, Plaintiff paid money for and used one or more of Defendants’ Toxic Hair Relaxer



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Products to straighten and/or relax her hair, including Dark & Lovely, Crème of Nature, African

Pride, Revlon Realistic, Herba Rich, and Optimum manufactured, marketed, distributed, and/or

sold by L’Oréal, SoftSheen, and Revlon. She used these products at least four times per year for

at least 23 years. Plaintiff was unaware that Defendants’ Toxic Hair Relaxer Products were

adulterated and unsafe for human use. She purchased and used Defendants’ Toxic Hair Relaxer

Products with the understanding that Defendants’ product labeling was accurate and that the

products were unadulterated, and would not increase her risk of cancer. Had Plaintiff known that

Defendants’ Toxic Hair Relaxer Products were adulterated, would cause exposure to dangerous

toxins and an increased risk of cancer, Plaintiff would not have purchased or used them. However,

Plaintiff would be interested in purchasing similar hair care products in the future provided that

they are not adulterated, and do not increase the risk of cancer.

               Plaintiff Cyleisia Longley (for the purpose of this paragraph, “Plaintiff”) is and at

all relevant times was a citizen of the State of Florida and the United States. From approximately

1989 to 2021, Plaintiff paid money for and used one or more of Defendants’ Toxic Hair Relaxer

Products to straighten and/or relax her hair, including Africa’s Best, Dark & Lovely, and Just For

Me manufactured, marketed, distributed, and/or sold by L’Oréal, SoftSheen, Strength of Nature,

and House of Cheatham. She used these products at least four times per year for at least 32 years.

Plaintiff was unaware that Defendants’ Toxic Hair Relaxer Products were adulterated and unsafe

for human use. She purchased and used Defendants’ Toxic Hair Relaxer Products with the

understanding that Defendants’ product labeling was accurate and that the products were

unadulterated, and would not increase her risk of cancer. Had Plaintiff known that Defendants’

Toxic Hair Relaxer Products were adulterated, would cause exposure to dangerous toxins and an

increased risk of cancer, Plaintiff would not have purchased or used them. However, Plaintiff



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would be interested in purchasing similar hair care products in the future provided that they are

not adulterated, and do not increase the risk of cancer.

               Plaintiff Gaudy Martinez (for the purpose of this paragraph, “Plaintiff”) is and at

all relevant times was a citizen of the Commonwealth of Pennsylvania and the United States. From

approximately 1980 to 2011, Plaintiff paid money for and used one or more of Defendants’ Toxic

Hair Relaxer Products to straighten and/or relax her hair, including Dark & Lovely, Affirm, Crème

of Nature, African Pride, and Revlon Professional manufactured, marketed, distributed, and/or

sold by L’Oréal, SoftSheen, Avlon, Revlon, and Strength of Nature. She used these products at

least four times per year for at least 31 years. Plaintiff was unaware that Defendants’ Toxic Hair

Relaxer Products were adulterated and unsafe for human use. She purchased and used Defendants’

Toxic Hair Relaxer Products with the understanding that Defendants’ product labeling was

accurate and that the products were unadulterated, and would not increase her risk of cancer. Had

Plaintiff known that Defendants’ Toxic Hair Relaxer Products were adulterated, would cause

exposure to dangerous toxins and an increased risk of cancer, Plaintiff would not have purchased

or used them. However, Plaintiff would be interested in purchasing similar hair care products in

the future provided that they are not adulterated, and do not increase the risk of cancer.

               Plaintiff Hattie McDonald (for the purpose of this paragraph, “Plaintiff”) is and at

all relevant times was a citizen of the State of Florida and the United States. From approximately

the 1970s to 1998, Plaintiff paid money for and used one or more of Defendants’ Toxic Hair

Relaxer Products to straighten and/or relax her hair, including Ultra Sheen, Dark & Lovely, Crème

of Nature, and Just For Me manufactured, marketed, distributed, and/or sold by L’Oréal,

SoftSheen, Revlon, and Strength of Nature. She used these products at least four times per year

for at least 19 years. Plaintiff was unaware that Defendants’ Toxic Hair Relaxer Products were



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adulterated and unsafe for human use. She purchased and used Defendants’ Toxic Hair Relaxer

Products with the understanding that Defendants’ product labeling was accurate and that the

products were unadulterated, and would not increase her risk of cancer. Had Plaintiff known that

Defendants’ Toxic Hair Relaxer Products were adulterated, would cause exposure to dangerous

toxins and an increased risk of cancer, Plaintiff would not have purchased or used them. However,

Plaintiff would be interested in purchasing similar hair care products in the future provided that

they are not adulterated, and do not increase the risk of cancer.

               Plaintiff Tameka M. Meadows (for the purpose of this paragraph, “Plaintiff”) is and

at all relevant times was a citizen of the United States. Plaintiff is currently a citizen of the State

of Nevada and has also been at relevant times a citizen of the State of California. From

approximately 1986 to 2020, Plaintiff paid money for and used one or more of Defendants’ Toxic

Hair Relaxer Products to straighten and/or relax her hair, including Dark & Lovely, Just For Me,

and Crème of Nature manufactured, marketed, distributed, and/or sold by L’Oréal, SoftSheen,

Strength of Nature, and Revlon. She used these products at least four times per year for at least 34

years. Plaintiff was unaware that Defendants’ Toxic Hair Relaxer Products were adulterated and

unsafe for human use. She purchased and used Defendants’ Toxic Hair Relaxer Products with the

understanding that Defendants’ product labeling was accurate and that the products were

unadulterated, and would not increase her risk of cancer. As a direct and proximate result of

Defendants’ deception and tortious conduct and Plaintiff’s exposure to Defendants’ Toxic Hair

Relaxer Products, Plaintiff is at an increased risk of developing uterine and ovarian cancer and

needs medical monitoring. Had Plaintiff known that Defendants’ Toxic Hair Relaxer Products

were adulterated, would cause exposure to dangerous toxins, an increased risk of cancer, and the

need for medical monitoring, Plaintiff would not have purchased or used them. However, Plaintiff



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would be interested in purchasing similar hair care products in the future provided that they are

not adulterated, and do not increase the risk of cancer.

               Plaintiff Carolyn A. Provo (for the purpose of this paragraph, “Plaintiff”) is and at

all relevant times was a citizen of the State of Alabama and the United States. From approximately

1996 to 2018 or 2019, Plaintiff paid money for and used one or more of Defendants’ Toxic Hair

Relaxer Products to straighten and/or relax her hair, including Africa’s Best manufactured,

marketed, distributed, and/or sold by House of Cheatham. She used these products at least four

times per year for at least 22 years. Plaintiff was unaware that Defendants’ Toxic Hair Relaxer

Products were adulterated and unsafe for human use. She purchased and used Defendants’ Toxic

Hair Relaxer Products with the understanding that Defendants’ product labeling was accurate and

that the products were unadulterated, and would not increase her risk of cancer. Had Plaintiff

known that Defendants’ Toxic Hair Relaxer Products were adulterated, would cause exposure to

dangerous toxins and an increased risk of cancer, Plaintiff would not have purchased or used them.

However, Plaintiff would be interested in purchasing similar hair care products in the future

provided that they are not adulterated, and do not increase the risk of cancer.

               Plaintiff Bridgette Quinn (for the purpose of this paragraph, “Plaintiff”) is and at

all relevant times was a citizen of the State of Mississippi and the United States. From

approximately 1985 to 2020, Plaintiff paid money for and used one or more of Defendants’ Toxic

Hair Relaxer Products to straighten and/or relax her hair, including Dark & Lovely and Just For

Me manufactured, marketed, distributed, and/or sold by L’Oréal, SoftSheen, and Strength of

Nature. She used these products at least four times per year for at least 35 years. Plaintiff was

unaware that Defendants’ Toxic Hair Relaxer Products were adulterated and unsafe for human

use. She purchased and used Defendants’ Toxic Hair Relaxer Products with the understanding that



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Defendants’ product labeling was accurate and that the products were unadulterated, and would

not increase her risk of cancer. Had Plaintiff known that Defendants’ Toxic Hair Relaxer Products

were adulterated, would cause exposure to dangerous toxins and an increased risk of cancer,

Plaintiff would not have purchased or used them. However, Plaintiff would be interested in

purchasing similar hair care products in the future provided that they are not adulterated, and do

not increase the risk of cancer.

               Plaintiff Melanie C. Reid (for the purpose of this paragraph, “Plaintiff”) is and at

all relevant times was a citizen of the State of Florida and the United States. From approximately

1985 to 2014, Plaintiff paid money for and used one or more of Defendants’ Toxic Hair Relaxer

Products to straighten and/or relax her hair, including TCB, Motions, Crème of Nature, African

Pride, Design Essentials, and Just For Me manufactured, marketed, distributed, and/or sold by

Strength of Nature, Revlon, and McBride. She used these products at least four times per year for

at least 29 years. Plaintiff was unaware that Defendants’ Toxic Hair Relaxer Products were

adulterated and unsafe for human use. She purchased and used Defendants’ Toxic Hair Relaxer

Products with the understanding that Defendants’ product labeling was accurate and that the

products were unadulterated, and would not increase her risk of cancer. Had Plaintiff known that

Defendants’ Toxic Hair Relaxer Products were adulterated, would cause exposure to dangerous

toxins and an increased risk of cancer, Plaintiff would not have purchased or used them. However,

Plaintiff would be interested in purchasing similar hair care products in the future provided that

they are not adulterated, and do not increase the risk of cancer.

               Plaintiff Ariel Richardson (for the purpose of this paragraph, “Plaintiff”) is and at

all relevant times was a citizen of the United States. Plaintiff is currently a citizen of the State of

Arizona and has also been at relevant times a citizen of the Commonwealth of Pennsylvania. From



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approximately 1999 to 2020, Plaintiff paid money for and used one or more of Defendants’ Toxic

Hair Relaxer Products to straighten and/or relax her hair, including Just For Me, ORS Olive Oil,

and Dark & Lovely manufactured, marketed, distributed, and/or sold by L’Oréal, SoftSheen,

Strength of Nature, Namaste, and Dabur. She used these products at least four times per year for

at least 21 years. Plaintiff was unaware that Defendants’ Toxic Hair Relaxer Products were

adulterated and unsafe for human use. She purchased and used Defendants’ Toxic Hair Relaxer

Products with the understanding that Defendants’ product labeling was accurate and that the

products were unadulterated, and would not increase her risk of cancer. As a direct and proximate

result of Defendants’ deception and tortious conduct and Plaintiff’s exposure to Defendants’ Toxic

Hair Relaxer Products, Plaintiff is at an increased risk of developing uterine and ovarian cancer

and needs medical monitoring. Had Plaintiff known that Defendants’ Toxic Hair Relaxer Products

were adulterated, would cause exposure to dangerous toxins, an increased risk of cancer, and the

need for medical monitoring, Plaintiff would not have purchased or used them. However, Plaintiff

would be interested in purchasing similar hair care products in the future provided that they are

not adulterated, and do not increase the risk of cancer.

               Plaintiff Carliss Smith (for the purpose of this paragraph, “Plaintiff”) is and at all

relevant times was a citizen of the United States. Plaintiff is currently a citizen of the State of

Maryland and has also been at relevant times a citizen of the District of Columbia. From

approximately 1983 to 2017, Plaintiff paid money for and used one or more of Defendants’ Toxic

Hair Relaxer Products to straighten and/or relax her hair, including Crème of Nature, TCB, and

ORS Olive Oil manufactured, marketed, distributed, and/or sold by Revlon, Strength of Nature,

Namaste, and Dabur. She used these products at least four times per year for at least 34 years.

Plaintiff was unaware that Defendants’ Toxic Hair Relaxer Products were adulterated and unsafe



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for human use. She purchased and used Defendants’ Toxic Hair Relaxer Products with the

understanding that Defendants’ product labeling was accurate and that the products were

unadulterated, and would not increase her risk of cancer. As a direct and proximate result of

Defendants’ deception and tortious conduct and Plaintiff’s exposure to Defendants’ Toxic Hair

Relaxer Products, Plaintiff is at an increased risk of developing uterine and ovarian cancer and

needs medical monitoring. Had Plaintiff known that Defendants’ Toxic Hair Relaxer Products

were adulterated, would cause exposure to dangerous toxins, an increased risk of cancer, and the

need for medical monitoring, Plaintiff would not have purchased or used them. However, Plaintiff

would be interested in purchasing similar hair care products in the future provided that they are

not adulterated, and do not increase the risk of cancer.

               Plaintiff Cordelia Smith-Pullen (for the purpose of this paragraph, “Plaintiff”) is

and at all relevant times was a citizen of the State of West Virginia and the United States. From

approximately 2000 to 2020, Plaintiff paid money for and used one or more of Defendants’ Toxic

Hair Relaxer Products to straighten and/or relax her hair, including Dark & Lovely manufactured,

marketed, distributed, and/or sold by L’Oréal and SoftSheen. She used these products for at least

20 years. Plaintiff was unaware that Defendants’ Toxic Hair Relaxer Products were adulterated

and unsafe for human use. She purchased and used Defendants’ Toxic Hair Relaxer Products with

the understanding that Defendants’ product labeling was accurate and that the products were

unadulterated, and would not increase her risk of cancer. Had Plaintiff known that Defendants’

Toxic Hair Relaxer Products were adulterated, would cause exposure to dangerous toxins and an

increased risk of cancer, Plaintiff would not have purchased or used them. However, Plaintiff

would be interested in purchasing similar hair care products in the future provided that they are

not adulterated, and do not increase the risk of cancer.



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               Plaintiff Tabatha Taggart (for the purpose of this paragraph, “Plaintiff”) is and at

all relevant times was a citizen of the State of Illinois and the United States. From approximately

1983 to 2022, Plaintiff paid money for and used one or more of Defendants’ Toxic Hair Relaxer

Products to straighten and/or relax her hair, including Dark & Lovely, Crème of Nature, African

Pride, Fabulaxer, Revlon Professional, Revlon Realistic, Herba Rich, and TCB Hair Relaxer

manufactured, marketed, distributed, and/or sold by L’Oréal, SoftSheen, Revlon, and Strength of

Nature. She used these products at least four times per year for at least 39 years. Plaintiff was

unaware that Defendants’ Toxic Hair Relaxer Products were adulterated and unsafe for human

use. She purchased and used Defendants’ Toxic Hair Relaxer Products with the understanding that

Defendants’ product labeling was accurate and that the products were unadulterated, and would

not increase her risk of cancer. Had Plaintiff known that Defendants’ Toxic Hair Relaxer Products

were adulterated, would cause exposure to dangerous toxins and an increased risk of cancer,

Plaintiff would not have purchased or used them. However, Plaintiff would be interested in

purchasing similar hair care products in the future provided that they are not adulterated, and do

not increase the risk of cancer.

               Plaintiff Trisha A. Vaughn (for the purpose of this paragraph, “Plaintiff”) is and at

all relevant times was a citizen of the State of California and the United States. From approximately

1986 to 2020, Plaintiff paid money for and used one or more of Defendants’ Toxic Hair Relaxer

Products to straighten and/or relax her hair, including Motions, Dark & Lovely, Just For Me,

Crème of Nature, and Design Essentials manufactured, marketed, distributed, and/or sold by

L’Oréal, SoftSheen, Strength of Nature, Revlon, and McBride. She used these products at least

four times per year for at least 34 years. Plaintiff was unaware that Defendants’ Toxic Hair Relaxer

Products were adulterated and unsafe for human use. She purchased and used Defendants’ Toxic



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Hair Relaxer Products with the understanding that Defendants’ product labeling was accurate and

that the products were unadulterated, and would not increase her risk of cancer. As a direct and

proximate result of Defendants’ deception and tortious conduct and Plaintiff’s exposure to

Defendants’ Toxic Hair Relaxer Products, Plaintiff is at an increased risk of developing uterine

and ovarian cancer and needs medical monitoring. Had Plaintiff known that Defendants’ Toxic

Hair Relaxer Products were adulterated, would cause exposure to dangerous toxins, an increased

risk of cancer, and the need for medical monitoring, Plaintiff would not have purchased or used

them. However, Plaintiff would be interested in purchasing similar hair care products in the future

provided that they are not adulterated, and do not increase the risk of cancer.

               Plaintiff Jennifer Wall (for the purpose of this paragraph, “Plaintiff”) is and at all

relevant times was a citizen of the State of Missouri and the United States. From approximately

1999 to 2005, Plaintiff paid money for and used one or more of Defendants’ Toxic Hair Relaxer

Products to straighten and/or relax her hair, including Dark & Lovely, Revlon Professional, and

Herba Rich manufactured, marketed, distributed, and/or sold by L’Oréal, SoftSheen, and Revlon.

She used these products at least four times per year for at least 6 years. Plaintiff was unaware that

Defendants’ Toxic Hair Relaxer Products were adulterated and unsafe for human use. She

purchased and used Defendants’ Toxic Hair Relaxer Products with the understanding that

Defendants’ product labeling was accurate and that the products were unadulterated, and would

not increase her risk of cancer. Had Plaintiff known that Defendants’ Toxic Hair Relaxer Products

were adulterated, would cause exposure to dangerous toxins and an increased risk of cancer,

Plaintiff would not have purchased or used them. However, Plaintiff would be interested in

purchasing similar hair care products in the future provided that they are not adulterated, and do

not increase the risk of cancer.



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               Plaintiff Tanica Washington (for the purpose of this paragraph, “Plaintiff”) is and

at all relevant times was a citizen of the United States. Plaintiff is currently a citizen of the State

of Arizona and has also been at relevant times a citizen of the State of Iowa. From approximately

1985 to 2023, Plaintiff paid money for and used one or more of Defendants’ Toxic Hair Relaxer

Products to straighten and/or relax her hair, including Lusters and ORS Olive Oil among others

manufactured, marketed, distributed, and/or sold by Dabur, Namaste, and Luster. She used these

products at least four times per year for at least 38 years. Plaintiff was unaware that Defendants’

Toxic Hair Relaxer Products were adulterated and unsafe for human use. She purchased and used

Defendants’ Toxic Hair Relaxer Products with the understanding that Defendants’ product labeling

was accurate and that the products were unadulterated, and would not increase her risk of cancer.

As a direct and proximate result of Defendants’ deception and tortious conduct and Plaintiff’s

exposure to Defendants’ Toxic Hair Relaxer Products, Plaintiff is at an increased risk of

developing uterine and ovarian cancer and needs medical monitoring. Had Plaintiff known that

Defendants’ Toxic Hair Relaxer Products were adulterated, would cause exposure to dangerous

toxins, an increased risk of cancer, and the need for medical monitoring, Plaintiff would not have

purchased or used them. However, Plaintiff would be interested in purchasing similar hair care

products in the future provided that they are not adulterated, and do not increase the risk of cancer.

               Plaintiff Evelyn Williams (for the purpose of this paragraph, “Plaintiff”) is and at

all relevant times was a citizen of the State of Illinois and the United States. From approximately

1980 to 2023, Plaintiff paid money for and used one or more of Defendants’ Toxic Hair Relaxer

Products to straighten and/or relax her hair, including Dark & Lovely, African Pride, and Optimum

manufactured, marketed, distributed, and/or sold by L’Oréal, SoftSheen, and Strength of Nature.

She used these products at least four times per year for at least 43 years. Plaintiff was unaware that



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Defendants’ Toxic Hair Relaxer Products were adulterated and unsafe for human use. She

purchased and used Defendants’ Toxic Hair Relaxer Products with the understanding that

Defendants’ product labeling was accurate and that the products were unadulterated, and would

not increase her risk of cancer. Had Plaintiff known that Defendants’ Toxic Hair Relaxer Products

were adulterated, would cause exposure to dangerous toxins and an increased risk of cancer,

Plaintiff would not have purchased or used them. However, Plaintiff would be interested in

purchasing similar hair care products in the future provided that they are not adulterated, and do

not increase the risk of cancer.

       B.      Defendants

               Defendant L’Oréal USA, Inc. is a Delaware corporation with its principal place of

business and headquarters located at 575 Fifth Avenue, New York, New York 10017.

               Defendant L’Oréal USA Products, Inc. is a Delaware corporation with its principal

place of business and headquarters located at 10 Hudson Yards 347, 10th Avenue New York, New

York 10001.

               Defendant SoftSheen-Carson, LLC is a limited liability company organized in the

State of New York with its principal place of business and headquarters located at 80 State Street,

Albany, New York 12207. Plaintiffs allege that SoftSheen-Carson, LLC’s sole member and

interested party is L’Oréal S.A., which is a French corporation having its headquarters and

principal place of business in France.

               Defendant Revlon, Inc. is a Delaware corporation, with its principal place of

business and headquarters located at One New York Plaza in New York, New York 10004.

               Defendant Revlon Consumer Products Corporation is a Delaware corporation with

its principal place of business at One New York Plaza in New York, New York 10004.



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               Defendants Revlon Consumer Products Corporation and Revlon, Inc. were each a

debtor in chapter 11 cases currently captioned In re: RML, LLC, filed in the United States

Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”), Case No. 22-

10784 (DSJ). On April 3, 2023, the Bankruptcy Court entered an order confirming a Chapter 11

plan of reorganization (as amended, the “Plan”) with respect to such entities and certain of their

affiliated debtors (collectively, the “Debtors”). On May 2, 2023, the Effective Date (as defined in

the Plan) occurred. Under the Plan, generally, plaintiffs are permitted to commence actions against

the Debtors, with recovery limited to applicable insurance.

               Revlon Group Holdings LLC is a limited liability company organized in Delaware

with its principal place of business in Wilmington, Delaware. Defendant Revlon Group Holdings,

LLC is a newly formed company pursuant to the Plan. For the avoidance of doubt, plaintiffs seek

recovery against Revlon Group Holdings LLC solely to the extent of its own liability, not to seek

recovery on account of claims against the Debtors.

               As used herein, “Revlon” shall refer to each of Revlon Consumer Products

Corporation, Revlon, Inc. and Revlon Group Holdings LLC, unless otherwise noted. Plaintiffs

reserve the right to amend this complaint to name the other Debtors as Defendants, as necessary,

solely for purposes of pursuing recovery against applicable insurance. Plaintiffs further reserve the

right to amend this complaint to name as Defendants additional entities formed pursuant to the

Plan.

               Defendant Strength of Nature, LLC is a limited liability company organized in

Georgia, with its principal place of business and headquarters located at 64 Ross Road, Savannah,

Georgia 31405. Plaintiffs allege that Strength of Nature, LLC’s sole member and interested party

is Defendant Godrej SON Holdings, Inc.



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               Defendant Godrej SON Holdings, Inc. is a Georgia corporation with its principal

place of business and headquarters located at 64 Ross Road, Savannah, Georgia 31405.

               Defendant Dabur International Limited is a foreign entity incorporated in the Isle

of Man with its principal place of business and headquarters located at 5 Independence Way,

Princeton, New Jersey 08540.

               Defendant Dabur International USA Ltd. Is a wholly owned subsidiary of Dabur

India, Ltd. And Dabur India Ltd.’s sole United States distributor, with its principal place of

business and headquarters at 310 South Racine Avenue, Chicago, Illinois 60607.

               Defendant Namaste Laboratories, LLC is a limited liability company organized in

Illinois with its principal place of business located at 310 South Racine Avenue, Chicago, Illinois

60607. Plaintiffs allege that Namaste Laboratories, LLC’s sole member and interested party is

Dermoviva Skin Essentials, Inc., a Delaware corporation having its headquarters and principal

place of business at 310 South Racine Avenue, Chicago, Illinois 60607.

               Defendant AFAM Concept, Inc., d/b/a JF Labs Inc., is an Illinois corporation with

its principal place of business and headquarters located at 7401 South Pulaski Road, Chicago,

Illinois 60629-5837.

               Defendant Beauty Bell Enterprises, LLC d/b/a House of Cheatham, Inc. is a

domestic limited liability company organized in Georgia with its principal office located at 647

Mimosa Boulevard, Roswell, Georgia 30075. Plaintiffs allege that Beauty Bell Enterprises, LLC

d/b/a House of Cheatham’s sole member and interested party is Jay Studdard, who is domiciled in

Georgia.

               Defendant House of Cheatham, LLC, is a limited liability company organized in

Georgia with its principal office located at 1445 Rock Mountain Boulevard, Stone Mountain,



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Georgia. Plaintiffs allege that House of Cheatham, LLC’s sole member and interested party is

Hollywood Beauty Holdco, LLC, a limited liability company organized in Delaware with its

principal office located at 1445 Rock Mountain Boulevard, Stone Mountain, Georgia 30083.

                 Defendant McBride Research Laboratories, Inc. is a Georgia corporation with its

principal place of business and headquarters located at 2272 Park Central Boulevard in Decatur,

Georgia 30035-3824.

                 Defendant Luster Products, Inc. is an Illinois corporation with its principal place of

business and headquarters located at 1104 West 43rd St., Chicago, Illinois 60609.

II.      FACTS COMMON TO ALL COUNTS

         A.      Market for Hair Relaxer Products

                 Black people make up about 13 percent of the U.S. population, but by one estimate,

Black spending accounts for as much as 22 percent of the $42 billion-a-year personal care products

market, suggesting that Black people buy and use more of such products—including those with

potentially harmful ingredients—than Americans as a whole.1

                 In an analysis of ingredients in 1,177 beauty and personal care products marketed

to Black and Brown women, about one in twelve was ranked highly hazardous on the scoring

system of EWG’s Skin Deep® Cosmetics Database, an online resource for finding less-hazardous

alternatives to personal care products. The worst-scoring products marketed to Black and Brown

women were hair relaxers (along with hair colors and bleaching products). Each of these categories

had an average product score indicating a high potential hazard.



1
   Thandisizwe Chimurenga, How Toxic is Black Hair Care?, New America Media, Feb. 2, 2012,
americamedia.org/2012/02/skin-deep-in-more-ways-than-one.php; Personal Care Products Manufacturing Industry
Profile, Dun & Bradstreet First Research, August 2016, www.firstresearch.com/Industry-Research/Personal-Care-
Products-Manufacturing.html (This report uses "Black" to describe not only people who identify as African-American,
but Black people in the U.S. who come from the Caribbean or other areas. “African-American” is used only when a
cited source specifies that term).

                                                        31
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                 In the U.S. alone, Black and Brown consumers spend over $1 trillion each year,

with a significant amount of that spending toward hair care products.

                 In 2020, the global black hair care market was estimated at $2.5 billion, with the

hair relaxer market alone estimated at $718 million in 2021, with the expectation of growth to

$854 million annually by 2028.

                 The Defendants, aware of the unique history of their target consumers, developed

and have long deployed a marketing framework based on misrepresentations that exploit their

consumers’ social and economic need to maintain straight hair.

                 1.       History of Afro-Textured Hair and Hair Relaxers—The Framework
                          for Defendants’ Wrongful Marketing Practices

                 Dating back to 1619, Black and Brown women have been degraded based upon the

texture of their hair and compelled to conform to the Eurocentric beauty standard that furthers the

notion that “straight” hair is an indicator of social status, moral virtue, and professional

competence. By contrast, hair texture of African heritage (“afro-textured hair”) has been

characterized as unattractive, unprofessional, and inferior.2

                 In its natural state, afro-textured hair is characterized by coily, springing, zigzag,

and s-curve curl patterns, as well as its density, fullness, texture, and feel.3

                 Certain African hairstyles can be traced back thousands of years, when they often

indicated tribe membership and stature,4 slave masters commonly forced enslaved Black and

Brown people to cut their hair. This was a way to “break their spirit and make slaves easier to

control.”5 What was once a symbol of pride and symbolism became a tool for subordination and


2
   Shelby Smith, The Evolution of Black Hair in America, Imani Hair Care (Aug. 6, 2020),
https://imanihaircare.com/blogs/news/the-evolution-of-black-hair-in-america.
3
  Patrick Obukowcho, Hair Relaxers: Science, Design, and Application, 26, 14 (2018).
4
  History of Braids: More Than Just a Hairstyle, Genesis Career College, https://www.genesiscareer.edu/history-of-
braids-more-than-just-a-hairstyle/.
5
  Brenda A. Randle, I Am Not My Hair, Race, Gender and Class, Volume 22, Number 1-2, 114 – 121 (2015).

                                                       32
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degradation. Hair cutting was also a common form of punishment during slavery and during Jim

Crow.

               The very nature of slavery involved working long hours in dire conditions. “Hair

that was once a source of pride and expression of identity was often tucked away beneath cloth to

cover rough, tangled tresses and shield them from hours spent toiling under the sun.” 6 The hair

that was once an important spiritual and cultural symbol became framed and viewed as tangled,

matted, and unseemly.

               Because afro-textured hair reflected African heritage rather than European

ancestry, afro-textured hair was considered a symbol of low social status.7

               In 1786, the Governor of Louisiana colony, Don Esteban Miro, passed the “Tignon

Law” requiring women of African descent to wear a tignon (scarf) over their hair as a way of

signifying they were members of the slave class, even if they were free. This law sent a direct

signal to Black and Brown people that their hair held a symbol of inequality and was a sign of

poverty regardless of their actual social status.

               Texturism—the idea that “good hair” is equated with a straighter hair texture—was

cemented into American culture during slavery. “Eurocentric beauty standards dictated that coily

hair and dark skin were unattractive and inferior”; “lighter skinned and straighter haired slaves

were favored and selected for more desirable positions in the house” as opposed to the fields. 8

Thus, “the texture of an enslaved person’s hair could determine their value and working conditions,

which in turn might impact their overall health, comfort and chances for freedom[.]”9 Early

American culture impressed on Black and Brown men and women that the straighter and less kinky


7
  Id.
7
  Id.
8
  Id.
9
  Id.

                                                    33
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their hair was, the better a life they could have. This stigma fueled the desire for tools and products

that could straighten Black and Brown hair texture.

                In slavery and post-slavery America, Black and Brown women found a need to

morph their hairstyles “from the elaborate and symbolic designs of Africa into an imitation of

White styles adapted to Black and Brown kinks and curls.”10

                In an effort to obtain a better life, many enslaved people, and later their progeny,

would go to “dangerous lengths to straighten their hair.”11

                Afro-textured hair can be straightened with the use of hair tools and non-chemical

hair products. Prior to the invention of the chemical relaxer in the 1900s, individuals would “press”

afro-textured hair with metal hair tools such as the “hot comb.” Pressing combs or hot combs are

metal hair tools that are first heated in a stove or ceramic heater, then pressed into hair strands to

temporarily straighten them.12

                2.      The Invention of the Chemical Relaxer

                Black inventor Garrett Augustus Morgan discovered and created a system that

would permanently straighten afro-textured hair, eliminating the issue of “shrinkage,” where the

curl pattern results in hair appearing to be shorter than it actually is.

                In addition to being an inventor, Morgan was a tailor. In the early 1900s, Morgan

was repairing his sewing machines and creating a way to polish the needles to stitch fabrics more

smoothly.13 He applied a chemical solution to the needles and wiped the solution off with a rag




10
   Brenda A. Randle, I Am Not My Hair, Race, Gender and Class, Volume 22, Number 1-2, 114 – 121 (2015).
11
    Nikki Fox, 6 Things Everyone Should Know About Black Hair History, Odele, Feb. 22, 2021.
https://odelebeauty.com/blogs/the-rinse/black-hair-history-facts.
12
   Jaclyn Peterson, The Price of Beauty, CTI Charlotte Teachers Institute Curriculum (2021).
13
   Patrick Obukowcho, Hair Relaxers: Science, Design, and Application 27 (2018).

                                                   34
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and later noticed that the “curly” fibers in the rag were straightened after exposure to the

chemical.14

                   Morgan turned his formula into a gel-hair product, creating the G.A. Morgan Hair

Refining Cream that was marketed in 1913.




14
     Mary N. Oluonye, Garrett Augustus Morgan: Businessman, Inventor, Good Citizen 28 (2008).

                                                        35
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                Morgan’s invention paved the way for the alkaline relaxer and later development

of additional chemical-based permanent hair relaxing products in the Black and Brown hair care

market, also known as hair relaxers.15

                Over the next 40-plus years, these products dominated the market for relaxing afro-

textured hair until the emergence of new technology involving lye-based formulas.

                3.       Chemical Relaxer Use: From Adolescence into Adulthood

                Hair relaxers are applied to the base of the hair shaft and left in place for a cooking

interval, during which the relaxer alters the hair’s texture by purposefully damaging the hair’s

natural protein structure. The effect of this protein damage is to straighten and smooth the hair.

After a period of weeks or months, depending on the hair’s natural growth rate, the treated portion

of the hair grows away from the scalp as new growth sprouts from the roots. Maintaining the

relaxed hairstyle requires on-going application of hair relaxer to the new growth—a process

colloquially referred to in the community as “re-touches” —resulting in users relaxing their new

growth every four to eight weeks on average.

                Hair relaxing is highly prevalent among Black and Brown women. In some studies,

up to 90% of Black women have used hair relaxers and straighteners, which is more commonplace

for these women than women of any other race.

                The reasons for Black women’s use and dependence upon hair straightening

products are multi-faceted.16 There are superficial reasons such as maintenance and personal

choice. Yet, in addition to aesthetic aspirations, based upon the historical framework set forth

above, maintaining straight hair was and is a means of integrating. Failing to maintain an


15
  Patrick Obukowcho, Hair Relaxers: Science, Design, and Application 27 (2018).
16
  Chanel Donaldson, Hair Alteration Practices Amongst Black Women and the Assumption of Self-Hatred, Applied
Psychology Opus, https://wp.nyu.edu/steinhardt-appsych_opus/hair-alteration-practices-amongst-black-women-and-
the-assumption-of-self-hatred/

                                                     36
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appearance with straightened hair can impact the lives of Black women in educational, social, and

professional spheres.

                 For example, Black and Brown girls and women are often victims of hair

discrimination. According to the Dove CROWN17 Research Study for Girls (2021)18 conducted by

JOY Collective, two-thirds (66%) of Black and Brown girls in White-majority schools reported in

a survey that they have experienced hair discrimination. Nearly half (45%) of Black and Brown

girls in all school environments reported hair discrimination, and 47% of the Black mothers

surveyed reported experiencing hair discrimination.

                 Moreover, hair discrimination often starts at an early age for young Black girls:

                 a.       100% of Black elementary school girls in majority-White schools who

report experiencing hair discrimination state they experience the discrimination by the age of 10.19

                 b.       86% of Black teens who experience discrimination state they have

experienced discrimination based on their hair by the age of 12.20

                 In adulthood, hair discrimination impacts Black women’s economic security. In the

professional world, Black women with natural and unstraightened hair are “often deemed unkempt

and unemployable.”21 Black women are one-and-a-half times more likely to be sent home from



17
   The CROWN Act of 2021 was intended to address discrimination against protective hairstyles worn predominantly
by women of color. H.R. 2116, 117th Cong (enacted); S. 888, 117th Cong. The CROWN Act was created in 2019 by
Dove and the CROWN Coalition, in partnership with then California State Senator Holly J. Mitchell, to ensure
protection against discrimination based on race-based hairstyles. The CROWN Act extended statutory protection to
hair texture and protective styles such as braids, locks, twists, and knots in the workplace and public schools.
https://www.thecrownact.com/. While the bill did not pass the Senate in 2022, eighteen states have signed a version
of the bill into state law.
18
         JOY         Collective,     Dove      CROWN         Research      Study       for       Girls      (2021),
https://static1.squarespace.com/static/5edc69fd622c36173f56651f/t/623369f7477914438ee18c9b/1647536634602/2
021_DOVE_CROWN_girls_study.pdf
19
   Id.
20
   Id.
21
   Chanel Donaldson, Hair Alteration Practices Amongst Black Women and the Assumption of Self-Hatred, Applied
Psychology Opus, https://wp.nyu.edu/steinhardt-appsych_opus/hair-alteration-practices-amongst-black-women-and-
the-assumption-of-self-hatred/

                                                       37
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the workplace because of their hair.22 Black women are 89% more likely than White women to

agree with the statement, “I have to change my hair from its natural state to fit in at the office.”23

Many Black women succumb to these professional pressures and are compelled to use hair relaxers

to both straighten and maintain their straight hair with routine re-touches.

                 The Defendants were acutely aware of, and marketed to, the stereotypes and history

concerning natural Black and Brown hair.

        B.       Defendants’ Efforts to Market Their Hair Relaxer Products24

                 In 1971, Dark and Lovely manufactured the first lye relaxer. The formula consisted

of sodium hydroxide, water, petroleum jelly, mineral oils, and emulsifiers.25

                 In the 1970s, lye relaxer users and manufacturers noticed that the lye formula

stripped proteins from the hair strand, resulting in the hair thinning and breaking.26As a result,

Johnson and Johnson marketed the first “gentle” hair relaxer, Gentle Treatment, in 1981, which

used chemicals such as potassium hydroxide and lithium hydroxide.27




22
   CROWN study, supra note 23.
23
   Id.
24
   The following discussion of various Defendant manufacturers and/or products is not an exhaustive list of all hair
relaxer manufacturers and/or products that have been marketed to consumers, nor is it an exhaustive list of all
manufacturers and/or products currently on the market. Rather, it is a representative sample of how Defendant
manufacturers advertised their products throughout the years.
25
   Cicely A. Richard, This History of Hair Relaxers, September 29, 2017 https://classroom.synonym.com/the-history-
of-hair-relaxers-12078983.html.
26
   Id.
27
   Id.

                                                        38
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              For decades and to present, Defendants designed, manufactured, and marketed their

Toxic Hair Relaxer Products to Black and Brown customers across the United States and the world,

relying on the same historical Eurocentric standards of beauty. Defendants’ marketing scheme

heavily leverages branding and slogans that reinforce straight hair as the standard of beauty and

professionalism.28 The Defendants marketed their Toxic Hair Relaxer Products without ever

disclosing the health risks of these products or their components contained in these products or

taking other reasonable steps to ensure their products would not harm consumers.




28
     Id.

                                               39
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                For example, in the first ad above, L’Oréal touts “how beautiful Black hair can be”

(emphasis added), implying that in its natural state Black hair is not as beautiful as it could be if

straightened.

                Defendants have advertised their Toxic Hair Relaxer Products to Black and Brown

customers as a way to exploit these anti-Black standards of beauty as early as the 1970s. For

example:

                a.     Johnson Products Company (later acquired by Defendant L’Oréal)

advertised its Ultra Sheen Toxic Hair Relaxer Products as early as the 1960s:




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              b.      Defendants L’Oréal and SoftSheen have produced advertisements for their

Toxic Hair Relaxer Products as early as the 1970s:




                                              41
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            c.    Defendant Revlon has advertised its Toxic Hair Relaxer Products for

decades:




                                        43
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               d.     Defendant Strength of Nature has also advertised many of its hair relaxer

brands as early as the 1970s:




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           e.    Defendant Luster has marketed and advertised its products since the 1950s:




                                         47
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               f.        Defendant Avlon has been marketing its Toxic Hair Relaxer Products since

as early as the 1980s:




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                   The Defendants all marketed their Toxic Hair Relaxer Products without ever

disclosing known health risks of the toxic design and chemicals contained in these products.

                   In addition to Defendants’ wrongful omissions above, Defendants also made

several affirmative misrepresentations and additional significant material omissions in conjunction

with the sale of their products:

                   a.      Marketing Toxic Products to Children: Beginning in 1990, Strength of

Nature developed and began marketing “Just For Me,” the first hair relaxer product targeted

towards young Black and Brown girls. Just for Me entered the market with a catchy commercial.29


29
     https://youtu.be/2A4dY4znFsg.

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On the product packaging, Strength of Nature lauded the product as safer by claiming that it was

a no-lye formula designed to be “gentle” for children’s sensitive scalps, while Defendants knew

that Just for Me contained more chemicals than, and was equally or more toxic than, some adult

brands of hair relaxers.




               b.      Defendants misrepresented that “no lye” relaxers or “gentle treatment”

relaxers were milder and/or safer than alternative relaxers. This was false. Hair relaxer products

marketed as using “gentle treatment” or similar terminology are not any safer than the other hair

relaxer products on the market.

               c.      Defendant Strength of Nature’s products, such as Soft & Beautiful, are

intentionally labeled as “Botanicals” and with “Natural” ingredients that are “Ultra Nourishing,”

including but not limited to using “Natural Plant Oils and Butters.” For example:




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These representations are intended to suggest to consumers that these “Natural” hair relaxer

products are safer or less toxic than alternatives, but any such suggestion is false.

               d.      Defendant Strength of Nature’s Beautiful Textures hair relaxer product is

marketed as being able to “go from curly to straight and back again without using [h]arsh

[c]hemicals.” Defendant Strength of Nature affirmatively represented that there were no “harsh

chemicals” in its Beautiful Textures hair relaxer product.




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The claim of no “harsh chemicals” was false.

               e.      On the packaging of their Toxic Hair Relaxer Products, Defendant Strength

of Nature claims the product is “specifically created with Silk Extracts, Coconut oil and Shea

butter” and that it will make hair “more vibrant, healthy-looking and silky than before the relaxing

process.” The packaging also boasts of offering “85% less breakage and 80% more shine after just

one use.”




These statements falsely imply, and lead a user to believe, that Defendant Strength of Nature’s

product is both safe and “natural” when it is neither safe nor natural.

               f.      Defendants Namaste and Dabur’s Toxic Hair Relaxer Products are

marketed as “Olive Oil” products to imply that they use natural ingredients and lack toxic

chemicals, which is false. These Defendants’ products are also advertised as having “Built in

Protection,” implying they can be used safely. This is also false.

               g.      Defendants Namaste and Dabur’s website states that their Toxic Hair

Relaxer Products use “Rich Olive and Avocado Oils,” which they claim “moisturize and



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condition” hair. The websites also claim that the products include “Aloe Vera to help protect the

skin and scalp.”




While representing that aloe vera helps “protect the skin and scalp” of children, Defendants

omitted that the other chemicals in the products significantly increase the risk of ovarian and

uterine cancer.

                  h.     Defendants Namaste and Dabur’s Toxic Hair Relaxer Products claim that

they “use[] the latest technology to safely elongate tight coils.” That is false—these products do

not safely relax hair.

                  i.     Defendant L’Oréal’s and SoftSheen’s Dark & Lovely brand Toxic Hair

Relaxer Products are intentionally labeled as providing a “healthy” gloss and containing

“nourishing” shea butter with jojoba and avocado oils. The terms “healthy” and “nourishing”

suggest that Toxic Hair Relaxer Products are safe and even beneficial for the body when they are

neither safe nor beneficial.




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               j.     Defendant L’Oréal’s Dark & Lovely products are also intentionally labeled

as being “Triple Nourished” and as products that “help[] preserve signs of healthy hair” with

ingredients including but not limited to “Jojoba & Avocado Oil” and “Shea Butter.”




The terms “healthy” and “nourishing” suggest that these Toxic Hair Relaxer Products are safe and

even beneficial for the body when they are neither safe nor beneficial.




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              k.      Defendant L’Oréal and SoftSheen’s Beautiful Beginnings hair relaxer

product line, which is targeted to young Black girls, states that it “moisturizes, nourishes, and

prevents breakage…without hurting your scalp.”




                                               55
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These representations suggest that their Toxic Hair Relaxer Products are safe and even beneficial

for children’s bodies, when they are neither safe nor beneficial.

               l.      Defendant Strength of Nature intentionally markets its Toxic Hair Relaxer

Products for kids as containing a “natural hair milk,” and including ingredients such as “coconut

milk, shea butter, vitamin e, and sunflower oil.” The Toxic Hair Relaxer Products also boast that

they contain “No-Lye Relaxer” around an image of a green leaf.




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Emphasizing these natural ingredients, and including the green leaf surrounded by ingredients the

products do not contain, implies that these products primarily use natural ingredients, lack toxic

chemicals, and are safe, when all of these representations are false.

               m.      Defendant Strength of Nature’s Toxic Hair Relaxer Products sold under the

Dr. Miracle’s brand are advertised as “Strong + Healthy.” This false representation suggests that

the products are safe—and even beneficial—for the body when they are neither safe nor beneficial.

               n.      Defendant House of Cheatham markets its Africa’s Best Toxic Hair Relaxer

Products as containing “nourishing African botanicals and Herbal Extracts.”




These representations suggest that the products use primarily natural ingredients, lack toxic

chemicals, and are safe and even beneficial for the body, when all of these representations are

false.

               o.      Defendant McBride markets its Design Essentials Toxic Hair Relaxer

Products as leaving hair “healthy” and promotes its products as using natural ingredients such as

milk, honey, nectar, olive oil, and shea butter. These representations suggest that the products use

primarily natural ingredients, lack toxic chemicals, and are safe and even beneficial for the body,

when all of these representations are false.

               p.      Defendant Sally Beauty Holdings, Inc. d/b/a Silk Elements markets its Silk

Elements Toxic Hair Relaxer Products as using natural ingredients such as olive oil and shea butter.

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These representations suggest that the products use primarily natural ingredients, lack toxic

chemicals, and are safe and even beneficial for the body, when all of these representations are

false.

               q.      Defendant Luster markets its Pink Conditioning No-Lye Relaxer and

Smooth Touch No-Lye Relaxer products as using “nourishing ingredients” including shea butter,

argan oil, Vitamin E, and olive oil which they claim provide “added protection” for the user. These

representations suggest that the products use primarily natural ingredients, lack toxic chemicals,

and are safe and even beneficial for the body, when all of these representations are false.

               Defendants’ marketing efforts all have a common theme. They are filled with

representations and insinuations that their hair relaxing products are safe and beneficial to the user.

The use of words such as organic, natural, nourishing, added protection, and/or healthy in

Defendants’ marketing can lead consumers to believe that these Toxic Hair Relaxer Products are

safe when, in fact, they are not.

                Defendants made these affirmative statements and/or omissions while they knew,

or should have known, about the true danger that their Toxic Hair Relaxer Products posed when

used by any consumer, including all Plaintiffs.

               Although they had, or should have had, knowledge about the dangers posed by the

Toxic Hair Relaxer Products, Defendants continued their marketing efforts without ever

attempting to correct the misconceptions they were creating.


         C.    Defendants’ Toxic Hair Relaxer Products Cause Human Uterine and
               Ovarian Cancers

               Defendants knew or should have known of both the potential for harm and the

increased risk of developing uterine and ovarian cancer from the use of the Toxic Hair Relaxer

Products, based on scientific studies, research, and various government standards and regulations.
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                 While Defendants have not published any studies in the scientific literature

demonstrating that their products can be used safely, several independent researchers have

published large epidemiological studies demonstrating that these products cause increased risks of

uterine and ovarian cancers.

                 1.       Uterine Cancer

                 Though death rates from other cancers in women have declined in recent years,

death rates for uterine cancer have increased by more than 100% in the last 20 years.30

                 Uterine cancer is the fourth most common cancer for women in the United States,

and the most commonly diagnosed gynecological cancer.31 An estimated 66,570 new cases of

uterine cancer are diagnosed each year, and around 12,940 women will die every year from the

condition.32

                 Uterine cancer has a hormonally driven etiology, and an imbalance of estrogen and

progesterone can lead to the development of uterine cancers.33

                 In October 2022, the National Institutes of Health released a study of approximately

34,000 women, aged 35-74, that was conducted over approximately 11 years.34

                 The study revealed significantly higher rates of uterine cancer in women who had

used hair relaxers.




30
   Linda Duska, et al., Treatment of Older Women With Endometrial Cancer: Improving Outcomes With Personalized
Care,       American       Society      Clinical     Oncology     Educational       Book,     35:164-74,      2016,
https://pubmed.ncbi.nlm.nih.gov/27249697/.
31
        National      Foundation       for      Cancer     Research.      https://www.nfcr.org/cancer-types/uterine-
cancer/?gad=1&gclid=Cj0KCQjwsIejBhDOARIsANYqkD31b2Q0YCsXxx2UoDUEG2PYN4qKdyO36skCGpuZY
h4dFf_Y--c5KJMaAleuEALw_wcB.
32
   Id.
33
   https://www.cancer.org/cancer/types/endometrial-cancer/causes-risks-prevention/risk-factors.html.
34
   Che-Jung Chang, et al., Use of Straighteners and Other Hair Products and Incident Uterine Cancer, Journal of the
National Cancer Institute, Oct. 17, 2022, https://pubmed.ncbi.nlm.nih.gov/36245087.

                                                        59
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                 Specifically, the study found that an estimated 1.64% of women who never used

chemical hair relaxers developed uterine cancer by the age of 70. However, frequent users of hair

relaxers were 2.78 times more likely to develop uterine cancer than women who never used hair

relaxers.35

                 The study found that women who had ever used hair relaxers had an approximately

doubled risk of developing uterine cancers as compared to women who did not use hair relaxers.

                 2.       Ovarian Cancer

                 In a 2021 study funded by NIH and the National Institute on Minority Health

Sciences, frequent use of hair relaxers was strongly associated with ovarian cancer.36

                 In fact, the study revealed that those who frequently (four or more times per year)

used hair relaxers were more than twice as likely to develop ovarian cancer.37

                 It is estimated that 19,880 women in the United States will be diagnosed with

ovarian cancer in 2022, with an estimated 12,810 of those diagnoses resulting in death.38

                 Like uterine cancer, ovarian cancer is also believed to have a hormonally driven

etiology, meaning that the insertion of hormonal disrupting compounds and the subsequent

disruption of a woman’s hormonal balance could lead to ovarian cancer.39




35
   Id.
36
   White, AJ, Sandler DP, Gaston SA, Jackson CL, O'Brien KM, Use of hair products in relation to ovarian cancer
risk. Carcinogenesis. 2021 Oct 5; 42(9):1189-1195. doi: 10.1093/carcin/bgab056. PMID: 34173819; PMCID:
PMC8561257, https://pubmed.ncbi.nlm.nih.gov/34173819.
37
   Id.
38
   Pinar Erkekoglu & Belma Kocer-Gumusel, Environmental Effects of Endocrine-Disrupting Chemicals: A Special
Focus     on    Phthalates      and     Bisphenol    A,    Environmental     Health    Risk,    June    16,   2016,
https://www.intechopen.com/chapters/50234.
39
   White, Alexandra J., et al., Use of Hair Products in Relation to Ovarian Cancer Risk, Carcinogenesis Vol. 42, No.
9, 1189-1195, 1189 (2021).

                                                        60
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                 3.       Biological Plausibility

                 The strong risks of cancers demonstrated by the Chang and White studies are

biologically plausible, as Defendants’ Toxic Hair Relaxer Products have contained ingredients that

are themselves toxic compounds, or lead to the formation and release of toxic compounds.

                 Such toxic compounds include, but are not limited to, Phthalates, parabens,

cyclosiloxanes, metals, lye and formaldehyde.40 These chemicals can alter the body’s delicate

hormonal balance, causing spikes or drops in levels of estrogens and progesterones (as well as

other hormones), and cause other pro-cancerous phenomena in the tumor microenvironment.

                 The endocrine system is indispensable for life and influences nearly every cell,

organ, and process within the body.41 The endocrine system regulates all biological processes in

the body from conception through adulthood, including the development of the brain and nervous

system, the growth and function of the reproductive system, metabolism, and blood sugar levels.42

                 The precise functioning of the endocrine system is vital to maintaining hormonal

homeostasis, the body’s natural hormonal production and degradation. A slight variation in

hormone levels can lead to significant adverse health effects, including reproductive impairment,

infertility, cancer, cognitive deficits, immune disorders, and metabolic syndrome.43

                 Endocrine-disrupting chemicals (“EDCs”) are chemicals, or chemical mixtures,

that interfere with the normal activity of the endocrine system.




40
    Id.
41
    Endocrine System: The Endocrine System Includes The Thyroid, Adrenals, and the Pituitary Gland, Science Direct,
https://www.sciencedirect.com/topics/psychology/endocrine-system
42
        Endocrine Disruption, United States Environmental Protection Agency, Mar., 7, 2022,
https://www.epa.gov/endocrine-disruption/what-endocrine-system
43
   Id.; Michele La Merrill, et al., Consensus on the Key Characteristics of Endocrine-Disrupting Chemicals as a Basis
for Hazard Identification, Nature Reviews Endocrinol, Nov., 12, 2019, https://www.nature.com/articles/s41574-019-
0273-8

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                 EDCs can block hormone stimulus by inducing epigenetic changes (modifications

to DNA that regulate whether genes are turned on or off), or by altering the structure of target

cells’ receptors.44

                 Natural and synthetic EDCs are present in some of Defendants’ Toxic Hair Relaxer

Products under the guise of “fragrance” and “perfumes.” They enter the body when these products

are applied to the hair and scalp.

                 Phthalates are EDCs that are known to interfere with natural hormone production

and degradation, and are harmful to human health.45

                 Phthalates were developed in the last century to make plastics more durable. These

colorless, odorless, oily liquids are also referred to as “plasticizers,” based on their most common

uses.

                 Chronic exposure to phthalates adversely influences the endocrine system and

functioning of multiple organs. Several countries have established restrictions and regulations on

some types of phthalates. 46

                 In addition to endocrine disruption, hair relaxer products increase risks of cancer

through a number of additional mechanisms. Among other mechanisms, hair relaxers, and the

combined effect of the various ingredients, induce epigenetic alterations, oxidative stress, chronic

inflammation, and immunosuppression. They also alter cell proliferation, cell death, and nutrient

supply, modulate receptor-mediated effects, cause insensitivity to antigrowth signals, alter cell




44
   Luis Daniel Martínez-Razo, et al., The impact of Di-(2-ethylhexyl) Phthalate and Mono(2-ethylhexyl) Phthalate in
placental development, function, and pathophysiology, Environment International, January 2021,
https://www.sciencedirect.com/science/article/pii/S0160412020321838?via%3Dihub
45
   Yufei Wang & Haifeng Qian, Phthalates and Their Impacts on Human Health, Healthcare (Basel) 9, 603, May 9,
2021, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8157593/
46
   Id.

                                                        62
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proliferation, act as electrophiles, dysregulate metabolism, induce angiogenesis, induce

proliferative signaling, and modify immune surveillance.

         D.       Regulatory Framework

                  The law does not require cosmetic products or ingredients, other than color

additives, to have FDA approval before they go to market. But there are laws and regulations that

apply to cosmetics placed into the market. The two most important laws pertaining to cosmetics

marketed in the United States are the Federal Food Drug and Cosmetic Act47 (“FD&C Act”) and

the Fair Packaging and Labeling Act48 (“FPLA”).

                  The FD&C Act expressly prohibits the marketing of “adulterated” or “misbranded”

cosmetics in interstate commerce.49

                  Adulteration refers to a violation involving product composition whether it results

from ingredients, contaminants, processing, packaging, shipping, or handling.50

                  Under the FD&C Act, a cosmetic is adulterated if, inter alia: (1) it bears or contains

any poisonous or deleterious substance causing injury to the product user, or (2) if its container is

composed in whole or in part, of any poisonous or deleterious substance which may render the

contents injurious to health.51

                  Misbranding refers to violations involving improperly labeled or deceptively

packaged products.52

                  Under the FD&C Act, a cosmetic is misbranded if, inter alia: (1) its labeling is false

or misleading, or (2) the label does not include all required information.53


47
   21 U.S.C. § 361 et. seq.
48
   15 U.S.C. § 1451 et. seq.
49
   21 U.S.C. § 361
50
   Id.
51
   Id.
52
   21 U.S.C. § 362.
53
   See id.

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                 Under federal law, cosmetic manufacturers are not required to submit their safety

data to the FDA, and the FDA does not evaluate cosmetic safety prior to marketing. However, the

manufacturer of a cosmetic product must “adequately substantiate[]” the safety of the finished

product, and of each ingredient used in it, before placing the product on the market.54

                 The FDA has consistently advised cosmetics manufacturers to use whatever testing

is necessary to ensure the safety of products and ingredients.55

                 Except for color additives and ingredients prohibited or restricted by regulation, a

manufacturer may use any ingredient in the formulation of a cosmetic, provided that: (1) the

ingredient and the finished cosmetic are safe under labeled or customary conditions of use, (2) the

product is properly labeled, and (3) the use of the ingredient does not otherwise cause the cosmetic

to be adulterated or misbranded under the laws the FDA enforces.56

                 With respect to whether the product is properly labeled, 21 CFR § 740.1 defines

the establishment of warning statements related to cosmetic products. Section 740.1 states: “The

label of a cosmetic product shall bear a warning statement whenever necessary or appropriate to

prevent a health hazard that may be associated with the product.” (emphasis added). This warning

directive directly correlates with the broad authority and responsibility of manufacturers over their

own cosmetic products to ensure that products are safe under labeled or customary conditions of

use, properly labeled, and not adulterated or misbranded under FDA laws.

                 When a manufacturer is unable to adequately substantiate the safety of its product

before marketing, the product is considered to be misbranded if the principal display panel does




54  21 C.F.R. § 740.10(a).
55  FDA Authority Over Cosmetics: How Cosmetics Are Not FDA-Approved, but Are FDA-Regulated, U.S. Food and
Drug Administration, Mar., 3, 2005, https://www.fda.gov/cosmetics/cosmetics-laws-regulations/fda-authority-over-
cosmetics-how-cosmetics-are-not-fda-approved-are-fda-regulated.
56
   Id.

                                                      64
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not include the required “conspicuous statement” from 21 CFR § 740.10: “Warning – The safety

of this product has not been determined.”

                In short, under the current regulatory framework Defendants were, and are, required

to assess the safety of their Toxic Hair Relaxer Products and warn consumers of any and all health

hazards.

                Having this duty, Defendants failed to, inter alia:

                a.      Disclose the high risk of unreasonable, dangerous, adverse side effects of

their Toxic Hair Relaxer Products when used as intended; and/or

                b.      Disclose that the Toxic Hair Relaxer Products are defective and dangerous

to human health; and/or

                c.      Disclose that they had not adequately substantiated the safety of their Toxic

Hair Relaxers prior to marketing. Failed to include a conspicuous warning statement on their

packaging that read: “Warning – the safety of this product has not been determined.”

                The safety of the Toxic Hair Relaxer Products has not been proven.

                Defendants had the capacity to design hair relaxer products that were safer than the

Toxic Hair Relaxer Products that they sold to Plaintiffs, and that caused Plaintiffs’ injuries alleged

herein.

                It was economically possible for Defendants to manufacture hair relaxer products

that were safer than the Toxic Hair Relaxer Products that they sold to Plaintiffs, and that caused

Plaintiffs’ injuries alleged herein.

                The alternative hair relaxer product designs that Defendants could have utilized

would not have changed the intended purpose of the hair relaxer products—to straighten otherwise

curly and/or kinky hair.



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               Such alternative safer designs include, but are not limited to:

               a.      Replacing toxic chemicals with readily available natural ingredients;

               b.      Oil treatments (such as olive, coconut, and/or avocado oils);

               c.      Hot combs and other methods of heat styling; and

               d.      Blow drying.

III.   ADDITIONAL FACTS COMMON TO THE MEDICAL MONITORING
       CLASSES

               As discussed in more detail above, the Toxic Hair Relaxer Products significantly

increase the risk of and cause serious and potentially fatal uterine and ovarian cancer in humans

(the “Subject Cancers”).

               Medical Monitoring Plaintiffs and the members of the Medical Monitoring Classes

(defined below) have used Defendants’ Toxic Hair Relaxer Products at least four times—an

amount sufficient to significantly increase the risk of the Subject Cancers.

               As a direct and proximate result of Defendants’ tortious conduct, Medical

Monitoring Plaintiffs and members of the Medical Monitoring Classes have been significantly

exposed to proven hazardous substances–Toxic Hair Relaxer Products—resulting in the past,

present, and ongoing significantly increased risk of the Subject Cancers.

               As a direct and proximate result of Defendants’ tortious conduct, it is reasonably

medically necessary for Medical Monitoring Plaintiffs and the members of the Medical Monitoring

Classes to incur, both now and in the future, the cost of monitoring, diagnostic testing, clinical

examinations, and consultations for the early detection of the Subject Cancers.

               As a direct and proximate result of Defendants’ tortious and unlawful conduct,

Medical Monitoring Plaintiffs and the members of the Medical Monitoring Classes have suffered,

and will suffer, economic losses and expenses associated with ongoing medical monitoring.


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               Technology, analytical tools, test and/or monitoring procedures exist and are

readily available to provide for the testing and early detection of the Subject Cancers in patients.

               Such medical monitoring procedures must be prescribed by a qualified physician

and may include but are not limited to certain blood and laboratory tests; physical examinations;

imaging (as discussed below); biopsies of the reproductive organs (uterus, ovary) and accessory

organs; and other medical consultations and procedures necessary for diagnosis.

               Specific tests and procedures used to diagnose the Subject Cancers to be included

in a medical monitoring program may include, but are not limited to, Pap smears; blood tests,

including CA 125 antigen testing; genetic testing; abdominal ultrasounds; pelvic examinations;

CT scans; and transvaginal ultrasounds.

               The available monitoring regime is for individuals exposed to products known to

significantly increase the risk of the Subject Cancers because of using Toxic Hair Relaxer Products

and is different as between women who were not exposed to the Toxic Hair Relaxer Products,

versus the Medical Monitoring Plaintiffs who are at significantly increased risk of the Subject

Cancers by virtue of their exposure to Defendants’ Toxic Hair Relaxer Products. Such differences

include the type, timing, frequency, and/or scope of screening and diagnostic examinations that

would be recommended for women at this significantly increased risk. This monitoring regime is

conducted and analyzed by medical practitioners skilled in the respective medical areas.

               Effective medical consultations, clinical examinations and diagnostic tests exist for

reliable early detection, and early detection combined with effective treatment will significantly

decrease the severity of the cancers. Catching cancer early allows for early and greater treatment

options, improves patient prognoses, and generally avoids more invasive, risky, and expensive

medical interventions later.



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                These monitoring procedures conform to the standard of medical care and are

reasonably medically necessary to ensure that the Subject Cancers can be identified early and

appropriately treated. Said monitoring procedures will facilitate treatment and interventions that

will mitigate the development of, and health effects associated with, the Subject Cancers, which

may in turn increase the Medical Monitoring Plaintiffs’ chance of survival. The present value of

the costs of such tests is calculable.

                Monitoring and testing the Medical Monitoring Plaintiffs will substantially reduce

the risk that the Medical Monitoring Plaintiffs, and the members of the Medical Monitoring Classes,

will suffer long-term injuries, disease, and losses.

                Accordingly, Defendants should be required to establish a medical monitoring

program that includes, among other things: (a) establishing a trust fund, in an amount to be

determined, to pay for the medical monitoring of the members of the Medical Monitoring Classes

for the purpose of diagnosis, as frequently and appropriately as necessary; and (b) notifying all

members of the Medical Monitoring Classes in writing that they may require frequent medical

monitoring for the purpose of diagnosis.

                Medical Monitoring Plaintiffs and the Medical Monitoring Classes have an

inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

long-term physical and economic losses due to using the Toxic Hair Relaxer Products. Without a

court-approved medical monitoring program as described herein, or established by the Court,

Medical Monitoring Plaintiffs and the members of the Medical Monitoring Classes will continue to

face an unreasonable risk of injury and disability due to remaining undiagnosed.




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               In the alternative to a court-funded program, Medical Monitoring Plaintiffs and the

members of the Medical Monitoring Classes seek as damages the costs of such medical

monitoring.


IV.    CLASS ALLEGATIONS

               All Plaintiffs bring this action in their individual capacity and on behalf of the

following Nationwide Consumer Class and pursuant to Federal Rules of Civil Procedure 23(a),

23(b)(2), 23(b)(3), and/or 23(c)(4):


       Nationwide Consumer Class: All individuals in the United States and its
       territories who, for personal use, purchased any Toxic Hair Relaxer Product(s) in
       the United States of America and/or its territories.


               In the alternative to the Nationwide Consumer Class, Plaintiffs bring this action in

their individual capacities and on behalf of the following consumer classes.

       Alabama Consumer Class: All individuals who, for personal use, purchased any
       Toxic Hair Relaxer Product(s) in Alabama.

       Arizona Consumer Class: All individuals who, for personal use, purchased any
       Toxic Hair Relaxer Product(s) in Arizona.

       California Consumer Class: All individuals who, for personal use, purchased any
       Toxic Hair Relaxer Product(s) in California.

       Colorado Consumer Class: All individuals who, for personal use, purchased any
       Toxic Hair Relaxer Product(s) in Colorado.

       District of Columbia Consumer Class: All individuals who, for personal use,
       purchased any Toxic Hair Relaxer Product(s) in the District of Columbia.

       Florida Consumer Class: All individuals who, for personal use, purchased any
       Toxic Hair Relaxer Product(s) in Florida.

       Illinois Consumer Class: All individuals who, for personal use, purchased any
       Toxic Hair Relaxer Product(s) in Illinois.

       Indiana Consumer Class: All individuals who, for personal use, purchased any
       Toxic Hair Relaxer Product(s) in Indiana.

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       Iowa Consumer Class: All individuals who, for personal use, purchased any Toxic
       Hair Relaxer Product(s) in Indiana.

       Louisiana Consumer Class: All individuals who, for personal use, purchased any
       Toxic Hair Relaxer Product(s) in Louisiana.

       Maryland Consumer Class: All individuals who, for personal use, purchased any
       Toxic Hair Relaxer Product(s) in Maryland.

       Michigan Consumer Class: All individuals who, for personal use, purchased any
       Toxic Hair Relaxer Product(s) in Michigan.

       Mississippi Consumer Class: All individuals who, for personal use, purchased any
       Toxic Hair Relaxer Product(s) in Mississippi.

       Missouri Consumer Class: All individuals who, for personal use, purchased any
       Toxic Hair Relaxer Product(s) in Missouri.

       Nevada Consumer Class: All individuals who, for personal use, purchased any
       Toxic Hair Relaxer Product(s) in Nevada.

       New Jersey Consumer Class: All individuals who, for personal use, purchased any
       Toxic Hair Relaxer Product(s) in New Jersey.

       Pennsylvania Consumer Class: All individuals who, for personal use, purchased
       any Toxic Hair Relaxer Product(s) in Pennsylvania.

       Tennessee Consumer Class: All individuals who, for personal use, purchased any
       Toxic Hair Relaxer Product(s) in New Jersey.

       Texas Consumer Class: All individuals who, for personal use, purchased any Toxic
       Hair Relaxer Product(s) in New Jersey.

       Virginia Consumer Class: All individuals who, for personal use, purchased any
       Toxic Hair Relaxer Product(s) in New Jersey.

       West Virginia Consumer Class: All individuals who, for personal use, purchased
       any Toxic Hair Relaxer Product(s) in New Jersey.

               Plaintiffs Boyd, Buchanan, Temitrius Burton, Harris-Robinson, Hines, Jackson,

Lane, Lawes, Longley, Martinez, McDonald, Meadows, Reid, Richardson, Smith, Vaughn, Wall,

and Washington (“Medical Monitoring Plaintiffs”) also bring this action in their individual

capacities and on behalf of the Medical Monitoring Class, pursuant to Federal Rules of Civil

Procedure 23(a), 23(b)(2), 23(b)(3), and/or 23(c)(4):

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       Medical Monitoring Class: All females residing in Arizona, California, Colorado,
       District of Columbia, Florida, Indiana, Maryland, Missouri, Montana, Nevada,
       Pennsylvania, Utah, and West Virginia who used Toxic Hair Relaxer Product(s) at
       least four times a year and have not been diagnosed with uterine or ovarian cancer.

               In the alternative to the Medical Monitoring Class, Plaintiffs bring this action in

their individual capacities and on behalf of the following medical monitoring classes and/or

groupings of classes:

       Arizona Medical Monitoring Class: All girls and women residing in Arizona who
       used Toxic Hair Relaxer Product(s) at least four times a year and have not been
       diagnosed with uterine or ovarian cancer.

       California Medical Monitoring Class: All girls and women residing in California
       who used Toxic Hair Relaxer Product(s) at least four times a year and have not been
       diagnosed with uterine or ovarian cancer.

       District of Columbia Medical Monitoring Class: All girls and women residing
       in the District of Columbia who used Toxic Hair Relaxer Product(s) at least four
       times a year and have not been diagnosed with uterine or ovarian cancer.

       Florida Medical Monitoring Class: All girls and women residing in Florida who
       used Toxic Hair Relaxer Product(s) at least four times a year and have not been
       diagnosed with uterine or ovarian cancer.

       Maryland Medical Monitoring Class: All girls and women residing in Maryland
       who used Toxic Hair Relaxer Product(s) at least four times a year and have not been
       diagnosed with uterine or ovarian cancer.

       Missouri Medical Monitoring Class: All girls and women residing in Missouri
       who used Toxic Hair Relaxer Product(s) at least four times a year and have not been
       diagnosed with uterine or ovarian cancer.

       Nevada Medical Monitoring Class: All girls and women residing in Nevada who
       used Toxic Hair Relaxer Product(s) at least four times a year and have not been
       diagnosed with uterine or ovarian cancer.

       Pennsylvania Medical Monitoring Class: All girls and women residing in
       Pennsylvania who used Toxic Hair Relaxer Product(s) at least four times a year and
       have not been diagnosed with uterine or ovarian cancer.

               The Nationwide Consumer Class, Medical Monitoring Class, and state-specific

classes may be collectively referred to as “Classes.” The Nationwide Consumer Class and Medical


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Monitoring Class may be collectively referred to as “Multi-State Classes.” The Medical

Monitoring Class and state-specific Medical Monitoring classes may be collectively referred to as

“Medical Monitoring Classes.” The state-specific Medical Monitoring and Consumer classes may

be collectively referred to as “Statewide Classes.”

               Numerosity: The members of each respective Class are so numerous that joinder

of all members of the respective Class is impracticable. Plaintiffs are informed and believe that

each proposed Class contains thousands of purchasers of Defendants’ Toxic Hair Relaxer

Product(s) who have been damaged by Defendants’ conduct as alleged herein.

               Typicality: Each Plaintiff’s claims are typical of the Nationwide Consumer Class

members because they purchased one or more of the Toxic Hair Relaxer Product(s) and were

subjected to and injured by Defendants’ deceptive and misleading claims. Plaintiffs and the

Nationwide Consumer Class members were injured through Defendants’ common course of

misconduct, and Plaintiffs are advancing the same claims and legal theories on behalf of

themselves and all members of the Nationwide Consumer Class.

               Each Medical Monitoring Plaintiff’s claims are typical of the Medical Monitoring

Classes because they all suffered the same type of harm, including the present need to undergo and

expend monies for diagnostic testing caused by Defendants’ tortious exposure and the concomitant

increased risk of ovarian and uterine cancer. Medical Monitoring Plaintiffs bring claims under the

same legal and remedial theories as the Medical Monitoring Classes, and those claims arise out of

the same set of facts and conduct.

               Adequacy: Plaintiffs and their counsel will fairly and adequately protect and

represent the interests of all Class members. Plaintiffs have retained counsel experienced in

complex litigation and class actions. Plaintiffs’ counsel have successfully litigated similar class-



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action cases, and they have the resources and abilities to protect the interests of the classes.

Plaintiffs intend to prosecute these claims vigorously. Plaintiffs have no adverse or antagonistic

interests to those of the Classes.

               Commonality and Predominance: Plaintiffs’ claims raise questions of law and fact

common to all members of the Classes, and they predominate over any questions affecting only

individual Class members. The claims of Plaintiffs and all prospective Class members involve the

same alleged defect. These common legal and factual questions include but are not limited to the

following:

               (a)    Whether Defendants’ Toxic Hair Relaxer Products put Plaintiffs at an

                      increased risk of cancer, including ovarian cancer and uterine cancer;

               (b)    Whether Defendants’ Toxic Hair Relaxer Products were adulterated and/or

                      misbranded;

               (c)    Whether Defendants’ warnings were adequate;

               (d)    Whether Defendants adequately substantiated the safety of the Toxic Hair

                      Relaxer Products and their ingredients;

               (e)    Whether Defendants’ representations and omissions are misleading or

                      objectively reasonably likely to deceive;

               (f)    Whether Defendants engaged in false or misleading advertising;

               (g)    Whether Defendants were unjustly enriched as a result of their labeling,

                      marketing, advertising and/or selling of the Toxic Hair Relaxer Products;

               (h)    Whether Plaintiffs and the other Class members are entitled to damages

                      and/or restitution and the proper measure of that loss;




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               In addition to the above, legal and factual questions common to the Medical

Monitoring Classes and their respective Class members include but are not limited to:

               (a) Whether Medical Monitoring Plaintiffs and the Medical Monitoring Class

                    members are at an increased risk of developing uterine and ovarian cancer as

                    a result of Defendants’ unlawful conduct, necessitating diagnostic medical

                    care;

               (b) Whether Defendants knew or should have known that the Toxic Hair Relaxer

                    Products significantly increase the risk of developing ovarian and uterine

                    cancer; and

               (c) The nature and extent of the medical monitoring and testing necessary to

                    address the risks created by Medical Monitoring Plaintiffs’ and the Medical

                    Monitoring Class members’ use of the Toxic Hair Relaxer Products.

               As alleged throughout this Complaint, Defendants engaged in uniform and

standardized conduct towards the Classes. The Defendants did not differentiate, in their degree of

care or candor, in their actions or inactions, or in the content of their statements and omissions,

among individual Class members. The objective facts on these subjects are the same for all

respective Class members. Within each Claim for Relief asserted by the respective Classes, the

same legal standards govern. Additionally, many states share the same legal standards and

elements of proof, facilitating the certification of multi-state classes for some or all of the claims.

               Superiority: A class action is superior to the other available methods for a fair and

efficient adjudication of this controversy. The damages or other financial detriments suffered by

Plaintiffs and individual Class members are relatively small compared with the burden and expense

of individually litigating their claims against Defendants. It would be virtually impossible for



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Plaintiffs and Class members, on an individual basis, to obtain meaningful and effective redress

for the wrongs done to them. Further, it is desirable to concentrate the litigation of the Class

members’ claims in one forum, as it will conserve party and judicial resources and facilitate the

consistency of adjudications. Plaintiffs know of no difficulty that would be encountered in the

management of this case that would preclude its maintenance as a class action.

                Injunctive and Declaratory Relief: The Classes also may be certified because

Defendants have acted or refused to act on grounds applicable to the Classes, thereby making

appropriate final declaratory and/or injunctive relief with respect to the members of the Classes as

a whole. Plaintiffs seek preliminary and permanent injunctive and equitable relief on behalf of

each respective Class, on grounds generally applicable to each respective Class, such that final

injunctive relief is appropriate with respect to each Class. Such injunctive relief includes, but is

not limited to, the implementation and funding of a medical monitoring program for the Medical

Monitoring Plaintiffs and Medical Monitoring Class members that is sufficient to monitor their

health and ensure the beneficial early detection of uterine and ovarian cancer, caused by exposure

to Defendants’ Toxic Hair Relaxer Products. Such injunctive relief also includes enjoining and

preventing Defendants from engaging in the acts described above.

                This action is also properly maintainable under Rule 23(c)(4) in that particular

issues common to the respective Classes, as described above in part, are most appropriately and

efficiently resolved via class action, and would advance the disposition of this matter and the

parties’ interests therein.




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V.      TOLLING OF THE STATUTE OF LIMITATIONS, FRAUDULENT
        CONCEALMENT, AND CONTINUING VIOLATIONS

                Plaintiffs did not discover, and could not have discovered through the exercise of

reasonable diligence, the existence of the claims sued upon herein until immediately prior to

commencing this civil action.

                Any applicable statutes of limitations have been tolled by Defendants’ affirmative

acts of fraudulent concealment and continuing misrepresentations, as the facts alleged above

reveal. Because of the self-concealing nature of Defendants’ actions and their affirmative acts of

concealment, Plaintiffs and the other Class members assert the tolling of any applicable statutes of

limitations affecting the claims raised herein.

                Defendants continue to engage in the deceptive practice and, consequently, unwary

consumers continue to be injured on a daily basis by Defendants’ unlawful conduct. Therefore,

Plaintiffs and the other Class members submit that each instance that Defendants engaged in the

conduct complained of herein and each instance that a member of any Class purchased Defendants’

Toxic Hair Relaxer Products constitutes part of a continuing violation and operates to toll the

statutes of limitations in this action.

                Defendants should be estopped from relying on any statute of limitations defense,

because of their unfair or deceptive conduct.

                Defendants’ conduct was, and is, self-concealing. Through a series of affirmative

acts and omissions, Defendants suppressed the truth regarding their illegal conduct, and have

foreclosed Plaintiffs and the other Class members from learning of Defendants’ illegal, unfair,

and/or deceptive acts.




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                By reason of the foregoing, the claims of Plaintiffs and the other Class members

are timely under any applicable statute(s) of limitations, pursuant to the discovery rule, the

equitable tolling doctrine, and fraudulent concealment.

VI.    CAUSES OF ACTION BROUGHT ON BEHALF OF THE MULTI-STATE
       CLASSES

                              COUNT 1 – NEGLIGENCE
 (Individually and On Behalf of the Medical Monitoring Class Against Defendants Dabur,
     Namaste, L’Oréal, Luster, McBride, Revlon, SoftSheen, and Strength of Nature)

                Medical Monitoring Plaintiffs (“Plaintiffs,” for purposes of the Medical Monitoring

Class claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully set

forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the Medical

Monitoring Class against Dabur, Namaste, L’Oréal, Luster, McBride, Revlon, SoftSheen, and

Strength of Nature (“Defendant[s]” for purposes of the Medical Monitoring Class claims).

                At all relevant times, each Defendant had a duty to exercise reasonable care in the

manufacturing, designing, researching, testing, producing, supplying, inspecting, marketing,

labeling, packaging, selling, and distributing of their hair relaxer products.

                Each Defendant owed a duty of care to Plaintiffs and the other Class members to

ensure that the Toxic Hair Relaxer Products it sold in the United States were safe for human

consumption, contained only the ingredients stated on the label, and were not adulterated.

                Defendants’ duty to exercise reasonable care in the advertising and sale of their hair

relaxer products included a duty to warn Plaintiffs and the other Class members of the risks and

dangers associated with their Toxic Hair Relaxer Products that were known or should have been

known to Defendants at the time of the sale of their Toxic Hair Relaxer Products to Plaintiffs and




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the other Class members, including that the products were contained ingredients not specified on

the label that were likely to cause harm to consumers.

               Defendants also owed a continuing duty to Plaintiffs and the other Class members

to remove, recall, or retrofit the unsafe and/or defective Toxic Hair Relaxer Products.

               At all relevant times, Defendants knew or should have known through the exercise

of reasonable care of the dangers associated with the normal and/or intended use of their hair

relaxer products. In particular, Defendants knew or should have known that their Toxic Hair

Relaxer Products significantly increase the risk of uterine and ovarian cancer.

               Each Defendant owed a duty of care to Plaintiffs and the other Class members

because they were foreseeable, reasonable, and probable users of Toxic Hair Relaxer Products.

Each Defendant knew or should have known that its Toxic Hair Relaxer Products were harmful to

humans, contained ingredients other than those stated, and/or were adulterated, and each was in

the best position to uncover and remedy these shortcomings.

               At all relevant times, Defendants knew, or should have known through the exercise

of reasonable care, that ordinary consumers such as Plaintiffs and the other Class members would

not realize the potential risks and dangers of their Toxic Hair Relaxer Products.

               Each Defendant failed to discharge its duty of care. Defendants breached their duty

of care by manufacturing, designing, researching, testing, producing, supplying, inspecting,

marketing, selling, and/or distributing their Toxic Hair Relaxer Products negligently, recklessly,

and/or with extreme carelessness, and by failing to adequately warn of the risks and dangers of

their Toxic Hair Relaxer Products—as described in the allegations above. Such breaches include

but are not limited to:




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              a.      Failing to warn Plaintiffs and the other Class members of the risks and

dangers associated with the use of their Toxic Hair Relaxer Products;

              b.      Failing to properly test their Toxic Hair Relaxer Products to determine the

adequacy or effectiveness of safety measures, if any, prior to releasing their Toxic Hair Relaxer

Products for consumer use;

              c.      Failing to properly test their Toxic Hair Relaxer Products to determine the

increased risk of harm to the endocrine system, including uterine and ovarian cancers, during the

normal and/or intended use of their Toxic Hair Relaxer Products;

              d.      Designing their Toxic Hair Relaxer Products defectively such that they

caused serious injuries or death when used in their intended and reasonably foreseeable manner;

              e.      Failing to inform Plaintiffs and the other Class members as to the safe and

proper methods of handling and using their Toxic Hair Relaxer Products;

              f.      Failing to remove or recall their Toxic Hair Relaxer Products from the

market when Defendants knew or should have known that their Toxic Hair Relaxer Products were

defective and/or dangerous;

              g.      Failing to instruct Plaintiffs and the other Class members as to the methods

for reducing exposure to their Toxic Hair Relaxer Products, which caused increased risk of cancer,

including uterine and ovarian cancer;

              h.      Marketing and labeling their hair relaxer products as safe when Defendants

knew or should have known that their Toxic Hair Relaxer Products were defective and/or

dangerous;




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               i.      Claiming in labeling and marketing that their Toxic Hair Relaxer Products

are safe, healthy, protective, and/or natural, including but not limited to the marketing assertions

quoted and displayed in the facts alleged above; and

               j.      Failing to act like a reasonably prudent company under similar

circumstances.

               Each Defendant knew, or should have known through reasonable care, that the

aforesaid wrongdoing would foreseeably cause injuries and other damage to Plaintiffs and the

other Class members.

               Each of these acts and omissions, taken singularly or in combination, were a

proximate cause of the injuries and damages sustained by Plaintiffs and the other Class members.

               Due to Defendants’ failure to exercise ordinary care and to comply with the duties

associated with selling cosmetic products, Plaintiffs and the other Class members were unable to

discover the dangerous nature of Defendants’ Toxic Hair Relaxer Products.

               Defendants’ acts and omissions constitute gross negligence because they constitute

a total lack of care and an extreme departure from what a reasonably careful company would do

in the same situation to prevent foreseeable harm to Plaintiffs and the other Class members.

               Each Defendant negligently failed to promptly and immediately warn and disclose

to Plaintiffs and the other Class members that use of their hair relaxer products would result in

harm, and that using their products in the intended manner results in toxicity, delaying notice of

this harmful and toxic exposure and thus causing continued exposure and delaying necessary

testing, examinations, surveillance, and treatment.

               Defendants’ negligent conduct created and then exacerbated an unreasonable,

dangerous condition for Plaintiffs and the other Class members.



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               Defendants acted and/or failed to act willfully, and with conscious and reckless

disregard for the rights and interests of Plaintiffs and the other Class members, and Defendants’

acts and omissions had a great probability of causing significant harm, and in fact it resulted in

such harm to Plaintiffs and the other Class members.

               Defendants’ negligence and gross negligence were a substantial factor in causing

and/or contributing to Plaintiffs’ and the other Class members’ harms.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiffs and the other Class members—including their marketing—was fraudulent,

malicious, oppressive, willful, reckless, and/or grossly negligent, and indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               As a direct and proximate result of each Defendant’s negligent conduct, Plaintiffs

and the other Class members have been significantly exposed to Toxic Hair Relaxer Products, have

sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers,

and have suffered and will continue to suffer economic losses and expenses associated with

medically necessary medical monitoring.

               Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

            COUNT 2 – NEGLIGENT MISREPRESENTATION/OMISSION
 (Individually and on Behalf of the Medical Monitoring Class Against Defendants Dabur,
     Namaste, L’Oréal, Luster, McBride, Revlon, SoftSheen, and Strength of Nature)



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                Medical Monitoring Plaintiffs (“Plaintiffs,” for purposes of the Medical Monitoring

Class claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully set

forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the Medical

Monitoring Class against Dabur, Namaste, L’Oréal, Luster, McBride, Revlon, SoftSheen, and

Strength of Nature (“Defendant[s]” for purposes of the Medical Monitoring Class claims).

                Through their labeling and advertising, Defendants made representations to

Plaintiffs and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

                At all relevant times, Defendants had a duty to provide Plaintiffs and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including

warnings of any risks they knew of or should have known of related to using their Toxic Hair

Relaxer Products. Defendants knew or should have known about this duty.

                Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that their representations about the safety of their Toxic Hair Relaxer

Products were false.

                Defendants breached their duty in representing that their Toxic Hair Relaxer

Products have no serious side effects when they knew or should have known that their products

did cause serious side effects as described herein.

                From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer



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Products to Plaintiffs or the public. Defendants failed to fulfill their duty to accurately disclose in

their labeling and advertising that the Toxic Hair Relaxer Products contained toxic chemicals.

                 Additionally, Defendants have a duty to not make false representations with respect

to their Toxic Hair-Straightener and/or Relaxers. At all relevant times, Defendants conducted sales

and marketing campaigns to promote the sale of their Toxic Hair Relaxer Products and willfully

deceived Plaintiffs and the general public about the health risks and adverse consequences of the

use of such products.

                 Defendants’ misrepresentations included but are not limited to the statements in

labels and marketing that their Toxic Hair Relaxer Products are safe, healthy, protective, and/or

natural, including but not limited to the marketing assertions quoted and displayed in the facts

alleged above.

                 Defendants made such representations and failed to disclose such material facts

with the intent to induce consumers, including Plaintiffs and the other Class members, into

purchasing and using their Toxic Hair Relaxer Products.

                 Defendants’ misrepresentations and omissions concealed from Plaintiffs and the

other Class members that Defendants’ Toxic Hair Relaxer Products posed a high risk of

unreasonable, dangerous, health conditions, including but not limited to uterine and ovarian

cancer.

                 Plaintiffs and the other Class members justifiably relied on Defendants’

misrepresentations and nondisclosures to their detriment. Specifically, Plaintiffs and the other

Class members relied on representations that their Toxic Hair Relaxer Products were safe to use

as expected and instructed, when they were not.




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               In reliance on the misrepresentations by Defendants, Plaintiffs and the other Class

members were induced to purchase and use Defendants’ Toxic Hair Relaxer Products.

               As a direct and proximate result of the foregoing negligent misrepresentations by

Defendants, Plaintiffs and the other Class members suffered injuries and damages as alleged

herein.

               Defendants’ omission of material facts also induced Plaintiffs and the other Class

members into purchasing Defendants’ Toxic Hair Relaxer Products. If Plaintiffs and the other

Class members had known of the true facts and the facts concealed by Defendants, Plaintiffs and

the other Class members would not have purchased or used Defendants’ Toxic Hair Relaxer

Products.

               Because of the severe nature of the harms caused by Defendants’ Toxic Hair

Relaxer Products, no reasonable person would have purchased these products if Defendants have

fully apprised the public of the dangers associated with these products.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiffs and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and it indicates a wanton disregard of the rights of

others, justifying an award of punitive or exemplary damages.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiffs and the other

Class members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing the serious and potentially fatal Subject Cancers, and

have suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.



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                Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

                         COUNT 3 – NEGLIGENCE PER SE
 (Individually and on behalf of the Medical Monitoring Class Against Defendants Dabur,
     Namaste, L’Oréal, Luster, McBride, Revlon, SoftSheen, and Strength of Nature)

                Medical Monitoring Plaintiffs (“Plaintiffs,” for purposes of the Medical Monitoring

Class claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully set

forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the Medical

Monitoring Class against Dabur, Namaste, L’Oréal, Luster, McBride, Revlon, SoftSheen, and

Strength of Nature (“Defendant[s]” for purposes of the Medical Monitoring Class claims).

                The Food, Drug, and Cosmetic Act, 21 U.S.C. ch. 9 § 301 et seq., and its

accompanying regulations, are implemented to regulate and promote safety in the design,

manufacturing, marketing, branding, labeling, and sale of food, drugs, and cosmetics, including

Defendants’ Toxic Hair Relaxer Products.

                Upon information and belief, Defendants’ conduct violated one or more statutes or

related regulations, including but not limited to the following:

                a.      21 U.S.C. § 331;

                b.      21 U.S.C. § 361;

                c.      21 U.S. Code § 362; and


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                d.      21 CFR Part 740, including but not limited to 21 CFR § 740.1 and 21 CFR

§ 740.10.

               Plaintiffs are currently unadvised of the full extent of the federal or state safety laws

and regulations that Defendants or their agents may have violated but reserve the right to rely on

such safety laws and regulations shown during discovery.

               Defendants’ violation of such safety laws and regulations constitutes negligence

per se.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiffs and the other

Class members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing the serious and potentially fatal Subject Cancers, and

have suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.

               Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.


                        COUNT 4 – MEDICAL MONITORING
 (Individually and On Behalf of the Medical Monitoring Class Against Defendants Dabur,
     Namaste, L’Oréal, Luster, McBride, Revlon, SoftSheen, and Strength of Nature)

               Medical Monitoring Plaintiffs (“Plaintiffs,” for purposes of the Medical Monitoring

Class claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully set

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forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the Medical

Monitoring Class against Dabur, Namaste, L’Oréal, Luster, McBride, Revlon, SoftSheen, and

Strength of Nature (“Defendant[s]” for purposes of the Medical Monitoring Class claims).

                Through their misrepresentations and omissions, Defendants deceived Plaintiffs

and the other Class members about the harmful nature of their Toxic Hair Relaxer Products.

Through their deception, Defendants succeeded in persuading large segments of the relevant

consumer market to purchase Defendants’ Toxic Hair Relaxer Products despite the presence of

significant dangers, as set forth herein.

                Defendants had a pre-marketing, post-manufacturing, and continuing duty to warn,

which arose when Defendants knew, or with reasonable care should have known, that Defendants’

Toxic Hair Relaxer Products were injurious or fatal.

                Defendants omitted, suppressed, or concealed material facts concerning the dangers

and risks associated with the use of Defendants’ Toxic Hair Relaxer Products, including the risks

of death, disease, and other health problems associated with the use of Defendant’s Toxic Hair

Relaxer Products. Defendants failed to disclose that their Toxic Hair Relaxer Products contained

toxic chemicals, and Defendants downplayed and/or understated the serious nature of the risks

associated with the use of Defendants’ Toxic Hair Relaxer Products. Instead, Defendants

encouraged the use of their Toxic Hair Relaxer Products despite knowledge of the dangerous side

effects that these products present to the consuming population.

                Defendants falsely and deceptively misrepresented, or knowingly omitted,

suppressed, and concealed material facts regarding the ingredients contained within Defendants’

Toxic Hair Relaxer Products, as well as the risk posed by those ingredients to the public.



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               Had Plaintiffs and the other Class members known that Defendants’ Toxic Hair

Relaxer Products contained dangerous ingredients, and/or that those ingredients could cause

serious life-threatening injuries, none of them would have purchased Defendants’ Toxic Hair

Relaxer Products.

               Defendants knew or should have known, and would have known had appropriate

testing been done, that the use of Defendants’ Toxic Hair Relaxer Products caused the serious and

potentially life-threatening adverse health consequences as described herein, including uterine and

ovarian cancer.

               Defendants’ actions, as set forth herein, constitute knowing omission, suppression

or concealment of material facts, made with the intent that others will rely upon such concealment,

suppression or omission, in connection with the marketing of Defendants’ Toxic Hair Relaxer

Products.

               Plaintiffs and the other Class members have used Defendants’ Toxic Hair Relaxer

Products at least four times—an amount sufficient to significantly increase the risk of the Subject

Cancers.

               As a proximate result of consuming Defendants’ Toxic Hair Relaxer Products,

Plaintiffs and the other Class members have been significantly exposed to Toxic Hair Relaxer

Products, have sustained a significantly increased risk of developing the serious and potentially

fatal Subject Cancers, and have suffered and will continue to suffer economic losses and expenses

associated with medically necessary medical monitoring.

               As a direct and proximate result of Defendants’ tortious conduct, it is reasonably

medically necessary for Plaintiffs and Class members to incur, both now and in the future, the cost




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of monitoring, diagnostic testing, clinical examinations, and consultations for the early detection

of the Subject Cancers.

               As a direct and proximate result of Defendants’ tortious and unlawful conduct,

Plaintiffs and the other Class members have suffered and will suffer economic losses and expenses

associated with ongoing medical monitoring.

               The increased susceptibility to injuries and irreparable threat to the health of

Plaintiffs and the other Class members resulting from their exposure to this hazardous substance

can only be mitigated or redressed by medical monitoring for the Subject Cancers, which is

necessary as a result of the use of Defendants’ Toxic Hair Relaxer Products.

               Early detection and diagnosis of cancer is clinically invaluable because it can

prevent, reduce, and/or significantly delay the resulting discomfort, suffering, and/or death.

Medical monitoring is crucial to early detection because these conditions are often asymptomatic

and, therefore, can only be discovered through proper testing.

               There are means to detect the Subject Cancers, caused by the use of Defendants’

Toxic Hair Relaxer Products, at an early stage, such that subsequent treatment would have a higher

chance of success at prolonging life and/or reducing suffering than would exist without early

detection.

               Such medical monitoring procedures must be prescribed by a qualified physician

and may include but are not limited to certain blood and laboratory tests; physical examinations;

imaging (as discussed below); biopsies of the reproductive organs (uterus, ovary) and accessory

organs; and other medical consultations and procedures necessary for diagnosis.

               Specific tests and procedures used to diagnose the Subject Cancers to be included

in a medical monitoring program may include but are not limited to Pap smears; blood tests,



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including CA 125 antigen testing; genetic testing; abdominal ultrasounds; pelvic examinations;

CT scans; and transvaginal ultrasounds.

                The available monitoring regime is specific for individuals exposed to products that

are known to significantly increase the risk of the Subject Cancers because of using Toxic Hair

Relaxer Products. That is because the monitoring regime is different as between women who were

not exposed to the Toxic Hair Relaxer Products, versus Plaintiffs and the other Class members

who are at significantly increased risk of the Subject Cancers by virtue of their exposure to

Defendants’ Toxic Hair Relaxer Products. Such differences include the types, timing, frequency,

and/or scope of screening and diagnostic examinations that would be recommended for women at

this significantly increased risk. The monitoring regime is conducted and analyzed by medical

practitioners skilled in the respective medical areas.

                These monitoring procedures conform to the standard of medical care and are

reasonably medically necessary to ensure that the Subject Cancers can be identified early and

appropriately treated. Said monitoring procedures will facilitate treatment and interventions that

will mitigate the development of, and health effects associated with, the Subject Cancers, which

may in turn increase Plaintiffs’ and the other Class members’ chance of survival. The present value

of the costs of such tests is calculable.

                Plaintiffs’ and the other Class members’ significantly increased risk of the Subject

Cancers, caused by their exposure to Defendants’ Toxic Hair Relaxer Products, can only be

mitigated or addressed by appropriate medical testing.

                Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,



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testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.


                  COUNT 5 – STRICT LIABILITY: DESIGN DEFECT
 (Individually and on Behalf of the Medical Monitoring Class Against Defendants Dabur,
     Namaste, L’Oréal, Luster, McBride, Revlon, SoftSheen, and Strength of Nature)

                Medical Monitoring Plaintiffs (“Plaintiffs,” for purposes of the Medical Monitoring

Class claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully set

forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the Medical

Monitoring Class against Dabur, Namaste, L’Oréal, Luster, McBride, Revlon, SoftSheen, and

Strength of Nature (“Defendant[s]” for purposes of the Medical Monitoring Class claims).

                Defendants designed, manufactured, marketed, and sold their Toxic Hair Relaxer

Products that were used by Plaintiffs and the other Class members, and Defendants were in the

business of selling their Toxic Hair Relaxer Products.

                Defendants’ Toxic Hair Relaxer Products were in an unsafe, defective, and

unreasonably dangerous condition at the time they left Defendants’ possession because of their

design. In particular, Defendants’ Toxic Hair Relaxer Products were defectively designed because

they caused serious injuries and death, including but not limited to uterine cancer and ovarian

cancer.

                Defendants’ Toxic Hair Relaxer Products are unreasonably dangerous as designed

because they do not perform as safely as ordinary consumers, including Plaintiffs and the other

Class members, would expect when used in an intended or reasonably foreseeable manner.

                Defendants’ Toxic Hair Relaxer Products are unreasonably dangerous as designed

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because the danger inherent in their design outweighs the benefits of that design.

               Defendants caused their Toxic Hair Relaxer Products to enter the stream of

commerce and to be sold to consumers, including Plaintiffs and the other Class members, through

a variety of channels, including through sales to hair salons for use with their customers as well as

direct sale to consumers through retail stores.

               Defendants’ Toxic Hair Relaxer Products were expected to, and did, reach

consumers, including Plaintiffs and the other Class members, without substantial change in the

condition in which those products were manufactured and sold or otherwise released into the

stream of commerce by Defendants.

               Plaintiffs and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purposes and in a manner normally intended, recommended, promoted, and

marketed by Defendants.

               Defendants knew or should have known that their products were in a defective

condition as a result of their design, and were unreasonably dangerous when used in an intended

or reasonably foreseeable manner.

               At all times material to Plaintiffs’ and the other Class members’ claims, there were

technologically and economically feasible safer alternative designs that would have prevented or

substantially reduced the risk to Plaintiffs and the other Class members without substantially

impairing the utility of Defendants’ Toxic Hair Relaxer Products.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiffs and the other Class members was fraudulent, malicious, oppressive, willful,

reckless, and/or grossly negligent, and it indicates a wanton disregard of the rights of others,

justifying an award of punitive or exemplary damages.



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                Plaintiffs plead this claim for relief in the broadest sense and seek the full measure

of damages allowed under the applicable governing law, including the common law and, where

and to the extent applicable, all product liability acts, statutes, and laws.

                As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of their Toxic Hair Relaxer Products, Plaintiffs and the other Class

members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing serious and potentially fatal Subject Cancers, and have

suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.

                Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.


                COUNT 6 – STRICT LIABILITY: FAILURE TO WARN
 (Individually and on Behalf of the Medical Monitoring Class Against Defendants Dabur,
     Namaste, L’Oréal, Luster, McBride, Revlon, SoftSheen, and Strength of Nature)

                Medical Monitoring Plaintiffs (“Plaintiffs,” for purposes of the Medical Monitoring

Class claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully set

forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the Medical

Monitoring Class against Dabur, Namaste, L’Oréal, Luster, McBride, Revlon, SoftSheen, and

Strength of Nature (“Defendant[s]” for purposes of the Medical Monitoring Class claims).

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               Defendants designed, manufactured, marketed, and sold their Toxic Hair Relaxer

Products, which were used by Plaintiffs and the other Class members, and Defendants were in the

business of selling Toxic Hair Relaxer Products.

               Defendants’ Toxic Hair Relaxer Products were in an unsafe, defective, and

unreasonably dangerous condition at the time they left Defendants’ possession because they were

not accompanied by adequate warnings.

               In particular, Defendants knew or should have known that their Toxic Hair Relaxer

Products could cause serious injuries and death when used in an intended or reasonably foreseeable

manner, including but not limited to uterine and ovarian cancer. Defendants failed to give

appropriate and adequate warning of such risks. Nor did Defendants warn that the safety of their

Toxic Hair Relaxer Products has not been determined. In fact, Defendants continue to this day to

market and sell their products to consumers without adequate warnings of the risks associated with

their products’ use or the lack of safety determination.

               If Defendants had warned Plaintiffs and the other Class members that use of their

Toxic Hair Relaxer Products in an intended or reasonably foreseeable manner would increase their

risk of being seriously injured, including but not limited to developing uterine or ovarian cancer,

and/or that the safety of the Toxic Hair Relaxer Products had not been determined, Plaintiffs and

the other Class members would not have used their Toxic Hair Relaxer Products.

               Defendants caused their Toxic Hair Relaxer Products to enter the stream of

commerce and to be sold to consumers, including Plaintiffs and the other Class members, through

a variety of channels, including through sales to hair salons for use with their customers and

directly to consumers through retail stores.




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               Defendants’ Toxic Hair Relaxer Products were expected to, and did, reach

consumers, including Plaintiffs and the other Class members, without substantial change in the

condition in which their Toxic Hair Relaxer Products were manufactured and sold or otherwise

released into the stream of commerce by Defendants.

               Plaintiffs and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purposes and in a manner normally intended, recommended, promoted, and

marketed by Defendants.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiffs and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and indicates a wanton disregard of the rights of others,

justifying an award of punitive or exemplary damages.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiffs and the other

Class members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing serious and potentially fatal Subject Cancers, and have

suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.

               Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.



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     COUNT 7 – VIOLATION OF STATE CONSUMER PROTECTION STATUTES
      (Individually and on Behalf of the Nationwide Consumer Class and the Medical
                         Monitoring Class Against All Defendants)

               Plaintiffs incorporate by reference and reallege paragraphs 1 to 180 above, as

though fully set forth herein.

               Plaintiffs bring this cause of action individually and on behalf of the Nationwide

Consumer Class against all Defendants.

               Additionally, Medical Monitoring Plaintiffs bring this cause of action individually

and on behalf of the Medical Monitoring Class against Dabur, Namaste, L’Oréal, Luster, McBride,

Revlon, SoftSheen, and Strength of Nature.

               Defendants engaged in unfair competition or unfair, unconscionable, deceptive, or

fraudulent acts or practices in violation of the following statutes when they misled consumers

regarding the safety risks associated with use of their Toxic Hair Relaxer Products:

               a.    Ala. Code § 8-19-1 et seq.;

               b.    Alaska Stat. § 45.50.471 et seq.;

               c.    Ariz. Rev. Stat. Ann. § 44-1521 et seq.;

               d.    Ark. Code Ann. § 4-88-101 et seq.;

               e.    Cal. Civil Code § 1750 et seq. and Cal. Bus. & Prof. Code § 17200 et seq.;

               f.    Colo. Rev. Stat. § 6-1-101 et seq.;

               g.    Conn. Gen. Stat. Ann. § 42-110a et Seq.;

               h.    Del. Code Ann. tit. 6 § 2511 et seq.;

               i.    D.C. Code Ann. § 28-3901 et seq.;

               j.    Fla. Stat. Ann. § 501.201 et seq.;

               k.    Ga. Code Ann. § 10-1-370 et seq.;

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            l.    Haw. Rev. Stat. § 480-1 et seq. and 481A-1 et seq.;

            m.    Idaho Code § 48-601 et seq.;

            n.    815 Ill. Comp. Stat. 505/1 et seq.;

            o.    Ind. Code Ann. § 24-5-0.5-1 et seq.;

            p.    Iowa Code § 714.16 et seq.;

            q.    Kan. Stat. Ann. § 50-623 et seq.;

            r.    Ky. Rev. Stat. Ann. § 367.170 et seq.;

            s.    La. Rev. Stat. Ann. § 51:1401 et seq.;

            t.    Me. Rev. Stat. Ann. tit. 5, § 205-A et seq.;

            u.    Md. Code Ann., Com. Law § 13-301 et seq.;

            v.    Mass. Gen. Laws ch. 93A, § 1 et seq.;

            w.    Mich. Comp. Laws Ann. § 445.901 et seq.;

            x.    Minn. Stat. §§ 325D.09 et seq., 325D.43 et seq., 325F.67, 325F.68 et seq.,
                  and § 8.31;

            y.    Miss. Code Ann. § 75-24-5 et seq.;

            z.    Mo. Ann. Stat. § 407.010 et seq.;

            aa.   Mont. Code Aim. § 30-14-101 et seq.;

            bb.   Neb. Rev. Stat. § 87-301 et seq.;

            cc.   Nev. Rev. Stat. Ann. §§ 598.0903 et seq. and 41.600;

            dd.   N.H. Rev. Stat. Ann. § 358-A:1 et seq.;

            ee.   N.J. Stat. Ann. § 56:8-1 et seq.;

            ff.   N.M. Stat. Ann. § 57-12-1 et seq.;

            gg.   N.Y. Gen. Bus. Law §§ 349 et seq., 350, 350-a and 350-e et seq.;

            hh.   N.C. Gen. Stat. § 75-1 et seq.;

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               ii.   N.D. Cent. Code §§ 51-12-01 et seq. and 51-15-01 et seq.;

               jj.   Ohio Rev. Code Ann. § 1345.01 et seq.;

               kk.   Okla. Stat. Ann. tit. 15, § 751 et seq.;

               ll.   Or. Rev. Stat. § 646.605 et seq.;

               mm. 73 Pa. Cons. Stat. § 201-1 et seq.;

               nn.   R.I. Gen. Laws § 6-13.1-1 et seq.;

               oo.   S.C. Code Ann. § 39-5-10 et seq.;

               pp.   S.D. Codified Laws § 37-24-1 et seq.;

               qq.   Tenn. Code Ann. § 47-18-101 et seq.;

               rr.   Tex. Bus. & Com. Code Ann. § 17.41 et seq.;

               ss.   Utah Code Ann. § 13-11-1 et Seq.;

               tt.   Vt. Stat. Ann. tit. 9, § 2451 et seq.;

               uu.   Va. Code Ann. § 59.1-196 et seq.;

               vv.   Wash. Rev. Code Ann. § 19.86.010 et seq.;

               ww. W.Va. Code § 46A-6-101 et seq.;

               xx.   Wis. Stat. Ann. §§ 100.18 and 421.101 et seq.;

               yy.   Wyo. Stat. Ann. § 40-12-101 et seq.;

               zz.   American Samoa Code Ann. § 27.0401 et seq.;

               aaa. 4 CMC § 5101 et seq.;

               bbb. 5 Guam Code Ann. § 32102 et seq.; and

               ccc. 12A Virgin Is. Code § 301 et seq.

               As a direct result of Defendants’ deceptive, unfair, unconscionable, and fraudulent

conduct, Plaintiffs and the other Class members suffered and will continue to suffer economic loss



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and other compensable injuries.

               Defendants’ deceptive, unfair, unlawful, and unconscionable practices included but

were not limited to the following practices, done knowingly:

           a. Representing that goods have characteristics, ingredients, uses, or benefits that they
              do not have;

           b. Representing that goods are of a particular standard, quality, or grade if they are of
              another; and

           c. Advertising goods with the intent not to sell them as advertised.

               Defendants’ actions and failure to act—including their false and misleading

representations and omissions of material facts regarding the safety and potential risks of their

Toxic Hair Relaxer Products, as described above—constitute acts, uses or employment by

Defendants of unconscionable commercial practices, deception, fraud, false pretenses, and

misrepresentations. These actions and omissions further constitute the knowing concealment,

suppression, or omission of material facts, done with the intent that Plaintiffs and the other Class

members rely upon such concealment, suppression, or omission of material facts in connection

with the sale of Defendants’ merchandise, in violation of the consumer protection statutes listed

above.

               Defendants’ unfair and deceptive trade practices have caused injuries to consumers,

and the public will benefit from a cessation of these unlawful actions through this litigation.

               By reason of the unlawful acts engaged in by Defendants, Plaintiffs and the other

Class members have suffered ascertainable loss and damages.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed, and/or introduced into the stream of commerce by Defendants, Plaintiffs


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and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss, and will continue to suffer such harm, damages and losses into the future.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiffs and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and Defendants’ conduct indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               Due to the above, Defendants are liable to Plaintiffs and the other Class members

for compensatory, as well as exemplary, multiple, and/or punitive damages to the extent available

and as applicable, in amounts to be proven at trial, together with interest, costs of suit, attorneys’

fees, and all such other relief as the Court deems proper.

               Plaintiffs did not need to send (additional) notice to Defendants of their violations

of the above-referenced statutes because Defendants were already on notice of the defects alleged

herein and of Defendants’ related violations. Defendants received such notice from similar

lawsuits for the same conduct and through other means.

               Plaintiffs and the other Class members would not have purchased the Toxic Hair

Relaxer Products, or alternatively they would have paid less for them, had the truth about the toxic

nature of Defendants’ products been disclosed. Plaintiffs, on behalf of themselves and the other

Class members, seek to recover the actual damages they have suffered.

               Further, as a direct and proximate result of each Defendant’s negligent conduct,

Medical Monitoring Plaintiffs and the Medical Monitoring Class members have been significantly

exposed to Toxic Hair Relaxer Products, have sustained a significantly increased risk of

developing serious and potentially fatal Subject Cancers, and have suffered and will continue to

suffer economic losses and expenses associated with medically necessary medical monitoring.



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               Medical Monitoring Plaintiffs, on behalf of themselves and the other Medical

Monitoring Class members, seek injunctive and monetary relief, including (a) the creation of a

fund to finance notifying Medical Monitoring Class members of their exposure and its potential

consequences, and to fund diagnostic screening, testing, and procedures for the Subject Cancers

for Plaintiffs and the other Class members, and/or compensatory damages to fund this necessary

medical monitoring; (b) attorneys’ fees; (c) costs; (d) interest; and (e) such further relief as this

Court deems equitable and just.


                          COUNT 8 – UNJUST ENRICHMENT
  (Individually and on Behalf of the Nationwide Consumer Class Against All Defendants)

               Plaintiffs incorporate by reference and reallege paragraphs 1 to 180 above, as

though fully set forth herein.

               Plaintiffs bring this cause of action individually and on behalf of the Nationwide

Consumer Class against all Defendants.

               As a result of Defendants’ wrongful and deceptive conduct, Defendants knowingly

and voluntarily accepted and retained wrongful benefits in the form of money paid by Plaintiffs

and the other Class members when they purchased the Toxic Hair Relaxer Products.

               In so doing, Defendants acted with conscious disregard for the rights of Plaintiffs

and the other Class members.

               As an intended and expected result of Defendants’ conscious wrongdoing, as set

forth in this Complaint, Defendants have profited and benefited from payments Plaintiffs and the

other Class members made for their Toxic Hair Relaxer Products.

               Defendants’ unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein.



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               At the time their payments were made, Plaintiffs and the other Class members

expected that Defendants’ Toxic Hair Relaxer Products were safe and effective in the ways

Defendants had represented, and could safely be used for the purposes Defendants advertised their

Toxic Hair Relaxer Products. In exchange for their payments, Plaintiffs and the other Class

members believed they were receiving a safe method for straightening hair that did not involve the

risk of serious adverse health effects.

               Defendants have voluntarily accepted and retained these payments with full

knowledge that, as a result of their wrongdoing, Plaintiffs and the other Class members paid for

Defendants’ Toxic Hair Relaxer Products when they otherwise would not have done so. The failure

of Defendants to provide Plaintiffs and the other Class members with the remuneration expected

enriched Defendants unjustly.

               Under the common law doctrine of unjust enrichment, it is inequitable for

Defendants to be permitted to retain the benefits it received, and is still receiving, without

justification, from the false and deceptive labeling and marketing of the Toxic Hair Relaxer

Products to Plaintiffs and the other Class members.

               Defendants’ retention of such funds under circumstances making it inequitable to

do so constitutes unjust enrichment. It is unjust to allow Defendants to earn and retain revenues,

profits, and benefits from their Toxic Hair Relaxer Products while Plaintiffs and the other Class

members suffered and are suffering serious illnesses, including but not limited to uterine and

ovarian cancer.

               Plaintiffs and the other Class members may assert an unjust enrichment claim even

though a remedy at law may otherwise exist.




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               Plaintiffs, on behalf of themselves and the other Class members, seek restitution

and disgorgement of Defendants’ wrongful revenues, profits, and benefits to the extent and in the

amount deemed appropriate by the Court, and such other relief as the Court deems just and proper

to remedy Defendants’ unjust enrichment.

                   COUNT 9 – BREACH OF EXPRESS WARRANTY
 (Individually and on Behalf of the Nationwide Consumer Class and Medical Monitoring
                              Class against All Defendants)

               Plaintiffs incorporate by reference and reallege paragraphs 1 to 180 above, as

though fully set forth herein.

               Plaintiffs bring this cause of action individually and on behalf of the Nationwide

Consumer Class against all Defendants.

               Additionally, Medical Monitoring Plaintiffs bring this cause of action individually

and on behalf of the Medical Monitoring Class against Dabur, Namaste, L’Oréal, Luster, McBride,

Revlon, SoftSheen, and Strength of Nature.

               As detailed above, Defendants, through their written literature, packaging and

labeling, and through their advertisements, expressly warranted that the Toxic Hair Relaxer

Products were safe and fit for the purposes intended, that they were of merchantable quality, and

that they did not pose dangerous health risks.

               Moreover, the Toxic Hair Relaxer Products’ labeling represents that the regular use

of broad spectrum hair straighteners and/or relaxers is “protective,” and that its use can “decrease

the risk” of skin cancer and early skin aging. Such statements constitute an affirmation of fact or

promise, or a description of the product as being safe and not posing a dangerous health risk.

Defendants breached this express warranty because their Toxic Hair Relaxer Products are not safe.

To the contrary, the Toxic Hair Relaxer Products pose a dangerous health risk because they

increase the risk of uterine and ovarian cancer, as detailed above.
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               Plaintiffs and the other Class members read and relied on these express warranties

provided by Defendants in the packaging and written advertisements.

               Defendants breached their express warranties because the Toxic Hair Relaxer

Products are defective and not reasonably safe for their intended use.

               Defendants’ conduct described herein constitutes a breach of express warranties

under the following statutes:

               a. Ala. Code § 7-2-313, et seq.;

               b. Alaska Stat. § 45.02.313, et seq.;

               c. Ariz. Rev. Stat. § 47-2313, et seq.;

               d. Ark. Code § 4-2-313, et seq.;

               e. Cal. Com. Code § 2313, et seq.;

               f. Cal. Civ. Code § 1790, et seq.;

               g. Colo. Rev. Stat. § 4-2-313, et seq.;

               h. Conn. Gen. Stat. § 42a-2-313, et seq.;

               i. 6 Del. C. § 2-313, et seq.;

               j. D.C. Code § 28:2-313, et seq.;

               k. Fla. Code § 672.313, et seq.;

               l. O.C.G.A. § 11-2-313, et seq.;

               m. Haw. Rev. Stat. § 490:2-313, et seq.;

               n. Idaho Code § 28-2-313, et seq.;

               o. 810 Ill. Comp. Stat. 5/2-313, et seq.;

               p. Ind. Code § 26-1-2-313, et seq.;

               q. Iowa Code § 554.2313, et seq.;



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            r. Kan. Stat. § 84-2-313, et seq.;

            s. Ky. Rev. Stat. § 355.2-313, et seq.;

            t. La. Rev. Stat § 9:2800.53(6) , et seq.;

            u. 11 M.R.S.A. § 2-313, et seq.;

            v. Md. Code Ann., Com. Law § 2-313, et seq.;

            w. Mass. Code 106, § 2-313, et seq.;

            x. Mich. Comp. Laws 440.2313, et seq.;

            y. Minn. Stat. § 336.2-313, et seq.;

            z. Miss. Code § 75-2-313, et seq.;

            aa. Mo. Rev. Stat. § 400.2-313, et seq.;

            bb. Mont. Code § 30-2-313, et seq.;

            cc. Neb. U.C.C. § 2-313, et seq.;

            dd. Nev. Rev. Stat. § 104.2313, et seq.;

            ee. N.H. Rev. Stat. § 382-A:2-313, et seq.;

            ff. N.J. Stat. § 12A:2-313, et seq.;

            gg. N.M. Stat. § 55-2-313, et seq.;

            hh. N.Y. U.C.C. § 2-313, et seq.;

            ii. N.C. Gen. Stat. § 25-2-313, et seq.;

            jj. N.D. Cent. Code § 41-02-30, et seq.;

            kk. Ohio Rev. Code § 1302.26, et seq.;

            ll. Okla. Stat. Tit. 12A, § 2-313, et seq.;

            mm.    Or. Rev. Stat. § 72.3130, et seq.;

            nn. 13 Pa. Cons. Stat. § 2313, et seq.;



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               oo. R.I. Gen. Laws § 6A-2-313, et seq.;

               pp. S.C. Code § 36-2-313, et seq.;

               qq. S.D. Codified Laws § 57A-2-313, et seq.;

               rr. Tenn. Code § 47-2- 313, et seq.;

               ss. V.T.C.A., Bus. & C. § 2.313, et seq.;

               tt. Utah Code § 70A-2-313, et seq.;

               uu. Vt. Stat. Tit. 9A, § 2-313, et seq.;

               vv. Va. Code § 8.2-313, et seq.;

               ww.     Wash. Rev. Code § 62A.2-313, et seq.;

               xx. W. Va. Code § 46-2-313, et seq.;

               yy. Wis. Stat. § 402.313, et seq.;

               zz. Wyo. Stat. § 34.1-2-314, et seq.;

               aaa.    American Samoa Code Ann. § 27.0701, et seq.;

               bbb.    13 Guam Code Ann. § 2313, et seq.;

               ccc.    5 C.M.C. § 2313, et seq.; and

               ddd.    11A Virgin Is. Code § 2-213, et seq.

               Defendants’ conduct described herein also constitutes a breach of express

warranties under the common law of Puerto Rico.

               Defendants’ breach of warranties was a substantial factor in bringing about

Plaintiffs’ and the Class members’ injuries.

               Defendants knew or should have known that the Toxic Hair Relaxer Products did

not conform to their express warranties and representations and that, in fact, the Toxic Hair Relaxer

Products are not safe and pose serious health risks.



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                Plaintiffs and the other Class members have suffered harm on account of

Defendants’ breach of its express warranty regarding the fitness for use and safety of the Toxic

Hair Relaxer Products. Plaintiffs, on behalf of themselves and the other Class members, seek

recovery of actual damages, as well as incidental and consequential damages as a direct and

proximate result of the toxic nature of Defendants’ products (i.e., the “Toxic Defect”), in an

amount to be determined at trial.

                Further, as a direct and proximate result of each Defendant’s breach of its express

warranty, Medical Monitoring Plaintiffs and the Medical Monitoring Class members have been

significantly exposed to Toxic Hair Relaxer Products, have sustained a significantly increased risk

of developing serious and potentially fatal Subject Cancers, and have suffered and will continue

to suffer economic losses and expenses associated with medically necessary medical monitoring.

                Medical Monitoring Plaintiffs, on behalf of themselves and the Medical Monitoring

Class members, seek injunctive and monetary relief, including (a) the creation of a fund to finance

notifying Medical Monitoring Class members of their exposure and its potential consequences,

and to fund diagnostic screening, testing, and procedures for the Subject Cancers for Plaintiffs and

the other Class members, and/or compensatory damages to fund this necessary medical

monitoring; (b) attorneys’ fees; (c) costs; (d) interest; and (e) such further relief as this Court deems

equitable and just.


                 COUNT 10 – BREACH OF IMPLIED WARRANTY OF
               MERCHANTABILITY/FITNESS FOR PARTICULAR USE
(Individually and on behalf of the Nationwide Consumer Class and the Medical Monitoring
                                Class against All Defendants)

                Plaintiffs incorporate by reference and reallege paragraphs 1 to 180 above, as

though fully set forth herein.



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               Plaintiffs bring this cause of action individually and on behalf of the Nationwide

Consumer Class against all Defendants.

               Additionally, Medical Monitoring Plaintiffs bring this cause of action individually

and on behalf of the Medical Monitoring Class against Dabur, Namaste, L’Oréal, Luster, McBride

Research Laboratories, Inc., Revlon, SoftSheen, and Strength of Nature.

               Defendants are in the business of manufacturing, supplying, marketing, advertising,

warranting, and/or selling hair relaxer products.

               Prior to the time that Plaintiffs and the other Class members purchased and/or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew of the uses for which their Toxic Hair

Relaxer Products were intended and impliedly warranted to Plaintiffs, and to the other Class

members, that Defendants’ Toxic Hair Relaxer Products were of merchantable quality and safe

and fit for such intended and ordinary uses. Defendants also impliedly warranted to Plaintiffs and

the other Class members that their Toxic Hair Relaxer Products were of a certain quality.

               Defendants’ warranties included, but are not limited to, the warranties that their

Toxic Hair Relaxer Products are safe, healthy, protective, and/or natural, including but not limited

to the marketing assertions quoted and displayed in the facts alleged above.

               Defendants breached the implied warranties of their Toxic Hair Relaxer Products

sold to Plaintiffs and the other Class members because they were not fit for their ordinary purposes,

or for their intended and reasonably foreseeable uses. Nor were their Toxic Hair Relaxer Products

minimally safe for their expected purpose.

               Defendants’ Toxic Hair Relaxer Products were neither safe for their intended use

nor of merchantable quality, as warranted by Defendants, because their Toxic Hair Relaxer




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Products have dangerous propensities when used as intended and cause severe injuries to users,

including Plaintiffs and the other Class members.

               Similarly, Defendants’ Toxic Hair Relaxer Products were unfit for their particular

purpose—safely straightening hair. Defendants’ Toxic Hair Relaxer Products could not, and do

not, safely straighten hair, and never could do so at any point after leaving Defendants’ control.

               Defendants’ Toxic Hair Relaxer Products were unfit for their ordinary use, were

not of merchantable quality, did not conform to the representations made by Defendants, and/or

were unfit for their particular purpose when they left Defendants’ control.

               At the time that Plaintiffs and the other Class members purchased or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew or should have known that Plaintiffs

and the other Class members would detrimentally rely on Defendants’ misrepresentations

regarding safety.

               Plaintiffs and the other Class members purchased or used Defendants’ Toxic Hair

Relaxer Products reasonably relying upon Defendants’ implied warranties.

               Plaintiffs and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purpose and in the manner intended by Defendants.

               Plaintiffs and the other Class members could not have discovered, through the use

of reasonable care, that Defendants’ implied warranties were false, or that Defendants’ Toxic Hair

Relaxer Products posed danger to them.

               Plaintiffs and the other Class members would not have purchased or used

Defendants’ Toxic Hair Relaxer Products if they had known the truth about the misrepresentations

described above, or that Defendants’ Toxic Hair Relaxer Products were unfit for ordinary use or

their particular purpose.



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               Defendants’ conduct described in this Complaint constitutes a breach of implied

warranties under the following statutes:

                a.   Ala. Code § 7-2-314, et seq.;

                b.   Alaska Stat. § 45.02.314, et seq.;

                c.   Ariz. Rev. Stat. § 47-2314, et seq.;

                d.   Ark. Code § 4-2-314, et seq.;

                e.   Cal. Com. Code § 2314, et seq.;

                f.   Cal. Civ. Code § 1790, et seq.;

                g.   Colo. Rev. Stat. § 4-2-314, et seq.;

                h.   Conn. Gen. Stat. § 42a-2-314, et seq.;

                i.   6 Del. C. § 2-314, et seq.;

                j.   D.C. Code § 28:2-314, et seq.;

                k.   Fla. Code § 672.314, et seq.;

                l.   O.C.G.A. § 11-2-314, et seq.;

                m. Haw. Rev. Stat. § 490:2-314, et seq.;

                n.   Idaho Code § 28-2-314, et seq.;

                o.   810 Ill. Comp. Stat. 5/2-314, et seq.;

                p.   Ind. Code § 26-1-2-314, et seq.;

                q.   Iowa Code § 554.2314, et seq.;

                r.   Kan. Stat. § 84-2-314, et seq.;

                s.   Ky. Rev. Stat. § 355.2-314, et seq.;

                t.   La. Rev. Stat § 9:2800.53(6) , et seq.;

                u.   11 M.R.S.A. § 2-314, et seq.;



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            v.    Md. Code Ann., Com. Law § 2-314, et seq.;

            w. Mass. Code 106, § 2-314, et seq.;

            x.    Mich. Comp. Laws 440.2314, et seq.;

            y.    Minn. Stat. § 336.2-314, et seq.;

            z.    Miss. Code § 75-2-314, et seq.;

            aa. Mo. Rev. Stat. § 400.2-314, et seq.;

            bb. Mont. Code § 30-2-314, et seq.;

            cc. Neb. U.C.C. § 2-314, et seq.;

            dd. Nev. Rev. Stat. § 104.2314, et seq.;

            ee. N.H. Rev. Stat. § 382-A:2-314, et seq.;

            ff. N.J. Stat. § 12A:2-314, et seq.;

            gg. N.M. Stat. § 55-2-314, et seq.;

            hh. N.Y. U.C.C. § 2-314, et seq.;

            ii.   N.C. Gen. Stat. § 25-2-314, et seq.;

            jj.   N.D. Cent. Code § 41-02-30, et seq.;

            kk. Ohio Rev. Code § 1302.26, et seq.;

            ll.   Okla. Stat. Tit. 12A, § 2-314, et seq.;

            mm. Or. Rev. Stat. § 72.3130, et seq.;

            nn. 13 Pa. Cons. Stat. § 2314, et seq.;

            oo. R.I. Gen. Laws § 6A-2-314, et seq.;

            pp. S.C. Code § 36-2-313, et seq.;

            qq. S.D. Codified Laws § 57A-2-313, et seq.;

            rr. Tenn. Code § 47-2- 314, et seq.;



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               ss. V.T.C.A., Bus. & C. § 2.314, et seq.;

               tt.   Utah Code § 70A-2-314, et seq.;

               uu. Vt. Stat. Tit. 9A, § 2-314, et seq.;

               vv. Va. Code § 8.2-314, et seq.;

               ww. Wash. Rev. Code § 62A.2-314, et seq.;

               xx. W. Va. Code § 46-2-314, et seq.;

               yy. Wis. Stat. § 402.314, et seq.;

               zz. Wyo. Stat. § 34.1-2-314, et seq.;

               aaa. American Samoa Code Ann. § 27.0701, et seq.;

               bbb. 13 Guam Code Ann. §§ 2314 and 2315, et seq.;

               ccc. 5 C.M.C. §§ 2314 and 2315, et seq.; and

               ddd. 11A Virgin Is. Code §§ 2-214 and 2-215, et seq.

              Defendants’ conduct described in this Complaint also constitutes a breach of

implied warranties under the common law of Puerto Rico.

              Defendants’ Toxic Hair Relaxer Products are consumer products, and Plaintiffs and

the other Class members are consumers. Defendants are suppliers and/or warrantors of the

defective Toxic Hair Relaxer Products, and Defendants breached their implied warranties as

described above.

              Defendants’ breach of warranties were a substantial factor in causing Plaintiffs’ and

the other Class members’ injuries.

              As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiffs



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and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss, and will continue to suffer such harm, damages and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiffs and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and it indicates a wanton disregard of the rights of others, justifying an award

of punitive or exemplary damages.

               Plaintiffs did not need to send (additional) notice to Defendants of their violations

of the above-referenced statutes because Defendants were already on notice of the defects alleged

herein and of Defendants’ related violations. Defendants received such notice from similar

lawsuits for the same conduct and through other means.

               Plaintiffs, on behalf of themselves and the other Class members, seek recovery of

actual damages, as well as incidental and consequential damages, as a direct and proximate result

of Defendants’ breach of their implied warranties, in an amount to be determined at trial.

               Additionally, as a direct and proximate result of each Defendant’s wrongful

conduct, Plaintiffs and the other Class members have been significantly exposed to Toxic Hair

Relaxer Products, have sustained a significantly increased risk of developing serious and

potentially fatal Subject Cancers, and have suffered and will continue to suffer economic losses

and expenses associated with medically necessary medical monitoring.

               Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;



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(d) interest; and (e) such further relief as this Court deems equitable and just.

                        COUNT 11 – FRAUDULENT OMISSION
  (Individually and on Behalf of the Nationwide Consumer Class Against All Defendants)

               Plaintiffs incorporate by reference and reallege paragraphs 1 to 180 above, as

though fully set forth herein.

               Plaintiffs bring this cause of action individually and on behalf of the Nationwide

Consumer Class against all Defendants.

               Through their labeling and advertising, Defendants made representations to

Plaintiffs and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

               At all relevant times, Defendants had a duty to provide Plaintiffs and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including

warnings about any risks they knew of, or should have known of, posed by their Toxic Hair Relaxer

Products .

               Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that they had a duty to both learn and disclose the dangers associated with

their Toxic Hair Relaxer Products.

               From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiffs or the other Class members. Defendants failed to fulfill their duty to

accurately disclose in their labeling and advertising that the Toxic Hair Relaxer Products contained

toxic chemicals.

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               Defendants failed to disclose such material facts with the intent to induce

consumers, including Plaintiffs and the other Class members, into purchasing and using their hair

relaxer products.

               Such failures to disclose on the part of Defendants amount to fraudulent omission.

               Plaintiffs and the other Class members justifiably relied on Defendants’

nondisclosures to their detriment.

               In reliance on Defendants’ omissions, Plaintiffs and the other Class members were

induced to purchase and use Defendants’ Toxic Hair Relaxer Products. If Plaintiffs and the other

Class members had known of the facts concealed by Defendants, including facts revealing the

toxic nature of Defendants’ products, then Plaintiffs and the other Class members would not have

purchased or used Defendants’ Toxic Hair Relaxer Products.

               As a direct and proximate result of the foregoing fraudulent omissions by

Defendants, Plaintiffs and the other Class members suffered injuries and damages as alleged

herein.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiffs and the other

Class members suffered serious injury, harm, damages, and economic and non-economic loss.

They will continue to suffer such harm, damages, and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiffs and the other Class members was malicious, oppressive, willful, reckless,

and/or grossly negligent, and indicates a wanton disregard of the rights of others, justifying an

award of punitive or exemplary damages.




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                 Plaintiffs, on behalf of themselves and the other Class members, seek recovery of

actual damages, as well as incidental and consequential damages, as a direct and proximate result

of Defendants’ fraudulent omissions regarding the Toxic Defect, in an amount to be determined at

trial.

VII.     CAUSES OF ACTION BROUGHT ON BEHALF OF THE STATEWIDE CLASSES

               A. Alabama

  COUNT 12 – VIOLATIONS OF THE ALABAMA DECEPTIVE TRADE PRACTICES
                                          ACT
 (Individually and on Behalf of the Alabama Consumer Class Against Defendants L’Oréal,
          SoftSheen, Avlon, JF Labs, Dabur, Namaste, and House of Cheatham)

                 Plaintiffs Harris and Provo (“Plaintiffs,” for purposes of the Alabama Consumer

Class’s claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully

set forth herein.

                 Plaintiffs bring this cause of action individually and on behalf of the Alabama

Consumer Class.

                 Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the Alabama Deceptive Trade Practices Act, Ala. Code

§ 8-19-1 et seq., when they misled consumers regarding the safety risks associated with use of

their Toxic Hair Relaxer Products. As a direct result of Defendants’ deceptive, unfair,

unconscionable, and fraudulent conduct, Plaintiffs and the other Class members suffered and will

continue to suffer economic loss and other compensable injuries.

                 Defendants’ deceptive, unfair, unlawful, and unconscionable practices included but

were not limited to the following practices, done knowingly:

          a.        Representing that goods have characteristics, ingredients, uses, or benefits that
                     they do not have;



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         b.      Representing that goods are of a particular standard, quality, or grade if they are
                 of another; and

         c.      Advertising goods with the intent not to sell them as advertised.

               Defendants’ actions and failure to act—including their false and misleading

representations and omissions of material facts regarding the safety and potential risks of their

Toxic Hair Relaxer Products, as described above—constitute acts, uses or employment by

Defendants of unconscionable commercial practices, deception, fraud, false pretenses, and

misrepresentations. These actions and omissions further constitute the knowing concealment,

suppression, or omission of material facts, done with the intent that Plaintiffs and the other Class

members rely upon such concealment, suppression, or omission of material facts in connection

with the sale of Defendants’ merchandise, in violation of the Alabama Deceptive Trade Practices

Act.

               Defendants’ unfair and deceptive trade practices have caused injuries to consumers,

and the public will benefit from a cessation of these unlawful actions through this litigation.

               By reason of the unlawful acts engaged in by Defendants, Plaintiffs and the other

Class members have suffered ascertainable loss and damages.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiffs

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses in the future.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiffs and the other Class members was fraudulent, malicious, oppressive,




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willful, reckless, and/or grossly negligent, and Defendants’ conduct indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

                Due to the above, Defendants are liable to Plaintiffs and the other Class members

for compensatory, as well as exemplary, multiple, and/or punitive damages to the extent available

and as applicable, in amounts to be proven at trial, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.

                Plaintiffs did not need to send (additional) notice to Defendants of their violations

of the Alabama Deceptive Trade Practices Act pled in this Complaint because Defendants were

already on notice of the defects alleged herein and of Defendants’ related violations. Defendants

received such notice from similar lawsuits for the same conduct and through other means.

                Plaintiffs and the other Class members would not have purchased the Toxic Hair

Relaxer Products, or alternatively they would have paid less for them, had the truth about the toxic

nature of Defendants’ products been disclosed. Plaintiffs, on behalf of themselves and the other

Class members, seek to recover the actual damages they have suffered.

                        COUNT 13 – UNJUST ENRICHMENT
(Individually and on Behalf of the Alabama Consumer Class Against Defendants L’Oréal,
         SoftSheen, Avlon, JF Labs, Dabur, Namaste, and House of Cheatham)

                Plaintiffs Harris and Provo (“Plaintiffs,” for purposes of the Alabama Consumer

Class’s claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the Alabama

Consumer Class.




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               As a result of Defendants’ wrongful and deceptive conduct, Defendants knowingly

and voluntarily accepted and retained wrongful benefits in the form of money paid by Plaintiffs

and the other Class members when they purchased the Toxic Hair Relaxer Products.

               In so doing, Defendants acted with conscious disregard for the rights of Plaintiffs

and the other Class members.

               As an intended and expected result of Defendants’ conscious wrongdoing as set

forth in this Complaint, Defendants have profited and benefited from payments Plaintiffs and the

other Class members made for their Toxic Hair Relaxer Products.

               Defendants’ unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein.

               At the time their payments were made, Plaintiffs and the other Class members

expected that Defendants’ Toxic Hair Relaxer Products were safe and effective in the ways

Defendants had represented, and could safely be used for the purposes Defendants advertised their

Toxic Hair Relaxer Products. In exchange for their payments, Plaintiffs and the other Class

members believed they were receiving a safe method for straightening hair that did not involve the

risk of serious adverse health effects.

               Defendants have voluntarily accepted and retained these payments with full

knowledge that, as a result of their wrongdoing, Plaintiffs and the other Class members paid for

Defendants’ Toxic Hair Relaxer Products when they otherwise would not have done so. The failure

of Defendants to provide Plaintiffs and the other Class members with the remuneration expected

enriched Defendants unjustly.

               Under the common law doctrine of unjust enrichment, it is inequitable for

Defendants to be permitted to retain the benefits it received, and is still receiving, without



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justification, from the false and deceptive labeling and marketing of the Toxic Hair Relaxer

Products to Plaintiffs and the other Class members.

                Defendants’ retention of such funds under circumstances making it inequitable to

do so constitutes unjust enrichment. It is unjust to allow Defendants to earn and retain revenues,

profits, and benefits from their Toxic Hair Relaxer Products while Plaintiffs and the other Class

members suffered and are suffering serious illnesses, including but not limited to uterine and

ovarian cancer.

                Plaintiffs and the other Class members may assert an unjust enrichment claim even

though a remedy at law may otherwise exist.

                Plaintiffs, on behalf of themselves and the other Class members, seek restitution

and disgorgement of Defendants’ wrongful revenues, profits, and benefits to the extent and in the

amount deemed appropriate by the Court, and such other relief as the Court deems just and proper

to remedy Defendants’ unjust enrichment.

                  COUNT 14 – BREACH OF EXPRESS WARRANTY
(Individually and on Behalf of the Alabama Consumer Class Against Defendants L’Oréal,
         SoftSheen, Avlon, JF Labs, Dabur, Namaste, and House of Cheatham)

                Plaintiffs Harris and Provo (“Plaintiffs,” for purposes of the Alabama Consumer

Class’s claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the Alabama

Consumer Class.

                As detailed above, Defendants, through their written literature, packaging and

labeling, and through their advertisements, expressly warranted that the Toxic Hair Relaxer




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Products were safe and fit for the purposes intended, that they were of merchantable quality, and

that they did not pose dangerous health risks.

               Moreover, the Toxic Hair Relaxer Products’ labeling represents that the regular use

of broad spectrum hair straighteners and/or relaxers is “protective,” and that its use can “decrease

the risk” of skin cancer and early skin aging. Such statements constitute an affirmation of fact or

promise, or a description of the product as being safe and not posing a dangerous health risk.

Defendants breached this express warranty because their Toxic Hair Relaxer Products are not safe.

To the contrary, the Toxic Hair Relaxer Products pose a dangerous health risk because they

increase the risk of uterine and ovarian cancer, as detailed above.

               Plaintiffs and the other Class members read and relied on these express warranties

provided by Defendants in the packaging and written advertisements.

               Defendants breached its express warranties under Ala. Code § 7-2-313, et seq.

because the Toxic Hair Relaxer Products are defective and not reasonably safe for their intended

use.

               Defendants knew or should have known that the Toxic Hair Relaxer Products did

not conform to their express warranties and representations and that, in fact, the Toxic Hair Relaxer

Products are not safe and pose serious health risks.

               Plaintiffs and the other Class members have suffered harm on account of

Defendants’ breach of its express warranty regarding the fitness for use and safety of the Toxic

Hair Relaxer Products. Plaintiffs, on behalf of themselves and the other Class members, seek

recovery of actual damages, as well as incidental and consequential damages as a direct and

proximate result of the Toxic Defect, in an amount to be determined at trial.




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                       COUNT 15 – FRAUDULENT OMISSION
(Individually and on Behalf of the Alabama Consumer Class Against Defendants L’Oréal,
         SoftSheen, Avlon, JF Labs, Dabur, Namaste, and House of Cheatham)

                Plaintiffs Harris and Provo (“Plaintiffs,” for purposes of the Alabama Consumer

Class’s claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the Alabama

Consumer Class.

                Through their labeling and advertising, Defendants made representations to

Plaintiffs and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

                At all relevant times, Defendants had a duty to provide Plaintiffs and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including

warnings about any risks they knew of, or should have known of, posed by their Toxic Hair Relaxer

Products.

                Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that they had a duty to both learn and disclose the dangers associated with

their Toxic Hair Relaxer Products.

                From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiffs or the other Class members. Defendants failed to fulfill their duty to




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accurately disclose in their labeling and advertising that the Toxic Hair Relaxer Products contained

toxic chemicals.

               Defendants failed to disclose such material facts with the intent to induce

consumers, including Plaintiffs and the other Class members, into purchasing and using their hair

relaxer products.

               Such failures to disclose on the part of Defendants amount to fraudulent omission.

               Plaintiffs and the other Class members justifiably relied on Defendants’

nondisclosures to their detriment.

               In reliance on Defendants’ omissions, Plaintiffs and the other Class members were

induced to purchase and use Defendants’ Toxic Hair Relaxer Products. If Plaintiffs and the other

Class members had known of the facts concealed by Defendants, including facts revealing the

toxic nature of Defendants’ products, then Plaintiffs and the other Class members would not have

purchased or used Defendants’ Toxic Hair Relaxer Products.

               As a direct and proximate result of the foregoing fraudulent omissions by

Defendants, Plaintiffs and the other Class members suffered injuries and damages as alleged

herein.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiffs and the other

Class members suffered serious injury, harm, damages, and economic and non-economic loss.

They will continue to suffer such harm, damages, and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiffs and the other Class members was malicious, oppressive, willful, reckless,




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and/or grossly negligent, and indicates a wanton disregard of the rights of others, justifying an

award of punitive or exemplary damages.

                Plaintiffs, on behalf of themselves and the other Class members, seek recovery of

actual damages, as well as incidental and consequential damages, as a direct and proximate result

of Defendants’ fraudulent omissions regarding the Toxic Defect, in an amount to be determined at

trial.

            B. Arizona

                               COUNT 16 – NEGLIGENCE
 (Individually and on Behalf of the Arizona Medical Monitoring Class Against Defendants
          L’Oréal, SoftSheen, Strength of Nature, Namaste, Dabur, and Luster)

                Plaintiffs Richardson and Washington (“Plaintiffs,” for purposes of the Arizona

Classes’ claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the Arizona

Medical Monitoring Class.

                At all relevant times, each Defendant had a duty to exercise reasonable care in the

manufacturing, designing, researching, testing, producing, supplying, inspecting, marketing,

labeling, packaging, selling, and distributing of their hair relaxer products.

                Each Defendant owed a duty of care to Plaintiffs and the other Class members to

ensure that the Toxic Hair Relaxer Products it sold in the United States were safe for human

consumption, contained only the ingredients stated on the label, and were not adulterated.

                Defendants’ duty to exercise reasonable care in the advertising and sale of their hair

relaxer products included a duty to warn Plaintiffs and the other Class members of the risks and

dangers associated with their Toxic Hair Relaxer Products that were known or should have been



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known to Defendants at the time of the sale of their Toxic Hair Relaxer Products to Plaintiffs and

the other Class members, including that the products were contained ingredients not specified on

the label that were likely to cause harm to consumers.

               Defendants also owed a continuing duty to Plaintiffs and the other Class members

to remove, recall, or retrofit the unsafe and/or defective Toxic Hair Relaxer Products.

               At all relevant times, Defendants knew or should have known through the exercise

of reasonable care of the dangers associated with the normal and/or intended use of their hair

relaxer products. In particular, Defendants knew or should have known that their Toxic Hair

Relaxer Products significantly increase the risk of uterine and ovarian cancer.

               Each Defendant owed a duty of care to Plaintiffs and the other Class members

because they were foreseeable, reasonable, and probable users of Toxic Hair Relaxer Products.

Each Defendant knew or should have known that its Toxic Hair Relaxer Products were harmful to

humans, contained ingredients other than those stated, and/or were adulterated, and each was in

the best position to uncover and remedy these shortcomings.

               At all relevant times, Defendants knew, or should have known through the exercise

of reasonable care, that ordinary consumers such as Plaintiffs and the other Class members would

not realize the potential risks and dangers of their Toxic Hair Relaxer Products.

               Each Defendant failed to discharge its duty of care. Defendants breached their duty

of care by manufacturing, designing, researching, testing, producing, supplying, inspecting,

marketing, selling, and/or distributing their Toxic Hair Relaxer Products negligently, recklessly,

and/or with extreme carelessness, and by failing to adequately warn of the risks and dangers of

their Toxic Hair Relaxer Products—as described in the allegations above. Such breaches include

but are not limited to:



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              a.     Failing to warn Plaintiffs and the other Class members of the risks and

dangers associated with the use of their Toxic Hair Relaxer Products;

              b.     Failing to properly test their Toxic Hair Relaxer Products to determine the

adequacy or effectiveness of safety measures, if any, prior to releasing their Toxic Hair Relaxer

Products for consumer use;

              c.     Failing to properly test their Toxic Hair Relaxer Products to determine the

increased risk of harm to the endocrine system, including uterine and ovarian cancers, during the

normal and/or intended use of their Toxic Hair Relaxer Products;

              d.     Designing their Toxic Hair Relaxer Products defectively such that they

caused serious injuries or death when used in their intended and reasonably foreseeable manner;

              e.     Failing to inform Plaintiffs and the other Class members as to the safe and

proper methods of handling and using their Toxic Hair Relaxer Products;

              f.     Failing to remove or recall their Toxic Hair Relaxer Products from the

market when Defendants knew or should have known that their Toxic Hair Relaxer Products were

defective and/or dangerous;

              g.     Failing to instruct Plaintiffs and the other Class members as to the methods

for reducing exposure to their Toxic Hair Relaxer Products, which caused increased risk of cancer,

including uterine and ovarian cancer;

              h.     Marketing and labeling their hair relaxer products as safe when Defendants

knew or should have known that their Toxic Hair Relaxer Products were defective and/or

dangerous;




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               i.      Claiming in labeling and marketing that their Toxic Hair Relaxer Products

are safe, healthy, protective, and/or natural, including but not limited to the marketing assertions

quoted and displayed in the facts alleged above; and

               j.      Failing to act like a reasonably prudent company under similar

circumstances.

               Each Defendant knew, or should have known through reasonable care, that the

aforesaid wrongdoing would foreseeably cause injuries and other damage to Plaintiffs and the

other Class members.

               Each of these acts and omissions, taken singularly or in combination, were a

proximate cause of the injuries and damages sustained by Plaintiffs and the other Class members.

               Due to Defendants’ failure to exercise ordinary care and to comply with the duties

associated with selling cosmetic products, Plaintiffs and the other Class members were unable to

discover the dangerous nature of Defendants’ Toxic Hair Relaxer Products.

               Defendants’ acts and omissions constitute gross negligence because they constitute

a total lack of care and an extreme departure from what a reasonably careful company would do

in the same situation to prevent foreseeable harm to Plaintiffs and the other Class members.

               . Each Defendant negligently failed to promptly and immediately warn and disclose

to Plaintiffs and the other Class members that use of their hair relaxer products would result in

harm, and that using their products in the intended manner results in toxicity, delaying notice of

this harmful and toxic exposure and thus causing continued exposure and delaying necessary

testing, examinations, surveillance, and treatment.

               Defendants’ negligent conduct created and then exacerbated an unreasonable,

dangerous condition for Plaintiffs and the other Class members.



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               Defendants acted and/or failed to act willfully, and with conscious and reckless

disregard for the rights and interests of Plaintiffs and the other Class members, and Defendants’

acts and omissions had a great probability of causing significant harm, and in fact it resulted in

such harm to Plaintiffs and the other Class members.

               Defendants’ negligence and gross negligence were a substantial factor in causing

and/or contributing to Plaintiffs’ and the other Class members’ harms.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiffs and the other Class members—including their marketing—was fraudulent,

malicious, oppressive, willful, reckless, and/or grossly negligent, and indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               As a direct and proximate result of each Defendant’s negligent conduct, Plaintiffs

and the other Class members have been significantly exposed to Toxic Hair Relaxer Products, have

sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers,

and have suffered and will continue to suffer economic losses and expenses associated with

medically necessary medical monitoring.

               Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.




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            COUNT 17 – NEGLIGENT MISREPRESENTATION/OMISSION
 (Individually and on Behalf of the Arizona Medical Monitoring Class Against Defendants
          L’Oréal, SoftSheen, Strength of Nature, Namaste, Dabur, and Luster)

                Plaintiffs Richardson and Washington (“Plaintiffs,” for purposes of the Arizona

Classes’ claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the Arizona

Medical Monitoring Class.

                Through their labeling and advertising, Defendants made representations to

Plaintiffs and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

                At all relevant times, Defendants had a duty to provide Plaintiffs and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including

warnings of any risks they knew of or should have known of related to using their Toxic Hair

Relaxer Products. Defendants knew or should have known about this duty.

                Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that their representations about the safety of their Toxic Hair Relaxer

Products were false.

                Defendants breached their duty in representing that their Toxic Hair Relaxer

Products have no serious side effects when they knew or should have known that their products

did cause serious side effects as described herein.

                From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,



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Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiffs or the public. Defendants failed to fulfill their duty to accurately disclose in

their labeling and advertising that the Toxic Hair Relaxer Products contained toxic chemicals.

                 Additionally, Defendants have a duty to not make false representations with respect

to their Toxic Hair Relaxer Products. At all relevant times, Defendants conducted sales and

marketing campaigns to promote the sale of their Toxic Hair Relaxer Products and willfully

deceived Plaintiffs and the general public about the health risks and adverse consequences of the

use of such products.

                 Defendants’ misrepresentations included but are not limited to the statements in

labels and marketing that their Toxic Hair Relaxer Products are safe, healthy, protective, and/or

natural, including but not limited to the marketing assertions quoted and displayed in the facts

alleged above.

                 Defendants made such representations and failed to disclose such material facts

with the intent to induce consumers, including Plaintiffs and the other Class members, into

purchasing and using their Toxic Hair Relaxer Products.

                 Defendants’ misrepresentations and omissions concealed from Plaintiffs and the

other Class members that Defendants’ Toxic Hair Relaxer Products posed a high risk of

unreasonable, dangerous, health conditions, including but not limited to uterine and ovarian

cancer.

                 Plaintiffs and the other Class members justifiably relied on Defendants’

misrepresentations and nondisclosures to their detriment. Specifically, Plaintiffs and the other

Class members relied on representations that their Toxic Hair Relaxer Products were safe to use

as expected and instructed, when they were not.



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               In reliance on the misrepresentations by Defendants, Plaintiffs and the other Class

members were induced to purchase and use Defendants’ Toxic Hair Relaxer Products.

               As a direct and proximate result of the foregoing negligent misrepresentations by

Defendants, Plaintiffs and the other Class members suffered injuries and damages as alleged

herein.

               Defendants’ omission of material facts also induced Plaintiffs and the other Class

members into purchasing Defendants’ Toxic Hair Relaxer Products. If Plaintiffs and the other

Class members had known of the true facts and the facts concealed by Defendants, Plaintiffs and

the other Class members would not have purchased or used Defendants’ Toxic Hair Relaxer

Products.

               Because of the severe nature of the harms caused by Defendants’ Toxic Hair

Relaxer Products, no reasonable person would have purchased these products if Defendants have

fully apprised the public of the dangers associated with these products.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiffs and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and it indicates a wanton disregard of the rights of

others, justifying an award of punitive or exemplary damages.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiffs and the other

Class members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing the serious and potentially fatal Subject Cancers, and

have suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.



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                Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

                         COUNT 18 – NEGLIGENCE PER SE
 (Individually and on behalf of the Arizona Medical Monitoring Class Against Defendants
          L’Oréal, SoftSheen, Strength of Nature, Namaste, Dabur, and Luster)

                Plaintiffs Richardson and Washington (“Plaintiffs,” for purposes of the Arizona

Classes’ claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the Arizona

Medical Monitoring Class.

                The Food, Drug, and Cosmetic Act, 21 U.S.C. ch. 9 § 301 et seq., and its

accompanying regulations, are implemented to regulate and promote safety in the design,

manufacturing, marketing, branding, labeling, and sale of food, drugs, and cosmetics, including

Defendants’ Toxic Hair Relaxer Products.

                Upon information and belief, Defendants’ conduct violated one or more statutes or

related regulations, including but not limited to the following:

                    a.   21 U.S.C. § 331;

                    b.   21 U.S.C. § 361;

                    c.   21 U.S. Code § 362; and

                    d.   21 CFR Part 740, including but not limited to 21 CFR § 740.1 and 21 CFR


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§ 740.10.

                Plaintiffs are currently unadvised of the full extent of the federal or state safety laws

and regulations that Defendants or their agents may have violated but reserve the right to rely on

such safety laws and regulations shown during discovery.

                Defendants’ violation of such safety laws and regulations constitutes negligence

per se.

                As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiffs and the other

Class members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing the serious and potentially fatal Subject Cancers, and

have suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.

                Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

                 COUNT 19 – STRICT LIABILITY: DESIGN DEFECT
(Individually and on Behalf of the Arizona Medical Monitoring Classes Against Defendants
          L’Oréal, SoftSheen, Strength of Nature, Namaste, Dabur, and Luster)

                Plaintiffs Richardson and Washington (“Plaintiffs,” for purposes of the Arizona

Classes’ claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully

set forth herein.



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               Plaintiffs bring this cause of action individually and on behalf of the Arizona

Medical Monitoring Class.

               Defendants designed, manufactured, marketed, and sold their Toxic Hair Relaxer

Products that were used by Plaintiffs and the other Class members, and Defendants were in the

business of selling their Toxic Hair Relaxer Products.

               Defendants’ Toxic Hair Relaxer Products were in an unsafe, defective, and

unreasonably dangerous condition at the time they left Defendants’ possession because of their

design. In particular, Defendants’ Toxic Hair Relaxer Products were defectively designed because

they caused serious injuries and death, including but not limited to uterine cancer and ovarian

cancer.

               Defendants’ Toxic Hair Relaxer Products are unreasonably dangerous as designed

because they do not perform as safely as ordinary consumers, including Plaintiffs and the other

Class members, would expect when used in an intended or reasonably foreseeable manner.

               Defendants’ Toxic Hair Relaxer Products are unreasonably dangerous as designed

because the danger inherent in their design outweighs the benefits of that design.

               Defendants caused their Toxic Hair Relaxer Products to enter the stream of

commerce and to be sold to consumers, including Plaintiffs and the other Class members, through

a variety of channels, including through sales to hair salons for use with their customers as well as

direct sale to consumers through retail stores.

               Defendants’ Toxic Hair Relaxer Products were expected to, and did, reach

consumers, including Plaintiffs and the other Class members, without substantial change in the

condition in which those products were manufactured and sold or otherwise released into the

stream of commerce by Defendants.



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                Plaintiffs and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purposes and in a manner normally intended, recommended, promoted, and

marketed by Defendants.

                Defendants knew or should have known that their products were in a defective

condition as a result of their design, and were unreasonably dangerous when used in an intended

or reasonably foreseeable manner.

                At all times material to Plaintiffs’ and the other Class members’ claims, there were

technologically and economically feasible safer alternative designs that would have prevented or

substantially reduced the risk to Plaintiffs and the other Class members without substantially

impairing the utility of Defendants’ Toxic Hair Relaxer Products.

                Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiffs and the other Class members was fraudulent, malicious, oppressive, willful,

reckless, and/or grossly negligent, and it indicates a wanton disregard of the rights of others,

justifying an award of punitive or exemplary damages.

                Plaintiffs plead this claim for relief in the broadest sense and seek the full measure

of damages allowed under the applicable governing law, including the common law and, where

and to the extent applicable, all product liability acts, statutes, and laws.

                As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of their Toxic Hair Relaxer Products, Plaintiffs and the other Class

members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing serious and potentially fatal Subject Cancers, and have

suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.



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                Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

                COUNT 20 – STRICT LIABILITY: FAILURE TO WARN
(Individually and on Behalf of the Arizona Medical Monitoring Classes Against Defendants
          L’Oréal, SoftSheen, Strength of Nature, Namaste, Dabur, and Luster)

                Plaintiffs Richardson and Washington (“Plaintiffs,” for purposes of the Arizona

Classes’ claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the Arizona

Medical Monitoring Class.

                Defendants designed, manufactured, marketed, and sold their Toxic Hair Relaxer

Products, which were used by Plaintiffs and the other Class members, and Defendants were in the

business of selling Toxic Hair Relaxer Products.

                Defendants’ Toxic Hair Relaxer Products were in an unsafe, defective, and

unreasonably dangerous condition at the time they left Defendants’ possession because they were

not accompanied by adequate warnings.

                In particular, Defendants knew or should have known that their Toxic Hair Relaxer

Products could cause serious injuries and death when used in an intended or reasonably foreseeable

manner, including but not limited to uterine and ovarian cancer. Defendants failed to give

appropriate and adequate warning of such risks. Nor did Defendants warn that the safety of their



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Toxic Hair Relaxer Products has not been determined. In fact, Defendants continue to this day to

market and sell their products to consumers without adequate warnings of the risks associated with

their products’ use or the lack of safety determination.

               If Defendants had warned Plaintiffs and the other Class members that use of their

Toxic Hair Relaxer Products in an intended or reasonably foreseeable manner would increase their

risk of being seriously injured, including but not limited to developing uterine and ovarian cancer,

and/or that the safety of the Toxic Hair Relaxer Products had not been determined, Plaintiffs and

the other Class members would not have used their Toxic Hair Relaxer Products.

               Defendants caused their Toxic Hair Relaxer Products to enter the stream of

commerce and to be sold to consumers, including Plaintiffs and the other Class members, through

a variety of channels, including through sales to hair salons for use with their customers and

directly to consumers through retail stores.

               Defendants’ Toxic Hair Relaxer Products were expected to, and did, reach

consumers, including Plaintiffs and the other Class members, without substantial change in the

condition in which their Toxic Hair Relaxer Products were manufactured and sold or otherwise

released into the stream of commerce by Defendants.

               Plaintiffs and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purposes and in a manner normally intended, recommended, promoted, and

marketed by Defendants.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiffs and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and indicates a wanton disregard of the rights of others,

justifying an award of punitive or exemplary damages.



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                As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiffs and the other

Class members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing serious and potentially fatal Subject Cancers, and have

suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.

                Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

     COUNT 21 – VIOLATIONS OF THE ARIZONA CONSUMER FRAUD ACT
 (Individually and on Behalf of the Arizona Consumer and Medical Monitoring Classes
Against Defendants L’Oréal, SoftSheen, Strength of Nature, Namaste, Dabur, and Luster)

                Plaintiffs Richardson and Washington (“Plaintiffs,” for purposes of the Arizona

Classes’ claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the Arizona

Consumer and Medical Monitoring Classes.

                Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the Arizona Consumer Fraud Act, Ariz. Rev. Stat. Ann.

§ 44-1521 et seq., when they misled consumers regarding the safety risks associated with use of

their Toxic Hair Relaxer Products. As a direct result of Defendants’ deceptive, unfair,



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unconscionable, and fraudulent conduct, Plaintiff and the other Class members suffered and will

continue to suffer economic loss and other compensable injuries.

               Defendants’ deceptive, unfair, unlawful, and unconscionable practices included but

were not limited to the following practices, done knowingly:

         a.     Representing that goods have characteristics, ingredients, uses, or benefits that
                 they do not have;

         b.      Representing that goods are of a particular standard, quality, or grade if they are
                 of another; and

         c.      Advertising goods with the intent not to sell them as advertised.

               Defendants’ actions and failure to act—including their false and misleading

representations and omissions of material facts regarding the safety and potential risks of their

Toxic Hair Relaxer Products, as described above—constitute acts, uses or employment by

Defendants of unconscionable commercial practices, deception, fraud, false pretenses, and

misrepresentations. These actions and omissions further constitute the knowing concealment,

suppression, or omission of material facts, done with the intent that Plaintiffs and the other Class

members rely upon such concealment, suppression, or omission of material facts in connection

with the sale of Defendants’ merchandise, in violation of the Arizona Consumer Fraud Act.

               Defendants’ unfair and deceptive trade practices have caused injuries to consumers,

and the public will benefit from a cessation of these unlawful actions through this litigation.

               By reason of the unlawful acts engaged in by Defendants, Plaintiffs and the other

Class members have suffered ascertainable loss and damages.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiffs


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and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses in the future.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiffs and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and Defendants’ conduct indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               Due to the above, Defendants are liable to Plaintiffs and the other Class members

for compensatory, as well as exemplary, multiple, and/or punitive damages to the extent available

and as applicable, in amounts to be proven at trial, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.

               Plaintiffs did not need to send (additional) notice to Defendants of their violations

of the Arizona Consumer Fraud Act because Defendants were already on notice of the defects

alleged herein and of Defendants’ related violations. Defendants received such notice from similar

lawsuits for the same conduct and through other means.

               Plaintiffs and the other Class members would not have purchased the Toxic Hair

Relaxer Products, or alternatively they would have paid less for them, had the truth about the toxic

nature of Defendants’ products been disclosed. Plaintiffs, on behalf of themselves and the other

Class members, seek to recover the actual damages they have suffered.

               Further, as a direct and proximate result of each Defendant’s negligent conduct,

Plaintiffs and the other Class members have been significantly exposed to Toxic Hair Relaxer

Products, have sustained a significantly increased risk of developing serious and potentially fatal

Subject Cancers, and have suffered and will continue to suffer economic losses and expenses

associated with medically necessary medical monitoring.



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                Plaintiffs, on behalf of themselves and the other Medical Monitoring Class

members, seek injunctive and monetary relief, including (a) the creation of a fund to finance

notifying Medical Monitoring Class members of their exposure and its potential consequences,

and to fund diagnostic screening, testing, and procedures for the Subject Cancers for Plaintiffs and

the other Class members, and/or compensatory damages to fund this necessary medical

monitoring; (b) attorneys’ fees; (c) costs; (d) interest; and (e) such further relief as this Court deems

equitable and just.

                         COUNT 22 – UNJUST ENRICHMENT
 (Individually and on Behalf of the Arizona Consumer Class Against Defendants L’Oréal,
               SoftSheen, Strength of Nature, Namaste, Dabur, and Luster)

                Plaintiffs Richardson and Washington (“Plaintiffs,” for purposes of the Arizona

Classes’ claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the Arizona

Consumer Class.

                As a result of Defendants’ wrongful and deceptive conduct, Defendants knowingly

and voluntarily accepted and retained wrongful benefits in the form of money paid by Plaintiffs

and the other Class members when they purchased the Toxic Hair Relaxer Products.

                In so doing, Defendants acted with conscious disregard for the rights of Plaintiffs

and the other Class members.

                As an intended and expected result of Defendants’ conscious wrongdoing as set

forth in this Complaint, Defendants have profited and benefited from payments Plaintiffs and the

other Class members made for their Toxic Hair Relaxer Products.




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               Defendants’ unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein.

               At the time their payments were made, Plaintiffs and the other Class members

expected that Defendants’ Toxic Hair Relaxer Products were safe and effective in the ways

Defendants had represented, and could safely be used for the purposes Defendants advertised their

Toxic Hair Relaxer Products. In exchange for their payments, Plaintiffs and the other Class

members believed they were receiving a safe method for straightening hair that did not involve the

risk of serious adverse health effects.

               Defendants have voluntarily accepted and retained these payments with full

knowledge that, as a result of their wrongdoing, Plaintiffs and the other Class members paid for

Defendants’ Toxic Hair Relaxer Products when they otherwise would not have done so. The failure

of Defendants to provide Plaintiffs and the other Class members with the remuneration expected

enriched Defendants unjustly.

               Under the common law doctrine of unjust enrichment, it is inequitable for

Defendants to be permitted to retain the benefits it received, and is still receiving, without

justification, from the false and deceptive labeling and marketing of the Toxic Hair Relaxer

Products to Plaintiffs and the other Class members.

               Defendants’ retention of such funds under circumstances making it inequitable to

do so constitutes unjust enrichment. It is unjust to allow Defendants to earn and retain revenues,

profits, and benefits from their Toxic Hair Relaxer Products while Plaintiffs and the other Class

members suffered and are suffering serious illnesses, including but not limited to uterine and

ovarian cancer.




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                Plaintiffs and the other Class members may assert an unjust enrichment claim even

though a remedy at law may otherwise exist.

                Plaintiffs, on behalf of themselves and the other Class members, seek restitution

and disgorgement of Defendants’ wrongful revenues, profits, and benefits to the extent and in the

amount deemed appropriate by the Court, and such other relief as the Court deems just and proper

to remedy Defendants’ unjust enrichment.

                 COUNT 23 – BREACH OF EXPRESS WARRANTY
 (Individually and on Behalf of the Arizona Consumer and Medical Monitoring Classes
Against Defendants L’Oréal, SoftSheen, Strength of Nature, Namaste, Dabur, and Luster)

                Plaintiffs Richardson and Washington (“Plaintiffs,” for purposes of the Arizona

Classes’ claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the Arizona

Consumer and Medical Monitoring Classes.

                As detailed above, Defendants, through their written literature, packaging and

labeling, and through their advertisements, expressly warranted that the Toxic Hair Relaxer

Products were safe and fit for the purposes intended, that they were of merchantable quality, and

that they did not pose dangerous health risks.

                Moreover, the Toxic Hair Relaxer Products’ labeling represents that the regular use

of broad spectrum hair straighteners and/or relaxers is “protective,” and that its use can “decrease

the risk” of skin cancer and early skin aging. Such statements constitute an affirmation of fact or

promise, or a description of the product as being safe and not posing a dangerous health risk.

Defendants breached this express warranty because their Toxic Hair Relaxer Products are not safe.




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To the contrary, the Toxic Hair Relaxer Products pose a dangerous health risk because they

increase the risk of uterine and ovarian cancer, as detailed above.

               Plaintiffs and the other Class members read and relied on these express warranties

provided by Defendants in the packaging and written advertisements.

               Defendants breached its express warranties under Ariz. Rev. Stat. § 47-2313, et seq.

because the Toxic Hair Relaxer Products are defective and not reasonably safe for their intended

use.

               Defendants knew or should have known that the Toxic Hair Relaxer Products did

not conform to their express warranties and representations and that, in fact, the Toxic Hair Relaxer

Products are not safe and pose serious health risks.

               Plaintiffs and the other Class members have suffered harm on account of

Defendants’ breach of its express warranty regarding the fitness for use and safety of the Toxic

Hair Relaxer Products. Plaintiffs, on behalf of themselves and the other Class members, seek

recovery of actual damages, as well as incidental and consequential damages as a direct and

proximate result of the Toxic Defect, in an amount to be determined at trial.

               As a direct and proximate result of each Defendant’s breach of its express warranty,

Plaintiffs and the other Class members have been significantly exposed to Toxic Hair Relaxer

Products, have sustained a significantly increased risk of developing serious and potentially fatal

Subject Cancers, and have suffered and will continue to suffer economic losses and expenses

associated with medically necessary medical monitoring.

               Plaintiffs, on behalf of themselves and the Medical Monitoring Class members,

seek injunctive and monetary relief, including (a) the creation of a fund to finance notifying

Medical Monitoring Class members of their exposure and its potential consequences, and to fund



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diagnostic screening, testing, and procedures for the Subject Cancers for Plaintiffs and the other

Class members, and/or compensatory damages to fund this necessary medical monitoring; (b)

attorneys’ fees; (c) costs; (d) interest; and (e) such further relief as this Court deems equitable and

just.

                        COUNT 24 – FRAUDULENT OMISSION
 (Individually and on Behalf of the Arizona Consumer Class Against Defendants L’Oréal,
               SoftSheen, Strength of Nature, Namaste, Dabur, and Luster)

                Plaintiffs Richardson and Washington (“Plaintiffs,” for purposes of the Arizona

Classes’ claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the Arizona

Consumer Class.

                Through their labeling and advertising, Defendants made representations to

Plaintiffs and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

                At all relevant times, Defendants had a duty to provide Plaintiffs and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including

warnings about any risks they knew of, or should have known of, posed by their Toxic Hair Relaxer

Products.

                Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that they had a duty to both learn and disclose the dangers associated with

their Toxic Hair Relaxer Products.




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               From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiffs or the other Class members. Defendants failed to fulfill their duty to

accurately disclose in their labeling and advertising that the Toxic Hair Relaxer Products contained

toxic chemicals.

               Defendants failed to disclose such material facts with the intent to induce

consumers, including Plaintiffs and the other Class members, into purchasing and using their hair

relaxer products.

               Such failures to disclose on the part of Defendants amount to fraudulent omission.

               Plaintiffs and the other Class members justifiably relied on Defendants’

nondisclosures to their detriment.

               In reliance on Defendants’ omissions, Plaintiffs and the other Class members were

induced to purchase and use Defendants’ Toxic Hair Relaxer Products. If Plaintiffs and the other

Class members had known of the facts concealed by Defendants, including facts revealing the

toxic nature of Defendants’ products, then Plaintiffs and the other Class members would not have

purchased or used Defendants’ Toxic Hair Relaxer Products.

               As a direct and proximate result of the foregoing fraudulent omissions by

Defendants, Plaintiffs and the other Class members suffered injuries and damages as alleged

herein.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiffs and the other




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Class members suffered serious injury, harm, damages, and economic and non-economic loss.

They will continue to suffer such harm, damages, and losses into the future.

                Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiffs and the other Class members was malicious, oppressive, willful, reckless,

and/or grossly negligent, and indicates a wanton disregard of the rights of others, justifying an

award of punitive or exemplary damages.

                Plaintiffs, on behalf of themselves and the other Class members, seek recovery of

actual damages, as well as incidental and consequential damages, as a direct and proximate result

of Defendants’ fraudulent omissions regarding the Toxic Defect, in an amount to be determined at

trial.

             C. California

                                 COUNT 25 – NEGLIGENCE
         (Individually and on Behalf of the California Medical Monitoring Class Against
            Defendants L’Oréal, SoftSheen, Strength of Nature, Revlon, and McBride)

                Plaintiffs Meadows and Vaughn (“Plaintiffs,” for purposes of the California

Classes’ claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the California

Medical Monitoring Class.

                At all relevant times, each Defendant had a duty to exercise reasonable care in the

manufacturing, designing, researching, testing, producing, supplying, inspecting, marketing,

labeling, packaging, selling, and distributing of their hair relaxer products.




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               Each Defendant owed a duty of care to Plaintiffs and the other Class members to

ensure that the Toxic Hair Relaxer Products it sold in the United States were safe for human

consumption, contained only the ingredients stated on the label, and were not adulterated.

               Defendants’ duty to exercise reasonable care in the advertising and sale of their hair

relaxer products included a duty to warn Plaintiffs and the other Class members of the risks and

dangers associated with their Toxic Hair Relaxer Products that were known or should have been

known to Defendants at the time of the sale of their Toxic Hair Relaxer Products to Plaintiffs and

the other Class members, including that the products were contained ingredients not specified on

the label that were likely to cause harm to consumers.

               Defendants also owed a continuing duty to Plaintiffs and the other Class members

to remove, recall, or retrofit the unsafe and/or defective Toxic Hair Relaxer Products.

               At all relevant times, Defendants knew or should have known through the exercise

of reasonable care of the dangers associated with the normal and/or intended use of their hair

relaxer products. In particular, Defendants knew or should have known that their Toxic Hair

Relaxer Products significantly increase the risk of uterine and ovarian cancer.

               Each Defendant owed a duty of care to Plaintiffs and the other Class members

because they were foreseeable, reasonable, and probable users of Toxic Hair Relaxer Products.

Each Defendant knew or should have known that its Toxic Hair Relaxer Products were harmful to

humans, contained ingredients other than those stated, and/or were adulterated, and each was in

the best position to uncover and remedy these shortcomings.

               At all relevant times, Defendants knew, or should have known through the exercise

of reasonable care, that ordinary consumers such as Plaintiffs and the other Class members would

not realize the potential risks and dangers of their Toxic Hair Relaxer Products.



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               Each Defendant failed to discharge its duty of care. Defendants breached their duty

of care by manufacturing, designing, researching, testing, producing, supplying, inspecting,

marketing, selling, and/or distributing their Toxic Hair Relaxer Products negligently, recklessly,

and/or with extreme carelessness, and by failing to adequately warn of the risks and dangers of

their Toxic Hair Relaxer Products—as described in the allegations above. Such breaches include

but are not limited to:

               a.         Failing to warn Plaintiffs and the other Class members of the risks and

 dangers associated with the use of their Toxic Hair Relaxer Products;

               b.         Failing to properly test their Toxic Hair Relaxer Products to determine the

 adequacy or effectiveness of safety measures, if any, prior to releasing their Toxic Hair Relaxer

 Products for consumer use;

               c.         Failing to properly test their Toxic Hair Relaxer Products to determine the

 increased risk of harm to the endocrine system, including uterine and ovarian cancers, during the

 normal and/or intended use of their Toxic Hair Relaxer Products;

               d.         Designing their Toxic Hair Relaxer Products defectively such that they

 caused serious injuries or death when used in their intended and reasonably foreseeable manner;

               e.         Failing to inform Plaintiffs and the other Class members as to the safe and

 proper methods of handling and using their Toxic Hair Relaxer Products;

               f.         Failing to remove or recall their Toxic Hair Relaxer Products from the

 market when Defendants knew or should have known that their Toxic Hair Relaxer Products were

 defective and/or dangerous;




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               g.      Failing to instruct Plaintiffs and the other Class members as to the methods

for reducing exposure to their Toxic Hair Relaxer Products, which caused increased risk of cancer,

including uterine and ovarian cancer;

               h.      Marketing and labeling their hair relaxer products as safe when Defendants

knew or should have known that their Toxic Hair Relaxer Products were defective and/or

dangerous;

               i.      Claiming in labeling and marketing that their Toxic Hair Relaxer Products

are safe, healthy, protective, and/or natural, including but not limited to the marketing assertions

quoted and displayed in the facts alleged above; and

               j.      Failing to act like a reasonably prudent company under similar

circumstances.

               Each Defendant knew, or should have known through reasonable care, that the

aforesaid wrongdoing would foreseeably cause injuries and other damage to Plaintiffs and the

other Class members.

               Each of these acts and omissions, taken singularly or in combination, were a

proximate cause of the injuries and damages sustained by Plaintiffs and the other Class members.

               Due to Defendants’ failure to exercise ordinary care and to comply with the duties

associated with selling cosmetic products, Plaintiffs and the other Class members were unable to

discover the dangerous nature of Defendants’ Toxic Hair Relaxer Products.

               Defendants’ acts and omissions constitute gross negligence because they constitute

a total lack of care and an extreme departure from what a reasonably careful company would do

in the same situation to prevent foreseeable harm to Plaintiffs and the other Class members.




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               Each Defendant negligently failed to promptly and immediately warn and disclose

to Plaintiffs and the other Class members that use of their hair relaxer products would result in

harm, and that using their products in the intended manner results in toxicity, delaying notice of

this harmful and toxic exposure and thus causing continued exposure and delaying necessary

testing, examinations, surveillance, and treatment.

               Defendants’ negligent conduct created and then exacerbated an unreasonable,

dangerous condition for Plaintiffs and the other Class members.

               Defendants acted and/or failed to act willfully, and with conscious and reckless

disregard for the rights and interests of Plaintiffs and the other Class members, and Defendants’

acts and omissions had a great probability of causing significant harm, and in fact it resulted in

such harm to Plaintiffs and the other Class members.

               Defendants’ negligence and gross negligence were a substantial factor in causing

and/or contributing to Plaintiffs’ and the other Class members’ harms.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiffs and the other Class members—including their marketing—was fraudulent,

malicious, oppressive, willful, reckless, and/or grossly negligent, and indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               As a direct and proximate result of each Defendant’s negligent conduct, Plaintiffs

and the other Class members have been significantly exposed to Toxic Hair Relaxer Products, have

sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers,

and have suffered and will continue to suffer economic losses and expenses associated with

medically necessary medical monitoring.




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                Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

            COUNT 26 – NEGLIGENT MISREPRESENTATION/OMISSION
      (Individually and on Behalf of the California Medical Monitoring Class Against
         Defendants L’Oréal, SoftSheen, Strength of Nature, Revlon, and McBride)

                Plaintiffs Meadows and Vaughn (“Plaintiffs,” for purposes of the California

Classes’ claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the California

Medical Monitoring Class.

                Through their labeling and advertising, Defendants made representations to

Plaintiffs and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

                At all relevant times, Defendants had a duty to provide Plaintiffs and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including

warnings of any risks they knew of or should have known of related to using their Toxic Hair

Relaxer Products. Defendants knew or should have known about this duty.

                Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew




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or should have known that their representations about the safety of their Toxic Hair Relaxer

Products were false.

                 Defendants breached their duty in representing that their Toxic Hair Relaxer

Products have no serious side effects when they knew or should have known that their products

did cause serious side effects as described herein.

                 From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiffs or the public. Defendants failed to fulfill their duty to accurately disclose in

their labeling and advertising that the Toxic Hair Relaxer Products contained toxic chemicals.

                 Additionally, Defendants have a duty to not make false representations with respect

to their Toxic Hair Relaxer Products. At all relevant times, Defendants conducted sales and

marketing campaigns to promote the sale of their Toxic Hair Relaxer Products and willfully

deceived Plaintiffs and the general public about the health risks and adverse consequences of the

use of such products.

                 Defendants’ misrepresentations included but are not limited to the statements in

labels and marketing that their Toxic Hair Relaxer Products are safe, healthy, protective, and/or

natural, including but not limited to the marketing assertions quoted and displayed in the facts

alleged above.

                 Defendants made such representations and failed to disclose such material facts

with the intent to induce consumers, including Plaintiffs and the other Class members, into

purchasing and using their Toxic Hair Relaxer Products.




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               Defendants’ misrepresentations and omissions concealed from Plaintiffs and the

other Class members that Defendants’ Toxic Hair Relaxer Products posed a high risk of

unreasonable, dangerous, health conditions, including but not limited to uterine and ovarian

cancer.

               Plaintiffs and the other Class members justifiably relied on Defendants’

misrepresentations and nondisclosures to their detriment. Specifically, Plaintiffs and the other

Class members relied on representations that their Toxic Hair Relaxer Products were safe to use

as expected and instructed, when they were not.

               In reliance on the misrepresentations by Defendants, Plaintiffs and the other Class

members were induced to purchase and use Defendants’ Toxic Hair Relaxer Products.

               As a direct and proximate result of the foregoing negligent misrepresentations by

Defendants, Plaintiffs and the other Class members suffered injuries and damages as alleged

herein.

               Defendants’ omission of material facts also induced Plaintiffs and the other Class

members into purchasing Defendants’ Toxic Hair Relaxer Products. If Plaintiffs and the other

Class members had known of the true facts and the facts concealed by Defendants, Plaintiffs and

the other Class members would not have purchased or used Defendants’ Toxic Hair Relaxer

Products.

               Because of the severe nature of the harms caused by Defendants’ Toxic Hair

Relaxer Products, no reasonable person would have purchased these products if Defendants have

fully apprised the public of the dangers associated with these products.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiffs and the other Class members was fraudulent, malicious, oppressive,



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willful, reckless, and/or grossly negligent, and it indicates a wanton disregard of the rights of

others, justifying an award of punitive or exemplary damages.

                As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiffs and the other

Class members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing the serious and potentially fatal Subject Cancers, and

have suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.

                Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

                          COUNT 27 – NEGLIGENCE PER SE
(Individually and on behalf of the California Medical Monitoring Class Against Defendants
               L’Oréal, SoftSheen, Strength of Nature, Revlon, and McBride)

                Plaintiffs Meadows and Vaughn (“Plaintiffs,” for purposes of the California

Classes’ claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the California

Medical Monitoring Class.

                The Food, Drug, and Cosmetic Act, 21 U.S.C. ch. 9 § 301 et seq., and its

accompanying regulations, are implemented to regulate and promote safety in the design,



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manufacturing, marketing, branding, labeling, and sale of food, drugs, and cosmetics, including

Defendants’ Toxic Hair Relaxer Products.

               Upon information and belief, Defendants’ conduct violated one or more statutes or

related regulations, including but not limited to the following:

                a.      21 U.S.C. § 331;

                b.      21 U.S.C. § 361;

                c.      21 U.S. Code § 362; and

                d.      21 CFR Part 740, including but not limited to 21 CFR § 740.1 and 21 CFR

§ 740.10.

               Plaintiffs are currently unadvised of the full extent of the federal or state safety laws

and regulations that Defendants or their agents may have violated but reserve the right to rely on

such safety laws and regulations shown during discovery.

               Defendants’ violation of such safety laws and regulations constitutes negligence

per se.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiffs and the other

Class members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing the serious and potentially fatal Subject Cancers, and

have suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.

               Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,


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testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

                  COUNT 28 – STRICT LIABILITY: DESIGN DEFECT
     (Individually and on Behalf of the California Medical Monitoring Classes Against
        Defendants L’Oréal, SoftSheen, Strength of Nature, Revlon, and McBride)

                Plaintiffs Meadows and Vaughn (“Plaintiffs,” for purposes of the California

Classes’ claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the California

Medical Monitoring Class.

                Defendants designed, manufactured, marketed, and sold their Toxic Hair Relaxer

Products that were used by Plaintiffs and the other Class members, and Defendants were in the

business of selling their Toxic Hair Relaxer Products.

                Defendants’ Toxic Hair Relaxer Products were in an unsafe, defective, and

unreasonably dangerous condition at the time they left Defendants’ possession because of their

design. In particular, Defendants’ Toxic Hair Relaxer Products were defectively designed because

they caused serious injuries and death, including but not limited to uterine cancer and ovarian

cancer.

                Defendants’ Toxic Hair Relaxer Products are unreasonably dangerous as designed

because they do not perform as safely as ordinary consumers, including Plaintiffs and the other

Class members, would expect when used in an intended or reasonably foreseeable manner.

                Defendants’ Toxic Hair Relaxer Products are unreasonably dangerous as designed

because the danger inherent in their design outweighs the benefits of that design.



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               Defendants caused their Toxic Hair Relaxer Products to enter the stream of

commerce and to be sold to consumers, including Plaintiffs and the other Class members, through

a variety of channels, including through sales to hair salons for use with their customers as well as

direct sale to consumers through retail stores.

               Defendants’ Toxic Hair Relaxer Products were expected to, and did, reach

consumers, including Plaintiffs and the other Class members, without substantial change in the

condition in which those products were manufactured and sold or otherwise released into the

stream of commerce by Defendants.

               Plaintiffs and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purposes and in a manner normally intended, recommended, promoted, and

marketed by Defendants.

               Defendants knew or should have known that their products were in a defective

condition as a result of their design, and were unreasonably dangerous when used in an intended

or reasonably foreseeable manner.

               At all times material to Plaintiffs’ and the other Class members’ claims, there were

technologically and economically feasible safer alternative designs that would have prevented or

substantially reduced the risk to Plaintiffs and the other Class members without substantially

impairing the utility of Defendants’ Toxic Hair Relaxer Products.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiffs and the other Class members was fraudulent, malicious, oppressive, willful,

reckless, and/or grossly negligent, and it indicates a wanton disregard of the rights of others,

justifying an award of punitive or exemplary damages.




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                Plaintiffs plead this claim for relief in the broadest sense and seek the full measure

of damages allowed under the applicable governing law, including the common law and, where

and to the extent applicable, all product liability acts, statutes, and laws.

                As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of their Toxic Hair Relaxer Products, Plaintiffs and the other Class

members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing serious and potentially fatal Subject Cancers, and have

suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.

                Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

                COUNT 29 – STRICT LIABILITY: FAILURE TO WARN
     (Individually and on Behalf of the California Medical Monitoring Classes Against
        Defendants L’Oréal, SoftSheen, Strength of Nature, Revlon, and McBride)

                Plaintiffs Meadows and Vaughn (“Plaintiffs,” for purposes of the California

Classes’ claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the California

Medical Monitoring Class.

                Defendants designed, manufactured, marketed, and sold their Toxic Hair Relaxer



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Products, which were used by Plaintiffs and the other Class members, and Defendants were in the

business of selling Toxic Hair Relaxer Products.

               Defendants’ Toxic Hair Relaxer Products were in an unsafe, defective, and

unreasonably dangerous condition at the time they left Defendants’ possession because they were

not accompanied by adequate warnings.

               In particular, Defendants knew or should have known that their Toxic Hair Relaxer

Products could cause serious injuries and death when used in an intended or reasonably foreseeable

manner, including but not limited to uterine and ovarian cancer. Defendants failed to give

appropriate and adequate warning of such risks. Nor did Defendants warn that the safety of their

Toxic Hair Relaxer Products has not been determined. In fact, Defendants continue to this day to

market and sell their products to consumers without adequate warnings of the risks associated with

their products’ use or the lack of safety determination.

               If Defendants had warned Plaintiffs and the other Class members that use of their

Toxic Hair Relaxer Products in an intended or reasonably foreseeable manner would increase their

risk of being seriously injured, including but not limited to developing uterine and ovarian cancer,

and/or that the safety of the Toxic Hair Relaxer Products had not been determined, Plaintiffs and

the other Class members would not have used their Toxic Hair Relaxer Products.

               Defendants caused their Toxic Hair Relaxer Products to enter the stream of

commerce and to be sold to consumers, including Plaintiffs and the other Class members, through

a variety of channels, including through sales to hair salons for use with their customers and

directly to consumers through retail stores.

               Defendants’ Toxic Hair Relaxer Products were expected to, and did, reach

consumers, including Plaintiffs and the other Class members, without substantial change in the



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condition in which their Toxic Hair Relaxer Products were manufactured and sold or otherwise

released into the stream of commerce by Defendants.

               Plaintiffs and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purposes and in a manner normally intended, recommended, promoted, and

marketed by Defendants.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiffs and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and indicates a wanton disregard of the rights of others,

justifying an award of punitive or exemplary damages.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiffs and the other

Class members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing serious and potentially fatal Subject Cancers, and have

suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.

               Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.




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COUNT 30 – VIOLATIONS OF THE CALIFORNIA CONSUMER LEGAL REMEDIES
                                          ACT
(Individually and on Behalf of the California Consumer and Medical Monitoring Classes
   Against Defendants L’Oréal, SoftSheen, Strength of Nature, Revlon, and McBride)

                Plaintiffs Meadows and Vaughn (“Plaintiffs,” for purposes of the California

Classes’ claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the California

Consumer and Medical Monitoring Classes.

                Defendants engaged in unfair competition, or unfair, unconscionable, deceptive or

fraudulent acts or practices, in violation of the California Consumer Legal Remedies Act, Cal.

Civil Code § 1750 et seq., when they misled consumers regarding the safety risks associated with

use of their Toxic Hair Relaxer Products. As a direct result of Defendants’ deceptive, unfair,

unconscionable, and fraudulent conduct, Plaintiffs and the other Class members have suffered and

will continue to suffer economic loss and other compensable injuries.

                Defendants’ deceptive, unfair, unlawful, and unconscionable practices included but

were not limited to the following practices, done knowingly:

          a.        Representing that goods have characteristics, ingredients, uses, or benefits that
                     they do not have;

          b.        Representing that goods are of a particular standard, quality, or grade if they are
                    of another; and

          c.        Advertising goods with the intent not to sell them as advertised.

                Defendants’ actions and failure to act—including their false and misleading

representations and omissions of material facts regarding the safety and potential risks of their

Toxic Hair Relaxer Products, as described above—constitute acts, uses or employment by

Defendants of unconscionable commercial practices, deception, fraud, false pretenses, and

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misrepresentations. These actions and omissions further constitute the knowing concealment,

suppression, or omission of material facts, done with the intent that Plaintiffs and the other Class

members rely upon such concealment, suppression, or omission of material facts in connection

with the sale of Defendants’ merchandise, in violation of the California Consumer Legal Remedies

Act.

               Defendants’ unfair and deceptive trade practices have caused injuries to consumers,

and the public will benefit from a cessation of these unlawful actions through this litigation.

               By reason of the unlawful acts engaged in by Defendants, Plaintiffs and the other

Class members have suffered ascertainable loss and damages.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiffs

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses in the future.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiffs and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and Defendants’ conduct indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               Due to the above, Defendants are liable to Plaintiffs and the other Class members

for compensatory, as well as exemplary, multiple, and/or punitive damages to the extent available

and as applicable, in amounts to be proven at trial, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.




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               Plaintiffs did not need to send (additional) notice to Defendants of their violations

of the California Consumer Legal Remedies Act pled in this Complaint because Defendants were

already on notice of the defects alleged herein and of Defendants’ related violations. Defendants

received such notice from similar lawsuits for the same conduct and through other means.

               Plaintiffs and the other Class members would not have purchased the Toxic Hair

Relaxer Products, or alternatively they would have paid less for them, had the truth about the toxic

nature of Defendants’ products been disclosed. Plaintiffs, on behalf of themselves and the other

Class members, seek to recover the actual damages they have suffered.

               Further, as a direct and proximate result of each Defendant’s negligent conduct,

Plaintiffs and the other Class members have been significantly exposed to Toxic Hair Relaxer

Products, have sustained a significantly increased risk of developing serious and potentially fatal

Subject Cancers, and have suffered and will continue to suffer economic losses and expenses

associated with medically necessary medical monitoring.

               Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.




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  COUNT 31 – VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW
 (Individually and on Behalf of the California Consumer and Medical Monitoring Classes
    Against Defendants L’Oréal, SoftSheen, Strength of Nature, Revlon, and McBride)

                Plaintiffs Meadows and Vaughn (“Plaintiffs,” for purposes of the California

Classes’ claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the California

Consumer and Medical Monitoring Classes.

                Defendants engaged in unfair competition, or unfair, unconscionable, deceptive or

fraudulent acts or practices, in violation of the California Consumer Legal Remedies Act, Cal.

Civil Code § 1750 et seq., when they misled consumers regarding the safety risks associated with

use of their Toxic Hair Relaxer Products. As a direct result of Defendants’ deceptive, unfair,

unconscionable, and fraudulent conduct, Plaintiffs and the other Class members have suffered and

will continue to suffer economic loss and other compensable injuries.

                Defendants’ deceptive, unfair, unlawful, and unconscionable practices included but

were not limited to the following practices, done knowingly:

          a.        Representing that goods have characteristics, ingredients, uses, or benefits that
                     they do not have;

          b.        Representing that goods are of a particular standard, quality, or grade if they are
                    of another; and

          c.        Advertising goods with the intent not to sell them as advertised.

                Defendants’ actions and failure to act—including their false and misleading

representations and omissions of material facts regarding the safety and potential risks of their

Toxic Hair Relaxer Products, as described above—constitute acts, uses or employment by

Defendants of unconscionable commercial practices, deception, fraud, false pretenses, and


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misrepresentations. These actions and omissions further constitute the knowing concealment,

suppression, or omission of material facts, done with the intent that Plaintiffs and the other Class

members rely upon such concealment, suppression, or omission of material facts in connection

with the sale of Defendants’ merchandise, in violation of the California Consumer Legal Remedies

Act.

               Defendants’ unfair and deceptive trade practices have caused injuries to consumers,

and the public will benefit from a cessation of these unlawful actions through this litigation.

               By reason of the unlawful acts engaged in by Defendants, Plaintiffs and the other

Class members have suffered ascertainable loss and damages.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiffs

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses in the future.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiffs and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and Defendants’ conduct indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               Due to the above, Defendants are liable to Plaintiffs and the other Class members

for compensatory, as well as exemplary, multiple, and/or punitive damages to the extent available

and as applicable, in amounts to be proven at trial, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.




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               Plaintiffs did not need to send (additional) notice to Defendants of their violations

of the California Unfair Competition Law pled in this Complaint because Defendants were already

on notice of the defects alleged herein and of Defendants’ related violations. Defendants received

such notice from similar lawsuits for the same conduct and through other means.

               Plaintiffs and the other Class members would not have purchased the Toxic Hair

Relaxer Products, or alternatively they would have paid less for them, had the truth about the toxic

nature of Defendants’ products been disclosed. Plaintiffs, on behalf of themselves and the other

Class members, seek to recover the actual damages they have suffered.

               Further, as a direct and proximate result of each Defendant’s negligent conduct,

Plaintiffs and the other Class members have been significantly exposed to Toxic Hair Relaxer

Products, have sustained a significantly increased risk of developing serious and potentially fatal

Subject Cancers, and have suffered and will continue to suffer economic losses and expenses

associated with medically necessary medical monitoring.

               Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.




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                         COUNT 32 – UNJUST ENRICHMENT
(Individually and on Behalf of the California Consumer Class Against Defendants L’Oréal,
                   SoftSheen, Strength of Nature, Revlon, and McBride)

                Plaintiffs Meadows and Vaughn (“Plaintiffs,” for purposes of the California

Classes’ claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the California

Consumer Class.

                As a result of Defendants’ wrongful and deceptive conduct, Defendants knowingly

and voluntarily accepted and retained wrongful benefits in the form of money paid by Plaintiffs

and the other Class members when they purchased the Toxic Hair Relaxer Products.

                In so doing, Defendants acted with conscious disregard for the rights of Plaintiffs

and the other Class members.

                As an intended and expected result of Defendants’ conscious wrongdoing as set

forth in this Complaint, Defendants have profited and benefited from payments Plaintiffs and the

other Class members made for their Toxic Hair Relaxer Products.

                Defendants’ unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein.

                At the time their payments were made, Plaintiffs and the other Class members

expected that Defendants’ Toxic Hair Relaxer Products were safe and effective in the ways

Defendants had represented, and could safely be used for the purposes Defendants advertised their

Toxic Hair Relaxer Products. In exchange for their payments, Plaintiffs and the other Class

members believed they were receiving a safe method for straightening hair that did not involve the

risk of serious adverse health effects.



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               Defendants have voluntarily accepted and retained these payments with full

knowledge that, as a result of their wrongdoing, Plaintiffs and the other Class members paid for

Defendants’ Toxic Hair Relaxer Products when they otherwise would not have done so. The failure

of Defendants to provide Plaintiffs and the other Class members with the remuneration expected

enriched Defendants unjustly.

               Under the common law doctrine of unjust enrichment, it is inequitable for

Defendants to be permitted to retain the benefits it received, and is still receiving, without

justification, from the false and deceptive labeling and marketing of the Toxic Hair Relaxer

Products to Plaintiffs and the other Class members.

               Defendants’ retention of such funds under circumstances making it inequitable to

do so constitutes unjust enrichment. It is unjust to allow Defendants to earn and retain revenues,

profits, and benefits from their Toxic Hair Relaxer Products while Plaintiffs and the other Class

members suffered and are suffering serious illnesses, including but not limited to uterine and

ovarian cancer.

               Plaintiffs and the other Class members may assert an unjust enrichment claim even

though a remedy at law may otherwise exist.

               Plaintiffs, on behalf of themselves and the other Class members, seek restitution

and disgorgement of Defendants’ wrongful revenues, profits, and benefits to the extent and in the

amount deemed appropriate by the Court, and such other relief as the Court deems just and proper

to remedy Defendants’ unjust enrichment.




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  COUNT 33 – VIOLATIONS OF THE SONG-BEVERLY CONSUMER WARRANTY
                    ACT FOR BREACH OF EXPRESS WARRANTY
 (Individually and on Behalf of the California Consumer and Medical Monitoring Classes
   Against Defendants L’Oréal, SoftSheen, , Strength of Nature, Revlon, and McBride)

                Plaintiffs Meadows and Vaughn (“Plaintiffs,” for purposes of the California

Classes’ claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the California

Consumer and Medical Monitoring Classes.

                Plaintiffs and the other Class members are “buyers” within the meaning of

California Civil Code § 1791(b) and (h), the Toxic Hair Relaxer Products are “consumer goods”

within the meaning of California Civil Code § 1791(a), and Defendants are “manufacturers” of the

Toxic Hair Relaxer Products within the meaning of California Civil Code § 1791(j).

                As detailed above, Defendants, through their written literature, packaging and

labeling, and through their advertisements, expressly warranted that the Toxic Hair Relaxer

Products were safe and fit for the purposes intended, that they were of merchantable quality, and

that they did not pose dangerous health risks.

                Moreover, the Toxic Hair Relaxer Products’ labeling represents that the regular use

of broad spectrum hair straighteners and/or relaxers is “protective,” and that its use can “decrease

the risk” of skin cancer and early skin aging. Such statements constitute an affirmation of fact or

promise, or a description of the product as being safe and not posing a dangerous health risk.

Defendants breached this express warranty because their Toxic Hair Relaxer Products are not safe.

To the contrary, the Toxic Hair Relaxer Products pose a dangerous health risk because they

increase the risk of uterine and ovarian cancer, as detailed above.




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               Plaintiffs and the other Class members read and relied on these express warranties

provided by Defendants in the packaging and written advertisements.

               Defendants breached its express warranties because the Toxic Hair Relaxer

Products are defective and not reasonably safe for their intended use.

               Defendants knew or should have known that the Toxic Hair Relaxer Products did

not conform to their express warranties and representations and that, in fact, the Toxic Hair Relaxer

Products are not safe and pose serious health risks.

               Plaintiffs and the other Class members have suffered harm on account of

Defendants’ breach of its express warranty regarding the fitness for use and safety of the Toxic

Hair Relaxer Products. Plaintiffs, on behalf of themselves and the other Class members, seek

recovery of actual damages, as well as incidental and consequential damages as a direct and

proximate result of the Toxic Defect, in an amount to be determined at trial.

               As a direct and proximate result of each Defendant’s breach of its express warranty,

Plaintiffs and the other Class members have been significantly exposed to Toxic Hair Relaxer

Products, have sustained a significantly increased risk of developing serious and potentially fatal

Subject Cancers, and have suffered and will continue to suffer economic losses and expenses

associated with medically necessary medical monitoring.

               Plaintiffs, on behalf of themselves and the Medical Monitoring Class members,

seek injunctive and monetary relief, including (a) the creation of a fund to finance notifying

Medical Monitoring Class members of their exposure and its potential consequences, and to fund

diagnostic screening, testing, and procedures for the Subject Cancers for Plaintiffs and the other

Class members, and/or compensatory damages to fund this necessary medical monitoring; (b)




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attorneys’ fees; (c) costs; (d) interest; and (e) such further relief as this Court deems equitable and

just.

  COUNT 34 – VIOLATIONS OF THE SONG-BEVERLY CONSUMER WARRANTY
 ACT FOR BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY/FITNESS
                                 FOR PARTICULAR USE
 (Individually and on Behalf of the California Consumer and Medical Monitoring Classes
    Against Defendants L’Oréal, SoftSheen, Strength of Nature, Revlon, and McBride)

                Plaintiffs Meadows and Vaughn (“Plaintiffs,” for purposes of the California

Classes’ claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the California

Consumer and Medical Monitoring Classes.

                Plaintiffs and the other Class members are “buyers” within the meaning of

California Civil Code § 1791(b) and (h), the Toxic Hair Relaxer Products are “consumer goods”

within the meaning of California Civil Code § 1791(a), and Defendants are “manufacturers” of the

Toxic Hair Relaxer Products within the meaning of California Civil Code § 1791(j).

                Defendants are in the business of manufacturing, supplying, marketing, advertising,

warranting, and/or selling hair relaxer products.

                Prior to the time that Plaintiffs and the other Class members purchased and/or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew of the uses for which their Toxic Hair

Relaxer Products were intended and impliedly warranted to Plaintiffs, and to the other Class

members, that Defendants’ Toxic Hair Relaxer Products were of merchantable quality and safe

and fit for such intended and ordinary uses. Defendants also impliedly warranted to Plaintiffs and

the other Class members that their Toxic Hair Relaxer Products were of a certain quality.




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               Defendants’ warranties include, but are not limited to, the warranties that their

Toxic Hair Relaxer Products are safe, healthy, protective, and/or natural, including but not limited

to the marketing assertions quoted and displayed in the facts alleged above.

               Defendants breached the implied warranties of their Toxic Hair Relaxer Products

sold to Plaintiffs and the other Class members because they were not fit for their ordinary purposes,

or for their intended and reasonably foreseeable uses. Nor were their Toxic Hair Relaxer Products

minimally safe for their expected purpose.

               Defendants’ Toxic Hair Relaxer Products were neither safe for their intended use

nor of merchantable quality, as warranted by Defendants, because their Toxic Hair Relaxer

Products have dangerous propensities when used as intended and cause severe injuries to users,

including Plaintiffs and the other Class members.

               Similarly, Defendants’ Toxic Hair Relaxer Products were unfit for their particular

purpose—safely straightening hair. Defendants’ Toxic Hair Relaxer Products could not, and do

not, safely straighten hair, and never could do so at any point after leaving Defendants’ control.

               Defendants’ Toxic Hair Relaxer Products were unfit for their ordinary use, were

not of merchantable quality, did not conform to the representations made by Defendants, and/or

were unfit for their particular purpose when they left Defendants’ control.

               At the time that Plaintiffs and the other Class members purchased or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew or should have known that Plaintiffs

and the other Class members would detrimentally rely on Defendants’ misrepresentations

regarding safety.

               Plaintiffs and the other Class members purchased or used Defendants’ Toxic Hair

Relaxer Products reasonably relying upon Defendants’ implied warranties.



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               Plaintiffs and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purpose and in the manner intended by Defendants.

               Plaintiffs and the other Class members could not have discovered, through the use

of reasonable care, that Defendants’ implied warranties were false, or that Defendants’ Toxic Hair

Relaxer Products posed danger to them.

               Plaintiffs and the other Class members would not have purchased or used

Defendants’ Toxic Hair Relaxer Products if they had known the truth about the misrepresentations

described above, or that Defendants’ Toxic Hair Relaxer Products were unfit for ordinary use or

their particular purpose.

               Defendants’ breach of warranties were a substantial factor in causing Plaintiffs’ and

the other Class members’ injuries.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiffs

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiffs and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and it indicates a wanton disregard of the rights of others, justifying an award

of punitive or exemplary damages.

               Plaintiffs and the other Class members did not need to send (additional) notice to

Defendants of their breaches of warranty because Defendants were already on notice of the defects




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alleged herein and of Defendants’ related violations. Defendants received such notice from similar

lawsuits for the same conduct and through other means.

                Plaintiffs, on behalf of themselves and the other Class members, seek recovery of

actual damages, as well as incidental and consequential damages as a direct and proximate result

of the Toxic Defect, in an amount to be determined at trial.

                As a direct and proximate result of each Defendant’s wrongful conduct, Plaintiffs

and the other Class members have been significantly exposed to Toxic Hair Relaxer Products, have

sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers,

and have suffered and will continue to suffer economic losses and expenses associated with

medically necessary medical monitoring.

                Plaintiffs, on behalf of themselves and the Medical Monitoring Class members,

seek injunctive and monetary relief, including (a) the creation of a fund to finance notifying

Medical Monitoring Class members of their exposure and its potential consequences, and to fund

diagnostic screening, testing, and procedures for the Subject Cancers for Plaintiffs and the other

Class members, and/or compensatory damages to fund this necessary medical monitoring; (b)

attorneys’ fees; (c) costs; (d) interest; and (e) such further relief as this Court deems equitable and

just.

                        COUNT 35 – FRAUDULENT OMISSION
(Individually and on Behalf of the California Consumer Class Against Defendants L’Oréal,
                   SoftSheen, Strength of Nature, Revlon, and McBride)

                Plaintiffs Meadows and Vaughn (“Plaintiffs,” for purposes of the California

Classes’ claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully

set forth herein.




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               Plaintiffs bring this cause of action individually and on behalf of the California

Consumer Class.

               Through their labeling and advertising, Defendants made representations to

Plaintiffs and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

               At all relevant times, Defendants had a duty to provide Plaintiffs and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including

warnings about any risks they knew of, or should have known of, posed by their Toxic Hair Relaxer

Products.

               Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that they had a duty to both learn and disclose the dangers associated with

their Toxic Hair Relaxer Products.

               From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiffs or the other Class members. Defendants failed to fulfill their duty to

accurately disclose in their labeling and advertising that the Toxic Hair Relaxer Products contained

toxic chemicals.

               Defendants failed to disclose such material facts with the intent to induce

consumers, including Plaintiffs and the other Class members, into purchasing and using their hair

relaxer products.

               Such failures to disclose on the part of Defendants amount to fraudulent omission.



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               Plaintiffs and the other Class members justifiably relied on Defendants’

nondisclosures to their detriment.

               In reliance on Defendants’ omissions, Plaintiffs and the other Class members were

induced to purchase and use Defendants’ Toxic Hair Relaxer Products. If Plaintiffs and the other

Class members had known of the facts concealed by Defendants, including facts revealing the

toxic nature of Defendants’ products, then Plaintiffs and the other Class members would not have

purchased or used Defendants’ Toxic Hair Relaxer Products.

               As a direct and proximate result of the foregoing fraudulent omissions by

Defendants, Plaintiffs and the other Class members suffered injuries and damages as alleged

herein.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiffs and the other

Class members suffered serious injury, harm, damages, and economic and non-economic loss.

They will continue to suffer such harm, damages, and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiffs and the other Class members was malicious, oppressive, willful, reckless,

and/or grossly negligent, and indicates a wanton disregard of the rights of others, justifying an

award of punitive or exemplary damages.

               Plaintiffs, on behalf of themselves and the other Class members, seek recovery of

actual damages, as well as incidental and consequential damages, as a direct and proximate result

of Defendants’ fraudulent omissions regarding the Toxic Defect, in an amount to be determined at

trial.




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               D. Colorado

 COUNT 36 – VIOLATIONS OF THE COLORADO CONSUMER PROTECTION ACT
 (Individually and on Behalf of the Colorado Consumer Class Against Defendant Strength
                                        of Nature)

                  Plaintiff Duncan (“Plaintiff,” for purposes of the Colorado Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

                  Plaintiff brings this cause of action individually and on behalf of the Colorado

Consumer Class.

                  Defendant engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the Colorado Consumer Protection Act, Colo. Rev. Stat.

§ 6-1-101 et seq., when it misled consumers regarding the safety risks associated with use of its

Toxic Hair Relaxer Products. As a direct result of Defendant’s deceptive, unfair, unconscionable,

and fraudulent conduct, Plaintiff and the other Class members suffered and will continue to suffer

economic loss and other compensable injuries.

                  Defendant’s deceptive, unfair, unlawful, and unconscionable practices included but

were not limited to the following practices, done knowingly:

          a.      Representing that goods have characteristics, ingredients, uses, or benefits that
                   they do not have;

          b.       Representing that goods are of a particular standard, quality, or grade if they are
                   of another; and

          c.       Advertising goods with the intent not to sell them as advertised.

                  Defendant’s actions and failure to act—including its false and misleading

representations and omissions of material facts regarding the safety and potential risks of its Toxic

Hair Relaxer Products, as described above—constitute acts, uses or employment by Defendant of


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unconscionable commercial practices, deception, fraud, false pretenses, and misrepresentations.

These actions and omissions further constitute the knowing concealment, suppression, or omission

of material facts, done with the intent that Plaintiff and the other Class members rely upon such

concealment, suppression, or omission of material facts in connection with the sale of Defendant’s

merchandise, in violation of the Colorado Consumer Protection Act.

               Defendant’s unfair and deceptive trade practices have caused injuries to consumers,

and the public will benefit from a cessation of these unlawful actions through this litigation.

               By reason of the unlawful acts engaged in by Defendant, Plaintiff and the other

Class members have suffered ascertainable loss and damages.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendant’s Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendant, Plaintiff

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses in the future.

               Defendant’s conduct with respect to its design and sale of its Toxic Hair Relaxer

Products to Plaintiff and the other Class members was fraudulent, malicious, oppressive, willful,

reckless, and/or grossly negligent, and Defendant’s conduct indicates a wanton disregard of the

rights of others, justifying an award of punitive or exemplary damages.

               Due to the above, Defendant is liable to Plaintiff and the other Class members for

compensatory, as well as exemplary, multiple, and/or punitive damages to the extent available and

as applicable, in amounts to be proven at trial, together with interest, costs of suit, attorneys’ fees

and all such other relief as the Court deems proper.




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               Plaintiff did not need to send (additional) notice to Defendant of its violations of

the Colorado Consumer Protection Act pled in this Complaint because Defendant was already on

notice of the defects alleged herein and of Defendant’s related violations. Defendant received such

notice from similar lawsuits for the same conduct and through other means.

               Plaintiff and the other Class members would not have purchased the Toxic Hair

Relaxer Products, or alternatively they would have paid less for them, had the truth about the toxic

nature of Defendant’s products been disclosed. Plaintiff, on behalf of herself and the other Class

members, seeks to recover the actual damages they have suffered.

                         COUNT 37 – UNJUST ENRICHMENT
 (Individually and on Behalf of the Colorado Consumer Class Against Defendant Strength
                                        of Nature)

               Plaintiff Duncan (“Plaintiff,” for purposes of the Colorado Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the Colorado

Consumer Class.

               As a result of Defendant’s wrongful and deceptive conduct, Defendant knowingly

and voluntarily accepted and retained wrongful benefits in the form of money paid by Plaintiff and

the other Class members when they purchased the Toxic Hair Relaxer Products.

               In so doing, Defendant acted with conscious disregard for the rights of Plaintiff and

the other Class members.

               As an intended and expected result of Defendant’s conscious wrongdoing as set

forth in this Complaint, Defendant has profited and benefited from payments Plaintiff and the other

Class members made for their Toxic Hair Relaxer Products.



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               Defendant’s unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein.

               At the time their payments were made, Plaintiff and the other Class members

expected that Defendant’s Toxic Hair Relaxer Products were safe and effective in the ways

Defendant had represented, and could safely be used for the purposes Defendant advertised its

Toxic Hair Relaxer Products. In exchange for their payments, Plaintiff and the other Class

members believed they were receiving a safe method for straightening hair that did not involve the

risk of serious adverse health effects.

               Defendant has voluntarily accepted and retained these payments with full

knowledge that, as a result of its wrongdoing, Plaintiff and the other Class members paid for

Defendant’s Toxic Hair Relaxer Products when they otherwise would not have done so. The failure

of Defendant to provide Plaintiff and the other Class members with the remuneration expected

enriched Defendant unjustly.

               Under the common law doctrine of unjust enrichment, it is inequitable for

Defendant to be permitted to retain the benefits it received, and is still receiving, without

justification, from the false and deceptive labeling and marketing of the Toxic Hair Relaxer

Products to Plaintiff and the other Class members.

               Defendant’s retention of such funds under circumstances making it inequitable to

do so constitutes unjust enrichment. It is unjust to allow Defendant to earn and retain revenues,

profits, and benefits from their Toxic Hair Relaxer Products while Plaintiff and the other Class

members suffered and are suffering serious illnesses, including but not limited to uterine and

ovarian cancer.




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               Plaintiff and the other Class members may assert an unjust enrichment claim even

though a remedy at law may otherwise exist.

               Plaintiff, on behalf of herself and the other Class members, seeks restitution and

disgorgement of Defendant’s wrongful revenues, profits, and benefits to the extent and in the

amount deemed appropriate by the Court, and such other relief as the Court deems just and proper

to remedy Defendant’s unjust enrichment.

                   COUNT 38 – BREACH OF EXPRESS WARRANTY
 (Individually and on Behalf of the Colorado Consumer Class Against Defendant Strength
                                        of Nature)

               Plaintiff Duncan (“Plaintiff,” for purposes of the Colorado Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the Colorado

Consumer Class.

               As detailed above, Defendant, through its written literature, packaging and labeling,

and through its advertisements, expressly warranted that the Toxic Hair Relaxer Products were

safe and fit for the purposes intended, that they were of merchantable quality, and that they did not

pose dangerous health risks.

               Moreover, the Toxic Hair Relaxer Products’ labeling represents that the regular use

of broad spectrum hair straighteners and/or relaxers is “protective,” and that its use can “decrease

the risk” of skin cancer and early skin aging. Such statements constitute an affirmation of fact or

promise, or a description of the product as being safe and not posing a dangerous health risk.

Defendant breached this express warranty because its Toxic Hair Relaxer Products are not safe.




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To the contrary, the Toxic Hair Relaxer Products pose a dangerous health risk because they

increase the risk of uterine and ovarian cancer, as detailed above.

               Plaintiff and the other Class members read and relied on these express warranties

provided by Defendant in the packaging and written advertisements.

               Defendant breached its express warranties under Colo. Rev. Stat. § 4-2-313, et seq.

because the Toxic Hair Relaxer Products are defective and not reasonably safe for their intended

use.

               Defendant knew or should have known that the Toxic Hair Relaxer Products did

not conform to its express warranties and representations and that, in fact, the Toxic Hair Relaxer

Products are not safe and pose serious health risks.

               Plaintiff and the other Class members have suffered harm on account of

Defendant’s breach of its express warranty regarding the fitness for use and safety of the Toxic

Hair Relaxer Products. Plaintiff, on behalf of herself and the other Class members, seeks recovery

of actual damages, as well as incidental and consequential damages as a direct and proximate result

of the Toxic Defect, in an amount to be determined at trial.

                 COUNT 39 – BREACH OF IMPLIED WARRANTY OF
               MERCHANTABILITY/FITNESS FOR PARTICULAR USE
 (Individually and on Behalf of the Colorado Consumer Class Against Defendant Strength
                                        of Nature)

               Plaintiff Duncan (“Plaintiff,” for purposes of the Colorado Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the Colorado

Consumer Class.




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               Defendant is in the business of manufacturing, supplying, marketing, advertising,

warranting, and/or selling hair relaxer products.

               Prior to the time that Plaintiff and the other Class members purchased and/or used

Defendant’s Toxic Hair Relaxer Products, Defendant knew of the uses for which their Toxic Hair

Relaxer Products were intended and impliedly warranted to Plaintiff, and to the other Class

members, that Defendant’s Toxic Hair Relaxer Products were of merchantable quality and safe

and fit for such intended and ordinary uses. Defendant also impliedly warranted to Plaintiff and

the other Class members that its Toxic Hair Relaxer Products were of a certain quality.

               Defendant’s warranties include, but are not limited to, the warranties that its Toxic

Hair Relaxer Products are safe, healthy, protective, and/or natural, including but not limited to the

marketing assertions quoted and displayed in the facts alleged above.

               Defendant breached the implied warranties of its Toxic Hair Relaxer Products sold

to Plaintiff and the other Class members because they were not fit for their ordinary purposes, or

for their intended and reasonably foreseeable uses. Nor were their Toxic Hair Relaxer Products

minimally safe for their expected purpose.

               Defendant’s Toxic Hair Relaxer Products were neither safe for their intended use

nor of merchantable quality, as warranted by Defendant, because its Toxic Hair Relaxer Products

have dangerous propensities when used as intended and cause severe injuries to users, including

Plaintiff and the other Class members.

               Similarly, Defendant’s Toxic Hair Relaxer Products were unfit for their particular

purpose—safely straightening hair. Defendant’s Toxic Hair Relaxer Products could not, and do

not, safely straighten hair, and never could do so at any point after leaving Defendant’s control.




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               Defendant’s Toxic Hair Relaxer Products were unfit for their ordinary use, were

not of merchantable quality, did not conform to the representations made by Defendants, and/or

were unfit for their particular purpose when they left Defendant’s control.

               At the time that Plaintiff and the other Class members purchased or used

Defendant’s Toxic Hair Relaxer Products, Defendant knew or should have known that Plaintiff

and the other Class members would detrimentally rely on Defendant’s misrepresentations

regarding safety.

               Plaintiff and the other Class members purchased or used Defendant’s Toxic Hair

Relaxer Products reasonably relying upon Defendant’s implied warranties.

               Plaintiff and the other Class members used Defendant’s Toxic Hair Relaxer

Products for the purpose and in the manner intended by Defendant.

               Plaintiff and the other Class members could not have discovered, through the use

of reasonable care, that Defendant’s implied warranties were false, or that Defendant’s Toxic Hair

Relaxer Products posed danger to them.

               Plaintiff and the other Class members would not have purchased or used

Defendant’s Toxic Hair Relaxer Products if they had known the truth about the misrepresentations

described above, or that Defendant’s Toxic Hair Relaxer Products were unfit for ordinary use or

their particular purpose.

               Defendant’s conduct described in this Complaint constitutes a breach of implied

warranties under Colo. Rev. Stat. § 4-2-314, et seq.

               Defendant’s Toxic Hair Relaxer Products are consumer products, and Plaintiff and

the other Class members are consumers. Defendant is a supplier and/or warrantor of the defective

Toxic Hair Relaxer Products, and Defendant breached its implied warranties as described above.



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               Defendant’s breach of warranties were a substantial factor in causing Plaintiff’s and

the other Class members’ injuries.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendant’s Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendant, Plaintiff

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses into the future.

               Defendant’s conduct with respect to the design and sale of its Toxic Hair Relaxer

Products to Plaintiff and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and it indicates a wanton disregard of the rights of others, justifying an award

of punitive or exemplary damages.

               Plaintiff and the other Class members did not need to send (additional) notice to

Defendant of its breaches of warranty because Defendant was already on notice of the defects

alleged herein and of Defendant’s related violations. Defendant received such notice from similar

lawsuits for the same conduct and through other means.

               Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendant’s breach of their implied warranties, in an amount to be determined at trial.

                        COUNT 40 – FRAUDULENT OMISSION
 (Individually and on Behalf of the Colorado Consumer Class Against Defendant Strength
                                        of Nature)

               Plaintiff Duncan (“Plaintiff,” for purposes of the Colorado Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.



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               Plaintiff brings this cause of action individually and on behalf of the Colorado

Consumer Class.

               Through its labeling and advertising, Defendant made representations to Plaintiff

and the other Class members concerning the active and inactive ingredients in its Toxic Hair

Relaxer Products.

               At all relevant times, Defendant had a duty to provide Plaintiff and the other Class

members with true and accurate information about its Toxic Hair Relaxer Products, including

warnings about any risks they knew of, or should have known of, posed by its Toxic Hair Relaxer

Products.

               Defendant knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with its Toxic Hair Relaxer Products. Defendant knew or

should have known that it had a duty to both learn and disclose the dangers associated with its

Toxic Hair Relaxer Products.

               From the time Defendant’s Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendant failed to disclose material facts regarding the safety of its Toxic Hair Relaxer Products

to Plaintiff or the other Class members. Defendant failed to fulfill its duty to accurately disclose in

its labeling and advertising that the Toxic Hair Relaxer Products contained toxic chemicals.

               Defendant failed to disclose such material facts with the intent to induce consumers,

including Plaintiff and the other Class members, into purchasing and using its hair relaxer

products.

               Such failures to disclose on the part of Defendant amount to fraudulent omission.




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               Plaintiff and the other Class members justifiably relied on Defendant’s

nondisclosures to their detriment.

               In reliance on Defendant’s omissions, Plaintiff and the other Class members were

induced to purchase and use Defendant’s Toxic Hair Relaxer Products. If Plaintiff and the other

Class members had known of the facts concealed by Defendant, including facts revealing the toxic

nature of Defendant’s products, then Plaintiff and the other Class members would not have

purchased or used Defendant’s Toxic Hair Relaxer Products.

               As a direct and proximate result of the foregoing fraudulent omissions by

Defendant, Plaintiff and the other Class members suffered injuries and damages as alleged herein.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendant’s Toxic Hair Relaxer Products, Plaintiff and the other

Class members suffered serious injury, harm, damages, and economic and non-economic loss.

They will continue to suffer such harm, damages, and losses into the future.

               Defendant’s conduct with respect to the design and sale of its Toxic Hair Relaxer

Products to Plaintiff and the other Class members was malicious, oppressive, willful, reckless,

and/or grossly negligent, and indicates a wanton disregard of the rights of others, justifying an

award of punitive or exemplary damages.

               Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendant’s fraudulent omissions regarding the Toxic Defect, in an amount to be determined at

trial.




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           E. District of Columbia

                              COUNT 41 – NEGLIGENCE
(Individually and on Behalf of the District of Columbia Medical Monitoring Class Against
                Defendants Revlon, Strength of Nature, Namaste, Dabur)

               Plaintiff Smith (“Plaintiff,” for purposes of the District of Columbia Classes’

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the District of

Columbia Medical Monitoring Class.

               At all relevant times, each Defendant had a duty to exercise reasonable care in the

manufacturing, designing, researching, testing, producing, supplying, inspecting, marketing,

labeling, packaging, selling, and distributing of their hair relaxer products.

               Each Defendant owed a duty of care to Plaintiff and the other Class members to

ensure that the Toxic Hair Relaxer Products it sold in the United States were safe for human

consumption, contained only the ingredients stated on the label, and were not adulterated.

               Defendants’ duty to exercise reasonable care in the advertising and sale of their hair

relaxer products included a duty to warn Plaintiff and the other Class members of the risks and

dangers associated with their Toxic Hair Relaxer Products that were known or should have been

known to Defendants at the time of the sale of their Toxic Hair Relaxer Products to Plaintiff and

the other Class members, including that the products were contained ingredients not specified on

the label that were likely to cause harm to consumers.

               Defendants also owed a continuing duty to Plaintiff and the other Class members

to remove, recall, or retrofit the unsafe and/or defective Toxic Hair Relaxer Products.




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               At all relevant times, Defendants knew or should have known through the exercise

of reasonable care of the dangers associated with the normal and/or intended use of their hair

relaxer products. In particular, Defendants knew or should have known that their Toxic Hair

Relaxer Products significantly increase the risk of uterine and ovarian cancer.

               Each Defendant owed a duty of care to Plaintiff and the other Class members

because they were foreseeable, reasonable, and probable users of Toxic Hair Relaxer Products.

Each Defendant knew or should have known that its Toxic Hair Relaxer Products were harmful to

humans, contained ingredients other than those stated, and/or were adulterated, and each was in

the best position to uncover and remedy these shortcomings.

               At all relevant times, Defendants knew, or should have known through the exercise

of reasonable care, that ordinary consumers such as Plaintiff and the other Class members would

not realize the potential risks and dangers of their Toxic Hair Relaxer Products.

               Each Defendant failed to discharge its duty of care. Defendants breached their duty

of care by manufacturing, designing, researching, testing, producing, supplying, inspecting,

marketing, selling, and/or distributing their Toxic Hair Relaxer Products negligently, recklessly,

and/or with extreme carelessness, and by failing to adequately warn of the risks and dangers of

their Toxic Hair Relaxer Products—as described in the allegations above. Such breaches include

but are not limited to:

               a.         Failing to warn Plaintiff and the other Class members of the risks and

 dangers associated with the use of their Toxic Hair Relaxer Products;

               b.         Failing to properly test their Toxic Hair Relaxer Products to determine the

 adequacy or effectiveness of safety measures, if any, prior to releasing their Toxic Hair Relaxer

 Products for consumer use;



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              c.      Failing to properly test their Toxic Hair Relaxer Products to determine the

increased risk of harm to the endocrine system, including uterine and ovarian cancers, during the

normal and/or intended use of their Toxic Hair Relaxer Products;

              d.      Designing their Toxic Hair Relaxer Products defectively such that they

caused serious injuries or death when used in their intended and reasonably foreseeable manner;

              e.      Failing to inform Plaintiff and the other Class members as to the safe and

proper methods of handling and using their Toxic Hair Relaxer Products;

              f.      Failing to remove or recall their Toxic Hair Relaxer Products from the

market when Defendants knew or should have known that their Toxic Hair Relaxer Products were

defective and/or dangerous;

              g.      Failing to instruct Plaintiff and the other Class members as to the methods

for reducing exposure to their Toxic Hair Relaxer Products, which caused increased risk of cancer,

including uterine and ovarian cancer;

              h.      Marketing and labeling their hair relaxer products as safe when Defendants

knew or should have known that their Toxic Hair Relaxer Products were defective and/or

dangerous;

              i.      Claiming in labeling and marketing that their Toxic Hair Relaxer Products

are safe, healthy, protective, and/or natural, including but not limited to the marketing assertions

quoted and displayed in the facts alleged above; and

              j.      Failing to act like a reasonably prudent company under similar

circumstances.

              Each Defendant knew that the aforesaid wrongdoing would damage Plaintiff and

the other Class members.



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               Each Defendant knew, or should have known through reasonable care, that the

aforesaid wrongdoing would foreseeably cause injuries and other damage to Plaintiff and the other

Class members.

               Due to Defendants’ failure to exercise ordinary care and to comply with the duties

associated with selling cosmetic products, Plaintiffs and the other Class members were unable to

discover the dangerous nature of Defendants’ Toxic Hair Relaxer Products.

               Defendants’ acts and omissions constitute gross negligence because they constitute

a total lack of care and an extreme departure from what a reasonably careful company would do

in the same situation to prevent foreseeable harm to Plaintiff and the other Class members.

               Each Defendant negligently failed to promptly and immediately warn and disclose

to Plaintiff and the other Class members that use of their hair relaxer products would result in

harm, and that using their products in the intended manner results in toxicity, delaying notice of

this harmful and toxic exposure and thus causing continued exposure and delaying necessary

testing, examinations, surveillance, and treatment.

               Defendants’ negligent conduct created and then exacerbated an unreasonable,

dangerous condition for Plaintiff and the other Class members.

               Defendants acted and/or failed to act willfully, and with conscious and reckless

disregard for the rights and interests of Plaintiff and the other Class members, and Defendants’

acts and omissions had a great probability of causing significant harm, and in fact it resulted in

such harm to Plaintiff and the other Class members.

               Defendants’ negligence and gross negligence were a substantial factor in causing

and/or contributing to Plaintiff’s and the other Class members’ harms.




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               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the other Class members—including their marketing—was fraudulent,

malicious, oppressive, willful, reckless, and/or grossly negligent, and indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               As a direct and proximate result of each Defendant’s negligent conduct, Plaintiff

and the other Class members have been significantly exposed to Toxic Hair Relaxer Products, have

sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers,

and have suffered and will continue to suffer economic losses and expenses associated with

medically necessary medical monitoring.

               Plaintiff, on behalf of herself and the other Class members, seeks injunctive and

monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring Class

members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

           COUNT 42 – NEGLIGENT MISREPRESENTATION/OMISSION
(Individually and on Behalf of the District of Columbia Medical Monitoring Class Against
                Defendants Revlon, Strength of Nature, Namaste, Dabur)

               Plaintiff Smith (“Plaintiff,” for purposes of the District of Columbia Classes’

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the District of

Columbia Medical Monitoring Class.




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               Through their labeling and advertising, Defendants made representations to

Plaintiff and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

               At all relevant times, Defendants had a duty to provide Plaintiff and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including

warnings of any risks they knew of or should have known of related to using their Toxic Hair

Relaxer Products. Defendants knew or should have known about this duty.

               Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that their representations about the safety of their Toxic Hair Relaxer

Products were false.

               Defendants breached their duty in representing that their Toxic Hair Relaxer

Products have no serious side effects when they knew or should have known that their products

did cause serious side effects as described herein.

               From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiffs or the public. Defendants failed to fulfill their duty to accurately disclose in

their labeling and advertising that the Toxic Hair Relaxer Products contained toxic chemicals.

               Additionally, Defendants have a duty to not make false representations with respect

to their Toxic Hair Relaxer Products. At all relevant times, Defendants conducted sales and

marketing campaigns to promote the sale of their Toxic Hair Relaxer Products and willfully




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deceived Plaintiff and the general public about the health risks and adverse consequences of the

use of such products.

                 Defendants’ misrepresentations included but are not limited to the statements in

labels and marketing that their Toxic Hair Relaxer Products are safe, healthy, protective, and/or

natural, including but not limited to the marketing assertions quoted and displayed in the facts

alleged above.

                 Defendants made such representations and failed to disclose such material facts

with the intent to induce consumers, including Plaintiff and the other Class members, into

purchasing and using their Toxic Hair Relaxer Products.

                 Defendants’ misrepresentations and omissions concealed from Plaintiffs and the

other Class members that Defendants’ Toxic Hair Relaxer Products posed a high risk of

unreasonable, dangerous, health conditions, including but not limited to uterine and ovarian

cancer.

                 Plaintiff and the other Class members justifiably relied on Defendants’

misrepresentations and nondisclosures to their detriment. Specifically, Plaintiff and the other Class

members relied on representations that their Toxic Hair Relaxer Products were safe to use as

expected and instructed, when they were not.

                 In reliance on the misrepresentations by Defendants, Plaintiff and the other Class

members were induced to purchase and use Defendants’ Toxic Hair Relaxer Products.

                 As a direct and proximate result of the foregoing negligent misrepresentations by

Defendants, Plaintiff and the other Class members suffered injuries and damages as alleged herein.

                 Defendants’ omission of material facts also induced Plaintiff and the other Class

members into purchasing Defendants’ Toxic Hair Relaxer Products. If Plaintiff and the other Class



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members had known of the true facts and the facts concealed by Defendants, Plaintiff and the other

Class members would not have purchased or used Defendants’ Toxic Hair Relaxer Products.

               Because of the severe nature of the harms caused by Defendants’ Toxic Hair

Relaxer Products, no reasonable person would have purchased these products if Defendants have

fully apprised the public of the dangers associated with these products.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiff and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and it indicates a wanton disregard of the rights of

others, justifying an award of punitive or exemplary damages.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiff and the other

Class members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing the serious and potentially fatal Subject Cancers, and

have suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.

               Plaintiff, on behalf of herself and the other Class members, seeks injunctive and

monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring Class

members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiff and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.




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                          COUNT 43 – NEGLIGENCE PER SE
 (Individually and on behalf of the District of Columbia Medical Monitoring Class Against
                 Defendants Revlon, Strength of Nature, Namaste, Dabur)

               Plaintiff Smith (“Plaintiff,” for purposes of the District of Columbia Classes’

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the District of

Columbia Medical Monitoring Class.

               The Food, Drug, and Cosmetic Act, 21 U.S.C. ch. 9 § 301 et seq., and its

accompanying regulations, are implemented to regulate and promote safety in the design,

manufacturing, marketing, branding, labeling, and sale of food, drugs, and cosmetics, including

Defendants’ Toxic Hair Relaxer Products.

               Upon information and belief, Defendants’ conduct violated one or more statutes or

related regulations, including but not limited to the following:

                a.      21 U.S.C. § 331;

                b.      21 U.S.C. § 361;

                c.      21 U.S. Code § 362; and

                d.      21 CFR Part 740, including but not limited to 21 CFR § 740.1 and 21 CFR

§ 740.10.

               Plaintiff is currently unadvised of the full extent of the federal or state safety laws

and regulations that Defendants or their agents may have violated but reserve the right to rely on

such safety laws and regulations shown during discovery.

               Defendants’ violation of such safety laws and regulations constitutes negligence

per se.


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               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiff and the other

Class members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing the serious and potentially fatal Subject Cancers, and

have suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.

               Plaintiff, on behalf of herself and the other Class members, seeks injunctive and

monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring Class

members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiff and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

                  COUNT 44 – STRICT LIABILITY: DESIGN DEFECT
    (Individually and on Behalf of the District of Columbia Medical Monitoring Classes
             Against Defendants Revlon, Strength of Nature, Namaste, Dabur)

               Plaintiff Smith (“Plaintiff,” for purposes of the District of Columbia Classes’

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the District of

Columbia Medical Monitoring Class.

               Defendants designed, manufactured, marketed, and sold their Toxic Hair Relaxer

Products that were used by Plaintiff and the other Class members, and Defendants were in the

business of selling their Toxic Hair Relaxer Products.




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               Defendants’ Toxic Hair Relaxer Products were in an unsafe, defective, and

unreasonably dangerous condition at the time they left Defendants’ possession because of their

design. In particular, Defendants’ Toxic Hair Relaxer Products were defectively designed because

they caused serious injuries and death, including but not limited to uterine cancer and ovarian

cancer.

               Defendants’ Toxic Hair Relaxer Products are unreasonably dangerous as designed

because they do not perform as safely as ordinary consumers, including Plaintiff and the other

Class members, would expect when used in an intended or reasonably foreseeable manner.

               Defendants’ Toxic Hair Relaxer Products are unreasonably dangerous as designed

because the danger inherent in their design outweighs the benefits of that design.

               Defendants caused their Toxic Hair Relaxer Products to enter the stream of

commerce and to be sold to consumers, including Plaintiff and the other Class members, through

a variety of channels, including through sales to hair salons for use with their customers as well as

direct sale to consumers through retail stores.

               Defendants’ Toxic Hair Relaxer Products were expected to, and did, reach

consumers, including Plaintiff and the other Class members, without substantial change in the

condition in which those products were manufactured and sold or otherwise released into the

stream of commerce by Defendants.

               Plaintiff and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purposes and in a manner normally intended, recommended, promoted, and

marketed by Defendants.




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                Defendants knew or should have known that their products were in a defective

condition as a result of their design, and were unreasonably dangerous when used in an intended

or reasonably foreseeable manner.

                At all times material to Plaintiff’s and the other Class members’ claims, there were

technologically and economically feasible safer alternative designs that would have prevented or

substantially reduced the risk to Plaintiffs and the other Class members without substantially

impairing the utility of Defendants’ Toxic Hair Relaxer Products.

                Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the other Class members was fraudulent, malicious, oppressive, willful,

reckless, and/or grossly negligent, and it indicates a wanton disregard of the rights of others,

justifying an award of punitive or exemplary damages.

                Plaintiff pleads this claim for relief in the broadest sense and seek the full measure

of damages allowed under the applicable governing law, including the common law and, where

and to the extent applicable, all product liability acts, statutes, and laws.

                As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of their Toxic Hair Relaxer Products, Plaintiff and the other Class

members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing serious and potentially fatal Subject Cancers, and have

suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.

                Plaintiff, on behalf of herself and the other Class members, seeks injunctive and

monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring Class

members of their exposure and its potential consequences, and to fund diagnostic screening,



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testing, and procedures for the Subject Cancers for Plaintiff and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

                COUNT 45 – STRICT LIABILITY: FAILURE TO WARN
    (Individually and on Behalf of the District of Columbia Medical Monitoring Classes
             Against Defendants Revlon, Strength of Nature, Namaste, Dabur)

               Plaintiff Smith (“Plaintiff,” for purposes of the District of Columbia Classes’

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the District of

Columbia Medical Monitoring Class.

               Defendants designed, manufactured, marketed, and sold their Toxic Hair Relaxer

Products, which were used by Plaintiff and the other Class members, and Defendants were in the

business of selling Toxic Hair Relaxer Products.

               Defendants’ Toxic Hair Relaxer Products were in an unsafe, defective, and

unreasonably dangerous condition at the time they left Defendants’ possession because they were

not accompanied by adequate warnings.

               In particular, Defendants knew or should have known that their Toxic Hair Relaxer

Products could cause serious injuries and death when used in an intended or reasonably foreseeable

manner, including but not limited to uterine and ovarian cancer. Defendants failed to give

appropriate and adequate warning of such risks. Nor did Defendants warn that the safety of their

Toxic Hair Relaxer Products has not been determined. In fact, Defendants continue to this day to

market and sell their products to consumers without adequate warnings of the risks associated with

their products’ use or the lack of safety determination.



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               If Defendants had warned Plaintiff and the other Class members that use of their

Toxic Hair Relaxer Products in an intended or reasonably foreseeable manner would increase their

risk of being seriously injured, including but not limited to developing uterine and ovarian cancer,

and/or that the safety of the Toxic Hair Relaxer Products had not been determined, Plaintiff and

the other Class members would not have used their Toxic Hair Relaxer Products.

               Defendants caused their Toxic Hair Relaxer Products to enter the stream of

commerce and to be sold to consumers, including Plaintiff and the other Class members, through

a variety of channels, including through sales to hair salons for use with their customers and

directly to consumers through retail stores.

               Defendants’ Toxic Hair Relaxer Products were expected to, and did, reach

consumers, including Plaintiff and the other Class members, without substantial change in the

condition in which their Toxic Hair Relaxer Products were manufactured and sold or otherwise

released into the stream of commerce by Defendants.

               Plaintiff and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purposes and in a manner normally intended, recommended, promoted, and

marketed by Defendants.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiff and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and indicates a wanton disregard of the rights of others,

justifying an award of punitive or exemplary damages.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiff and the other

Class members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a



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significantly increased risk of developing serious and potentially fatal Subject Cancers, and have

suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.

               Plaintiff, on behalf of herself and the other Class members, seeks injunctive and

monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring Class

members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiff and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

    COUNT 46 – VIOLATIONS OF THE DISTRICT OF COLUMBIA CONSUMER
                          PROTECTION PROCEDURES ACT
(Individually and on Behalf of the District of Columbia Consumer and Medical Monitoring
         Classes Against Defendants Revlon, Strength of Nature, Namaste, Dabur)

               Plaintiff Smith (“Plaintiff,” for purposes of the District of Columbia Classes’

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the District of

Columbia Consumer and Medical Monitoring Classes.

               Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the District of Columbia Consumer Protection

Procedures Act, D.C. Code Ann. § 28-3901 et seq., when they misled consumers regarding the

safety risks associated with use of their Toxic Hair Relaxer Products. As a direct result of

Defendants’ deceptive, unfair, unconscionable, and fraudulent conduct, Plaintiff and the other

Class members suffered and will continue to suffer economic loss and other compensable injuries.




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               Defendants’ deceptive, unfair, unlawful, and unconscionable practices included but

were not limited to the following practices, done knowingly:

         a.     Representing that goods have characteristics, ingredients, uses, or benefits that
                 they do not have;

         b.      Representing that goods are of a particular standard, quality, or grade if they are
                 of another; and

         c.      Advertising goods with the intent not to sell them as advertised.

               Defendants’ actions and failure to act—including their false and misleading

representations and omissions of material facts regarding the safety and potential risks of their

Toxic Hair Relaxer Products, as described above—constitute acts, uses or employment by

Defendants of unconscionable commercial practices, deception, fraud, false pretenses, and

misrepresentations. These actions and omissions further constitute the knowing concealment,

suppression, or omission of material facts, done with the intent that Plaintiff and the other Class

members rely upon such concealment, suppression, or omission of material facts in connection

with the sale of Defendants’ merchandise, in violation of the District of Columbia Consumer

Protection Procedures Act.

               Defendants’ unfair and deceptive trade practices have caused injuries to consumers,

and the public will benefit from a cessation of these unlawful actions through this litigation.

               By reason of the unlawful acts engaged in by Defendants, Plaintiff and the other

Class members have suffered ascertainable loss and damages.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiff




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and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses in the future.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiff and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and Defendants’ conduct indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               Due to the above, Defendants are liable to Plaintiff and the other Class members

for compensatory, as well as exemplary, multiple, and/or punitive damages to the extent available

and as applicable, in amounts to be proven at trial, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.

               Plaintiff did not need to send (additional) notice to Defendants of their violations

of the District of Columbia Consumer Protection Procedures Act pled in this Complaint because

Defendants were already on notice of the defects alleged herein and of Defendants’ related

violations. Defendants received such notice from similar lawsuits for the same conduct and

through other means.

               Plaintiff and the other Class members would not have purchased the Toxic Hair

Relaxer Products, or alternatively they would have paid less for them, had the truth about the toxic

nature of Defendants’ products been disclosed. Plaintiff, on behalf of herself and the other Class

members, seeks to recover the actual damages they have suffered.

               Further, as a direct and proximate result of each Defendant’s negligent conduct,

Plaintiff and the other Class members have been significantly exposed to Toxic Hair Relaxer

Products, have sustained a significantly increased risk of developing serious and potentially fatal




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Subject Cancers, and have suffered and will continue to suffer economic losses and expenses

associated with medically necessary medical monitoring.

                Plaintiff, on behalf of herself and the other Medical Monitoring Class members,

seeks injunctive and monetary relief, including (a) the creation of a fund to finance notifying

Medical Monitoring Class members of their exposure and its potential consequences, and to fund

diagnostic screening, testing, and procedures for the Subject Cancers for Plaintiff and the other

Class members, and/or compensatory damages to fund this necessary medical monitoring; (b)

attorneys’ fees; (c) costs; (d) interest; and (e) such further relief as this Court deems equitable and

just.

                            COUNT 47 – UNJUST ENRICHMENT
        (Individually and on Behalf of the District of Columbia Consumer Class Against
                   Defendants Revlon, Strength of Nature, Namaste, Dabur)

                Plaintiff Smith (“Plaintiff,” for purposes of the District of Columbia Classes’

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

                Plaintiff brings this cause of action individually and on behalf of the District of

Columbia Consumer Class.

                As a result of Defendants’ wrongful and deceptive conduct, Defendants knowingly

and voluntarily accepted and retained wrongful benefits in the form of money paid by Plaintiff and

the other Class members when they purchased the Toxic Hair Relaxer Products.

                In so doing, Defendants acted with conscious disregard for the rights of Plaintiff

and the other Class members.




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               As an intended and expected result of Defendants’ conscious wrongdoing as set

forth in this Complaint, Defendants have profited and benefited from payments Plaintiff and the

other Class members made for their Toxic Hair Relaxer Products.

               Defendants’ unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein.

               At the time their payments were made, Plaintiff and the other Class members

expected that Defendants’ Toxic Hair Relaxer Products were safe and effective in the ways

Defendants had represented, and could safely be used for the purposes Defendants advertised their

Toxic Hair Relaxer Products. In exchange for their payments, Plaintiff and the other Class

members believed they were receiving a safe method for straightening hair that did not involve the

risk of serious adverse health effects.

               Defendants have voluntarily accepted and retained these payments with full

knowledge that, as a result of their wrongdoing, Plaintiff and the other Class members paid for

Defendants’ Toxic Hair Relaxer Products when they otherwise would not have done so. The failure

of Defendants to provide Plaintiff and the other Class members with the remuneration expected

enriched Defendants unjustly.

               Under the common law doctrine of unjust enrichment, it is inequitable for

Defendants to be permitted to retain the benefits it received, and is still receiving, without

justification, from the false and deceptive labeling and marketing of the Toxic Hair Relaxer

Products to Plaintiff and the other Class members.

               Defendants’ retention of such funds under circumstances making it inequitable to

do so constitutes unjust enrichment. It is unjust to allow Defendants to earn and retain revenues,

profits, and benefits from their Toxic Hair Relaxer Products while Plaintiff and the other Class



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members suffered and are suffering serious illnesses, including but not limited to uterine and

ovarian cancer.

               Plaintiff and the other Class members may assert an unjust enrichment claim even

though a remedy at law may otherwise exist.

               Plaintiff, on behalf of herself and the other Class members, seeks restitution and

disgorgement of Defendants’ wrongful revenues, profits, and benefits to the extent and in the

amount deemed appropriate by the Court, and such other relief as the Court deems just and proper

to remedy Defendants’ unjust enrichment.

                   COUNT 48 – BREACH OF EXPRESS WARRANTY
(Individually and on Behalf of the District of Columbia Consumer and Medical Monitoring
         Classes Against Defendants Revlon, Strength of Nature, Namaste, Dabur)

               Plaintiff Smith (“Plaintiff,” for purposes of the District of Columbia Classes’

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the District of

Columbia Consumer and Medical Monitoring Classes.

               As detailed above, Defendants, through their written literature, packaging and

labeling, and through their advertisements, expressly warranted that the Toxic Hair Relaxer

Products were safe and fit for the purposes intended, that they were of merchantable quality, and

that they did not pose dangerous health risks.

               Moreover, the Toxic Hair Relaxer Products’ labeling represents that the regular use

of broad spectrum hair straighteners and/or relaxers is “protective,” and that its use can “decrease

the risk” of skin cancer and early skin aging. Such statements constitute an affirmation of fact or

promise, or a description of the product as being safe and not posing a dangerous health risk.



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Defendants breached this express warranty because their Toxic Hair Relaxer Products are not safe.

To the contrary, the Toxic Hair Relaxer Products pose a dangerous health risk because they

increase the risk of uterine and ovarian cancer, as detailed above.

               Plaintiff and the other Class members read and relied on these express warranties

provided by Defendants in the packaging and written advertisements.

               Defendants breached its express warranties under D.C. Code § 28:2-313, et seq.

because the Toxic Hair Relaxer Products are defective and not reasonably safe for their intended

use.

               Defendants knew or should have known that the Toxic Hair Relaxer Products did

not conform to their express warranties and representations and that, in fact, the Toxic Hair Relaxer

Products are not safe and pose serious health risks.

               Plaintiff and the other Class members have suffered harm on account of

Defendants’ breach of its express warranty regarding the fitness for use and safety of the Toxic

Hair Relaxer Products. Plaintiff, on behalf of herself and the other Class members, seeks recovery

of actual damages, as well as incidental and consequential damages as a direct and proximate result

of the Toxic Defect, in an amount to be determined at trial.

               As a direct and proximate result of each Defendant’s breach of its express warranty,

Plaintiff and the other Class members have been significantly exposed to Toxic Hair Relaxer

Products, have sustained a significantly increased risk of developing serious and potentially fatal

Subject Cancers, and have suffered and will continue to suffer economic losses and expenses

associated with medically necessary medical monitoring.

               Plaintiff, on behalf of herself and the Medical Monitoring Class members, seeks

injunctive and monetary relief, including (a) the creation of a fund to finance notifying Medical



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Monitoring Class members of their exposure and its potential consequences, and to fund diagnostic

screening, testing, and procedures for the Subject Cancers for Plaintiff and the other Class

members, and/or compensatory damages to fund this necessary medical monitoring; (b) attorneys’

fees; (c) costs; (d) interest; and (e) such further relief as this Court deems equitable and just.

                 COUNT 49 – BREACH OF IMPLIED WARRANTY OF
               MERCHANTABILITY/FITNESS FOR PARTICULAR USE
(Individually and on Behalf of the District of Columbia Consumer and Medical Monitoring
         Classes Against Defendants Revlon, Strength of Nature, Namaste, Dabur)

               Plaintiff Smith (“Plaintiff,” for purposes of the District of Columbia Classes’

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the District of

Columbia Consumer and Medical Monitoring Classes.

               Defendants are in the business of manufacturing, supplying, marketing, advertising,

warranting, and/or selling hair relaxer products.

               Prior to the time that Plaintiff and the other Class members purchased and/or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew of the uses for which their Toxic Hair

Relaxer Products were intended and impliedly warranted to Plaintiff, and to the other Class

members, that Defendants’ Toxic Hair Relaxer Products were of merchantable quality and safe

and fit for such intended and ordinary uses. Defendants also impliedly warranted to Plaintiff and

the other Class members that their Toxic Hair Relaxer Products were of a certain quality.

               Defendants’ warranties include, but are not limited to, the warranties that their

Toxic Hair Relaxer Products are safe, healthy, protective, and/or natural, including but not limited

to the marketing assertions quoted and displayed in the facts alleged above.




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               Defendants breached the implied warranties of their Toxic Hair Relaxer Products

sold to Plaintiff and the other Class members because they were not fit for their ordinary purposes,

or for their intended and reasonably foreseeable uses. Nor were their Toxic Hair Relaxer Products

minimally safe for their expected purpose.

               Defendants’ Toxic Hair Relaxer Products were neither safe for their intended use

nor of merchantable quality, as warranted by Defendants, because their Toxic Hair Relaxer

Products have dangerous propensities when used as intended and cause severe injuries to users,

including Plaintiff and the other Class members.

               Similarly, Defendants’ Toxic Hair Relaxer Products were unfit for their particular

purpose—safely straightening hair. Defendants’ Toxic Hair Relaxer Products could not, and do

not, safely straighten hair, and never could do so at any point after leaving Defendants’ control.

               Defendants’ Toxic Hair Relaxer Products were unfit for their ordinary use, were

not of merchantable quality, did not conform to the representations made by Defendants, and/or

were unfit for their particular purpose when they left Defendants’ control.

               At the time that Plaintiff and the other Class members purchased or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew or should have known that Plaintiff

and the other Class members would detrimentally rely on Defendants’ misrepresentations

regarding safety.

               Plaintiff and the other Class members purchased or used Defendants’ Toxic Hair

Relaxer Products reasonably relying upon Defendants’ implied warranties.

               Plaintiff and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purpose and in the manner intended by Defendants.




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               Plaintiff and the other Class members could not have discovered, through the use

of reasonable care, that Defendants’ implied warranties were false, or that Defendants’ Toxic Hair

Relaxer Products posed danger to them.

               Plaintiff and the other Class members would not have purchased or used

Defendants’ Toxic Hair Relaxer Products if they had known the truth about the misrepresentations

described above, or that Defendants’ Toxic Hair Relaxer Products were unfit for ordinary use or

their particular purpose.

               Defendants’ conduct described in this Complaint constitutes a breach of implied

warranties under D.C. Code § 28:2-314, et seq.

               Defendants’ Toxic Hair Relaxer Products are consumer products, and Plaintiff and

the other Class members are consumers. Defendants are suppliers and/or warrantors of the

defective Toxic Hair Relaxer Products, and Defendants breached their implied warranties as

described above.

               Defendants’ breach of warranties were a substantial factor in causing Plaintiff’s and

the other Class members’ injuries.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiff

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the public was fraudulent, malicious, oppressive, willful, reckless, and/or




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grossly negligent, and it indicates a wanton disregard of the rights of others, justifying an award

of punitive or exemplary damages.

               Plaintiff and the other Class members did not need to send (additional) notice to

Defendants of their breaches of warranty because Defendants were already on notice of the defects

alleged herein and of Defendants’ related violations. Defendants received such notice from similar

lawsuits for the same conduct and through other means.

               Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendants’ breach of their implied warranties, in an amount to be determined at trial.

               As a direct and proximate result of each Defendant’s wrongful conduct, Plaintiff

and the other Class members have been significantly exposed to Toxic Hair Relaxer Products, have

sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers,

and have suffered and will continue to suffer economic losses and expenses associated with

medically necessary medical monitoring.

               Plaintiff, on behalf of herself and the other Class members, seeks injunctive and

monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring Class

members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiff and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.




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                         COUNT 50 – FRAUDULENT OMISSION
      (Individually and on Behalf of the District of Columbia Consumer Class Against
                 Defendants Revlon, Strength of Nature, Namaste, Dabur)

               Plaintiff Smith (“Plaintiff,” for purposes of the District of Columbia Classes’

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the District of

Columbia Consumer Class.

               Through their labeling and advertising, Defendants made representations to

Plaintiff and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

               At all relevant times, Defendants had a duty to provide Plaintiff and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including

warnings about any risks they knew of, or should have known of, posed by their Toxic Hair Relaxer

Products.

               Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that they had a duty to both learn and disclose the dangers associated with

their Toxic Hair Relaxer Products.

               From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiff or the other Class members. Defendants failed to fulfill their duty to accurately




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disclose in their labeling and advertising that the Toxic Hair Relaxer Products contained toxic

chemicals.

               Defendants failed to disclose such material facts with the intent to induce

consumers, including Plaintiff and the other Class members, into purchasing and using their hair

relaxer products.

               Such failures to disclose on the part of Defendants amount to fraudulent omission.

               Plaintiff and the other Class members justifiably relied on Defendants’

nondisclosures to their detriment.

               In reliance on Defendants’ omissions, Plaintiff and the other Class members were

induced to purchase and use Defendants’ Toxic Hair Relaxer Products. If Plaintiff and the other

Class members had known of the facts concealed by Defendants, including facts revealing the

toxic nature of Defendants’ products, then Plaintiff and the other Class members would not have

purchased or used Defendants’ Toxic Hair Relaxer Products.

               As a direct and proximate result of the foregoing fraudulent omissions by

Defendants, Plaintiff and the other Class members suffered injuries and damages as alleged herein.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiff and the other

Class members suffered serious injury, harm, damages, and economic and non-economic loss.

They will continue to suffer such harm, damages, and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the other Class members was malicious, oppressive, willful, reckless,

and/or grossly negligent, and indicates a wanton disregard of the rights of others, justifying an

award of punitive or exemplary damages.



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               Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendants’ fraudulent omissions regarding the Toxic Defect, in an amount to be determined at

trial.

           F. Florida

                        COUNT 51 – MEDICAL MONITORING
 (Individually and on Behalf of the Florida Medical Monitoring Class Against Defendants
  L’Oréal, SoftSheen, Strength of Nature, Dabur, Namaste, McBride, Revlon, Luster, JF
                              Labs, and House of Cheatham)

               Plaintiffs Boyd, Buchanan, Temitrius Burton, Harris-Robinson, Jackson, Longley,

McDonald, and Reid (“Plaintiffs,” for purposes of the Florida Classes’ claims) incorporate by

reference and reallege paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiffs bring this cause of action individually and on behalf of the Florida

Medical Monitoring Class.

               Through their misrepresentations and omissions, Defendants deceived Plaintiffs

and the other Class members about the presence of toxic chemicals, which are harmful to women’s

health, in their Toxic Hair Relaxer Products. Through their deception, Defendants succeeded in

persuading large segments of the relevant consumer market to purchase Defendants’ Toxic Hair

Relaxer Products despite the presence of significant dangers, as set forth herein.

               Defendants had a pre-marketing, post-manufacturing, and continuing duty to warn,

which arose when Defendants knew, or with reasonable care should have known, that Defendants’

Toxic Hair Relaxer Products were injurious or fatal.

               Defendants omitted, suppressed, or concealed material facts concerning the dangers

and risks associated with the use of Defendants’ Toxic Hair Relaxer Products, including the risks

of death, disease, and other health problems associated with the use of Defendant’s Toxic Hair

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Relaxer Products. Defendants failed to disclose that their Toxic Hair Relaxer Products contained

toxic chemicals, and Defendants downplayed and/or understated the serious nature of the risks

associated with the use of Defendants’ Toxic Hair Relaxer Products. Instead, Defendants

encouraged the use of their Toxic Hair Relaxer Products despite knowledge of the dangerous side

effects that these products present to the consuming population.

               Defendants falsely and deceptively misrepresented, or knowingly omitted,

suppressed, and concealed material facts regarding the ingredients contained within Defendants’

Toxic Hair Relaxer Products, as well as the risk posed by those ingredients to the public.

               Had Plaintiffs and the other Class members known that Defendants’ Toxic Hair

Relaxer Products contained dangerous ingredients and/or that those ingredients could cause serious

life-threatening injuries, none of them would have purchased Defendants’ Toxic Hair Relaxer

Products.

               Defendants knew or should have known, and would have known had appropriate

testing been done, that the use of Defendants’ Toxic Hair Relaxer Products caused the serious and

potentially life-threatening adverse health consequences as described herein, including uterine and

ovarian cancer.

               Defendants’ actions, as set forth herein, constitute knowing omission, suppression

or concealment of material facts, made with the intent that others will rely upon such concealment,

suppression or omission, in connection with the marketing of Defendants’ Toxic Hair Relaxer

Products.

               Plaintiffs and the other Class members have used Defendants’ Toxic Hair Relaxer

Products at least four times—an amount sufficient to significantly increase the risk of and cause

the Subject Cancers.



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               As a proximate result of consuming Defendants’ Toxic Hair Relaxer Products,

Plaintiffs and the other Class members have been significantly exposed to Toxic Hair Relaxer

Products, have sustained a significantly increased risk of developing the serious and potentially

fatal Subject Cancers, and have suffered and will continue to suffer economic losses and expenses

associated with medically necessary medical monitoring.

               As a direct and proximate result of Defendants’ tortious conduct, it is reasonably

medically necessary for Plaintiffs and the other Class members to incur, both now and in the future,

the cost of monitoring, diagnostic testing, clinical examinations, and consultations for the early

detection of the Subject Cancers.

               As a direct and proximate result of Defendants’ tortious and unlawful conduct,

Plaintiffs and the other Class members have suffered and will suffer economic losses and expenses

associated with ongoing medical monitoring.

               The increased susceptibility to injuries and irreparable threat to the health of

Plaintiffs and the other Class members resulting from their exposure to this hazardous substance

can only be mitigated or redressed by medical monitoring for the Subject Cancers, which is

necessary as a result of the use of Defendants’ Toxic Hair Relaxer Products.

               Early detection and diagnosis of cancer is clinically invaluable because it can

prevent, reduce, and/or significantly delay the resulting discomfort, suffering, and/or death.

Medical monitoring is crucial to early detection because these conditions are often asymptomatic

and, therefore, can only be discovered through proper testing.

               There are means to detect the Subject Cancers, caused by the use of Defendants’

Toxic Hair Relaxer Products, at an early stage, such that subsequent treatment would have a higher




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chance of success at prolonging life and/or reducing suffering than would exist without early

detection.

               Such medical monitoring procedures must be prescribed by a qualified physician

and may include but are not limited to certain blood and laboratory tests; physical examinations;

imaging (as discussed below); biopsies of the reproductive organs (uterus, ovary) and accessory

organs; and other medical consultations and procedures necessary for diagnosis.

               Specific tests and procedures used to diagnose the Subject Cancers to be included

in a medical monitoring program may include but are not limited to Pap smears; blood tests,

including CA 125 antigen testing; genetic testing; abdominal ultrasounds; pelvic examinations;

CT scans; and transvaginal ultrasounds.

               The available monitoring regime is specific for individuals exposed to products that

are known to significantly increase the risk of the Subject Cancers because of using Toxic Hair

Relaxer Products. That is because the monitoring regime is different as between women who were

not exposed to the Toxic Hair Relaxer Products, versus Plaintiffs and the other Class members

who are at significantly increased risk of the Subject Cancers by virtue of their exposure to

Defendants’ Toxic Hair Relaxer Products. Such differences include the types, timing, frequency,

and/or scope of screening and diagnostic examinations that would be recommended for women at

this significantly increased risk. The monitoring regime is conducted and analyzed by medical

practitioners skilled in the respective medical areas.

               These monitoring procedures conform to the standard of medical care and are

reasonably medically necessary to ensure that the Subject Cancers can be identified early and

appropriately treated. Said monitoring procedures will facilitate treatment and interventions that

will mitigate the development of, and health effects associated with, the Subject Cancers, which



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may in turn increase Plaintiffs’ and the other Class members’ chance of survival. The present value

of the costs of such tests is calculable.

                Plaintiffs’ and the other Class members’ significantly increased risk of the Subject

Cancers, caused by their exposure to Defendants’ Toxic Hair Relaxer Products, can only be

mitigated or addressed by appropriate medical testing.

                Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Plaintiffs and the other

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

 COUNT 52 – VIOLATIONS OF THE FLORIDA DECEPTIVE AND UNFAIR TRADE
                                    PRACTICES ACT
 (Individually and on Behalf of the Florida Consumer Class Against Defendants L’Oréal,
 SoftSheen, Strength of Nature, Dabur, Namaste, McBride, Revlon, Luster, JF Labs, and
                                   House of Cheatham)

                Plaintiffs Boyd, Buchanan, Temitrius Burton, Harris-Robinson, Jackson, Longley,

McDonald, and Reid (“Plaintiffs,” for purposes of the Florida Classes’ claims) incorporate by

reference and reallege paragraphs 1 to 180 above, as though fully set forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the Florida

Consumer Class.

                Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the Florida Deceptive and Unfair Trade Practices Act,

Fla. Stat. Ann. § 501.201 et seq., when they misled consumers regarding the safety risks associated

with use of their Toxic Hair Relaxer Products. As a direct result of Defendants’ deceptive, unfair,



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unconscionable, and fraudulent conduct, Plaintiffs and the other Class members suffered and will

continue to suffer economic loss and other compensable injuries.

                 Defendants’ deceptive, unfair, unlawful, and unconscionable practices included but

were not limited to the following practices, done knowingly:

         a.      Representing that goods have characteristics, ingredients, uses, or benefits that
                  they do not have;

         b.       Representing that goods are of a particular standard, quality, or grade if they are
                  of another; and

         c.       Advertising goods with the intent not to sell them as advertised.

                 Defendants’ actions and failure to act—including their false and misleading

representations and omissions of material facts regarding the safety and potential risks of their

Toxic Hair Relaxer Products, as described above—constitute acts, uses or employment by

Defendants of unconscionable commercial practices, deception, fraud, false pretenses, and

misrepresentations. These actions and omissions further constitute the knowing concealment,

suppression, or omission of material facts, done with the intent that Plaintiffs and the other Class

members rely upon such concealment, suppression, or omission of material facts in connection

with the sale of Defendants’ merchandise, in violation of the Florida Deceptive and Unfair Trade

Practices Act.

                 Defendants’ unfair and deceptive trade practices have caused injuries to consumers,

and the public will benefit from a cessation of these unlawful actions through this litigation.

                 By reason of the unlawful acts engaged in by Defendants, Plaintiffs and the other

Class members have suffered ascertainable loss and damages.

                 As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,


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sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiffs

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses in the future.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiffs and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and Defendants’ conduct indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               Due to the above, Defendants are liable to Plaintiffs and the other Class members

for compensatory, as well as exemplary, multiple, and/or punitive damages to the extent available

and as applicable, in amounts to be proven at trial, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.

               Plaintiffs did not need to send (additional) notice to Defendants of their violations

of the Florida Deceptive and Unfair Trade Practices Act pled in this Complaint because Defendants

were already on notice of the defects alleged herein and of Defendants’ related violations.

Defendants received such notice from similar lawsuits for the same conduct and through other

means.

               Plaintiffs and the other Class members would not have purchased the Toxic Hair

Relaxer Products, or alternatively they would have paid less for them, had the truth about the toxic

nature of Defendants’ products been disclosed. Plaintiffs, on behalf of themselves and the other

Class members, seek to recover the actual damages they have suffered.




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                         COUNT 53 – UNJUST ENRICHMENT
 (Individually and on Behalf of the Florida Consumer Class Against Defendants L’Oréal,
 SoftSheen, Strength of Nature, Dabur, Namaste, McBride, Revlon, Luster, JF Labs, and
                                   House of Cheatham)

               Plaintiffs Boyd, Buchanan, Temitrius Burton, Harris-Robinson, Jackson, Longley,

McDonald, and Reid (“Plaintiffs,” for purposes of the Florida Classes’ claims) incorporate by

reference and reallege paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiffs bring this cause of action individually and on behalf of the Florida

Consumer Class.

               As a result of Defendants’ wrongful and deceptive conduct, Defendants knowingly

and voluntarily accepted and retained wrongful benefits in the form of money paid by Plaintiffs

and the other Class members when they purchased the Toxic Hair Relaxer Products.

               In so doing, Defendants acted with conscious disregard for the rights of Plaintiffs

and the other Class members.

               As an intended and expected result of Defendants’ conscious wrongdoing as set

forth in this Complaint, Defendants have profited and benefited from payments Plaintiffs and the

other Class members made for their Toxic Hair Relaxer Products.

               Defendants’ unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein.

               At the time their payments were made, Plaintiffs and the other Class members

expected that Defendants’ Toxic Hair Relaxer Products were safe and effective in the ways

Defendants had represented, and could safely be used for the purposes Defendants advertised their

Toxic Hair Relaxer Products. In exchange for their payments, Plaintiffs and the other Class

members believed they were receiving a safe method for straightening hair that did not involve the

risk of serious adverse health effects.

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               Defendants have voluntarily accepted and retained these payments with full

knowledge that, as a result of their wrongdoing, Plaintiffs and the other Class members paid for

Defendants’ Toxic Hair Relaxer Products when they otherwise would not have done so. The failure

of Defendants to provide Plaintiffs and the other Class members with the remuneration expected

enriched Defendants unjustly.

               Under the common law doctrine of unjust enrichment, it is inequitable for

Defendants to be permitted to retain the benefits it received, and is still receiving, without

justification, from the false and deceptive labeling and marketing of the Toxic Hair Relaxer

Products to Plaintiffs and the other Class members.

               Defendants’ retention of such funds under circumstances making it inequitable to

do so constitutes unjust enrichment. It is unjust to allow Defendants to earn and retain revenues,

profits, and benefits from their Toxic Hair Relaxer Products while Plaintiffs and the other Class

members suffered and are suffering serious illnesses, including but not limited to uterine and

ovarian cancer.

               Plaintiffs and the other Class members may assert an unjust enrichment claim even

though a remedy at law may otherwise exist.

               Plaintiffs, on behalf of themselves and the other Class members, seek restitution

and disgorgement of Defendants’ wrongful revenues, profits, and benefits to the extent and in the

amount deemed appropriate by the Court, and such other relief as the Court deems just and proper

to remedy Defendants’ unjust enrichment.




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                  COUNT 54 – BREACH OF EXPRESS WARRANTY
 (Individually and on Behalf of the Florida Consumer Class Against Defendants L’Oréal,
 SoftSheen, Strength of Nature, Dabur, Namaste, McBride, Revlon, Luster, JF Labs, and
                                   House of Cheatham)

               Plaintiffs Boyd, Buchanan, Temitrius Burton, Harris-Robinson, Jackson, Longley,

McDonald, and Reid (“Plaintiffs,” for purposes of the Florida Classes’ claims) incorporate by

reference and reallege paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiffs bring this cause of action individually and on behalf of the Florida

Consumer Class.

               As detailed above, Defendants, through their written literature, packaging and

labeling, and through their advertisements, expressly warranted that the Toxic Hair Relaxer

Products were safe and fit for the purposes intended, that they were of merchantable quality, and

that they did not pose dangerous health risks.

               Moreover, the Toxic Hair Relaxer Products’ labeling represents that the regular use

of broad spectrum hair straighteners and/or relaxers is “protective,” and that its use can “decrease

the risk” of skin cancer and early skin aging. Such statements constitute an affirmation of fact or

promise, or a description of the product as being safe and not posing a dangerous health risk.

Defendants breached this express warranty because their Toxic Hair Relaxer Products are not safe.

To the contrary, the Toxic Hair Relaxer Products pose a dangerous health risk because they

increase the risk of uterine and ovarian cancer, as detailed above.

               Plaintiffs and the other Class members read and relied on these express warranties

provided by Defendants in the packaging and written advertisements.

               Defendants breached its express warranties under Fla. Code § 672.313, et seq.

because the Toxic Hair Relaxer Products are defective and not reasonably safe for their intended

use.

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               Defendants knew or should have known that the Toxic Hair Relaxer Products did

not conform to their express warranties and representations and that, in fact, the Toxic Hair Relaxer

Products are not safe and pose serious health risks because they contain toxic chemicals.

               Plaintiffs and the other Class members have suffered harm on account of

Defendants’ breach of its express warranty regarding the fitness for use and safety of the Toxic

Hair Relaxer Products. Plaintiffs, on behalf of themselves and the other Class members, seek

recovery of actual damages, as well as incidental and consequential damages as a direct and

proximate result of the Toxic Defect, in an amount to be determined at trial.

                       COUNT 55 – FRAUDULENT OMISSION
 (Individually and on Behalf of the Florida Consumer Class Against Defendants L’Oréal,
 SoftSheen, Strength of Nature, Dabur, Namaste, McBride, Revlon, Luster, JF Labs, and
                                   House of Cheatham)

               Plaintiffs Boyd, Buchanan, Temitrius Burton, Harris-Robinson, Jackson, Longley,

McDonald, and Reid (“Plaintiffs,” for purposes of the Florida Classes’ claims) incorporate by

reference and reallege paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiffs bring this cause of action individually and on behalf of the Florida

Consumer Class.

               Through their labeling and advertising, Defendants made representations to

Plaintiffs and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

               At all relevant times, Defendants had a duty to provide Plaintiffs and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including

warnings of any risks they knew of or should have known of related to using their hair relaxer.

               Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

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or should have known that they had a duty to both learn and disclose the dangers associated with

their Toxic Hair Relaxer Products.

               From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiffs or the public. Defendants failed to fulfill their duty to accurately disclose in

its labeling and advertising that the Toxic Hair Relaxer Products contained toxic chemicals.

               Defendants failed to disclose such material facts with the intent to induce

consumers, including Plaintiffs and the other Class members, into purchasing and using their hair

relaxer products.

               Such failures to disclose on the part of Defendants amount to fraudulent omission.

               Plaintiffs and the other Class members justifiably relied on Defendants’

nondisclosures to their detriment.

               In reliance on the omissions by Defendants, Plaintiffs and the other Class members

were induced to purchase and use Defendants’ Toxic Hair Relaxer Products. If Plaintiffs and the

other Class members had known of the true facts and the facts concealed by Defendants, Plaintiffs

and the other Class members would not have purchased or used Defendants’ Toxic Hair Relaxer

Products.

               As a direct and proximate result of the foregoing fraudulent omissions by

Defendants, Plaintiffs and the other Class members suffered injuries and damages as alleged

herein.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,



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sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiffs

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses in the future.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiffs and the public was fraudulent, malicious, oppressive, willful,

reckless, and/or grossly negligent, and indicates a wanton disregard of the rights of others,

justifying an award of punitive or exemplary damages.

               Plaintiffs, on behalf of themselves and the other Class members, seek recovery of

actual damages, as well as incidental and consequential damages as a direct and proximate result

of the Toxic Defect, in an amount to be determined at trial.

           G. Illinois

      COUNT 56 – VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD AND
                       DECEPTIVE BUSINESS PRACTICES ACT
 (Individually and on Behalf of the Illinois Consumer Class Against Defendants L’Oréal,
SoftSheen, Strength of Nature, Revlon, House of Cheatham, Dabur, Namaste, JF Labs, and
                                           Luster)

               Plaintiffs Baldwin, Casby, Dalton, Edwards, Lane, Taggart, and Williams

(“Plaintiffs,” for purposes of the Illinois Consumer Class’s claims) incorporate by reference and

reallege paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiffs bring this cause of action individually and on behalf of the Illinois

Consumer Class.

               Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the Illinois Consumer Fraud and Deceptive Business

Practices Act, 815 Ill. Comp. Stat. 505/1 et seq., when they misled consumers regarding the safety

risks associated with use of their Toxic Hair Relaxer Products. As a direct result of Defendants’



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deceptive, unfair, unconscionable, and fraudulent conduct, Plaintiffs and the other Class members

suffered and will continue to suffer economic loss and other compensable injuries.

               Defendants’ deceptive, unfair, unlawful, and unconscionable practices included but

were not limited to the following practices, done knowingly:

         d.     Representing that goods have characteristics, ingredients, uses, or benefits that
                 they do not have;

         e.      Representing that goods are of a particular standard, quality, or grade if they are
                 of another; and

         f.      Advertising goods with the intent not to sell them as advertised.

               Defendants’ actions and failure to act—including their false and misleading

representations and omissions of material facts regarding the safety and potential risks of their

Toxic Hair Relaxer Products, as described above—constitute acts, uses or employment by

Defendants of unconscionable commercial practices, deception, fraud, false pretenses, and

misrepresentations. These actions and omissions further constitute the knowing concealment,

suppression, or omission of material facts, done with the intent that Plaintiffs and the other Class

members rely upon such concealment, suppression, or omission of material facts in connection

with the sale of Defendants’ merchandise, in violation of the Illinois Consumer Fraud and

Deceptive Business Practices Act.

               Defendants’ unfair and deceptive trade practices have caused injuries to consumers,

and the public will benefit from a cessation of these unlawful actions through this litigation.

               By reason of the unlawful acts engaged in by Defendants, Plaintiffs and the other

Class members have suffered ascertainable loss and damages.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,


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sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiffs

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses in the future.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiffs and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and Defendants’ conduct indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               Due to the above, Defendants are liable to Plaintiffs and the other Class members

for compensatory, as well as exemplary, multiple, and/or punitive damages to the extent available

and as applicable, in amounts to be proven at trial, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.

               Plaintiffs did not need to send (additional) notice to Defendants of their violations

of the Illinois Consumer Fraud and Deceptive Business Practices Act pled in this Complaint

because Defendants were already on notice of the defects alleged herein and of Defendants’ related

violations. Defendants received such notice from similar lawsuits for the same conduct and

through other means.

               Plaintiffs and the other Class members would not have purchased the Toxic Hair

Relaxer Products, or alternatively they would have paid less for them, had the truth about the toxic

nature of Defendants’ products been disclosed. Plaintiffs, on behalf of themselves and the other

Class members, seek to recover the actual damages they have suffered.




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                         COUNT 57 – UNJUST ENRICHMENT
 (Individually and on Behalf of the Illinois Consumer Class Against Defendants L’Oréal,
SoftSheen, Strength of Nature, Revlon, House of Cheatham, Dabur, Namaste, JF Labs, and
                                           Luster)

               Plaintiffs Baldwin, Casby, Dalton, Edwards, Lane, Taggart, and Williams

(“Plaintiffs,” for purposes of the Illinois Consumer Class’s claims) incorporate by reference and

reallege paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiffs bring this cause of action individually and on behalf of the Illinois

Consumer Class.

               As a result of Defendants’ wrongful and deceptive conduct, Defendants knowingly

and voluntarily accepted and retained wrongful benefits in the form of money paid by Plaintiffs

and the other Class members when they purchased the Toxic Hair Relaxer Products.

               In so doing, Defendants acted with conscious disregard for the rights of Plaintiffs

and the other Class members.

               As an intended and expected result of Defendants’ conscious wrongdoing as set

forth in this Complaint, Defendants have profited and benefited from payments Plaintiffs and the

other Class members made for their Toxic Hair Relaxer Products.

               Defendants’ unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein.

               At the time their payments were made, Plaintiffs and the other Class members

expected that Defendants’ Toxic Hair Relaxer Products were safe and effective in the ways

Defendants had represented, and could safely be used for the purposes Defendants advertised their

Toxic Hair Relaxer Products. In exchange for their payments, Plaintiffs and the other Class

members believed they were receiving a safe method for straightening hair that did not involve the

risk of serious adverse health effects.

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               Defendants have voluntarily accepted and retained these payments with full

knowledge that, as a result of their wrongdoing, Plaintiffs and the other Class members paid for

Defendants’ Toxic Hair Relaxer Products when they otherwise would not have done so. The failure

of Defendants to provide Plaintiffs and the other Class members with the remuneration expected

enriched Defendants unjustly.

               Under the common law doctrine of unjust enrichment, it is inequitable for

Defendants to be permitted to retain the benefits it received, and is still receiving, without

justification, from the false and deceptive labeling and marketing of the Toxic Hair Relaxer

Products to Plaintiffs and the other Class members.

               Defendants’ retention of such funds under circumstances making it inequitable to

do so constitutes unjust enrichment. It is unjust to allow Defendants to earn and retain revenues,

profits, and benefits from their Toxic Hair Relaxer Products while Plaintiffs and the other Class

members suffered and are suffering serious illnesses, including but not limited to uterine and

ovarian cancer.

               Plaintiffs and the other Class members may assert an unjust enrichment claim even

though a remedy at law may otherwise exist.

               Plaintiffs, on behalf of themselves and the other Class members, seek restitution

and disgorgement of Defendants’ wrongful revenues, profits, and benefits to the extent and in the

amount deemed appropriate by the Court, and such other relief as the Court deems just and proper

to remedy Defendants’ unjust enrichment.




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                  COUNT 58 – BREACH OF EXPRESS WARRANTY
 (Individually and on Behalf of the Illinois Consumer Class Against Defendants L’Oréal,
SoftSheen, Strength of Nature, Revlon, House of Cheatham, Dabur, Namaste, JF Labs, and
                                          Luster )

                Plaintiffs Baldwin, Casby, Dalton, Edwards, Lane, Taggart, and Williams

(“Plaintiffs,” for purposes of the Illinois Consumer Class’s claims) incorporate by reference and

reallege paragraphs 1 to 180 above, as though fully set forth herein.

                Plaintiffs bring this cause of action individually and on behalf of the Illinois

Consumer Class.

                As detailed above, Defendants, through their written literature, packaging and

labeling, and through their advertisements, expressly warranted that the Toxic Hair Relaxer

Products were safe and fit for the purposes intended, that they were of merchantable quality, and

that they did not pose dangerous health risks.

                Moreover, the Toxic Hair Relaxer Products’ labeling represents that the regular use

of broad spectrum hair straighteners and/or relaxers is “protective,” and that its use can “decrease

the risk” of skin cancer and early skin aging. Such statements constitute an affirmation of fact or

promise, or a description of the product as being safe and not posing a dangerous health risk.

Defendants breached this express warranty because their Toxic Hair Relaxer Products are not safe.

To the contrary, the Toxic Hair Relaxer Products pose a dangerous health risk because they

increase the risk of uterine and ovarian cancer, as detailed above.

                Plaintiffs and the other Class members read and relied on these express warranties

provided by Defendants in the packaging and written advertisements.

                Defendants breached its express warranties under 810 Ill. Comp. Stat. 5/2-313, et

seq. because the Toxic Hair Relaxer Products are defective and not reasonably safe for their

intended use.

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               Defendants knew or should have known that the Toxic Hair Relaxer Products did

not conform to their express warranties and representations and that, in fact, the Toxic Hair Relaxer

Products are not safe and pose serious health risks.

               Plaintiffs and the other Class members have suffered harm on account of

Defendants’ breach of its express warranty regarding the fitness for use and safety of the Toxic

Hair Relaxer Products. Plaintiffs, on behalf of themselves and the other Class members, seek

recovery of actual damages, as well as incidental and consequential damages as a direct and

proximate result of the Toxic Defect, in an amount to be determined at trial.

                        COUNT 59 – FRAUDULENT OMISSION
 (Individually and on Behalf of the Illinois Consumer Class Against Defendants L’Oréal,
SoftSheen, Strength of Nature, Revlon, House of Cheatham, Dabur, Namaste, JF Labs, and
                                          Luster )

               Plaintiffs Baldwin, Casby, Dalton, Edwards, Lane, Taggart, and Williams

(“Plaintiffs,” for purposes of the Illinois Consumer Class’s claims) incorporate by reference and

reallege paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiffs bring this cause of action individually and on behalf of the Illinois

Consumer Class.

               Through their labeling and advertising, Defendants made representations to

Plaintiffs and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

               At all relevant times, Defendants had a duty to provide Plaintiffs and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including

warnings about any risks they knew of, or should have known of, posed by their Toxic Hair Relaxer

Products.




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               Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that they had a duty to both learn and disclose the dangers associated with

their Toxic Hair Relaxer Products.

               From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiffs or the other Class members. Defendants failed to fulfill their duty to

accurately disclose in their labeling and advertising that the Toxic Hair Relaxer Products contained

toxic chemicals.

               Defendants failed to disclose such material facts with the intent to induce

consumers, including Plaintiffs and the other Class members, into purchasing and using their hair

relaxer products.

               Such failures to disclose on the part of Defendants amount to fraudulent omission.

               Plaintiffs and the other Class members justifiably relied on Defendants’

nondisclosures to their detriment.

               In reliance on Defendants’ omissions, Plaintiffs and the other Class members were

induced to purchase and use Defendants’ Toxic Hair Relaxer Products. If Plaintiffs and the other

Class members had known of the facts concealed by Defendants, including facts revealing the

toxic nature of Defendants’ products, then Plaintiffs and the other Class members would not have

purchased or used Defendants’ Toxic Hair Relaxer Products.




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               As a direct and proximate result of the foregoing fraudulent omissions by

Defendants, Plaintiffs and the other Class members suffered injuries and damages as alleged

herein.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiffs and the other

Class members suffered serious injury, harm, damages, and economic and non-economic loss.

They will continue to suffer such harm, damages, and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiffs and the other Class members was malicious, oppressive, willful, reckless,

and/or grossly negligent, and indicates a wanton disregard of the rights of others, justifying an

award of punitive or exemplary damages.

               Plaintiffs, on behalf of themselves and the other Class members, seek recovery of

actual damages, as well as incidental and consequential damages, as a direct and proximate result

of Defendants’ fraudulent omissions regarding the Toxic Defect, in an amount to be determined at

trial.

           H. Indiana

COUNT 60 – VIOLATIONS OF THE INDIANA DECEPTIVE CONSUMER SALES ACT
 (Individually and on Behalf of the Indiana Consumer Class Against Defendants L’Oréal,
                          SoftSheen, and Strength of Nature,)

               Plaintiff Glenn (“Plaintiff,” for purposes of the Indiana Consumer Class’s claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Indiana

Consumer Class.




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               Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the Indiana Deceptive Consumer Sales Act, Ind. Code

Ann. § 24-5-0.5-1 et seq., when they misled consumers regarding the safety risks associated with

use of their Toxic Hair Relaxer Products. As a direct result of Defendants’ deceptive, unfair,

unconscionable, and fraudulent conduct, Plaintiff and the other Class members suffered and will

continue to suffer economic loss and other compensable injuries.

               Defendants’ deceptive, unfair, unlawful, and unconscionable practices included but

were not limited to the following practices, done knowingly:

         d.     Representing that goods have characteristics, ingredients, uses, or benefits that
                 they do not have;

         e.      Representing that goods are of a particular standard, quality, or grade if they are
                 of another; and

         f.      Advertising goods with the intent not to sell them as advertised.

               Defendants’ actions and failure to act—including their false and misleading

representations and omissions of material facts regarding the safety and potential risks of their

Toxic Hair Relaxer Products, as described above—constitute acts, uses or employment by

Defendants of unconscionable commercial practices, deception, fraud, false pretenses, and

misrepresentations. These actions and omissions further constitute the knowing concealment,

suppression, or omission of material facts, done with the intent that Plaintiff and the other Class

members rely upon such concealment, suppression, or omission of material facts in connection

with the sale of Defendants’ merchandise, in violation of the Indiana Deceptive Consumer Sales

Act.

               Defendants’ unfair and deceptive trade practices have caused injuries to consumers,

and the public will benefit from a cessation of these unlawful actions through this litigation.


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               By reason of the unlawful acts engaged in by Defendants, Plaintiff and the other

Class members have suffered ascertainable loss and damages.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiff

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses in the future.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiff and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and Defendants’ conduct indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               Due to the above, Defendants are liable to Plaintiff and the other Class members

for compensatory, as well as exemplary, multiple, and/or punitive damages to the extent available

and as applicable, in amounts to be proven at trial, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.

               Plaintiff did not need to send (additional) notice to Defendants of their violations

of the Indiana Deceptive Consumer Sales Act pled in this Complaint because Defendants were

already on notice of the defects alleged herein and of Defendants’ related violations. Defendants

received such notice from similar lawsuits for the same conduct and through other means.

               Plaintiff and the other Class members would not have purchased the Toxic Hair

Relaxer Products, or alternatively they would have paid less for them, had the truth about the toxic

nature of Defendants’ products been disclosed. Plaintiff, on behalf of herself and the other Class

members, seeks to recover the actual damages they have suffered.



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                         COUNT 61 – UNJUST ENRICHMENT
 (Individually and on Behalf of the Indiana Consumer Class Against Defendants L’Oréal,
                           SoftSheen, and Strength of Nature)

               Plaintiff Glenn (“Plaintiff,” for purposes of the Indiana Consumer Class’s claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Indiana

Consumer Class.

               As a result of Defendants’ wrongful and deceptive conduct, Defendants knowingly

and voluntarily accepted and retained wrongful benefits in the form of money paid by Plaintiff and

the other Class members when they purchased the Toxic Hair Relaxer Products.

               In so doing, Defendants acted with conscious disregard for the rights of Plaintiff

and the other Class members.

               As an intended and expected result of Defendants’ conscious wrongdoing as set

forth in this Complaint, Defendants have profited and benefited from payments Plaintiff and the

other Class members made for their Toxic Hair Relaxer Products.

               Defendants’ unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein.

               At the time their payments were made, Plaintiff and the other Class members

expected that Defendants’ Toxic Hair Relaxer Products were safe and effective in the ways

Defendants had represented, and could safely be used for the purposes Defendants advertised their

Toxic Hair Relaxer Products. In exchange for their payments, Plaintiff and the other Class

members believed they were receiving a safe method for straightening hair that did not involve the

risk of serious adverse health effects.




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               Defendants have voluntarily accepted and retained these payments with full

knowledge that, as a result of their wrongdoing, Plaintiff and the other Class members paid for

Defendants’ Toxic Hair Relaxer Products when they otherwise would not have done so. The failure

of Defendants to provide Plaintiff and the other Class members with the remuneration expected

enriched Defendants unjustly.

               Under the common law doctrine of unjust enrichment, it is inequitable for

Defendants to be permitted to retain the benefits it received, and is still receiving, without

justification, from the false and deceptive labeling and marketing of the Toxic Hair Relaxer

Products to Plaintiff and the other Class members.

               Defendants’ retention of such funds under circumstances making it inequitable to

do so constitutes unjust enrichment. It is unjust to allow Defendants to earn and retain revenues,

profits, and benefits from their Toxic Hair Relaxer Products while Plaintiff and the other Class

members suffered and are suffering serious illnesses, including but not limited to uterine and

ovarian cancer.

               Plaintiff and the other Class members may assert an unjust enrichment claim even

though a remedy at law may otherwise exist.

               Plaintiff, on behalf of herself and the other Class members, seeks restitution and

disgorgement of Defendants’ wrongful revenues, profits, and benefits to the extent and in the

amount deemed appropriate by the Court, and such other relief as the Court deems just and proper

to remedy Defendants’ unjust enrichment.




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                  COUNT 62 – BREACH OF EXPRESS WARRANTY
 (Individually and on Behalf of the Indiana Consumer Class Against Defendants L’Oréal,
                           SoftSheen, and Strength of Nature)

               Plaintiff Glenn (“Plaintiff,” for purposes of the Indiana Consumer Class’s claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Indiana

Consumer Class.

               As detailed above, Defendants, through their written literature, packaging and

labeling, and through their advertisements, expressly warranted that the Toxic Hair Relaxer

Products were safe and fit for the purposes intended, that they were of merchantable quality, and

that they did not pose dangerous health risks.

               Moreover, the Toxic Hair Relaxer Products’ labeling represents that the regular use

of broad spectrum hair straighteners and/or relaxers is “protective,” and that its use can “decrease

the risk” of skin cancer and early skin aging. Such statements constitute an affirmation of fact or

promise, or a description of the product as being safe and not posing a dangerous health risk.

Defendants breached this express warranty because their Toxic Hair Relaxer Products are not safe.

To the contrary, the Toxic Hair Relaxer Products pose a dangerous health risk because they

increase the risk of uterine and ovarian cancer, as detailed above.

               Plaintiff and the other Class members read and relied on these express warranties

provided by Defendants in the packaging and written advertisements.

               Defendants breached its express warranties under Ind. Code § 26-1-2-313, et seq.

because the Toxic Hair Relaxer Products are defective and not reasonably safe for their intended

use.




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               Defendants knew or should have known that the Toxic Hair Relaxer Products did

not conform to their express warranties and representations and that, in fact, the Toxic Hair Relaxer

Products are not safe and pose serious health risks.

               Plaintiff and the other Class members have suffered harm on account of

Defendants’ breach of its express warranty regarding the fitness for use and safety of the Toxic

Hair Relaxer Products. Plaintiff, on behalf of herself and the other Class members, seeks recovery

of actual damages, as well as incidental and consequential damages as a direct and proximate result

of the Toxic Defect, in an amount to be determined at trial.

                 COUNT 63 – BREACH OF IMPLIED WARRANTY OF
               MERCHANTABILITY/FITNESS FOR PARTICULAR USE
 (Individually and on Behalf of the Indiana Consumer Class Against Defendants L’Oréal,
                           SoftSheen, and Strength of Nature)

               Plaintiff Glenn (“Plaintiff,” for purposes of the Indiana Consumer Class’s claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Indiana

Consumer Class.

               Defendants are in the business of manufacturing, supplying, marketing, advertising,

warranting, and/or selling hair relaxer products.

               Prior to the time that Plaintiff and the other Class members purchased and/or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew of the uses for which their Toxic Hair

Relaxer Products were intended and impliedly warranted to Plaintiff, and to the other Class

members, that Defendants’ Toxic Hair Relaxer Products were of merchantable quality and safe

and fit for such intended and ordinary uses. Defendants also impliedly warranted to Plaintiff and

the other Class members that their Toxic Hair Relaxer Products were of a certain quality.




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               Defendants’ warranties include, but are not limited to, the warranties that their

Toxic Hair Relaxer Products are safe, healthy, protective, and/or natural, including but not limited

to the marketing assertions quoted and displayed in the facts alleged above.

               Defendants breached the implied warranties of their Toxic Hair Relaxer Products

sold to Plaintiff and the other Class members because they were not fit for their ordinary purposes,

or for their intended and reasonably foreseeable uses. Nor were their Toxic Hair Relaxer Products

minimally safe for their expected purpose.

               Defendants’ Toxic Hair Relaxer Products were neither safe for their intended use

nor of merchantable quality, as warranted by Defendants, because their Toxic Hair Relaxer

Products have dangerous propensities when used as intended and cause severe injuries to users,

including Plaintiff and the other Class members.

               Similarly, Defendants’ Toxic Hair Relaxer Products were unfit for their particular

purpose—safely straightening hair. Defendants’ Toxic Hair Relaxer Products could not, and do

not, safely straighten hair, and never could do so at any point after leaving Defendants’ control.

               Defendants’ Toxic Hair Relaxer Products were unfit for their ordinary use, were

not of merchantable quality, did not conform to the representations made by Defendants, and/or

were unfit for their particular purpose when they left Defendants’ control.

               At the time that Plaintiff and the other Class members purchased or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew or should have known that Plaintiff

and the other Class members would detrimentally rely on Defendants’ misrepresentations

regarding safety.

               Plaintiff and the other Class members purchased or used Defendants’ Toxic Hair

Relaxer Products reasonably relying upon Defendants’ implied warranties.



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               Plaintiff and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purpose and in the manner intended by Defendants.

               Plaintiff and the other Class members could not have discovered, through the use

of reasonable care, that Defendants’ implied warranties were false, or that Defendants’ Toxic Hair

Relaxer Products posed danger to them.

               Plaintiff and the other Class members would not have purchased or used

Defendants’ Toxic Hair Relaxer Products if they had known the truth about the misrepresentations

described above, or that Defendants’ Toxic Hair Relaxer Products were unfit for ordinary use or

their particular purpose.

               Defendants’ conduct described in this Complaint constitutes a breach of implied

warranties under Ind. Code § 26-1-2-314, et seq.

               Defendants’ Toxic Hair Relaxer Products are consumer products, and Plaintiff and

the other Class members are consumers. Defendants are suppliers and/or warrantors of the

defective Toxic Hair Relaxer Products, and Defendants breached their implied warranties as

described above.

               Defendants’ breach of warranties were a substantial factor in causing Plaintiff’s and

the other Class members’ injuries.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiff

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses into the future.




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               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and it indicates a wanton disregard of the rights of others, justifying an award

of punitive or exemplary damages.

               Plaintiff and the other Class members did not need to send (additional) notice to

Defendants of their breaches of warranty because Defendants were already on notice of the defects

alleged herein and of Defendants’ related violations. Defendants received such notice from similar

lawsuits for the same conduct and through other means.

               Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendants’ breach of their implied warranties, in an amount to be determined at trial.

                       COUNT 64 – FRAUDULENT OMISSION
 (Individually and on Behalf of the Indiana Consumer Class Against Defendants L’Oréal,
                           SoftSheen, and Strength of Nature)

               Plaintiff Glenn (“Plaintiff,” for purposes of the Indiana Consumer Class’s claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Indiana

Consumer Class.

               Through their labeling and advertising, Defendants made representations to

Plaintiff and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

               At all relevant times, Defendants had a duty to provide Plaintiff and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including




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warnings about any risks they knew of, or should have known of, posed by their Toxic Hair Relaxer

Products.

               Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that they had a duty to both learn and disclose the dangers associated with

their Toxic Hair Relaxer Products.

               From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiff or the other Class members. Defendants failed to fulfill their duty to accurately

disclose in their labeling and advertising that the Toxic Hair Relaxer Products contained toxic

chemicals.

               Defendants failed to disclose such material facts with the intent to induce

consumers, including Plaintiff and the other Class members, into purchasing and using their hair

relaxer products.

               Such failures to disclose on the part of Defendants amount to fraudulent omission.

               Plaintiff and the other Class members justifiably relied on Defendants’

nondisclosures to their detriment.

               In reliance on Defendants’ omissions, Plaintiff and the other Class members were

induced to purchase and use Defendants’ Toxic Hair Relaxer Products. If Plaintiff and the other

Class members had known of the facts concealed by Defendants, including facts revealing the

toxic nature of Defendants’ products, then Plaintiff and the other Class members would not have

purchased or used Defendants’ Toxic Hair Relaxer Products.



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               As a direct and proximate result of the foregoing fraudulent omissions by

Defendants, Plaintiff and the other Class members suffered injuries and damages as alleged herein.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiff and the other

Class members suffered serious injury, harm, damages, and economic and non-economic loss.

They will continue to suffer such harm, damages, and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the other Class members was malicious, oppressive, willful, reckless,

and/or grossly negligent, and indicates a wanton disregard of the rights of others, justifying an

award of punitive or exemplary damages.

               Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendants’ fraudulent omissions regarding the Toxic Defect, in an amount to be determined at

trial.

           I. Iowa

         COUNT 65 – VIOLATIONS OF THE IOWA CONSUMER FRAUD ACT
    (Individually and on Behalf of the Iowa Consumer Class Against Defendants Dabur,
                                    Namaste, and Luster)

               Plaintiff Washington (“Plaintiff,” for purposes of the Iowa Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the Iowa

Consumer Class.




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               Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the Iowa Consumer Fraud Act, Iowa Code § 714.16 et

seq., when they misled consumers regarding the safety risks associated with use of their Toxic

Hair Relaxer Products. As a direct result of Defendants’ deceptive, unfair, unconscionable, and

fraudulent conduct, Plaintiff and the other Class members suffered and will continue to suffer

economic loss and other compensable injuries.

               Defendants’ deceptive, unfair, unlawful, and unconscionable practices included but

were not limited to the following practices, done knowingly:

         a.     Representing that goods have characteristics, ingredients, uses, or benefits that
                 they do not have;

         b.      Representing that goods are of a particular standard, quality, or grade if they are
                 of another; and

         c.      Advertising goods with the intent not to sell them as advertised.

               Defendants’ actions and failure to act—including their false and misleading

representations and omissions of material facts regarding the safety and potential risks of their

Toxic Hair Relaxer Products, as described above—constitute acts, uses or employment by

Defendants of unconscionable commercial practices, deception, fraud, false pretenses, and

misrepresentations. These actions and omissions further constitute the knowing concealment,

suppression, or omission of material facts, done with the intent that Plaintiff and the other Class

members rely upon such concealment, suppression, or omission of material facts in connection

with the sale of Defendants’ merchandise, in violation of the Iowa Consumer Fraud Act.

               Defendants’ unfair and deceptive trade practices have caused injuries to consumers,

and the public will benefit from a cessation of these unlawful actions through this litigation.




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               By reason of the unlawful acts engaged in by Defendants, Plaintiff and the other

Class members have suffered ascertainable loss and damages.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiff

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses in the future.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiff and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and Defendants’ conduct indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               Due to the above, Defendants are liable to Plaintiff and the other Class members

for compensatory, as well as exemplary, multiple, and/or punitive damages to the extent available

and as applicable, in amounts to be proven at trial, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.

               Plaintiff did not need to send (additional) notice to Defendants of their violations

of the Iowa Consumer Fraud Act pled in this Complaint because Defendants were already on notice

of the defects alleged herein and of Defendants’ related violations. Defendants received such

notice from similar lawsuits for the same conduct and through other means.

               Plaintiff and the other Class members would not have purchased the Toxic Hair

Relaxer Products, or alternatively they would have paid less for them, had the truth about the toxic

nature of Defendants’ products been disclosed. Plaintiff, on behalf of herself and the other Class

members, seeks to recover the actual damages they have suffered.



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                          COUNT 66 – UNJUST ENRICHMENT
    (Individually and on Behalf of the Iowa Consumer Class Against Defendants Dabur,
                                    Namaste, and Luster)

               Plaintiff Washington (“Plaintiff,” for purposes of the Iowa Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the Iowa

Consumer Class.

               As a result of Defendants’ wrongful and deceptive conduct, Defendants knowingly

and voluntarily accepted and retained wrongful benefits in the form of money paid by Plaintiff and

the other Class members when they purchased the Toxic Hair Relaxer Products.

               In so doing, Defendants acted with conscious disregard for the rights of Plaintiff

and the other Class members.

               As an intended and expected result of Defendants’ conscious wrongdoing as set

forth in this Complaint, Defendants have profited and benefited from payments Plaintiff and the

other Class members made for their Toxic Hair Relaxer Products.

               Defendants’ unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein.

               At the time their payments were made, Plaintiff and the other Class members

expected that Defendants’ Toxic Hair Relaxer Products were safe and effective in the ways

Defendants had represented, and could safely be used for the purposes Defendants advertised their

Toxic Hair Relaxer Products. In exchange for their payments, Plaintiff and the other Class

members believed they were receiving a safe method for straightening hair that did not involve the

risk of serious adverse health effects.



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               Defendants have voluntarily accepted and retained these payments with full

knowledge that, as a result of their wrongdoing, Plaintiff and the other Class members paid for

Defendants’ Toxic Hair Relaxer Products when they otherwise would not have done so. The failure

of Defendants to provide Plaintiff and the other Class members with the remuneration expected

enriched Defendants unjustly.

               Under the common law doctrine of unjust enrichment, it is inequitable for

Defendants to be permitted to retain the benefits it received, and is still receiving, without

justification, from the false and deceptive labeling and marketing of the Toxic Hair Relaxer

Products to Plaintiff and the other Class members.

               Defendants’ retention of such funds under circumstances making it inequitable to

do so constitutes unjust enrichment. It is unjust to allow Defendants to earn and retain revenues,

profits, and benefits from their Toxic Hair Relaxer Products while Plaintiff and the other Class

members suffered and are suffering serious illnesses, including but not limited to uterine and

ovarian cancer.

               Plaintiff and the other Class members may assert an unjust enrichment claim even

though a remedy at law may otherwise exist.

               Plaintiff, on behalf of herself and the other Class members, seeks restitution and

disgorgement of Defendants’ wrongful revenues, profits, and benefits to the extent and in the

amount deemed appropriate by the Court, and such other relief as the Court deems just and proper

to remedy Defendants’ unjust enrichment.




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                  COUNT 67 – BREACH OF EXPRESS WARRANTY
   (Individually and on Behalf of the Iowa Consumer Class Against Defendants Dabur,
                                   Namaste, and Luster)

               Plaintiff Washington (“Plaintiff,” for purposes of the Iowa Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the Iowa

Consumer Class.

               As detailed above, Defendants, through their written literature, packaging and

labeling, and through their advertisements, expressly warranted that the Toxic Hair Relaxer

Products were safe and fit for the purposes intended, that they were of merchantable quality, and

that they did not pose dangerous health risks.

               Moreover, the Toxic Hair Relaxer Products’ labeling represents that the regular use

of broad spectrum hair straighteners and/or relaxers is “protective,” and that its use can “decrease

the risk” of skin cancer and early skin aging. Such statements constitute an affirmation of fact or

promise, or a description of the product as being safe and not posing a dangerous health risk.

Defendants breached this express warranty because their Toxic Hair Relaxer Products are not safe.

To the contrary, the Toxic Hair Relaxer Products pose a dangerous health risk because they

increase the risk of uterine and ovarian cancer, as detailed above.

               Plaintiff and the other Class members read and relied on these express warranties

provided by Defendants in the packaging and written advertisements.

               Defendants breached its express warranties under Iowa Code § 554.2313, et seq.

because the Toxic Hair Relaxer Products are defective and not reasonably safe for their intended

use.



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               Defendants knew or should have known that the Toxic Hair Relaxer Products did

not conform to their express warranties and representations and that, in fact, the Toxic Hair Relaxer

Products are not safe and pose serious health risks.

               Plaintiff and the other Class members have suffered harm on account of

Defendants’ breach of its express warranty regarding the fitness for use and safety of the Toxic

Hair Relaxer Products. Plaintiff, on behalf of herself and the other Class members, seeks recovery

of actual damages, as well as incidental and consequential damages as a direct and proximate result

of the Toxic Defect, in an amount to be determined at trial.

                        COUNT 68 – FRAUDULENT OMISSION
   (Individually and on Behalf of the Iowa Consumer Class Against Defendants Dabur,
                                   Namaste, and Luster)

               Plaintiff Washington (“Plaintiff,” for purposes of the Iowa Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the Iowa

Consumer Class.

               Through their labeling and advertising, Defendants made representations to

Plaintiff and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

               At all relevant times, Defendants had a duty to provide Plaintiff and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including

warnings about any risks they knew of, or should have known of, posed by their Toxic Hair Relaxer

Products.




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               Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that they had a duty to both learn and disclose the dangers associated with

their Toxic Hair Relaxer Products.

               From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiff or the other Class members. Defendants failed to fulfill their duty to accurately

disclose in their labeling and advertising that the Toxic Hair Relaxer Products contained toxic

chemicals.

               Defendants failed to disclose such material facts with the intent to induce

consumers, including Plaintiff and the other Class members, into purchasing and using their hair

relaxer products.

               Such failures to disclose on the part of Defendants amount to fraudulent omission.

               Plaintiff and the other Class members justifiably relied on Defendants’

nondisclosures to their detriment.

               In reliance on Defendants’ omissions, Plaintiff and the other Class members were

induced to purchase and use Defendants’ Toxic Hair Relaxer Products. If Plaintiff and the other

Class members had known of the facts concealed by Defendants, including facts revealing the

toxic nature of Defendants’ products, then Plaintiff and the other Class members would not have

purchased or used Defendants’ Toxic Hair Relaxer Products.

               As a direct and proximate result of the foregoing fraudulent omissions by

Defendants, Plaintiff and the other Class members suffered injuries and damages as alleged herein.



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               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiff and the other

Class members suffered serious injury, harm, damages, and economic and non-economic loss.

They will continue to suffer such harm, damages, and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the other Class members was malicious, oppressive, willful, reckless,

and/or grossly negligent, and indicates a wanton disregard of the rights of others, justifying an

award of punitive or exemplary damages.

               Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendants’ fraudulent omissions regarding the Toxic Defect, in an amount to be determined at

trial.

           J. Louisiana

COUNT 69 – VIOLATIONS OF THE LOUISIANA UNFAIR TRADE PRACTICES AND
                          CONSUMER. PROTECTION LAW
(Individually and on Behalf of the Louisiana Consumer Class Against Defendants L’Oréal,
                           SoftSheen, and Strength of Nature)

               Plaintiff Casby (“Plaintiff,” for purposes of the Louisiana Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the Louisiana

Consumer Class.

               Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the Louisiana Unfair Trade Practices and Consumer.

Protection Law, La. Rev. Stat. Ann. § 51:1401 et seq., when they misled consumers regarding the

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safety risks associated with use of their Toxic Hair Relaxer Products. As a direct result of

Defendants’ deceptive, unfair, unconscionable, and fraudulent conduct, Plaintiff and the other

Class members suffered and will continue to suffer economic loss and other compensable injuries.

               Defendants’ deceptive, unfair, unlawful, and unconscionable practices included but

were not limited to the following practices, done knowingly:

         a.     Representing that goods have characteristics, ingredients, uses, or benefits that
                 they do not have;

         b.      Representing that goods are of a particular standard, quality, or grade if they are
                 of another; and

         c.      Advertising goods with the intent not to sell them as advertised.

               Defendants’ actions and failure to act—including their false and misleading

representations and omissions of material facts regarding the safety and potential risks of their

Toxic Hair Relaxer Products, as described above—constitute acts, uses or employment by

Defendants of unconscionable commercial practices, deception, fraud, false pretenses, and

misrepresentations. These actions and omissions further constitute the knowing concealment,

suppression, or omission of material facts, done with the intent that Plaintiff and the other Class

members rely upon such concealment, suppression, or omission of material facts in connection

with the sale of Defendants’ merchandise, in violation of the Louisiana Unfair Trade Practices and

Consumer. Protection Law.

               Defendants’ unfair and deceptive trade practices have caused injuries to consumers,

and the public will benefit from a cessation of these unlawful actions through this litigation.

               By reason of the unlawful acts engaged in by Defendants, Plaintiff and the other

Class members have suffered ascertainable loss and damages.




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               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiff

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses in the future.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiff and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and Defendants’ conduct indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               Due to the above, Defendants are liable to Plaintiff and the other Class members

for compensatory, as well as exemplary, multiple, and/or punitive damages to the extent available

and as applicable, in amounts to be proven at trial, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.

               Plaintiff did not need to send (additional) notice to Defendants of their violations

of the Louisiana Unfair Trade Practices and Consumer Protection Law pled in this Complaint

because Defendants were already on notice of the defects alleged herein and of Defendants’ related

violations. Defendants received such notice from similar lawsuits for the same conduct and

through other means.

               Plaintiff and the other Class members would not have purchased the Toxic Hair

Relaxer Products, or alternatively they would have paid less for them, had the truth about the toxic

nature of Defendants’ products been disclosed. Plaintiff, on behalf of herself and the other Class

members, seeks to recover the actual damages they have suffered.




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                        COUNT 70 – UNJUST ENRICHMENT
(Individually and on Behalf of the Louisiana Consumer Class Against Defendants L’Oréal,
                           SoftSheen, and Strength of Nature)

               Plaintiff Casby (“Plaintiff,” for purposes of the Louisiana Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the Louisiana

Consumer Class.

               As a result of Defendants’ wrongful and deceptive conduct, Defendants knowingly

and voluntarily accepted and retained wrongful benefits in the form of money paid by Plaintiff and

the other Class members when they purchased the Toxic Hair Relaxer Products.

               In so doing, Defendants acted with conscious disregard for the rights of Plaintiff

and the other Class members.

               As an intended and expected result of Defendants’ conscious wrongdoing as set

forth in this Complaint, Defendants have profited and benefited from payments Plaintiff and the

other Class members made for their Toxic Hair Relaxer Products.

               Defendants’ unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein.

               At the time their payments were made, Plaintiff and the other Class members

expected that Defendants’ Toxic Hair Relaxer Products were safe and effective in the ways

Defendants had represented, and could safely be used for the purposes Defendants advertised their

Toxic Hair Relaxer Products. In exchange for their payments, Plaintiff and the other Class

members believed they were receiving a safe method for straightening hair that did not involve the

risk of serious adverse health effects.



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               Defendants have voluntarily accepted and retained these payments with full

knowledge that, as a result of their wrongdoing, Plaintiff and the other Class members paid for

Defendants’ Toxic Hair Relaxer Products when they otherwise would not have done so. The failure

of Defendants to provide Plaintiff and the other Class members with the remuneration expected

enriched Defendants unjustly.

               Under the common law doctrine of unjust enrichment, it is inequitable for

Defendants to be permitted to retain the benefits it received, and is still receiving, without

justification, from the false and deceptive labeling and marketing of the Toxic Hair Relaxer

Products to Plaintiff and the other Class members.

               Defendants’ retention of such funds under circumstances making it inequitable to

do so constitutes unjust enrichment. It is unjust to allow Defendants to earn and retain revenues,

profits, and benefits from their Toxic Hair Relaxer Products while Plaintiff and the other Class

members suffered and are suffering serious illnesses, including but not limited to uterine and

ovarian cancer.

               Plaintiff and the other Class members may assert an unjust enrichment claim even

though a remedy at law may otherwise exist.

               Plaintiff, on behalf of herself and the other Class members, seeks restitution and

disgorgement of Defendants’ wrongful revenues, profits, and benefits to the extent and in the

amount deemed appropriate by the Court, and such other relief as the Court deems just and proper

to remedy Defendants’ unjust enrichment.




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    COUNT 71 – BREACH OF EXPRESS WARRANTY – LOUISIANA PRODUCTS
                                    LIABILITY ACT
(Individually and on Behalf of the Louisiana Consumer Class Against Defendants L’Oréal,
                           SoftSheen, and Strength of Nature)

               Plaintiff Casby (“Plaintiff,” for purposes of the Louisiana Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the Louisiana

Consumer Class.

               As detailed above, Defendants, through their written literature, packaging and

labeling, and through their advertisements, expressly warranted that the Toxic Hair Relaxer

Products were safe and fit for the purposes intended, that they were of merchantable quality, and

that they did not pose dangerous health risks.

               Moreover, the Toxic Hair Relaxer Products’ labeling represents that the regular use

of broad spectrum hair straighteners and/or relaxers is “protective,” and that its use can “decrease

the risk” of skin cancer and early skin aging. Such statements constitute an affirmation of fact or

promise, or a description of the product as being safe and not posing a dangerous health risk.

Defendants breached this express warranty because their Toxic Hair Relaxer Products are not safe

under the Louisiana Products Liability Act (“LPLA”), La. R.S. § 9:2800.58. To the contrary, the

Toxic Hair Relaxer Products pose a dangerous health risk because they increase the risk of uterine

and ovarian cancer, as detailed above.

               Plaintiff and the other Class members read and relied on these express warranties

provided by Defendants in the packaging and written advertisements.

               Defendants breached its express warranties because the Toxic Hair Relaxer

Products are defective and not reasonably safe for their intended use.

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               Defendants knew or should have known that the Toxic Hair Relaxer Products did

not conform to their express warranties and representations and that, in fact, the Toxic Hair Relaxer

Products are not safe and pose serious health risks because they contain toxic chemicals.

               Plaintiff and the other Class members have suffered harm on account of

Defendants’ breach of its express warranty regarding the fitness for use and safety of the Toxic

Hair Relaxer Products. Plaintiff, on behalf of herself and the other Class members, seeks recovery

of actual damages, as well as incidental and consequential damages as a direct and proximate result

of the Toxic Defect, in an amount to be determined at trial. Plaintiff asserts the application of res

ipsa loquitur under the LPLA.

  COUNT 72 – BREACH OF IMPLIED WARRANTY OF FITNESS FOR ORDINARY
                                           USE
(Individually and on Behalf of the Louisiana Consumer Class Against Defendants L’Oréal,
                           SoftSheen, and Strength of Nature)

               Plaintiff Casby (“Plaintiff,” for purposes of the Louisiana Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the Louisiana

Consumer Class.

               Defendants are in the business of manufacturing, supplying, marketing, advertising,

warranting, and/or selling hair relaxer products.

               Prior to the time that Plaintiff and the other Class members purchased and/or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew of the uses for which their Toxic Hair

Relaxer Products were intended and impliedly warranted to Plaintiff, and to the other Class

members, that Defendants’ Toxic Hair Relaxer Products were of merchantable quality and safe




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and fit for such intended and ordinary uses. Defendants also impliedly warranted to Plaintiff and

the other Class members that their Toxic Hair Relaxer Products were of a certain quality.

               Defendants’ warranties include, but are not limited to, the warranties that their

Toxic Hair Relaxer Products are safe, healthy, protective, and/or natural, including but not limited

to the marketing assertions quoted and displayed in the facts alleged above.

               Defendants breached the implied warranties of their Toxic Hair Relaxer Products

sold to Plaintiff and the other Class members because they were not fit for their ordinary purposes,

or for their intended and reasonably foreseeable uses. Nor were their Toxic Hair Relaxer Products

minimally safe for their expected purpose.

               Defendants’ Toxic Hair Relaxer Products were neither safe for their intended use

nor of merchantable quality, as warranted by Defendants, because their Toxic Hair Relaxer

Products have dangerous propensities when used as intended and cause severe injuries to users,

including Plaintiff and the other Class members.

               Similarly, Defendants’ Toxic Hair Relaxer Products were unfit for their particular

purpose—safely straightening hair. Defendants’ Toxic Hair Relaxer Products could not, and do

not, safely straighten hair, and never could do so at any point after leaving Defendants’ control.

               Defendants’ Toxic Hair Relaxer Products were unfit for their ordinary use, were

not of merchantable quality, did not conform to the representations made by Defendants, and/or

were unfit for their particular purpose when they left Defendants’ control.

               At the time that Plaintiff and the other Class members purchased or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew or should have known that Plaintiff

and the other Class members would detrimentally rely on Defendants’ misrepresentations

regarding safety.



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               Plaintiff and the other Class members purchased or used Defendants’ Toxic Hair

Relaxer Products reasonably relying upon Defendants’ implied warranties.

               Plaintiff and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purpose and in the manner intended by Defendants.

               Plaintiff and the other Class members could not have discovered, through the use

of reasonable care, that Defendants’ implied warranties were false, or that Defendants’ Toxic Hair

Relaxer Products posed danger to them.

               Plaintiff and the other Class members would not have purchased or used

Defendants’ Toxic Hair Relaxer Products if they had known the truth about the misrepresentations

described above, or that Defendants’ Toxic Hair Relaxer Products were unfit for ordinary use or

their particular purpose.

               Defendants’ conduct described in this Complaint constitutes a breach of implied

warranties under La. Civ. Code Art. 2524.

               Defendants’ Toxic Hair Relaxer Products are consumer products, and Plaintiff and

the other Class members are consumers. Defendants are suppliers and/or warrantors of the

defective Toxic Hair Relaxer Products, and Defendants breached their implied warranties as

described above.

               Defendants’ breach of warranties were a substantial factor in causing Plaintiff’s and

the other Class members’ injuries.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiff




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and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and it indicates a wanton disregard of the rights of others, justifying an award

of punitive or exemplary damages.

               Plaintiff and the other Class members did not need to send (additional) notice to

Defendants of their breaches of warranty because Defendants were already on notice of the defects

alleged herein and of Defendants’ related violations. Defendants received such notice from similar

lawsuits for the same conduct and through other means.

               Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendants’ breach of their implied warranties, in an amount to be determined at trial.

                       COUNT 73 – FRAUDULENT OMISSION
(Individually and on Behalf of the Louisiana Consumer Class Against Defendants L’Oréal,
                           SoftSheen, and Strength of Nature)

               Plaintiff Casby (“Plaintiff,” for purposes of the Louisiana Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the Louisiana

Consumer Class.

               Through their labeling and advertising, Defendants made representations to

Plaintiff and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.



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               At all relevant times, Defendants had a duty to provide Plaintiff and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including

warnings about any risks they knew of, or should have known of, posed by their Toxic Hair Relaxer

Products.

               Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that they had a duty to both learn and disclose the dangers associated with

their Toxic Hair Relaxer Products.

               From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiff or the other Class members. Defendants failed to fulfill their duty to accurately

disclose in their labeling and advertising that the Toxic Hair Relaxer Products contained toxic

chemicals.

               Defendants failed to disclose such material facts with the intent to induce

consumers, including Plaintiff and the other Class members, into purchasing and using their hair

relaxer products.

               Such failures to disclose on the part of Defendants amount to fraudulent omission.

               Plaintiff and the other Class members justifiably relied on Defendants’

nondisclosures to their detriment.

               In reliance on Defendants’ omissions, Plaintiff and the other Class members were

induced to purchase and use Defendants’ Toxic Hair Relaxer Products. If Plaintiff and the other

Class members had known of the facts concealed by Defendants, including facts revealing the



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toxic nature of Defendants’ products, then Plaintiff and the other Class members would not have

purchased or used Defendants’ Toxic Hair Relaxer Products.

               As a direct and proximate result of the foregoing fraudulent omissions by

Defendants, Plaintiff and the other Class members suffered injuries and damages as alleged herein.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiff and the other

Class members suffered serious injury, harm, damages, and economic and non-economic loss.

They will continue to suffer such harm, damages, and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the other Class members was malicious, oppressive, willful, reckless,

and/or grossly negligent, and indicates a wanton disregard of the rights of others, justifying an

award of punitive or exemplary damages.

               Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendants’ fraudulent omissions regarding the Toxic Defect, in an amount to be determined at

trial.

                              COUNT 74 – REDHIBITION
(Individually and on Behalf of the Louisiana Consumer Class Against Defendants L’Oréal,
                           SoftSheen, and Strength of Nature)

               Plaintiff Casby (“Plaintiff,” for purposes of the Louisiana Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the Louisiana

Consumer Class.



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               Defendants are in the business of manufacturing, supplying, marketing, advertising,

warranting, and/or selling hair relaxer products.

               Prior to the time that Plaintiff and the other Class members purchased and/or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew of the uses for which their Toxic Hair

Relaxer Products were intended and impliedly warranted to Plaintiff and the other Class members

against redhibitory defects or vices in the Class Vehicles. La. Civ. Code Art. 2520.

               The Toxic Hair Relaxer Products sold to Plaintiff and the other Class members

contain redhibitory defects because the Toxic Hair Relaxer Products have dangerous propensities

when used as intended and cause severe injuries to users, including Plaintiff and the other Class

members.

               Similarly, Defendants’ Toxic Hair Relaxer Products were unfit for their particular

purpose—safely straightening hair. Defendants’ Toxic Hair Relaxer Products could not, and do

not, safely straighten hair, and never could at any point after leaving Defendants’ control.

               Plaintiff and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purpose and in the manner intended by Defendants.

               Plaintiff and the other Class members could not have discovered the redhibitory

defects or realized Defendants’ Toxic Hair Relaxer Products’ danger through the use of reasonable

care.

               Plaintiff and the other Class members would not have purchased or used

Defendants’ Toxic Hair Relaxer Products if they had known the truth about the redhibitory defects

described above.

               The redhibitory defects were a substantial factor in bringing about Plaintiff’s and

the other Class members’ injuries.



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               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiff and the other

Class members suffered serious injury, harm, damages, economic and non-economic loss, and will

continue to suffer such harm, damages and losses into the future.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiff and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and indicates a wanton disregard of the rights of others,

justifying an award of punitive or exemplary damages.

               Plaintiff and the other Class members did not need to send (additional) notice to

Defendants pursuant to La. Civ. Code Art. 2522 because Defendants were already on notice of the

defects alleged herein and of Defendants’ related violations. Defendants received such notice from

similar lawsuits for the same conduct and through other means.

               Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendants’ use of products with redhibitory defects, in an amount to be determined at trial. La.

Civ. Code Art. 2545.

           K. Maryland

                               COUNT 75 – NEGLIGENCE
(Individually and on Behalf of the Maryland Medical Monitoring Class Against Defendants
  Revlon, Strength of Nature, Namaste, Dabur, L’Oréal, SoftSheen, JF Labs, and Luster)

               Plaintiffs Lane and Smith (“Plaintiffs,” for purposes of the Maryland Classes’

claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully set forth

herein.




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               Plaintiffs bring this cause of action individually and on behalf of the Maryland

Medical Monitoring Class.

               At all relevant times, each Defendant had a duty to exercise reasonable care in the

manufacturing, designing, researching, testing, producing, supplying, inspecting, marketing,

labeling, packaging, selling, and distributing of their hair relaxer products.

               Each Defendant owed a duty of care to Plaintiffs and the other Class members to

ensure that the Toxic Hair Relaxer Products it sold in the United States were safe for human

consumption, contained only the ingredients stated on the label, and were not adulterated.

               Defendants’ duty to exercise reasonable care in the advertising and sale of their hair

relaxer products included a duty to warn Plaintiffs and the other Class members of the risks and

dangers associated with their Toxic Hair Relaxer Products that were known or should have been

known to Defendants at the time of the sale of their Toxic Hair Relaxer Products to Plaintiffs and

the other Class members, including that the products were contained ingredients not specified on

the label that were likely to cause harm to consumers.

               Defendants also owed a continuing duty to Plaintiffs and the other Class members

to remove, recall, or retrofit the unsafe and/or defective Toxic Hair Relaxer Products.

               At all relevant times, Defendants knew or should have known through the exercise

of reasonable care of the dangers associated with the normal and/or intended use of their hair

relaxer products. In particular, Defendants knew or should have known that their Toxic Hair

Relaxer Products significantly increase the risk of uterine and ovarian cancer.

               Each Defendant owed a duty of care to Plaintiffs and the other Class members

because they were foreseeable, reasonable, and probable users of Toxic Hair Relaxer Products.

Each Defendant knew or should have known that its Toxic Hair Relaxer Products were harmful to



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humans, contained ingredients other than those stated, and/or were adulterated, and each was in

the best position to uncover and remedy these shortcomings.

               At all relevant times, Defendants knew, or should have known through the exercise

of reasonable care, that ordinary consumers such as Plaintiffs and the other Class members would

not realize the potential risks and dangers of their Toxic Hair Relaxer Products.

               Each Defendant failed to discharge its duty of care. Defendants breached their duty

of care by manufacturing, designing, researching, testing, producing, supplying, inspecting,

marketing, selling, and/or distributing their Toxic Hair Relaxer Products negligently, recklessly,

and/or with extreme carelessness, and by failing to adequately warn of the risks and dangers of

their Toxic Hair Relaxer Products—as described in the allegations above. Such breaches include

but are not limited to:

               a.         Failing to warn Plaintiffs and the other Class members of the risks and

 dangers associated with the use of their Toxic Hair Relaxer Products;

               b.         Failing to properly test their Toxic Hair Relaxer Products to determine the

 adequacy or effectiveness of safety measures, if any, prior to releasing their Toxic Hair Relaxer

 Products for consumer use;

               c.         Failing to properly test their Toxic Hair Relaxer Products to determine the

 increased risk of harm to the endocrine system, including uterine and ovarian cancers, during the

 normal and/or intended use of their Toxic Hair Relaxer Products;

               d.         Designing their Toxic Hair Relaxer Products defectively such that they

 caused serious injuries or death when used in their intended and reasonably foreseeable manner;

               e.         Failing to inform Plaintiffs and the other Class members as to the safe and

 proper methods of handling and using their Toxic Hair Relaxer Products;



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              f.       Failing to remove or recall their Toxic Hair Relaxer Products from the

market when Defendants knew or should have known that their Toxic Hair Relaxer Products were

defective and/or dangerous;

              g.       Failing to instruct Plaintiffs and the other Class members as to the methods

for reducing exposure to their Toxic Hair Relaxer Products, which caused increased risk of cancer,

including uterine and ovarian cancer;

              h.       Marketing and labeling their hair relaxer products as safe when Defendants

knew or should have known that their Toxic Hair Relaxer Products were defective and/or

dangerous;

              i.       Claiming in labeling and marketing that their Toxic Hair Relaxer Products

are safe, healthy, protective, and/or natural, including but not limited to the marketing assertions

quoted and displayed in the facts alleged above; and

              j.       Failing to act like a reasonably prudent company under similar

circumstances.

              Each Defendant knew, or should have known through reasonable care, that the

aforesaid wrongdoing would foreseeably cause injuries and other damage to Plaintiffs and the

other Class members.

              Each of these acts and omissions, taken singularly or in combination, were a

proximate cause of the injuries and damages sustained by Plaintiffs and the other Class members.

              Due to Defendants’ failure to exercise ordinary care and to comply with the duties

associated with selling cosmetic products, Plaintiffs and the other Class members were unable to

discover the dangerous nature of Defendants’ Toxic Hair Relaxer Products.




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               Defendants’ acts and omissions constitute gross negligence because they constitute

a total lack of care and an extreme departure from what a reasonably careful company would do

in the same situation to prevent foreseeable harm to Plaintiffs and the other Class members.

               Each Defendant negligently failed to promptly and immediately warn and disclose

to Plaintiffs and the other Class members that use of their hair relaxer products would result in

harm, and that using their products in the intended manner results in toxicity, delaying notice of

this harmful and toxic exposure and thus causing continued exposure and delaying necessary

testing, examinations, surveillance, and treatment.

               Defendants’ negligent conduct created and then exacerbated an unreasonable,

dangerous condition for Plaintiffs and the other Class members.

               Defendants acted and/or failed to act willfully, and with conscious and reckless

disregard for the rights and interests of Plaintiffs and the other Class members, and Defendants’

acts and omissions had a great probability of causing significant harm, and in fact it resulted in

such harm to Plaintiffs and the other Class members.

               Defendants’ negligence and gross negligence were a substantial factor in causing

and/or contributing to Plaintiffs and the other Class members’ harms.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiffs and the other Class members—including their marketing—was fraudulent,

malicious, oppressive, willful, reckless, and/or grossly negligent, and indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               As a direct and proximate result of each Defendant’s negligent conduct, Plaintiffs

and the other Class members have been significantly exposed to Toxic Hair Relaxer Products, have

sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers,



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and have suffered and will continue to suffer economic losses and expenses associated with

medically necessary medical monitoring.

               Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

            COUNT 76 – NEGLIGENT MISREPRESENTATION/OMISSION
(Individually and on Behalf of the Maryland Medical Monitoring Class Against Defendants
  Revlon, Strength of Nature, Namaste, Dabur, L’Oréal, SoftSheen, JF Labs, and Luster)

               Plaintiffs Lane and Smith (“Plaintiffs,” for purposes of the Maryland Classes’

claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiffs bring this cause of action individually and on behalf of the Maryland

Medical Monitoring Class.

               Through their labeling and advertising, Defendants made representations to

Plaintiffs and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

               At all relevant times, Defendants had a duty to provide Plaintiffs and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including

warnings of any risks they knew of or should have known of related to using their Toxic Hair

Relaxer Products. Defendants knew or should have known about this duty.




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                 Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that their representations about the safety of their Toxic Hair Relaxer

Products were false.

                 Defendants breached their duty in representing that their Toxic Hair Relaxer

Products have no serious side effects when they knew or should have known that their products

did cause serious side effects as described herein.

                 From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiffs or the public. Defendants failed to fulfill their duty to accurately disclose in

their labeling and advertising that the Toxic Hair Relaxer Products contained toxic chemicals.

                 Additionally, Defendants have a duty to not make false representations with respect

to their Toxic Hair Relaxer Products. At all relevant times, Defendants conducted sales and

marketing campaigns to promote the sale of their Toxic Hair Relaxer Products and willfully

deceived Plaintiffs and the general public about the health risks and adverse consequences of the

use of such products.

                 Defendants’ misrepresentations included but are not limited to the statements in

labels and marketing that their Toxic Hair Relaxer Products are safe, healthy, protective, and/or

natural, including but not limited to the marketing assertions quoted and displayed in the facts

alleged above.




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              Defendants made such representations and failed to disclose such material facts

with the intent to induce consumers, including Plaintiffs and the other Class members, into

purchasing and using their Toxic Hair Relaxer Products.

              Defendants’ misrepresentations and omissions concealed from Plaintiffs and the

other Class members that Defendants’ Toxic Hair Relaxer Products posed a high risk of

unreasonable, dangerous, health conditions, including but not limited to uterine and ovarian

cancer.

              Plaintiffs and the other Class members justifiably relied on Defendants’

misrepresentations and nondisclosures to their detriment. Specifically, Plaintiffs and the other

Class members relied on representations that their Toxic Hair Relaxer Products were safe to use

as expected and instructed, when they were not.

              In reliance on the misrepresentations by Defendants, Plaintiffs and the other Class

members were induced to purchase and use Defendants’ Toxic Hair Relaxer Products.

              As a direct and proximate result of the foregoing negligent misrepresentations by

Defendants, Plaintiffs and the other Class members suffered injuries and damages as alleged

herein.

              Defendants’ omission of material facts also induced Plaintiffs and the other Class

members into purchasing Defendants’ Toxic Hair Relaxer Products. If Plaintiffs and the other

Class members had known of the true facts and the facts concealed by Defendants, Plaintiffs and

the other Class members would not have purchased or used Defendants’ Toxic Hair Relaxer

Products.




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               Because of the severe nature of the harms caused by Defendants’ Toxic Hair

Relaxer Products, no reasonable person would have purchased these products if Defendants have

fully apprised the public of the dangers associated with these products.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiffs and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and it indicates a wanton disregard of the rights of

others, justifying an award of punitive or exemplary damages.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiffs and the other

Class members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing the serious and potentially fatal Subject Cancers, and

have suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.

               Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.




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                         COUNT 77 – NEGLIGENCE PER SE
(Individually and on behalf of the Maryland Medical Monitoring Class Against Defendants
  Revlon, Strength of Nature, Namaste, Dabur, L’Oréal, SoftSheen, JF Labs, and Luster)

               Plaintiffs Lane and Smith (“Plaintiffs,” for purposes of the Maryland Classes’

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiffs bring this cause of action individually and on behalf of the Maryland

Medical Monitoring Class.

               The Food, Drug, and Cosmetic Act, 21 U.S.C. ch. 9 § 301 et seq., and its

accompanying regulations, are implemented to regulate and promote safety in the design,

manufacturing, marketing, branding, labeling, and sale of food, drugs, and cosmetics, including

Defendants’ Toxic Hair Relaxer Products.

               Upon information and belief, Defendants’ conduct violated one or more statutes or

related regulations, including but not limited to the following:

                a.      21 U.S.C. § 331;

                b.      21 U.S.C. § 361;

                c.      21 U.S. Code § 362; and

                d.      21 CFR Part 740, including but not limited to 21 CFR § 740.1 and 21 CFR

§ 740.10.

               Plaintiffs are currently unadvised of the full extent of the federal or state safety laws

and regulations that Defendants or their agents may have violated but reserve the right to rely on

such safety laws and regulations shown during discovery.

               Defendants’ violation of such safety laws and regulations constitutes negligence

per se.


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               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiffs and the other

Class members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing the serious and potentially fatal Subject Cancers, and

have suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.

               Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

                 COUNT 78 – STRICT LIABILITY: DESIGN DEFECT
    (Individually and on Behalf of the Maryland Medical Monitoring Classes Against
Defendants Revlon, Strength of Nature, Namaste, Dabur, L’Oréal, SoftSheen, JF Labs, and
                                        Luster)

               Plaintiffs Lane and Smith (“Plaintiffs,” for purposes of the Maryland Classes’

claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiffs bring this cause of action individually and on behalf of the Maryland

Medical Monitoring Class.

               Defendants designed, manufactured, marketed, and sold their Toxic Hair Relaxer

Products that were used by Plaintiffs and the other Class members, and Defendants were in the

business of selling their Toxic Hair Relaxer Products.




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               Defendants’ Toxic Hair Relaxer Products were in an unsafe, defective, and

unreasonably dangerous condition at the time they left Defendants’ possession because of their

design. In particular, Defendants’ Toxic Hair Relaxer Products were defectively designed because

they caused serious injuries and death, including but not limited to uterine cancer and ovarian

cancer.

               Defendants’ Toxic Hair Relaxer Products are unreasonably dangerous as designed

because they do not perform as safely as ordinary consumers, including Plaintiffs and the other

Class members, would expect when used in an intended or reasonably foreseeable manner.

               Defendants’ Toxic Hair Relaxer Products are unreasonably dangerous as designed

because the danger inherent in their design outweighs the benefits of that design.

               Defendants caused their Toxic Hair Relaxer Products to enter the stream of

commerce and to be sold to consumers, including Plaintiffs and the other Class members, through

a variety of channels, including through sales to hair salons for use with their customers as well as

direct sale to consumers through retail stores.

               Defendants’ Toxic Hair Relaxer Products were expected to, and did, reach

consumers, including Plaintiffs and the other Class members, without substantial change in the

condition in which those products were manufactured and sold or otherwise released into the

stream of commerce by Defendants.

               Plaintiffs and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purposes and in a manner normally intended, recommended, promoted, and

marketed by Defendants.




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                Defendants knew or should have known that their products were in a defective

condition as a result of their design, and were unreasonably dangerous when used in an intended

or reasonably foreseeable manner.

                At all times material to Plaintiffs’ and the other Class members’ claims, there were

technologically and economically feasible safer alternative designs that would have prevented or

substantially reduced the risk to Plaintiffs and the other Class members without substantially

impairing the utility of Defendants’ Toxic Hair Relaxer Products.

                Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiffs and the other Class members was fraudulent, malicious, oppressive, willful,

reckless, and/or grossly negligent, and it indicates a wanton disregard of the rights of others,

justifying an award of punitive or exemplary damages.

                Plaintiffs plead this claim for relief in the broadest sense and seek the full measure

of damages allowed under the applicable governing law, including the common law and, where

and to the extent applicable, all product liability acts, statutes, and laws.

                As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of their Toxic Hair Relaxer Products, Plaintiffs and the other Class

members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing serious and potentially fatal Subject Cancers, and have

suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.

                Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,



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testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

               COUNT 79 – STRICT LIABILITY: FAILURE TO WARN
    (Individually and on Behalf of the Maryland Medical Monitoring Classes Against
Defendants Revlon, Strength of Nature, Namaste, Dabur, L’Oréal, SoftSheen, JF Labs, and
                                        Luster)

               Plaintiffs Lane and Smith (“Plaintiffs,” for purposes of the Maryland Classes’

claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiffs bring this cause of action individually and on behalf of the Maryland

Medical Monitoring Class.

               Defendants designed, manufactured, marketed, and sold their Toxic Hair Relaxer

Products, which were used by Plaintiffs and the other Class members, and Defendants were in the

business of selling Toxic Hair Relaxer Products.

               Defendants’ Toxic Hair Relaxer Products were in an unsafe, defective, and

unreasonably dangerous condition at the time they left Defendants’ possession because they were

not accompanied by adequate warnings.

               In particular, Defendants knew or should have known that their Toxic Hair Relaxer

Products could cause serious injuries and death when used in an intended or reasonably foreseeable

manner, including but not limited to uterine and ovarian cancer. Defendants failed to give

appropriate and adequate warning of such risks. Nor did Defendants warn that the safety of their

Toxic Hair Relaxer Products has not been determined. In fact, Defendants continue to this day to

market and sell their products to consumers without adequate warnings of the risks associated with

their products’ use or the lack of safety determination.

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               If Defendants had warned Plaintiffs and the other Class members that use of their

Toxic Hair Relaxer Products in an intended or reasonably foreseeable manner would increase their

risk of being seriously injured, including but not limited to developing uterine and ovarian cancer,

and/or that the safety of the Toxic Hair Relaxer Products had not been determined, Plaintiffs and

the other Class members would not have used their Toxic Hair Relaxer Products.

               Defendants caused their Toxic Hair Relaxer Products to enter the stream of

commerce and to be sold to consumers, including Plaintiffs and the other Class members, through

a variety of channels, including through sales to hair salons for use with their customers and

directly to consumers through retail stores.

               Defendants’ Toxic Hair Relaxer Products were expected to, and did, reach

consumers, including Plaintiffs and the other Class members, without substantial change in the

condition in which their Toxic Hair Relaxer Products were manufactured and sold or otherwise

released into the stream of commerce by Defendants.

               Plaintiffs and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purposes and in a manner normally intended, recommended, promoted, and

marketed by Defendants.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiffs and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and indicates a wanton disregard of the rights of others,

justifying an award of punitive or exemplary damages.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiffs and the other

Class members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a



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significantly increased risk of developing serious and potentially fatal Subject Cancers, and have

suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.

               Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

 COUNT 80 – VIOLATIONS OF THE MARYLAND CONSUMER PROTECTION ACT
 (Individually and on Behalf of the Maryland Consumer and Medical Monitoring Classes
 Against Defendants Revlon, Strength of Nature, Namaste, Dabur, L’Oréal, SoftSheen, JF
                                    Labs, and Luster)

               Plaintiffs Lane and Smith (“Plaintiffs,” for purposes of the Maryland Classes’

claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiffs bring this cause of action individually and on behalf of the Maryland

Consumer and Medical Monitoring Classes.

               Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the Maryland Consumer Protection Act, Md. Code Ann.,

Com. Law § 13-301 et seq., when they misled consumers regarding the safety risks associated with

use of their Toxic Hair Relaxer Products. As a direct result of Defendants’ deceptive, unfair,

unconscionable, and fraudulent conduct, Plaintiffs and the other Class members suffered and will

continue to suffer economic loss and other compensable injuries.




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               Defendants’ deceptive, unfair, unlawful, and unconscionable practices included but

were not limited to the following practices, done knowingly:

         a.     Representing that goods have characteristics, ingredients, uses, or benefits that
                 they do not have;

         b.      Representing that goods are of a particular standard, quality, or grade if they are
                 of another; and

         c.      Advertising goods with the intent not to sell them as advertised.

               Defendants’ actions and failure to act—including their false and misleading

representations and omissions of material facts regarding the safety and potential risks of their

Toxic Hair Relaxer Products, as described above—constitute acts, uses or employment by

Defendants of unconscionable commercial practices, deception, fraud, false pretenses, and

misrepresentations. These actions and omissions further constitute the knowing concealment,

suppression, or omission of material facts, done with the intent that Plaintiffs and the other Class

members rely upon such concealment, suppression, or omission of material facts in connection

with the sale of Defendants’ merchandise, in violation of the Maryland Consumer Protection Act.

               Defendants’ unfair and deceptive trade practices have caused injuries to consumers,

and the public will benefit from a cessation of these unlawful actions through this litigation.

               By reason of the unlawful acts engaged in by Defendants, Plaintiffs and the other

Class members have suffered ascertainable loss and damages.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiffs

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses in the future.


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               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiffs and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and Defendants’ conduct indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               Due to the above, Defendants are liable to Plaintiffs and the other Class members

for compensatory, as well as exemplary, multiple, and/or punitive damages to the extent available

and as applicable, in amounts to be proven at trial, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.

               Plaintiffs did not need to send (additional) notice to Defendants of their violations

of the Maryland Consumer Protection Act pled in this Complaint because Defendants were already

on notice of the defects alleged herein and of Defendants’ related violations. Defendants received

such notice from similar lawsuits for the same conduct and through other means.

               Plaintiffs and the other Class members would not have purchased the Toxic Hair

Relaxer Products, or alternatively they would have paid less for them, had the truth about the toxic

nature of Defendants’ products been disclosed. Plaintiffs, on behalf of themselves and the other

Class members, seeks to recover the actual damages they have suffered.

               Further, as a direct and proximate result of each Defendant’s negligent conduct,

Plaintiffs and the other Class members have been significantly exposed to Toxic Hair Relaxer

Products, have sustained a significantly increased risk of developing serious and potentially fatal

Subject Cancers, and have suffered and will continue to suffer economic losses and expenses

associated with medically necessary medical monitoring.

               Plaintiffs, on behalf of themselves and the other Medical Monitoring Class

members, seeks injunctive and monetary relief, including (a) the creation of a fund to finance



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notifying Medical Monitoring Class members of their exposure and its potential consequences,

and to fund diagnostic screening, testing, and procedures for the Subject Cancers for Plaintiffs and

the other Class members, and/or compensatory damages to fund this necessary medical

monitoring; (b) attorneys’ fees; (c) costs; (d) interest; and (e) such further relief as this Court deems

equitable and just.

                        COUNT 81 – UNJUST ENRICHMENT
(Individually and on Behalf of the Maryland Consumer Class Against Defendants Revlon,
     Strength of Nature, Namaste, Dabur, L’Oréal, SoftSheen, JF Labs, and Luster)

                Plaintiffs Lane and Smith (“Plaintiffs,” for purposes of the Maryland Classes’

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

                Plaintiffs bring this cause of action individually and on behalf of the Maryland

Consumer Class.

                As a result of Defendants’ wrongful and deceptive conduct, Defendants knowingly

and voluntarily accepted and retained wrongful benefits in the form of money paid by Plaintiffs

and the other Class members when they purchased the Toxic Hair Relaxer Products.

                In so doing, Defendants acted with conscious disregard for the rights of Plaintiffs

and the other Class members.

                As an intended and expected result of Defendants’ conscious wrongdoing as set

forth in this Complaint, Defendants have profited and benefited from payments Plaintiffs and the

other Class members made for their Toxic Hair Relaxer Products.

                Defendants’ unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein.




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               At the time their payments were made, Plaintiffs and the other Class members

expected that Defendants’ Toxic Hair Relaxer Products were safe and effective in the ways

Defendants had represented, and could safely be used for the purposes Defendants advertised their

Toxic Hair Relaxer Products. In exchange for their payments, Plaintiffs and the other Class

members believed they were receiving a safe method for straightening hair that did not involve the

risk of serious adverse health effects.

               Defendants have voluntarily accepted and retained these payments with full

knowledge that, as a result of their wrongdoing, Plaintiffs and the other Class members paid for

Defendants’ Toxic Hair Relaxer Products when they otherwise would not have done so. The failure

of Defendants to provide Plaintiffs and the other Class members with the remuneration expected

enriched Defendants unjustly.

               Under the common law doctrine of unjust enrichment, it is inequitable for

Defendants to be permitted to retain the benefits it received, and is still receiving, without

justification, from the false and deceptive labeling and marketing of the Toxic Hair Relaxer

Products to Plaintiffs and the other Class members.

               Defendants’ retention of such funds under circumstances making it inequitable to

do so constitutes unjust enrichment. It is unjust to allow Defendants to earn and retain revenues,

profits, and benefits from their Toxic Hair Relaxer Products while Plaintiffs and the other Class

members suffered and are suffering serious illnesses, including but not limited to uterine and

ovarian cancer.

               Plaintiffs and the other Class members may assert an unjust enrichment claim even

though a remedy at law may otherwise exist.




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               Plaintiffs, on behalf of themselves and the other Class members, seek restitution

and disgorgement of Defendants’ wrongful revenues, profits, and benefits to the extent and in the

amount deemed appropriate by the Court, and such other relief as the Court deems just and proper

to remedy Defendants’ unjust enrichment.

                  COUNT 82 – BREACH OF EXPRESS WARRANTY
 (Individually and on Behalf of the Maryland Consumer and Medical Monitoring Classes
 Against Defendants Revlon, Strength of Nature, Namaste, Dabur, L’Oréal, SoftSheen, JF
                                    Labs, and Luster)

               Plaintiffs Lane and Smith (“Plaintiffs,” for purposes of the Maryland Classes’

claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiffs bring this cause of action individually and on behalf of the Maryland

Consumer and Medical Monitoring Classes.

               As detailed above, Defendants, through their written literature, packaging and

labeling, and through their advertisements, expressly warranted that the Toxic Hair Relaxer

Products were safe and fit for the purposes intended, that they were of merchantable quality, and

that they did not pose dangerous health risks.

               Moreover, the Toxic Hair Relaxer Products’ labeling represents that the regular use

of broad spectrum hair straighteners and/or relaxers is “protective,” and that its use can “decrease

the risk” of skin cancer and early skin aging. Such statements constitute an affirmation of fact or

promise, or a description of the product as being safe and not posing a dangerous health risk.

Defendants breached this express warranty because their Toxic Hair Relaxer Products are not safe.

To the contrary, the Toxic Hair Relaxer Products pose a dangerous health risk because they

increase the risk of uterine and ovarian cancer, as detailed above.




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                Plaintiffs and the other Class members read and relied on these express warranties

provided by Defendants in the packaging and written advertisements.

                Defendants breached its express warranties under Md. Code Ann., Com. Law § 2-

313, et seq. because the Toxic Hair Relaxer Products are defective and not reasonably safe for their

intended use.

                Defendants knew or should have known that the Toxic Hair Relaxer Products did

not conform to their express warranties and representations and that, in fact, the Toxic Hair Relaxer

Products are not safe and pose serious health risks.

                Plaintiffs and the other Class members have suffered harm on account of

Defendants’ breach of its express warranty regarding the fitness for use and safety of the Toxic

Hair Relaxer Products. Plaintiffs, on behalf of themselves and the other Class members, seeks

recovery of actual damages, as well as incidental and consequential damages as a direct and

proximate result of the Toxic Defect, in an amount to be determined at trial.

                As a direct and proximate result of each Defendant’s breach of its express warranty,

Plaintiffs and the other Class members have been significantly exposed to Toxic Hair Relaxer

Products, have sustained a significantly increased risk of developing serious and potentially fatal

Subject Cancers, and have suffered and will continue to suffer economic losses and expenses

associated with medically necessary medical monitoring.

                Plaintiffs, on behalf of themselves and the Medical Monitoring Class members,

seek injunctive and monetary relief, including (a) the creation of a fund to finance notifying

Medical Monitoring Class members of their exposure and its potential consequences, and to fund

diagnostic screening, testing, and procedures for the Subject Cancers for Plaintiffs and the other

Class members, and/or compensatory damages to fund this necessary medical monitoring; (b)



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attorneys’ fees; (c) costs; (d) interest; and (e) such further relief as this Court deems equitable and

just.

                 COUNT 83 – BREACH OF IMPLIED WARRANTY OF
               MERCHANTABILITY/FITNESS FOR PARTICULAR USE
 (Individually and on Behalf of the Maryland Consumer and Medical Monitoring Classes
 Against Defendants Revlon, Strength of Nature, Namaste, Dabur, L’Oréal, SoftSheen, JF
                                    Labs, and Luster)

               Plaintiffs Lane and Smith (“Plaintiffs,” for purposes of the Maryland Classes’

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiffs bring this cause of action individually and on behalf of the Maryland

Consumer and Medical Monitoring Classes.

               Defendants are in the business of manufacturing, supplying, marketing, advertising,

warranting, and/or selling hair relaxer products.

               Prior to the time that Plaintiffs and the other Class members purchased and/or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew of the uses for which their Toxic Hair

Relaxer Products were intended and impliedly warranted to Plaintiffs, and to the other Class

members, that Defendants’ Toxic Hair Relaxer Products were of merchantable quality and safe

and fit for such intended and ordinary uses. Defendants also impliedly warranted to Plaintiffs and

the other Class members that their Toxic Hair Relaxer Products were of a certain quality.

               Defendants’ warranties include, but are not limited to, the warranties that their

Toxic Hair Relaxer Products are safe, healthy, protective, and/or natural, including but not limited

to the marketing assertions quoted and displayed in the facts alleged above.

               Defendants breached the implied warranties of their Toxic Hair Relaxer Products

sold to Plaintiffs and the other Class members because they were not fit for their ordinary purposes,



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or for their intended and reasonably foreseeable uses. Nor were their Toxic Hair Relaxer Products

minimally safe for their expected purpose.

               Defendants’ Toxic Hair Relaxer Products were neither safe for their intended use

nor of merchantable quality, as warranted by Defendants, because their Toxic Hair Relaxer

Products have dangerous propensities when used as intended and cause severe injuries to users,

including Plaintiffs and the other Class members.

               Similarly, Defendants’ Toxic Hair Relaxer Products were unfit for their particular

purpose—safely straightening hair. Defendants’ Toxic Hair Relaxer Products could not, and do

not, safely straighten hair, and never could do so at any point after leaving Defendants’ control.

               Defendants’ Toxic Hair Relaxer Products were unfit for their ordinary use, were

not of merchantable quality, did not conform to the representations made by Defendants, and/or

were unfit for their particular purpose when they left Defendants’ control.

               At the time that Plaintiffs and the other Class members purchased or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew or should have known that Plaintiffs

and the other Class members would detrimentally rely on Defendants’ misrepresentations

regarding safety.

               Plaintiffs and the other Class members purchased or used Defendants’ Toxic Hair

Relaxer Products reasonably relying upon Defendants’ implied warranties.

               Plaintiffs and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purpose and in the manner intended by Defendants.

               Plaintiffs and the other Class members could not have discovered, through the use

of reasonable care, that Defendants’ implied warranties were false, or that Defendants’ Toxic Hair

Relaxer Products posed danger to them.



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               Plaintiffs and the other Class members would not have purchased or used

Defendants’ Toxic Hair Relaxer Products if they had known the truth about the misrepresentations

described above, or that Defendants’ Toxic Hair Relaxer Products were unfit for ordinary use or

their particular purpose.

               Defendants’ conduct described in this Complaint constitutes a breach of implied

warranties under Md. Code Ann., Com. Law § 2-314, et seq.

               Defendants’ Toxic Hair Relaxer Products are consumer products, and Plaintiffs and

the other Class members are consumers. Defendants are suppliers and/or warrantors of the

defective Toxic Hair Relaxer Products, and Defendants breached their implied warranties as

described above.

               Defendants’ breach of warranties were a substantial factor in causing Plaintiffs’ and

the other Class members’ injuries.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiffs

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiffs and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and it indicates a wanton disregard of the rights of others, justifying an award

of punitive or exemplary damages.

               Plaintiffs and the other Class members did not need to send (additional) notice to

Defendants of their breaches of warranty because Defendants were already on notice of the defects



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alleged herein and of Defendants’ related violations. Defendants received such notice from similar

lawsuits for the same conduct and through other means.

               Plaintiffs, on behalf of themselves and the other Class members, seek recovery of

actual damages, as well as incidental and consequential damages, as a direct and proximate result

of Defendants’ breach of their implied warranties, in an amount to be determined at trial.

               As a direct and proximate result of each Defendant’s wrongful conduct, Plaintiffs

and the other Class members have been significantly exposed to Toxic Hair Relaxer Products, have

sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers,

and have suffered and will continue to suffer economic losses and expenses associated with

medically necessary medical monitoring.

               Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

                       COUNT 84 – FRAUDULENT OMISSION
(Individually and on Behalf of the Maryland Consumer Class Against Defendants Revlon,
     Strength of Nature, Namaste, Dabur, L’Oréal, SoftSheen, JF Labs, and Luster)

               Plaintiffs Lane and Smith (“Plaintiffs,” for purposes of the Maryland Classes’

claims) incorporate by reference and reallege paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiffs bring this cause of action individually and on behalf of the Maryland

Consumer Class.



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               Through their labeling and advertising, Defendants made representations to

Plaintiffs and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

               At all relevant times, Defendants had a duty to provide Plaintiffs and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including

warnings about any risks they knew of, or should have known of, posed by their Toxic Hair Relaxer

Products.

               Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that they had a duty to both learn and disclose the dangers associated with

their Toxic Hair Relaxer Products.

               From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiffs or the other Class members. Defendants failed to fulfill their duty to

accurately disclose in their labeling and advertising that the Toxic Hair Relaxer Products contained

toxic chemicals.

               Defendants failed to disclose such material facts with the intent to induce

consumers, including Plaintiffs and the other Class members, into purchasing and using their hair

relaxer products.

               Such failures to disclose on the part of Defendants amount to fraudulent omission.

               Plaintiffs and the other Class members justifiably relied on Defendants’

nondisclosures to their detriment.



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               In reliance on Defendants’ omissions, Plaintiffs and the other Class members were

induced to purchase and use Defendants’ Toxic Hair Relaxer Products. If Plaintiffs and the other

Class members had known of the facts concealed by Defendants, including facts revealing the

toxic nature of Defendants’ products, then Plaintiffs and the other Class members would not have

purchased or used Defendants’ Toxic Hair Relaxer Products.

               As a direct and proximate result of the foregoing fraudulent omissions by

Defendants, Plaintiffs and the other Class members suffered injuries and damages as alleged

herein.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiffs and the other

Class members suffered serious injury, harm, damages, and economic and non-economic loss.

They will continue to suffer such harm, damages, and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiffs and the other Class members was malicious, oppressive, willful, reckless,

and/or grossly negligent, and indicates a wanton disregard of the rights of others, justifying an

award of punitive or exemplary damages.

               Plaintiffs, on behalf of themselves and the other Class members, seek recovery of

actual damages, as well as incidental and consequential damages, as a direct and proximate result

of Defendants’ fraudulent omissions regarding the Toxic Defect, in an amount to be determined at

trial.




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               L. Michigan

  COUNT 85 – VIOLATIONS OF THE MICHIGAN CONSUMER PROTECTION ACT
(Individually and on Behalf of the Michigan Consumer Class Against Defendants L’Oréal,
                                  SoftSheen, and Luster)

                 Plaintiff Angela Burton (“Plaintiff,” for purposes of the Michigan Consumer

Class’s claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully

set forth herein.

                 Plaintiff brings this cause of action individually and on behalf of the Michigan

Consumer Class.

                 Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the Michigan Consumer Protection Act, Mich. Comp.

Laws Ann. § 445.901 et seq., when they misled consumers regarding the safety risks associated

with use of their Toxic Hair Relaxer Products. As a direct result of Defendants’ deceptive, unfair,

unconscionable, and fraudulent conduct, Plaintiff and the other Class members suffered and will

continue to suffer economic loss and other compensable injuries.

                 Defendants’ deceptive, unfair, unlawful, and unconscionable practices included but

were not limited to the following practices, done knowingly:

          a.        Representing that goods have characteristics, ingredients, uses, or benefits that
                     they do not have;

          b.        Representing that goods are of a particular standard, quality, or grade if they are
                    of another; and

          c.        Advertising goods with the intent not to sell them as advertised.

                 Defendants’ actions and failure to act—including their false and misleading

representations and omissions of material facts regarding the safety and potential risks of their

Toxic Hair Relaxer Products, as described above—constitute acts, uses or employment by


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Defendants of unconscionable commercial practices, deception, fraud, false pretenses, and

misrepresentations. These actions and omissions further constitute the knowing concealment,

suppression, or omission of material facts, done with the intent that Plaintiff and the other Class

members rely upon such concealment, suppression, or omission of material facts in connection

with the sale of Defendants’ merchandise, in violation of the Michigan Consumer Protection Act.

               Defendants’ unfair and deceptive trade practices have caused injuries to consumers,

and the public will benefit from a cessation of these unlawful actions through this litigation.

               By reason of the unlawful acts engaged in by Defendants, Plaintiff and the other

Class members have suffered ascertainable loss and damages.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiff

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses in the future.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiff and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and Defendants’ conduct indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               Due to the above, Defendants are liable to Plaintiff and the other Class members

for compensatory, as well as exemplary, multiple, and/or punitive damages to the extent available

and as applicable, in amounts to be proven at trial, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.




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                Plaintiff did not need to send (additional) notice to Defendants of their violations

of the Michigan Consumer Protection Act pled in this Complaint because Defendants were already

on notice of the defects alleged herein and of Defendants’ related violations. Defendants received

such notice from similar lawsuits for the same conduct and through other means.

                Plaintiff and the other Class members would not have purchased the Toxic Hair

Relaxer Products, or alternatively they would have paid less for them, had the truth about the toxic

nature of Defendants’ products been disclosed. Plaintiff, on behalf of herself and the other Class

members, seeks to recover the actual damages they have suffered.

                        COUNT 86 – UNJUST ENRICHMENT
(Individually and on Behalf of the Michigan Consumer Class Against Defendants L’Oréal,
                                    SoftSheen, Luster)

                Plaintiff Angela Burton (“Plaintiff,” for purposes of the Michigan Consumer

Class’s claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiff brings this cause of action individually and on behalf of the Michigan

Consumer Class.

                As a result of Defendants’ wrongful and deceptive conduct, Defendants knowingly

and voluntarily accepted and retained wrongful benefits in the form of money paid by Plaintiff and

the other Class members when they purchased the Toxic Hair Relaxer Products.

                In so doing, Defendants acted with conscious disregard for the rights of Plaintiff

and the other Class members.

                As an intended and expected result of Defendants’ conscious wrongdoing as set

forth in this Complaint, Defendants have profited and benefited from payments Plaintiff and the

other Class members made for their Toxic Hair Relaxer Products.



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               Defendants’ unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein.

               At the time their payments were made, Plaintiff and the other Class members

expected that Defendants’ Toxic Hair Relaxer Products were safe and effective in the ways

Defendants had represented, and could safely be used for the purposes Defendants advertised their

Toxic Hair Relaxer Products. In exchange for their payments, Plaintiff and the other Class

members believed they were receiving a safe method for straightening hair that did not involve the

risk of serious adverse health effects.

               Defendants have voluntarily accepted and retained these payments with full

knowledge that, as a result of their wrongdoing, Plaintiff and the other Class members paid for

Defendants’ Toxic Hair Relaxer Products when they otherwise would not have done so. The failure

of Defendants to provide Plaintiff and the other Class members with the remuneration expected

enriched Defendants unjustly.

               Under the common law doctrine of unjust enrichment, it is inequitable for

Defendants to be permitted to retain the benefits it received, and is still receiving, without

justification, from the false and deceptive labeling and marketing of the Toxic Hair Relaxer

Products to Plaintiff and the other Class members.

               Defendants’ retention of such funds under circumstances making it inequitable to

do so constitutes unjust enrichment. It is unjust to allow Defendants to earn and retain revenues,

profits, and benefits from their Toxic Hair Relaxer Products while Plaintiff and the other Class

members suffered and are suffering serious illnesses, including but not limited to uterine and

ovarian cancer.




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                Plaintiff and the other Class members may assert an unjust enrichment claim even

though a remedy at law may otherwise exist.

                Plaintiff, on behalf of herself and the other Class members, seeks restitution and

disgorgement of Defendants’ wrongful revenues, profits, and benefits to the extent and in the

amount deemed appropriate by the Court, and such other relief as the Court deems just and proper

to remedy Defendants’ unjust enrichment.

                  COUNT 87 – BREACH OF EXPRESS WARRANTY
(Individually and on Behalf of the Michigan Consumer Class Against Defendants L’Oréal,
                                  SoftSheen, and Luster)

                Plaintiff Angela Burton (“Plaintiff,” for purposes of the Michigan Consumer

Class’s claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiff brings this cause of action individually and on behalf of the Michigan

Consumer Class.

                As detailed above, Defendants, through their written literature, packaging and

labeling, and through their advertisements, expressly warranted that the Toxic Hair Relaxer

Products were safe and fit for the purposes intended, that they were of merchantable quality, and

that they did not pose dangerous health risks.

                Moreover, the Toxic Hair Relaxer Products’ labeling represents that the regular use

of broad spectrum hair straighteners and/or relaxers is “protective,” and that its use can “decrease

the risk” of skin cancer and early skin aging. Such statements constitute an affirmation of fact or

promise, or a description of the product as being safe and not posing a dangerous health risk.

Defendants breached this express warranty because their Toxic Hair Relaxer Products are not safe.




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To the contrary, the Toxic Hair Relaxer Products pose a dangerous health risk because they

increase the risk of uterine and ovarian cancer, as detailed above.

                Plaintiff and the other Class members read and relied on these express warranties

provided by Defendants in the packaging and written advertisements.

                Defendants breached its express warranties under Mich. Comp. Laws 440.2313, et

seq. because the Toxic Hair Relaxer Products are defective and not reasonably safe for their

intended use.

                Defendants knew or should have known that the Toxic Hair Relaxer Products did

not conform to their express warranties and representations and that, in fact, the Toxic Hair Relaxer

Products are not safe and pose serious health risks.

                Plaintiff and the other Class members have suffered harm on account of

Defendants’ breach of its express warranty regarding the fitness for use and safety of the Toxic

Hair Relaxer Products. Plaintiff, on behalf of herself and the other Class members, seeks recovery

of actual damages, as well as incidental and consequential damages as a direct and proximate result

of the Toxic Defect, in an amount to be determined at trial.

                COUNT 88 – BREACH OF IMPLIED WARRANTY OF
               MERCHANTABILITY/FITNESS FOR PARTICULAR USE
(Individually and on Behalf of the Michigan Consumer Class Against Defendants L’Oréal,
                                  SoftSheen, and Luster)

                Plaintiff Angela Burton (“Plaintiff,” for purposes of the Michigan Consumer

Class’s claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiff brings this cause of action individually and on behalf of the Michigan

Consumer Class.




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               Defendants are in the business of manufacturing, supplying, marketing, advertising,

warranting, and/or selling hair relaxer products.

               Prior to the time that Plaintiff and the other Class members purchased and/or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew of the uses for which their Toxic Hair

Relaxer Products were intended and impliedly warranted to Plaintiff, and to the other Class

members, that Defendants’ Toxic Hair Relaxer Products were of merchantable quality and safe

and fit for such intended and ordinary uses. Defendants also impliedly warranted to Plaintiff and

the other Class members that their Toxic Hair Relaxer Products were of a certain quality.

               Defendants’ warranties include, but are not limited to, the warranties that their

Toxic Hair Relaxer Products are safe, healthy, protective, and/or natural, including but not limited

to the marketing assertions quoted and displayed in the facts alleged above.

               Defendants breached the implied warranties of their Toxic Hair Relaxer Products

sold to Plaintiff and the other Class members because they were not fit for their ordinary purposes,

or for their intended and reasonably foreseeable uses. Nor were their Toxic Hair Relaxer Products

minimally safe for their expected purpose.

               Defendants’ Toxic Hair Relaxer Products were neither safe for their intended use

nor of merchantable quality, as warranted by Defendants, because their Toxic Hair Relaxer

Products have dangerous propensities when used as intended and cause severe injuries to users,

including Plaintiff and the other Class members.

               Similarly, Defendants’ Toxic Hair Relaxer Products were unfit for their particular

purpose—safely straightening hair. Defendants’ Toxic Hair Relaxer Products could not, and do

not, safely straighten hair, and never could do so at any point after leaving Defendants’ control.




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               Defendants’ Toxic Hair Relaxer Products were unfit for their ordinary use, were

not of merchantable quality, did not conform to the representations made by Defendants, and/or

were unfit for their particular purpose when they left Defendants’ control.

               At the time that Plaintiff and the other Class members purchased or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew or should have known that Plaintiff

and the other Class members would detrimentally rely on Defendants’ misrepresentations

regarding safety.

               Plaintiff and the other Class members purchased or used Defendants’ Toxic Hair

Relaxer Products reasonably relying upon Defendants’ implied warranties.

               Plaintiff and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purpose and in the manner intended by Defendants.

               Plaintiff and the other Class members could not have discovered, through the use

of reasonable care, that Defendants’ implied warranties were false, or that Defendants’ Toxic Hair

Relaxer Products posed danger to them.

               Plaintiff and the other Class members would not have purchased or used

Defendants’ Toxic Hair Relaxer Products if they had known the truth about the misrepresentations

described above, or that Defendants’ Toxic Hair Relaxer Products were unfit for ordinary use or

their particular purpose.

               Defendants’ conduct described in this Complaint constitutes a breach of implied

warranties under Mich. Comp. Laws 440.2314, et seq.

               Defendants’ Toxic Hair Relaxer Products are consumer products, and Plaintiff and

the other Class members are consumers. Defendants are suppliers and/or warrantors of the




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defective Toxic Hair Relaxer Products, and Defendants breached their implied warranties as

described above.

               Defendants’ breach of warranties were a substantial factor in causing Plaintiff’s and

the other Class members’ injuries.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiff

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and it indicates a wanton disregard of the rights of others, justifying an award

of punitive or exemplary damages.

               Plaintiff and the other Class members did not need to send (additional) notice to

Defendants of their breaches of warranty because Defendants were already on notice of the defects

alleged herein and of Defendants’ related violations. Defendants received such notice from similar

lawsuits for the same conduct and through other means.

               Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendants’ breach of their implied warranties, in an amount to be determined at trial.




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                       COUNT 89 – FRAUDULENT OMISSION
(Individually and on Behalf of the Michigan Consumer Class Against Defendants L’Oréal,
                                  SoftSheen, and Luster)

                Plaintiff Angela Burton (“Plaintiff,” for purposes of the Michigan Consumer

Class’s claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiff brings this cause of action individually and on behalf of the Michigan

Consumer Class.

                Through their labeling and advertising, Defendants made representations to

Plaintiff and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

                At all relevant times, Defendants had a duty to provide Plaintiff and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including

warnings about any risks they knew of, or should have known of, posed by their Toxic Hair Relaxer

Products.

                Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that they had a duty to both learn and disclose the dangers associated with

their Toxic Hair Relaxer Products.

                From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiff or the other Class members. Defendants failed to fulfill their duty to accurately




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disclose in their labeling and advertising that the Toxic Hair Relaxer Products contained toxic

chemicals.

               Defendants failed to disclose such material facts with the intent to induce

consumers, including Plaintiff and the other Class members, into purchasing and using their hair

relaxer products.

               Such failures to disclose on the part of Defendants amount to fraudulent omission.

               Plaintiff and the other Class members justifiably relied on Defendants’

nondisclosures to their detriment.

               In reliance on Defendants’ omissions, Plaintiff and the other Class members were

induced to purchase and use Defendants’ Toxic Hair Relaxer Products. If Plaintiff and the other

Class members had known of the facts concealed by Defendants, including facts revealing the

toxic nature of Defendants’ products, then Plaintiff and the other Class members would not have

purchased or used Defendants’ Toxic Hair Relaxer Products.

               As a direct and proximate result of the foregoing fraudulent omissions by

Defendants, Plaintiff and the other Class members suffered injuries and damages as alleged herein.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiff and the other

Class members suffered serious injury, harm, damages, and economic and non-economic loss.

They will continue to suffer such harm, damages, and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the other Class members was malicious, oppressive, willful, reckless,

and/or grossly negligent, and indicates a wanton disregard of the rights of others, justifying an

award of punitive or exemplary damages.



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                 Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendants’ fraudulent omissions regarding the Toxic Defect, in an amount to be determined at

trial.

              M. Mississippi

 COUNT 90 – VIOLATIONS OF THE MISSISSIPPI CONSUMER PROTECTION ACT
(Individually and on Behalf of the Mississippi Consumer Class Against Defendants Revlon,
               Dabur, Namaste, L’Oréal, SoftSheen, and Strength of Nature)

                 Plaintiffs Dillon, Edwards, and Quinn (“Plaintiffs,” for purposes of the Mississippi

Consumer Class’s claims) incorporate by reference and reallege paragraphs 1 to 180 above, as

though fully set forth herein.

                 Plaintiffs bring this cause of action individually and on behalf of the Mississippi

Consumer Class.

                 Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the Mississippi Consumer Protection Act, Miss. Code

Ann. § 75-24-5 et seq., when they misled consumers regarding the safety risks associated with use

of their Toxic Hair Relaxer Products. As a direct result of Defendants’ deceptive, unfair,

unconscionable, and fraudulent conduct, Plaintiffs and the other Class members suffered and will

continue to suffer economic loss and other compensable injuries.

                 Defendants’ deceptive, unfair, unlawful, and unconscionable practices included but

were not limited to the following practices, done knowingly:

         a.       Representing that goods have characteristics, ingredients, uses, or benefits that
                   they do not have;

         b.        Representing that goods are of a particular standard, quality, or grade if they are
                   of another; and


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         c.      Advertising goods with the intent not to sell them as advertised.

               Defendants’ actions and failure to act—including their false and misleading

representations and omissions of material facts regarding the safety and potential risks of their

Toxic Hair Relaxer Products, as described above—constitute acts, uses or employment by

Defendants of unconscionable commercial practices, deception, fraud, false pretenses, and

misrepresentations. These actions and omissions further constitute the knowing concealment,

suppression, or omission of material facts, done with the intent that Plaintiffs and the other Class

members rely upon such concealment, suppression, or omission of material facts in connection

with the sale of Defendants’ merchandise, in violation of the Mississippi Consumer Protection

Act.

               Defendants’ unfair and deceptive trade practices have caused injuries to consumers,

and the public will benefit from a cessation of these unlawful actions through this litigation.

               By reason of the unlawful acts engaged in by Defendants, Plaintiffs and the other

Class members have suffered ascertainable loss and damages.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiffs

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses in the future.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiffs and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and Defendants’ conduct indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.



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               Due to the above, Defendants are liable to Plaintiffs and the other Class members

for compensatory, as well as exemplary, multiple, and/or punitive damages to the extent available

and as applicable, in amounts to be proven at trial, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.

               Plaintiffs did not need to send (additional) notice to Defendants of their violations

of the Mississippi Consumer Protection Act pled in this Complaint because Defendants were

already on notice of the defects alleged herein and of Defendants’ related violations. Defendants

received such notice from similar lawsuits for the same conduct and through other means.

               Plaintiffs and the other Class members would not have purchased the Toxic Hair

Relaxer Products, or alternatively they would have paid less for them, had the truth about the toxic

nature of Defendants’ products been disclosed. Plaintiffs, on behalf of themselves and the other

Class members, seek to recover the actual damages they have suffered.

                        COUNT 91 – UNJUST ENRICHMENT
(Individually and on Behalf of the Mississippi Consumer Class Against Defendants Revlon,
               Dabur, Namaste, L’Oréal, SoftSheen, and Strength of Nature)

               Plaintiffs Dillon, Edwards, and Quinn (“Plaintiffs,” for purposes of the Mississippi

Consumer Class’s claims) incorporate by reference and reallege paragraphs 1 to 180 above, as

though fully set forth herein.

               Plaintiffs bring this cause of action individually and on behalf of the Mississippi

Consumer Class.

               As a result of Defendants’ wrongful and deceptive conduct, Defendants knowingly

and voluntarily accepted and retained wrongful benefits in the form of money paid by Plaintiffs

and the other Class members when they purchased the Toxic Hair Relaxer Products.




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               In so doing, Defendants acted with conscious disregard for the rights of Plaintiffs

and the other Class members.

               As an intended and expected result of Defendants’ conscious wrongdoing as set

forth in this Complaint, Defendants have profited and benefited from payments Plaintiffs and the

other Class members made for their Toxic Hair Relaxer Products.

               Defendants’ unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein.

               At the time their payments were made, Plaintiffs and the other Class members

expected that Defendants’ Toxic Hair Relaxer Products were safe and effective in the ways

Defendants had represented, and could safely be used for the purposes Defendants advertised their

Toxic Hair Relaxer Products. In exchange for their payments, Plaintiffs and the other Class

members believed they were receiving a safe method for straightening hair that did not involve the

risk of serious adverse health effects.

               Defendants have voluntarily accepted and retained these payments with full

knowledge that, as a result of their wrongdoing, Plaintiffs and the other Class members paid for

Defendants’ Toxic Hair Relaxer Products when they otherwise would not have done so. The failure

of Defendants to provide Plaintiffs and the other Class members with the remuneration expected

enriched Defendants unjustly.

               Under the common law doctrine of unjust enrichment, it is inequitable for

Defendants to be permitted to retain the benefits it received, and is still receiving, without

justification, from the false and deceptive labeling and marketing of the Toxic Hair Relaxer

Products to Plaintiffs and the other Class members.




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               Defendants’ retention of such funds under circumstances making it inequitable to

do so constitutes unjust enrichment. It is unjust to allow Defendants to earn and retain revenues,

profits, and benefits from their Toxic Hair Relaxer Products while Plaintiffs and the other Class

members suffered and are suffering serious illnesses, including but not limited to uterine and

ovarian cancer.

               Plaintiffs and the other Class members may assert an unjust enrichment claim even

though a remedy at law may otherwise exist.

               Plaintiffs, on behalf of themselves and the other Class members, seek restitution

and disgorgement of Defendants’ wrongful revenues, profits, and benefits to the extent and in the

amount deemed appropriate by the Court, and such other relief as the Court deems just and proper

to remedy Defendants’ unjust enrichment.

                   COUNT 92 – BREACH OF EXPRESS WARRANTY
(Individually and on Behalf of the Mississippi Consumer Class Against Defendants Revlon,
               Dabur, Namaste, L’Oréal, SoftSheen, and Strength of Nature)

               Plaintiffs Dillon, Edwards, and Quinn (“Plaintiffs,” for purposes of the Mississippi

Consumer Class’s claims) incorporate by reference and reallege paragraphs 1 to 180 above, as

though fully set forth herein.

               Plaintiffs bring this cause of action individually and on behalf of the Mississippi

Consumer Class.

               As detailed above, Defendants, through their written literature, packaging and

labeling, and through their advertisements, expressly warranted that the Toxic Hair Relaxer

Products were safe and fit for the purposes intended, that they were of merchantable quality, and

that they did not pose dangerous health risks.




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               Moreover, the Toxic Hair Relaxer Products’ labeling represents that the regular use

of broad spectrum hair straighteners and/or relaxers is “protective,” and that its use can “decrease

the risk” of skin cancer and early skin aging. Such statements constitute an affirmation of fact or

promise, or a description of the product as being safe and not posing a dangerous health risk.

Defendants breached this express warranty because their Toxic Hair Relaxer Products are not safe.

To the contrary, the Toxic Hair Relaxer Products pose a dangerous health risk because they

increase the risk of uterine and ovarian cancer, as detailed above.

               Plaintiffs and the other Class members read and relied on these express warranties

provided by Defendants in the packaging and written advertisements.

               Defendants breached its express warranties under Miss. Code § 75-2-313, et seq.

because the Toxic Hair Relaxer Products are defective and not reasonably safe for their intended

use.

               Defendants knew or should have known that the Toxic Hair Relaxer Products did

not conform to their express warranties and representations and that, in fact, the Toxic Hair Relaxer

Products are not safe and pose serious health risks because they contain toxic chemicals.

               Plaintiffs and the other Class members have suffered harm on account of

Defendants’ breach of its express warranty regarding the fitness for use and safety of the Toxic

Hair Relaxer Products. Plaintiffs, on behalf of themselves and the other Class members, seek

recovery of actual damages, as well as incidental and consequential damages as a direct and

proximate result of the Toxic Defect, in an amount to be determined at trial.




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                 COUNT 93 – BREACH OF IMPLIED WARRANTY OF
               MERCHANTABILITY/FITNESS FOR PARTICULAR USE
(Individually and on Behalf of the Mississippi Consumer Class Against Defendants Revlon,
               Dabur, Namaste, L’Oréal, SoftSheen, and Strength of Nature)

               Plaintiffs Dillon, Edwards, and Quinn (“Plaintiffs,” for purposes of the Mississippi

Consumer Class’s claims) incorporate by reference and reallege paragraphs 1 to 180 above, as

though fully set forth herein.

               Plaintiffs bring this cause of action individually and on behalf of the Mississippi

Consumer Class.

               Defendants are in the business of manufacturing, supplying, marketing, advertising,

warranting, and/or selling hair relaxer products.

               Prior to the time that Plaintiffs and the other Class members purchased and/or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew of the uses for which their Toxic Hair

Relaxer Products were intended and impliedly warranted to Plaintiffs, and to the other Class

members, that Defendants’ Toxic Hair Relaxer Products were of merchantable quality and safe

and fit for such intended and ordinary uses. Defendants also impliedly warranted to Plaintiffs and

the other Class members that their Toxic Hair Relaxer Products were of a certain quality.

               Defendants’ warranties include, but are not limited to, the warranties that their

Toxic Hair Relaxer Products are safe, healthy, protective, and/or natural, including but not limited

to the marketing assertions quoted and displayed in the facts alleged above.

               Defendants breached the implied warranties of their Toxic Hair Relaxer Products

sold to Plaintiffs and the other Class members because they were not fit for their ordinary purposes,

or for their intended and reasonably foreseeable uses. Nor were their Toxic Hair Relaxer Products

minimally safe for their expected purpose.




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               Defendants’ Toxic Hair Relaxer Products were neither safe for their intended use

nor of merchantable quality, as warranted by Defendants, because their Toxic Hair Relaxer

Products have dangerous propensities when used as intended and cause severe injuries to users,

including Plaintiffs and the other Class members.

               Similarly, Defendants’ Toxic Hair Relaxer Products were unfit for their particular

purpose—safely straightening hair. Defendants’ Toxic Hair Relaxer Products could not, and do

not, safely straighten hair, and never could do so at any point after leaving Defendants’ control.

               Defendants’ Toxic Hair Relaxer Products were unfit for their ordinary use, were

not of merchantable quality, did not conform to the representations made by Defendants, and/or

were unfit for their particular purpose when they left Defendants’ control.

               At the time that Plaintiffs and the other Class members purchased or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew or should have known that Plaintiffs

and the other Class members would detrimentally rely on Defendants’ misrepresentations

regarding safety.

               Plaintiffs and the other Class members purchased or used Defendants’ Toxic Hair

Relaxer Products reasonably relying upon Defendants’ implied warranties.

               Plaintiffs and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purpose and in the manner intended by Defendants.

               Plaintiffs and the other Class members could not have discovered, through the use

of reasonable care, that Defendants’ implied warranties were false, or that Defendants’ Toxic Hair

Relaxer Products posed danger to them.

               Plaintiffs and the other Class members would not have purchased or used

Defendants’ Toxic Hair Relaxer Products if they had known the truth about the misrepresentations



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described above, or that Defendants’ Toxic Hair Relaxer Products were unfit for ordinary use or

their particular purpose.

               Defendants’ conduct described in this Complaint constitutes a breach of implied

warranties under Miss. Code § 75-2-314, et seq.

               Defendants’ Toxic Hair Relaxer Products are consumer products, and Plaintiffs and

the other Class members are consumers. Defendants are suppliers and/or warrantors of the

defective Toxic Hair Relaxer Products, and Defendants breached their implied warranties as

described above.

               Defendants’ breach of warranties were a substantial factor in causing Plaintiffs’ and

the other Class members’ injuries.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiffs

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiffs and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and it indicates a wanton disregard of the rights of others, justifying an award

of punitive or exemplary damages.

               Plaintiffs and the other Class members did not need to send (additional) notice to

Defendants of their breaches of warranty because Defendants were already on notice of the defects

alleged herein and of Defendants’ related violations. Defendants received such notice from similar

lawsuits for the same conduct and through other means.



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               Plaintiffs, on behalf of themselves and the other Class members, seek recovery of

actual damages, as well as incidental and consequential damages, as a direct and proximate result

of Defendants’ breach of their implied warranties, in an amount to be determined at trial.

               As a direct and proximate result of each Defendant’s wrongful conduct, Plaintiffs

and the other Class members have been significantly exposed to Toxic Hair Relaxer Products, have

sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers,

and have suffered and will continue to suffer economic losses and expenses associated with

medically necessary medical monitoring.

               Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

                       COUNT 94 – FRAUDULENT OMISSION
(Individually and on Behalf of the Mississippi Consumer Class Against Defendants Revlon,
               Dabur, Namaste, L’Oréal, SoftSheen, and Strength of Nature)

               Plaintiffs Dillon, Edwards, and Quinn (“Plaintiffs,” for purposes of the Mississippi

Consumer Class’s claims) incorporate by reference and reallege paragraphs 1 to 180 above, as

though fully set forth herein.

               Plaintiffs bring this cause of action individually and on behalf of the Mississippi

Consumer Class.




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               Through their labeling and advertising, Defendants made representations to

Plaintiffs and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

               At all relevant times, Defendants had a duty to provide Plaintiffs and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including

warnings about any risks they knew of, or should have known of, posed by their Toxic Hair Relaxer

Products.

               Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that they had a duty to both learn and disclose the dangers associated with

their Toxic Hair Relaxer Products.

               From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiffs or the other Class members. Defendants failed to fulfill their duty to

accurately disclose in their labeling and advertising that the Toxic Hair Relaxer Products contained

toxic chemicals.

               Defendants failed to disclose such material facts with the intent to induce

consumers, including Plaintiffs and the other Class members, into purchasing and using their hair

relaxer products.

               Such failures to disclose on the part of Defendants amount to fraudulent omission.

               Plaintiffs and the other Class members justifiably relied on Defendants’

nondisclosures to their detriment.



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               In reliance on Defendants’ omissions, Plaintiffs and the other Class members were

induced to purchase and use Defendants’ Toxic Hair Relaxer Products. If Plaintiffs and the other

Class members had known of the facts concealed by Defendants, including facts revealing the

toxic nature of Defendants’ products, then Plaintiffs and the other Class members would not have

purchased or used Defendants’ Toxic Hair Relaxer Products.

               As a direct and proximate result of the foregoing fraudulent omissions by

Defendants, Plaintiffs and the other Class members suffered injuries and damages as alleged

herein.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiffs and the other

Class members suffered serious injury, harm, damages, and economic and non-economic loss.

They will continue to suffer such harm, damages, and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiffs and the other Class members was malicious, oppressive, willful, reckless,

and/or grossly negligent, and indicates a wanton disregard of the rights of others, justifying an

award of punitive or exemplary damages.

               Plaintiffs, on behalf of themselves and the other Class members, seek recovery of

actual damages, as well as incidental and consequential damages, as a direct and proximate result

of Defendants’ fraudulent omissions regarding the Toxic Defect, in an amount to be determined at

trial.




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           N. Missouri

                              COUNT 95 – NEGLIGENCE
(Individually and on Behalf of the Missouri Medical Monitoring Class Against Defendants
                            L’Oréal, SoftSheen, and Revlon)

               Plaintiff Wall (“Plaintiff,” for purposes of the Missouri Classes’ claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Missouri

Medical Monitoring Class.

               At all relevant times, each Defendant had a duty to exercise reasonable care in the

manufacturing, designing, researching, testing, producing, supplying, inspecting, marketing,

labeling, packaging, selling, and distributing of their hair relaxer products.

               Each Defendant owed a duty of care to Plaintiff and the other Class members to

ensure that the Toxic Hair Relaxer Products it sold in the United States were safe for human

consumption, contained only the ingredients stated on the label, and were not adulterated.

               Defendants’ duty to exercise reasonable care in the advertising and sale of their hair

relaxer products included a duty to warn Plaintiff and the other Class members of the risks and

dangers associated with their Toxic Hair Relaxer Products that were known or should have been

known to Defendants at the time of the sale of their Toxic Hair Relaxer Products to Plaintiff and

the other Class members, including that the products were contained ingredients not specified on

the label that were likely to cause harm to consumers.

               Defendants also owed a continuing duty to Plaintiff and the other Class members

to remove, recall, or retrofit the unsafe and/or defective Toxic Hair Relaxer Products.

               At all relevant times, Defendants knew or should have known through the exercise

of reasonable care of the dangers associated with the normal and/or intended use of their hair



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relaxer products. In particular, Defendants knew or should have known that their Toxic Hair

Relaxer Products significantly increase the risk of uterine and ovarian cancer.

               Each Defendant owed a duty of care to Plaintiff and the other Class members

because they were foreseeable, reasonable, and probable users of Toxic Hair Relaxer Products.

Each Defendant knew or should have known that its Toxic Hair Relaxer Products were harmful to

humans, contained ingredients other than those stated, and/or were adulterated, and each was in

the best position to uncover and remedy these shortcomings.

               At all relevant times, Defendants knew, or should have known through the exercise

of reasonable care, that ordinary consumers such as Plaintiff and the other Class members would

not realize the potential risks and dangers of their Toxic Hair Relaxer Products.

               Each Defendant failed to discharge its duty of care. Defendants breached their duty

of care by manufacturing, designing, researching, testing, producing, supplying, inspecting,

marketing, selling, and/or distributing their Toxic Hair Relaxer Products negligently, recklessly,

and/or with extreme carelessness, and by failing to adequately warn of the risks and dangers of

their Toxic Hair Relaxer Products—as described in the allegations above. Such breaches include

but are not limited to:

               a.         Failing to warn Plaintiff and the other Class members of the risks and

 dangers associated with the use of their Toxic Hair Relaxer Products;

               b.         Failing to properly test their Toxic Hair Relaxer Products to determine the

 adequacy or effectiveness of safety measures, if any, prior to releasing their Toxic Hair Relaxer

 Products for consumer use;




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              c.      Failing to properly test their Toxic Hair Relaxer Products to determine the

increased risk of harm to the endocrine system, including uterine and ovarian cancers, during the

normal and/or intended use of their Toxic Hair Relaxer Products;

              d.      Designing their Toxic Hair Relaxer Products defectively such that they

caused serious injuries or death when used in their intended and reasonably foreseeable manner;

              e.      Failing to inform Plaintiff and the other Class members as to the safe and

proper methods of handling and using their Toxic Hair Relaxer Products;

              f.      Failing to remove or recall their Toxic Hair Relaxer Products from the

market when Defendants knew or should have known that their Toxic Hair Relaxer Products were

defective and/or dangerous;

              g.      Failing to instruct Plaintiff and the other Class members as to the methods

for reducing exposure to their Toxic Hair Relaxer Products, which caused increased risk of cancer,

including uterine and ovarian cancer;

              h.      Marketing and labeling their hair relaxer products as safe when Defendants

knew or should have known that their Toxic Hair Relaxer Products were defective and/or

dangerous;

              i.      Claiming in labeling and marketing that their Toxic Hair Relaxer Products

are safe, healthy, protective, and/or natural, including but not limited to the marketing assertions

quoted and displayed in the facts alleged above; and

              j.      Failing to act like a reasonably prudent company under similar

circumstances.




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               Each Defendant knew, or should have known through reasonable care, that the

aforesaid wrongdoing would foreseeably cause injuries and other damage to Plaintiff and the other

Class members.

               Each of these acts and omissions, taken singularly or in combination, were a

proximate cause of the injuries and damages sustained by Plaintiff and the other Class members.

               Due to Defendants’ failure to exercise ordinary care and to comply with the duties

associated with selling cosmetic products, Plaintiff and the other Class members were unable to

discover the dangerous nature of Defendants’ Toxic Hair Relaxer Products.

               Defendants’ acts and omissions constitute gross negligence because they constitute

a total lack of care and an extreme departure from what a reasonably careful company would do

in the same situation to prevent foreseeable harm to Plaintiff and the other Class members.

               E Each Defendant negligently failed to promptly and immediately warn and

disclose to Plaintiff and the other Class members that use of their hair relaxer products would result

in harm, and that using their products in the intended manner results in toxicity, delaying notice of

this harmful and toxic exposure and thus causing continued exposure and delaying necessary

testing, examinations, surveillance, and treatment.

               Defendants’ negligent conduct created and then exacerbated an unreasonable,

dangerous condition for Plaintiff and the other Class members.

               Defendants acted and/or failed to act willfully, and with conscious and reckless

disregard for the rights and interests of Plaintiff and the other Class members, and Defendants’

acts and omissions had a great probability of causing significant harm, and in fact it resulted in

such harm to Plaintiff and the other Class members.




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               Defendants’ negligence and gross negligence were a substantial factor in causing

and/or contributing to Plaintiff and the other Class members’ harms.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the other Class members—including their marketing—was fraudulent,

malicious, oppressive, willful, reckless, and/or grossly negligent, and indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               As a direct and proximate result of each Defendant’s negligent conduct, Plaintiff

and the other Class members have been significantly exposed to Toxic Hair Relaxer Products, have

sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers,

and have suffered and will continue to suffer economic losses and expenses associated with

medically necessary medical monitoring.

               Plaintiff, on behalf of herself and the other Class members, seeks injunctive and

monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring Class

members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

           COUNT 96 – NEGLIGENT MISREPRESENTATION/OMISSION
(Individually and on Behalf of the Missouri Medical Monitoring Class Against Defendants
                             L’Oréal, SoftSheen, and Revlon)

               Plaintiff Wall (“Plaintiff,” for purposes of the Missouri Classes’ claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Missouri

Medical Monitoring Class.



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               Through their labeling and advertising, Defendants made representations to

Plaintiff and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

               At all relevant times, Defendants had a duty to provide Plaintiff and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including

warnings of any risks they knew of or should have known of related to using their Toxic Hair

Relaxer Products. Defendants knew or should have known about this duty.

               Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that their representations about the safety of their Toxic Hair Relaxer

Products were false.

               Defendants breached their duty in representing that their Toxic Hair Relaxer

Products have no serious side effects when they knew or should have known that their products

did cause serious side effects as described herein.

               From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiffs or the public. Defendants failed to fulfill their duty to accurately disclose in

their labeling and advertising that the Toxic Hair Relaxer Products contained toxic chemicals.

               Additionally, Defendants have a duty to not make false representations with respect

to their Toxic Hair Relaxer Products. At all relevant times, Defendants conducted sales and

marketing campaigns to promote the sale of their Toxic Hair Relaxer Products and willfully




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deceived Plaintiff and the general public about the health risks and adverse consequences of the

use of such products.

                 Defendants’ misrepresentations included but are not limited to the statements in

labels and marketing that their Toxic Hair Relaxer Products are safe, healthy, protective, and/or

natural, including but not limited to the marketing assertions quoted and displayed in the facts

alleged above.

                 Defendants made such representations and failed to disclose such material facts

with the intent to induce consumers, including Plaintiff and the other Class members, into

purchasing and using their Toxic Hair Relaxer Products.

                 Defendants’ misrepresentations and omissions concealed from Plaintiffs and the

other Class members that Defendants’ Toxic Hair Relaxer Products posed a high risk of

unreasonable, dangerous, health conditions, including but not limited to uterine and ovarian

cancer.

                 Plaintiff and the other Class members justifiably relied on Defendants’

misrepresentations and nondisclosures to their detriment. Specifically, Plaintiff and the other Class

members relied on representations that their Toxic Hair Relaxer Products were safe to use as

expected and instructed, when they were not.

                 In reliance on the misrepresentations by Defendants, Plaintiff and the other Class

members were induced to purchase and use Defendants’ Toxic Hair Relaxer Products.

                 As a direct and proximate result of the foregoing negligent misrepresentations by

Defendants, Plaintiff and the other Class members suffered injuries and damages as alleged herein.

                 Defendants’ omission of material facts also induced Plaintiff and the other Class

members into purchasing Defendants’ Toxic Hair Relaxer Products. If Plaintiff and the other Class



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members had known of the true facts and the facts concealed by Defendants, Plaintiff and the other

Class members would not have purchased or used Defendants’ Toxic Hair Relaxer Products.

               Because of the severe nature of the harms caused by Defendants’ Toxic Hair

Relaxer Products, no reasonable person would have purchased these products if Defendants have

fully apprised the public of the dangers associated with these products.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiff and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and it indicates a wanton disregard of the rights of

others, justifying an award of punitive or exemplary damages.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiff and the other

Class members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing the serious and potentially fatal Subject Cancers, and

have suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.

               Plaintiff, on behalf of herself and the other Class members, seeks injunctive and

monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring Class

members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers, for Plaintiff and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.




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                         COUNT 97 – NEGLIGENCE PER SE
(Individually and on behalf of the Missouri Medical Monitoring Class Against Defendants
                             L’Oréal, SoftSheen, and Revlon)

               Plaintiff Wall (“Plaintiff,” for purposes of the Missouri Classes’ claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Missouri

Medical Monitoring Class.

               The Food, Drug, and Cosmetic Act, 21 U.S.C. ch. 9 § 301 et seq., and its

accompanying regulations, are implemented to regulate and promote safety in the design,

manufacturing, marketing, branding, labeling, and sale of food, drugs, and cosmetics, including

Defendants’ Toxic Hair Relaxer Products.

               Upon information and belief, Defendants’ conduct violated one or more statutes or

related regulations, including but not limited to the following:

                a.      21 U.S.C. § 331;

                b.      21 U.S.C. § 361;

                c.      21 U.S. Code § 362; and

                d.      21 CFR Part 740, including but not limited to 21 CFR § 740.1 and 21 CFR

§ 740.10.

               Plaintiff is currently unadvised of the full extent of the federal or state safety laws

and regulations that Defendants or their agents may have violated but reserve the right to rely on

such safety laws and regulations shown during discovery.

               Defendants’ violation of such safety laws and regulations constitutes negligence

per se.




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               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiff and the other

Class members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing the serious and potentially fatal Subject Cancers, and

have suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.

               Plaintiff, on behalf of herself and the other Class members, seeks injunctive and

monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring Class

members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiff and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

                  COUNT 98 – STRICT LIABILITY: DESIGN DEFECT
      (Individually and on Behalf of the Missouri Medical Monitoring Classes Against
                        Defendants L’Oréal, SoftSheen, and Revlon)

               Plaintiff Wall (“Plaintiff,” for purposes of the Missouri Classes’ claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Missouri

Medical Monitoring Class.

               Defendants designed, manufactured, marketed, and sold their Toxic Hair Relaxer

Products that were used by Plaintiff and the other Class members, and Defendants were in the

business of selling their Toxic Hair Relaxer Products.

               Defendants’ Toxic Hair Relaxer Products were in an unsafe, defective, and

unreasonably dangerous condition at the time they left Defendants’ possession because of their



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design. In particular, Defendants’ Toxic Hair Relaxer Products were defectively designed because

they caused serious injuries and death, including but not limited to uterine cancer and ovarian

cancer.

               Defendants’ Toxic Hair Relaxer Products are unreasonably dangerous as designed

because they do not perform as safely as ordinary consumers, including Plaintiff and the other

Class members, would expect when used in an intended or reasonably foreseeable manner.

               Defendants’ Toxic Hair Relaxer Products are unreasonably dangerous as designed

because the danger inherent in their design outweighs the benefits of that design.

               Defendants caused their Toxic Hair Relaxer Products to enter the stream of

commerce and to be sold to consumers, including Plaintiff and the other Class members, through

a variety of channels, including through sales to hair salons for use with their customers as well as

direct sale to consumers through retail stores.

               Defendants’ Toxic Hair Relaxer Products were expected to, and did, reach

consumers, including Plaintiff and the other Class members, without substantial change in the

condition in which those products were manufactured and sold or otherwise released into the

stream of commerce by Defendants.

               Plaintiff and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purposes and in a manner normally intended, recommended, promoted, and

marketed by Defendants.

               Defendants knew or should have known that their products were in a defective

condition as a result of their design, and were unreasonably dangerous when used in an intended

or reasonably foreseeable manner.




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                At all times material to Plaintiff’s and the other Class members’ claims, there were

technologically and economically feasible safer alternative designs that would have prevented or

substantially reduced the risk to Plaintiffs and the other Class members without substantially

impairing the utility of Defendants’ Toxic Hair Relaxer Products.

                Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the other Class members was fraudulent, malicious, oppressive, willful,

reckless, and/or grossly negligent, and it indicates a wanton disregard of the rights of others,

justifying an award of punitive or exemplary damages.

                Plaintiff pleads this claim for relief in the broadest sense and seek the full measure

of damages allowed under the applicable governing law, including the common law and, where

and to the extent applicable, all product liability acts, statutes, and laws.

                As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of their Toxic Hair Relaxer Products, Plaintiff and the other Class

members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing serious and potentially fatal Subject Cancers, and have

suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.

                Plaintiff, on behalf of herself and the other Class members, seeks injunctive and

monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring Class

members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiff and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.



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                COUNT 99 – STRICT LIABILITY: FAILURE TO WARN
      (Individually and on Behalf of the Missouri Medical Monitoring Classes Against
                        Defendants L’Oréal, SoftSheen, and Revlon)

               Plaintiff Wall (“Plaintiff,” for purposes of the Missouri Classes’ claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Missouri

Medical Monitoring Class.

               Defendants designed, manufactured, marketed, and sold their Toxic Hair Relaxer

Products, which were used by Plaintiff and the other Class members, and Defendants were in the

business of selling Toxic Hair Relaxer Products.

               Defendants’ Toxic Hair Relaxer Products were in an unsafe, defective, and

unreasonably dangerous condition at the time they left Defendants’ possession because they were

not accompanied by adequate warnings.

               In particular, Defendants knew or should have known that their Toxic Hair Relaxer

Products could cause serious injuries and death when used in an intended or reasonably foreseeable

manner, including but not limited to uterine and ovarian cancer. Defendants failed to give

appropriate and adequate warning of such risks. Nor did Defendants warn that the safety of their

Toxic Hair Relaxer Products has not been determined. In fact, Defendants continue to this day to

market and sell their products to consumers without adequate warnings of the risks associated with

their products’ use or the lack of safety determination.

               If Defendants had warned Plaintiff and the other Class members that use of their

Toxic Hair Relaxer Products in an intended or reasonably foreseeable manner would increase their

risk of being seriously injured, including but not limited to developing uterine and ovarian cancer,




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and/or that the safety of the Toxic Hair Relaxer Products had not been determined, Plaintiff and

the other Class members would not have used their Toxic Hair Relaxer Products.

               Defendants caused their Toxic Hair Relaxer Products to enter the stream of

commerce and to be sold to consumers, including Plaintiff and the other Class members, through

a variety of channels, including through sales to hair salons for use with their customers and

directly to consumers through retail stores.

               Defendants’ Toxic Hair Relaxer Products were expected to, and did, reach

consumers, including Plaintiff and the other Class members, without substantial change in the

condition in which their Toxic Hair Relaxer Products were manufactured and sold or otherwise

released into the stream of commerce by Defendants.

               Plaintiff and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purposes and in a manner normally intended, recommended, promoted, and

marketed by Defendants.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiff and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and indicates a wanton disregard of the rights of others,

justifying an award of punitive or exemplary damages.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiff and the other

Class members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing serious and potentially fatal Subject Cancers, and have

suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.



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               Plaintiff, on behalf of herself and the other Class members, seeks injunctive and

monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring Class

members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiff and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

  COUNT 100 – VIOLATIONS OF THE MISSOURI MERCHANDISING PRACTICES
                                           ACT
  (Individually and on Behalf of the Missouri Consumer and Medical Monitoring Classes
                   Against Defendants L’Oréal, SoftSheen, and Revlon)

               Plaintiff Wall (“Plaintiff,” for purposes of the Missouri Classes’ claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Missouri

Consumer and Medical Monitoring Classes.

               Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the Missouri Merchandising Practices Act, Mo. Ann.

Stat. § 407.010 et seq., when they misled consumers regarding the safety risks associated with use

of their Toxic Hair Relaxer Products. As a direct result of Defendants’ deceptive, unfair,

unconscionable, and fraudulent conduct, Plaintiff and the other Class members suffered and will

continue to suffer economic loss and other compensable injuries.

               Defendants’ deceptive, unfair, unlawful, and unconscionable practices included but

were not limited to the following practices, done knowingly:

         a.     Representing that goods have characteristics, ingredients, uses, or benefits that
                 they do not have;

         b.      Representing that goods are of a particular standard, quality, or grade if they are
                 of another; and

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         c.      Advertising goods with the intent not to sell them as advertised.

               Defendants’ actions and failure to act—including their false and misleading

representations and omissions of material facts regarding the safety and potential risks of their

Toxic Hair Relaxer Products, as described above—constitute acts, uses or employment by

Defendants of unconscionable commercial practices, deception, fraud, false pretenses, and

misrepresentations. These actions and omissions further constitute the knowing concealment,

suppression, or omission of material facts, done with the intent that Plaintiff and the other Class

members rely upon such concealment, suppression, or omission of material facts in connection

with the sale of Defendants’ merchandise, in violation of the Missouri Merchandising Practices

Act.

               Defendants’ unfair and deceptive trade practices have caused injuries to consumers,

and the public will benefit from a cessation of these unlawful actions through this litigation.

               By reason of the unlawful acts engaged in by Defendants, Plaintiff and the other

Class members have suffered ascertainable loss and damages.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiff

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses in the future.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiff and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and Defendants’ conduct indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.



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               Due to the above, Defendants are liable to Plaintiff and the other Class members

for compensatory, as well as exemplary, multiple, and/or punitive damages to the extent available

and as applicable, in amounts to be proven at trial, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.

               Plaintiff did not need to send (additional) notice to Defendants of their violations

of the Missouri Merchandising Practices Act pled in this Complaint because Defendants were

already on notice of the defects alleged herein and of Defendants’ related violations. Defendants

received such notice from similar lawsuits for the same conduct and through other means.

               Plaintiff and the other Class members would not have purchased the Toxic Hair

Relaxer Products, or alternatively they would have paid less for them, had the truth about the toxic

nature of Defendants’ products been disclosed. Plaintiff, on behalf of herself and the other Class

members, seeks to recover the actual damages they have suffered.

               Further, as a direct and proximate result of each Defendant’s negligent conduct,

Plaintiff and the other Class members have been significantly exposed to Toxic Hair Relaxer

Products, have sustained a significantly increased risk of developing serious and potentially fatal

Subject Cancers, and have suffered and will continue to suffer economic losses and expenses

associated with medically necessary medical monitoring.

               Plaintiff, on behalf of herself and the other Medical Monitoring Class members,

seeks injunctive and monetary relief, including (a) the creation of a fund to finance notifying

Medical Monitoring Class members of their exposure and its potential consequences, and to fund

diagnostic screening, testing, and procedures for the Subject Cancers for Plaintiff and the other

Class members, and/or compensatory damages to fund this necessary medical monitoring; (b)




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attorneys’ fees; (c) costs; (d) interest; and (e) such further relief as this Court deems equitable and

just.

                         COUNT 101 – UNJUST ENRICHMENT
 (Individually and on Behalf of the Missouri Consumer Class Against Defendants L’Oréal,
                                  SoftSheen, and Revlon)

               Plaintiff Wall (“Plaintiff,” for purposes of the Missouri Classes’ claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Missouri

Consumer Class.

               As a result of Defendants’ wrongful and deceptive conduct, Defendants knowingly

and voluntarily accepted and retained wrongful benefits in the form of money paid by Plaintiff and

the other Class members when they purchased the Toxic Hair Relaxer Products.

               In so doing, Defendants acted with conscious disregard for the rights of Plaintiff

and the other Class members.

               As an intended and expected result of Defendants’ conscious wrongdoing as set

forth in this Complaint, Defendants have profited and benefited from payments Plaintiff and the

other Class members made for their Toxic Hair Relaxer Products.

               Defendants’ unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein.

               At the time their payments were made, Plaintiff and the other Class members

expected that Defendants’ Toxic Hair Relaxer Products were safe and effective in the ways

Defendants had represented, and could safely be used for the purposes Defendants advertised their

Toxic Hair Relaxer Products. In exchange for their payments, Plaintiff and the other Class




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members believed they were receiving a safe method for straightening hair that did not involve the

risk of serious adverse health effects.

               Defendants have voluntarily accepted and retained these payments with full

knowledge that, as a result of their wrongdoing, Plaintiff and the other Class members paid for

Defendants’ Toxic Hair Relaxer Products when they otherwise would not have done so. The failure

of Defendants to provide Plaintiff and the other Class members with the remuneration expected

enriched Defendants unjustly.

               Under the common law doctrine of unjust enrichment, it is inequitable for

Defendants to be permitted to retain the benefits it received, and is still receiving, without

justification, from the false and deceptive labeling and marketing of the Toxic Hair Relaxer

Products to Plaintiff and the other Class members.

               Defendants’ retention of such funds under circumstances making it inequitable to

do so constitutes unjust enrichment. It is unjust to allow Defendants to earn and retain revenues,

profits, and benefits from their Toxic Hair Relaxer Products while Plaintiff and the other Class

members suffered and are suffering serious illnesses, including but not limited to uterine and

ovarian cancer.

               Plaintiff and the other Class members may assert an unjust enrichment claim even

though a remedy at law may otherwise exist.

               Plaintiff, on behalf of herself and the other Class members, seeks restitution and

disgorgement of Defendants’ wrongful revenues, profits, and benefits to the extent and in the

amount deemed appropriate by the Court, and such other relief as the Court deems just and proper

to remedy Defendants’ unjust enrichment.




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                  COUNT 102 – BREACH OF EXPRESS WARRANTY
  (Individually and on Behalf of the Missouri Consumer and Medical Monitoring Classes
                   Against Defendants L’Oréal, SoftSheen, and Revlon)

                Plaintiff Wall (“Plaintiff,” for purposes of the Missouri Classes’ claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

                Plaintiff brings this cause of action individually and on behalf of the Missouri

Consumer and Medical Monitoring Classes.

                As detailed above, Defendants, through their written literature, packaging and

labeling, and through their advertisements, expressly warranted that the Toxic Hair Relaxer

Products were safe and fit for the purposes intended, that they were of merchantable quality, and

that they did not pose dangerous health risks.

                Moreover, the Toxic Hair Relaxer Products’ labeling represents that the regular use

of broad spectrum hair straighteners and/or relaxers is “protective,” and that its use can “decrease

the risk” of skin cancer and early skin aging. Such statements constitute an affirmation of fact or

promise, or a description of the product as being safe and not posing a dangerous health risk.

Defendants breached this express warranty because their Toxic Hair Relaxer Products are not safe.

To the contrary, the Toxic Hair Relaxer Products pose a dangerous health risk because they

increase the risk of uterine and ovarian cancer, as detailed above.

                Plaintiff and the other Class members read and relied on these express warranties

provided by Defendants in the packaging and written advertisements.

                Defendants breached its express warranties under Mo. Rev. Stat. § 400.2-313, et

seq. because the Toxic Hair Relaxer Products are defective and not reasonably safe for their

intended use.




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               Defendants knew or should have known that the Toxic Hair Relaxer Products did

not conform to their express warranties and representations and that, in fact, the Toxic Hair Relaxer

Products are not safe and pose serious health risks.

               Plaintiff and the other Class members have suffered harm on account of

Defendants’ breach of its express warranty regarding the fitness for use and safety of the Toxic

Hair Relaxer Products. Plaintiff, on behalf of herself and the other Class members, seeks recovery

of actual damages, as well as incidental and consequential damages as a direct and proximate result

of the Toxic Defect, in an amount to be determined at trial.

               As a direct and proximate result of each Defendant’s breach of its express warranty,

Plaintiff and the other Class members have been significantly exposed to Toxic Hair Relaxer

Products, have sustained a significantly increased risk of developing serious and potentially fatal

Subject Cancers, and have suffered and will continue to suffer economic losses and expenses

associated with medically necessary medical monitoring.

               Plaintiff, on behalf of herself and the Medical Monitoring Class members, seeks

injunctive and monetary relief, including (a) the creation of a fund to finance notifying Medical

Monitoring Class members of their exposure and its potential consequences, and to fund diagnostic

screening, testing, and procedures for the Subject Cancers, for Plaintiff and the other Class

members, and/or compensatory damages to fund this necessary medical monitoring; (b) attorneys’

fees; (c) costs; (d) interest; and (e) such further relief as this Court deems equitable and just.

                 COUNT 103 – BREACH OF IMPLIED WARRANTY OF
               MERCHANTABILITY/FITNESS FOR PARTICULAR USE
  (Individually and on Behalf of the Missouri Consumer and Medical Monitoring Classes
                   Against Defendants L’Oréal, SoftSheen, and Revlon)

               Plaintiff Wall (“Plaintiff,” for purposes of the Missouri Classes’ claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

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               Plaintiff brings this cause of action individually and on behalf of the Missouri

Consumer and Medical Monitoring Classes.

               Defendants are in the business of manufacturing, supplying, marketing, advertising,

warranting, and/or selling hair relaxer products.

               Prior to the time that Plaintiff and the other Class members purchased and/or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew of the uses for which their Toxic Hair

Relaxer Products were intended and impliedly warranted to Plaintiff, and to the other Class

members, that Defendants’ Toxic Hair Relaxer Products were of merchantable quality and safe

and fit for such intended and ordinary uses. Defendants also impliedly warranted to Plaintiff and

the other Class members that their Toxic Hair Relaxer Products were of a certain quality.

               Defendants’ warranties include, but are not limited to, the warranties that their

Toxic Hair Relaxer Products are safe, healthy, protective, and/or natural, including but not limited

to the marketing assertions quoted and displayed in the facts alleged above.

               Defendants breached the implied warranties of their Toxic Hair Relaxer Products

sold to Plaintiff and the other Class members because they were not fit for their ordinary purposes,

or for their intended and reasonably foreseeable uses. Nor were their Toxic Hair Relaxer Products

minimally safe for their expected purpose.

               Defendants’ Toxic Hair Relaxer Products were neither safe for their intended use

nor of merchantable quality, as warranted by Defendants, because their Toxic Hair Relaxer

Products have dangerous propensities when used as intended and cause severe injuries to users,

including Plaintiff and the other Class members.




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               Similarly, Defendants’ Toxic Hair Relaxer Products were unfit for their particular

purpose—safely straightening hair. Defendants’ Toxic Hair Relaxer Products could not, and do

not, safely straighten hair, and never could do so at any point after leaving Defendants’ control.

               Defendants’ Toxic Hair Relaxer Products were unfit for their ordinary use, were

not of merchantable quality, did not conform to the representations made by Defendants, and/or

were unfit for their particular purpose when they left Defendants’ control.

               At the time that Plaintiff and the other Class members purchased or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew or should have known that Plaintiff

and the other Class members would detrimentally rely on Defendants’ misrepresentations

regarding safety.

               Plaintiff and the other Class members purchased or used Defendants’ Toxic Hair

Relaxer Products reasonably relying upon Defendants’ implied warranties.

               Plaintiff and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purpose and in the manner intended by Defendants.

               Plaintiff and the other Class members could not have discovered, through the use

of reasonable care, that Defendants’ implied warranties were false, or that Defendants’ Toxic Hair

Relaxer Products posed danger to them.

               Plaintiff and the other Class members would not have purchased or used

Defendants’ Toxic Hair Relaxer Products if they had known the truth about the misrepresentations

described above, or that Defendants’ Toxic Hair Relaxer Products were unfit for ordinary use or

their particular purpose.

               Defendants’ conduct described in this Complaint constitutes a breach of implied

warranties under Mo. Rev. Stat. § 400.2-314, et seq.



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               Defendants’ Toxic Hair Relaxer Products are consumer products, and Plaintiff and

the other Class members are consumers. Defendants are suppliers and/or warrantors of the

defective Toxic Hair Relaxer Products, and Defendants breached their implied warranties as

described above.

               Defendants’ breach of warranties were a substantial factor in causing Plaintiff’s and

the other Class members’ injuries.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiff

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and it indicates a wanton disregard of the rights of others, justifying an award

of punitive or exemplary damages.

               Plaintiff and the other Class members did not need to send (additional) notice to

Defendants of their breaches of warranty because Defendants were already on notice of the defects

alleged herein and of Defendants’ related violations. Defendants received such notice from similar

lawsuits for the same conduct and through other means.

               Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendants’ breach of their implied warranties, in an amount to be determined at trial.




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               As a direct and proximate result of each Defendant’s wrongful conduct, Plaintiff

and the other Class members have been significantly exposed to Toxic Hair Relaxer Products, have

sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers,

and have suffered and will continue to suffer economic losses and expenses associated with

medically necessary medical monitoring.

               Plaintiff, on behalf of herself and the other Class members, seeks injunctive and

monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring Class

members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiff and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

                       COUNT 104 – FRAUDULENT OMISSION
 (Individually and on Behalf of the Missouri Consumer Class Against Defendants L’Oréal,
                                  SoftSheen, and Revlon)

               Plaintiff Wall (“Plaintiff,” for purposes of the Missouri Classes’ claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Missouri

Consumer Class.

               Through their labeling and advertising, Defendants made representations to

Plaintiff and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

               At all relevant times, Defendants had a duty to provide Plaintiff and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including




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warnings about any risks they knew of, or should have known of, posed by their Toxic Hair Relaxer

Products.

               Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that they had a duty to both learn and disclose the dangers associated with

their Toxic Hair Relaxer Products.

               From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiff or the other Class members. Defendants failed to fulfill their duty to accurately

disclose in their labeling and advertising that the Toxic Hair Relaxer Products contained toxic

chemicals.

               Defendants failed to disclose such material facts with the intent to induce

consumers, including Plaintiff and the other Class members, into purchasing and using their hair

relaxer products.

               Such failures to disclose on the part of Defendants amount to fraudulent omission.

               Plaintiff and the other Class members justifiably relied on Defendants’

nondisclosures to their detriment.

               In reliance on Defendants’ omissions, Plaintiff and the other Class members were

induced to purchase and use Defendants’ Toxic Hair Relaxer Products. If Plaintiff and the other

Class members had known of the facts concealed by Defendants, including facts revealing the

toxic nature of Defendants’ products, then Plaintiff and the other Class members would not have

purchased or used Defendants’ Toxic Hair Relaxer Products.



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               As a direct and proximate result of the foregoing fraudulent omissions by

Defendants, Plaintiff and the other Class members suffered injuries and damages as alleged herein.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiff and the other

Class members suffered serious injury, harm, damages, and economic and non-economic loss.

They will continue to suffer such harm, damages, and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the other Class members was malicious, oppressive, willful, reckless,

and/or grossly negligent, and indicates a wanton disregard of the rights of others, justifying an

award of punitive or exemplary damages.

               Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendants’ fraudulent omissions regarding the Toxic Defect, in an amount to be determined at

trial.

           O. Nevada

                              COUNT 105 – NEGLIGENCE
 (Individually and on Behalf of the Nevada Medical Monitoring Class Against Defendants
                   L’Oréal, SoftSheen, Strength of Nature, and Revlon)

               Plaintiff Meadows (“Plaintiff,” for purposes of the Nevada Classes’ claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Nevada

Medical Monitoring Class.




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               At all relevant times, each Defendant had a duty to exercise reasonable care in the

manufacturing, designing, researching, testing, producing, supplying, inspecting, marketing,

labeling, packaging, selling, and distributing of their hair relaxer products.

               Each Defendant owed a duty of care to Plaintiff and the other Class members to

ensure that the Toxic Hair Relaxer Products it sold in the United States were safe for human

consumption, contained only the ingredients stated on the label, and were not adulterated.

               Defendants’ duty to exercise reasonable care in the advertising and sale of their hair

relaxer products included a duty to warn Plaintiff and the other Class members of the risks and

dangers associated with their Toxic Hair Relaxer Products that were known or should have been

known to Defendants at the time of the sale of their Toxic Hair Relaxer Products to Plaintiff and

the other Class members, including that the products were contained ingredients not specified on

the label that were likely to cause harm to consumers.

               Defendants also owed a continuing duty to Plaintiff and the other Class members

to remove, recall, or retrofit the unsafe and/or defective Toxic Hair Relaxer Products.

               At all relevant times, Defendants knew or should have known through the exercise

of reasonable care of the dangers associated with the normal and/or intended use of their hair

relaxer products. In particular, Defendants knew or should have known that their Toxic Hair

Relaxer Products significantly increase the risk of uterine and ovarian cancer.

               Each Defendant owed a duty of care to Plaintiff and the other Class members

because they were foreseeable, reasonable, and probable users of Toxic Hair Relaxer Products.

Each Defendant knew or should have known that its Toxic Hair Relaxer Products were harmful to

humans, contained ingredients other than those stated, and/or were adulterated, and each was in

the best position to uncover and remedy these shortcomings.



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               At all relevant times, Defendants knew, or should have known through the exercise

of reasonable care, that ordinary consumers such as Plaintiff and the other Class members would

not realize the potential risks and dangers of their Toxic Hair Relaxer Products.

               Each Defendant failed to discharge its duty of care. Defendants breached their duty

of care by manufacturing, designing, researching, testing, producing, supplying, inspecting,

marketing, selling, and/or distributing their Toxic Hair Relaxer Products negligently, recklessly,

and/or with extreme carelessness, and by failing to adequately warn of the risks and dangers of

their Toxic Hair Relaxer Products—as described in the allegations above. Such breaches include

but are not limited to:

               a.         Failing to warn Plaintiff and the other Class members of the risks and

 dangers associated with the use of their Toxic Hair Relaxer Products;

               b.         Failing to properly test their Toxic Hair Relaxer Products to determine the

 adequacy or effectiveness of safety measures, if any, prior to releasing their Toxic Hair Relaxer

 Products for consumer use;

               c.         Failing to properly test their Toxic Hair Relaxer Products to determine the

 increased risk of harm to the endocrine system, including uterine and ovarian cancers, during the

 normal and/or intended use of their Toxic Hair Relaxer Products;

               d.         Designing their Toxic Hair Relaxer Products defectively such that they

 caused serious injuries or death when used in their intended and reasonably foreseeable manner;

               e.         Failing to inform Plaintiff and the other Class members as to the safe and

 proper methods of handling and using their Toxic Hair Relaxer Products;




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              f.      Failing to remove or recall their Toxic Hair Relaxer Products from the

market when Defendants knew or should have known that their Toxic Hair Relaxer Products were

defective and/or dangerous;

              g.      Failing to instruct Plaintiff and the other Class members as to the methods

for reducing exposure to their Toxic Hair Relaxer Products, which caused increased risk of cancer,

including uterine and ovarian cancer;

              h.      Marketing and labeling their hair relaxer products as safe when Defendants

knew or should have known that their Toxic Hair Relaxer Products were defective and/or

dangerous;

              i.      Claiming in labeling and marketing that their Toxic Hair Relaxer Products

are safe, healthy, protective, and/or natural, including but not limited to the marketing assertions

quoted and displayed in the facts alleged above; and

              j.      Failing to act like a reasonably prudent company under similar

circumstances.

              Each Defendant knew, or should have known through reasonable care, that the

aforesaid wrongdoing would foreseeably cause injuries and other damage to Plaintiff and the other

Class members.

              Each of these acts and omissions, taken singularly or in combination, were a

proximate cause of the injuries and damages sustained by Plaintiff and the other Class members.

              Due to Defendants’ failure to exercise ordinary care and to comply with the duties

associated with selling cosmetic products, Plaintiff and the other Class members were unable to

discover the dangerous nature of Defendants’ Toxic Hair Relaxer Products.




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               Defendants’ acts and omissions constitute gross negligence because they constitute

a total lack of care and an extreme departure from what a reasonably careful company would do

in the same situation to prevent foreseeable harm to Plaintiff and the other Class members.

               Each Defendant negligently failed to promptly and immediately warn and disclose

to Plaintiff and the other Class members that use of their hair relaxer products would result in

harm, and that using their products in the intended manner results in toxicity, delaying notice of

this harmful and toxic exposure and thus causing continued exposure and delaying necessary

testing, examinations, surveillance, and treatment.

               Defendants’ negligent conduct created and then exacerbated an unreasonable,

dangerous condition for Plaintiff and the other Class members.

               Defendants acted and/or failed to act willfully, and with conscious and reckless

disregard for the rights and interests of Plaintiff and the other Class members, and Defendants’

acts and omissions had a great probability of causing significant harm, and in fact it resulted in

such harm to Plaintiff and the other Class members.

               Defendants’ negligence and gross negligence were a substantial factor in causing

and/or contributing to Plaintiff and the other Class members’ harms.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the other Class members—including their marketing—was fraudulent,

malicious, oppressive, willful, reckless, and/or grossly negligent, and indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               As a direct and proximate result of each Defendant’s negligent conduct, Plaintiff

and the other Class members have been significantly exposed to Toxic Hair Relaxer Products, have

sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers,



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and have suffered and will continue to suffer economic losses and expenses associated with

medically necessary medical monitoring.

               Plaintiff, on behalf of herself and the other Class members, seeks injunctive and

monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring Class

members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

           COUNT 106 – NEGLIGENT MISREPRESENTATION/OMISSION
 (Individually and on Behalf of the Nevada Medical Monitoring Class Against Defendants
                   L’Oréal, SoftSheen, Strength of Nature, and Revlon)

               Plaintiff Meadows (“Plaintiff,” for purposes of the Nevada Classes’ claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Nevada

Medical Monitoring Class.

               Through their labeling and advertising, Defendants made representations to

Plaintiff and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

               At all relevant times, Defendants had a duty to provide Plaintiff and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including

warnings of any risks they knew of or should have known of related to using their Toxic Hair

Relaxer Products. Defendants knew or should have known about this duty.

               Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew



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or should have known that their representations about the safety of their Toxic Hair Relaxer

Products were false.

                 Defendants breached their duty in representing that their Toxic Hair Relaxer

Products have no serious side effects when they knew or should have known that their products

did cause serious side effects as described herein.

                 From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiffs or the public. Defendants failed to fulfill their duty to accurately disclose in

their labeling and advertising that the Toxic Hair Relaxer Products contained toxic chemicals.

                 Additionally, Defendants have a duty to not make false representations with respect

to their Toxic Hair Relaxer Products. At all relevant times, Defendants conducted sales and

marketing campaigns to promote the sale of their Toxic Hair Relaxer Products and willfully

deceived Plaintiff and the general public about the health risks and adverse consequences of the

use of such products.

                 Defendants’ misrepresentations included but are not limited to the statements in

labels and marketing that their Toxic Hair Relaxer Products are safe, healthy, protective, and/or

natural, including but not limited to the marketing assertions quoted and displayed in the facts

alleged above.

                 Defendants made such representations and failed to disclose such material facts

with the intent to induce consumers, including Plaintiff and the other Class members, into

purchasing and using their Toxic Hair Relaxer Products.




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               Defendants’ misrepresentations and omissions concealed from Plaintiffs and the

other Class members that Defendants’ Toxic Hair Relaxer Products posed a high risk of

unreasonable, dangerous, health conditions, including but not limited to uterine and ovarian

cancer.

               Plaintiff and the other Class members justifiably relied on Defendants’

misrepresentations and nondisclosures to their detriment. Specifically, Plaintiff and the other Class

members relied on representations that their Toxic Hair Relaxer Products were safe to use as

expected and instructed, when they were not.

               In reliance on the misrepresentations by Defendants, Plaintiff and the other Class

members were induced to purchase and use Defendants’ Toxic Hair Relaxer Products.

               As a direct and proximate result of the foregoing negligent misrepresentations by

Defendants, Plaintiff and the other Class members suffered injuries and damages as alleged herein.

               Defendants’ omission of material facts also induced Plaintiff and the other Class

members into purchasing Defendants’ Toxic Hair Relaxer Products. If Plaintiff and the other Class

members had known of the true facts and the facts concealed by Defendants, Plaintiff and the other

Class members would not have purchased or used Defendants’ Toxic Hair Relaxer Products.

               Because of the severe nature of the harms caused by Defendants’ Toxic Hair

Relaxer Products, no reasonable person would have purchased these products if Defendants have

fully apprised the public of the dangers associated with these products.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiff and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and it indicates a wanton disregard of the rights of

others, justifying an award of punitive or exemplary damages.



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               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiff and the other

Class members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing the serious and potentially fatal Subject Cancers, and

have suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.

               Plaintiff, on behalf of herself and the other Class members, seeks injunctive and

monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring Class

members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiff and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

                         COUNT 107 – NEGLIGENCE PER SE
 (Individually and on behalf of the Nevada Medical Monitoring Class Against Defendants
                   L’Oréal, SoftSheen, Strength of Nature, and Revlon)

               Plaintiff Meadows (“Plaintiff,” for purposes of the Nevada Classes’ claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Nevada

Medical Monitoring Class.

               The Food, Drug, and Cosmetic Act, 21 U.S.C. ch. 9 § 301 et seq., and its

accompanying regulations, are implemented to regulate and promote safety in the design,

manufacturing, marketing, branding, labeling, and sale of food, drugs, and cosmetics, including

Defendants’ Toxic Hair Relaxer Products.




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               Upon information and belief, Defendants’ conduct violated one or more statutes or

related regulations, including but not limited to the following:

                a.      21 U.S.C. § 331;

                b.      21 U.S.C. § 361;

                c.      21 U.S. Code § 362; and

                d.      21 CFR Part 740, including but not limited to 21 CFR § 740.1 and 21 CFR

§ 740.10.

               Plaintiff is currently unadvised of the full extent of the federal or state safety laws

and regulations that Defendants or their agents may have violated but reserve the right to rely on

such safety laws and regulations shown during discovery.

               Defendants’ violation of such safety laws and regulations constitutes negligence

per se.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiff and the other

Class members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing the serious and potentially fatal Subject Cancers, and

have suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.

               Plaintiff, on behalf of herself and the other Class members, seeks injunctive and

monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring Class

members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiff and the other Class members, and/or




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compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

                 COUNT 108 – STRICT LIABILITY: DESIGN DEFECT
(Individually and on Behalf of the Nevada Medical Monitoring Classes Against Defendants
                   L’Oréal, SoftSheen, Strength of Nature, and Revlon)

               Plaintiff Meadows (“Plaintiff,” for purposes of the Nevada Classes’ claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Nevada

Medical Monitoring Class.

               Defendants designed, manufactured, marketed, and sold their Toxic Hair Relaxer

Products that were used by Plaintiff and the other Class members, and Defendants were in the

business of selling their Toxic Hair Relaxer Products.

               Defendants’ Toxic Hair Relaxer Products were in an unsafe, defective, and

unreasonably dangerous condition at the time they left Defendants’ possession because of their

design. In particular, Defendants’ Toxic Hair Relaxer Products were defectively designed because

they caused serious injuries and death, including but not limited to uterine cancer and ovarian

cancer.

               Defendants’ Toxic Hair Relaxer Products are unreasonably dangerous as designed

because they do not perform as safely as ordinary consumers, including Plaintiff and the other

Class members, would expect when used in an intended or reasonably foreseeable manner.

               Defendants’ Toxic Hair Relaxer Products are unreasonably dangerous as designed

because the danger inherent in their design outweighs the benefits of that design.

               Defendants caused their Toxic Hair Relaxer Products to enter the stream of

commerce and to be sold to consumers, including Plaintiff and the other Class members, through



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a variety of channels, including through sales to hair salons for use with their customers as well as

direct sale to consumers through retail stores.

                Defendants’ Toxic Hair Relaxer Products were expected to, and did, reach

consumers, including Plaintiff and the other Class members, without substantial change in the

condition in which those products were manufactured and sold or otherwise released into the

stream of commerce by Defendants.

                Plaintiff and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purposes and in a manner normally intended, recommended, promoted, and

marketed by Defendants.

                Defendants knew or should have known that their products were in a defective

condition as a result of their design, and were unreasonably dangerous when used in an intended

or reasonably foreseeable manner.

                At all times material to Plaintiff’s and the other Class members’ claims, there were

technologically and economically feasible safer alternative designs that would have prevented or

substantially reduced the risk to Plaintiffs and the other Class members without substantially

impairing the utility of Defendants’ Toxic Hair Relaxer Products.

                Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the other Class members was fraudulent, malicious, oppressive, willful,

reckless, and/or grossly negligent, and it indicates a wanton disregard of the rights of others,

justifying an award of punitive or exemplary damages.

                Plaintiff pleads this claim for relief in the broadest sense and seek the full measure

of damages allowed under the applicable governing law, including the common law and, where

and to the extent applicable, all product liability acts, statutes, and laws.



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               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of their Toxic Hair Relaxer Products, Plaintiff and the other Class

members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing serious and potentially fatal Subject Cancers, and have

suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.

               Plaintiff, on behalf of herself and the other Class members, seeks injunctive and

monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring Class

members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers, for Plaintiff and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

               COUNT 109 – STRICT LIABILITY: FAILURE TO WARN
(Individually and on Behalf of the Nevada Medical Monitoring Classes Against Defendants
                   L’Oréal, SoftSheen, Strength of Nature, and Revlon)

               Plaintiff Meadows (“Plaintiff,” for purposes of the Nevada Classes’ claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Nevada

Medical Monitoring Class.

               Defendants designed, manufactured, marketed, and sold their Toxic Hair Relaxer

Products, which were used by Plaintiff and the other Class members, and Defendants were in the

business of selling Toxic Hair Relaxer Products.




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               Defendants’ Toxic Hair Relaxer Products were in an unsafe, defective, and

unreasonably dangerous condition at the time they left Defendants’ possession because they were

not accompanied by adequate warnings.

               In particular, Defendants knew or should have known that their Toxic Hair Relaxer

Products could cause serious injuries and death when used in an intended or reasonably foreseeable

manner, including but not limited to uterine and ovarian cancer. Defendants failed to give

appropriate and adequate warning of such risks. Nor did Defendants warn that the safety of their

Toxic Hair Relaxer Products has not been determined. In fact, Defendants continue to this day to

market and sell their products to consumers without adequate warnings of the risks associated with

their products’ use or the lack of safety determination.

               If Defendants had warned Plaintiff and the other Class members that use of their

Toxic Hair Relaxer Products in an intended or reasonably foreseeable manner would increase their

risk of being seriously injured, including but not limited to developing uterine and ovarian cancer,

and/or that the safety of the Toxic Hair Relaxer Products had not been determined, Plaintiff and

the other Class members would not have used their Toxic Hair Relaxer Products.

               Defendants caused their Toxic Hair Relaxer Products to enter the stream of

commerce and to be sold to consumers, including Plaintiff and the other Class members, through

a variety of channels, including through sales to hair salons for use with their customers and

directly to consumers through retail stores.

               Defendants’ Toxic Hair Relaxer Products were expected to, and did, reach

consumers, including Plaintiff and the other Class members, without substantial change in the

condition in which their Toxic Hair Relaxer Products were manufactured and sold or otherwise

released into the stream of commerce by Defendants.



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               Plaintiff and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purposes and in a manner normally intended, recommended, promoted, and

marketed by Defendants.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiff and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and indicates a wanton disregard of the rights of others,

justifying an award of punitive or exemplary damages.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiff and the other

Class members have been significantly exposed to Toxic Hair Relaxer Products, have sustained a

significantly increased risk of developing serious and potentially fatal Subject Cancers, and have

suffered and will continue to suffer economic losses and expenses associated with medically

necessary medical monitoring.

               Plaintiff, on behalf of herself and the other Class members, seeks injunctive and

monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring Class

members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiff and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

  COUNT 110 – VIOLATIONS OF THE NEVADA DECEPTIVE TRADE PRACTICES
                                          ACT
  (Individually and on Behalf of the Nevada Consumer and Medical Monitoring Classes
         Against Defendants L’Oréal, SoftSheen, Strength of Nature, and Revlon)

               Plaintiff Meadows (“Plaintiff,” for purposes of the Nevada Classes’ claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

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               Plaintiff brings this cause of action individually and on behalf of the Nevada

Consumer and Medical Monitoring Classes.

               Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the Nevada Deceptive Trade Practices Act, Nev. Rev.

Stat. Ann. §§ 598.0903 et seq., when they misled consumers regarding the safety risks associated

with use of their Toxic Hair Relaxer Products. As a direct result of Defendants’ deceptive, unfair,

unconscionable, and fraudulent conduct, Plaintiff and the other Class members suffered and will

continue to suffer economic loss and other compensable injuries.

               Defendants’ deceptive, unfair, unlawful, and unconscionable practices included but

were not limited to the following practices, done knowingly:

         a.     Representing that goods have characteristics, ingredients, uses, or benefits that
                 they do not have;

         b.      Representing that goods are of a particular standard, quality, or grade if they are
                 of another; and

         c.      Advertising goods with the intent not to sell them as advertised.

               Defendants’ actions and failure to act—including their false and misleading

representations and omissions of material facts regarding the safety and potential risks of their

Toxic Hair Relaxer Products, as described above—constitute acts, uses or employment by

Defendants of unconscionable commercial practices, deception, fraud, false pretenses, and

misrepresentations. These actions and omissions further constitute the knowing concealment,

suppression, or omission of material facts, done with the intent that Plaintiff and the other Class

members rely upon such concealment, suppression, or omission of material facts in connection

with the sale of Defendants’ merchandise, in violation of the Nevada Deceptive Trade Practices

Act.


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               Defendants’ unfair and deceptive trade practices have caused injuries to consumers,

and the public will benefit from a cessation of these unlawful actions through this litigation.

               By reason of the unlawful acts engaged in by Defendants, Plaintiff and the other

Class members have suffered ascertainable loss and damages.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiff

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses in the future.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiff and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and Defendants’ conduct indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               Due to the above, Defendants are liable to Plaintiff and the other Class members

for compensatory, as well as exemplary, multiple, and/or punitive damages to the extent available

and as applicable, in amounts to be proven at trial, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.

               Plaintiff did not need to send (additional) notice to Defendants of their violations

of the Nevada Deceptive Trade Practices Act pled in this Complaint because Defendants were

already on notice of the defects alleged herein and of Defendants’ related violations. Defendants

received such notice from similar lawsuits for the same conduct and through other means.

               Plaintiff and the other Class members would not have purchased the Toxic Hair

Relaxer Products, or alternatively they would have paid less for them, had the truth about the toxic



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nature of Defendants’ products been disclosed. Plaintiff, on behalf of herself and the other Class

members, seeks to recover the actual damages they have suffered.

               Further, as a direct and proximate result of each Defendant’s negligent conduct,

Plaintiff and the other Class members have been significantly exposed to Toxic Hair Relaxer

Products, have sustained a significantly increased risk of developing serious and potentially fatal

Subject Cancers, and have suffered and will continue to suffer economic losses and expenses

associated with medically necessary medical monitoring.

               Plaintiff, on behalf of herself and the other Medical Monitoring Class members,

seeks injunctive and monetary relief, including (a) the creation of a fund to finance notifying

Medical Monitoring Class members of their exposure and its potential consequences, and to fund

diagnostic screening, testing, and procedures for the Subject Cancers for Plaintiff and the other

Class members, and/or compensatory damages to fund this necessary medical monitoring; (b)

attorneys’ fees; (c) costs; (d) interest; and (e) such further relief as this Court deems equitable and

just.

                        COUNT 111 – UNJUST ENRICHMENT
 (Individually and on Behalf of the Nevada Consumer Class Against Defendants L’Oréal,
                       SoftSheen, Strength of Nature, and Revlon)

               Plaintiff Meadows (“Plaintiff,” for purposes of the Nevada Classes’ claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Nevada

Consumer Class.

               As a result of Defendants’ wrongful and deceptive conduct, Defendants knowingly

and voluntarily accepted and retained wrongful benefits in the form of money paid by Plaintiff and

the other Class members when they purchased the Toxic Hair Relaxer Products.



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               In so doing, Defendants acted with conscious disregard for the rights of Plaintiff

and the other Class members.

               As an intended and expected result of Defendants’ conscious wrongdoing as set

forth in this Complaint, Defendants have profited and benefited from payments Plaintiff and the

other Class members made for their Toxic Hair Relaxer Products.

               Defendants’ unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein.

               At the time their payments were made, Plaintiff and the other Class members

expected that Defendants’ Toxic Hair Relaxer Products were safe and effective in the ways

Defendants had represented, and could safely be used for the purposes Defendants advertised their

Toxic Hair Relaxer Products. In exchange for their payments, Plaintiff and the other Class

members believed they were receiving a safe method for straightening hair that did not involve the

risk of serious adverse health effects.

               Defendants have voluntarily accepted and retained these payments with full

knowledge that, as a result of their wrongdoing, Plaintiff and the other Class members paid for

Defendants’ Toxic Hair Relaxer Products when they otherwise would not have done so. The failure

of Defendants to provide Plaintiff and the other Class members with the remuneration expected

enriched Defendants unjustly.

               Under the common law doctrine of unjust enrichment, it is inequitable for

Defendants to be permitted to retain the benefits it received, and is still receiving, without

justification, from the false and deceptive labeling and marketing of the Toxic Hair Relaxer

Products to Plaintiff and the other Class members.




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               Defendants’ retention of such funds under circumstances making it inequitable to

do so constitutes unjust enrichment. It is unjust to allow Defendants to earn and retain revenues,

profits, and benefits from their Toxic Hair Relaxer Products while Plaintiff and the other Class

members suffered and are suffering serious illnesses, including but not limited to uterine and

ovarian cancer.

               Plaintiff and the other Class members may assert an unjust enrichment claim even

though a remedy at law may otherwise exist.

               Plaintiff, on behalf of herself and the other Class members, seeks restitution and

disgorgement of Defendants’ wrongful revenues, profits, and benefits to the extent and in the

amount deemed appropriate by the Court, and such other relief as the Court deems just and proper

to remedy Defendants’ unjust enrichment.

                   COUNT 112 – BREACH OF EXPRESS WARRANTY
   (Individually and on Behalf of the Nevada Consumer and Medical Monitoring Classes
          Against Defendants L’Oréal, SoftSheen, Strength of Nature, and Revlon)

               Plaintiff Meadows (“Plaintiff,” for purposes of the Nevada Classes’ claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Nevada

Consumer and Medical Monitoring Classes.

               As detailed above, Defendants, through their written literature, packaging and

labeling, and through their advertisements, expressly warranted that the Toxic Hair Relaxer

Products were safe and fit for the purposes intended, that they were of merchantable quality, and

that they did not pose dangerous health risks.

               Moreover, the Toxic Hair Relaxer Products’ labeling represents that the regular use

of broad spectrum hair straighteners and/or relaxers is “protective,” and that its use can “decrease



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the risk” of skin cancer and early skin aging. Such statements constitute an affirmation of fact or

promise, or a description of the product as being safe and not posing a dangerous health risk.

Defendants breached this express warranty because their Toxic Hair Relaxer Products are not safe.

To the contrary, the Toxic Hair Relaxer Products pose a dangerous health risk because they

increase the risk of uterine and ovarian cancer, as detailed above.

                Plaintiff and the other Class members read and relied on these express warranties

provided by Defendants in the packaging and written advertisements.

                Defendants breached its express warranties under Nev. Rev. Stat. § 104.2313, et

seq. because the Toxic Hair Relaxer Products are defective and not reasonably safe for their

intended use.

                Defendants knew or should have known that the Toxic Hair Relaxer Products did

not conform to their express warranties and representations and that, in fact, the Toxic Hair Relaxer

Products are not safe and pose serious health risks.

                Plaintiff and the other Class members have suffered harm on account of

Defendants’ breach of its express warranty regarding the fitness for use and safety of the Toxic

Hair Relaxer Products. Plaintiff, on behalf of herself and the other Class members, seeks recovery

of actual damages, as well as incidental and consequential damages as a direct and proximate result

of the Toxic Defect, in an amount to be determined at trial.

                As a direct and proximate result of each Defendant’s breach of its express warranty,

Plaintiff and the other Class members have been significantly exposed to Toxic Hair Relaxer

Products, have sustained a significantly increased risk of developing serious and potentially fatal

Subject Cancers, and have suffered and will continue to suffer economic losses and expenses

associated with medically necessary medical monitoring.



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               Plaintiff, on behalf of herself and the Medical Monitoring Class members, seeks

injunctive and monetary relief, including (a) the creation of a fund to finance notifying Medical

Monitoring Class members of their exposure and its potential consequences, and to fund diagnostic

screening, testing, and procedures for the Subject Cancers for Plaintiff and the other Class

members, and/or compensatory damages to fund this necessary medical monitoring; (b) attorneys’

fees; (c) costs; (d) interest; and (e) such further relief as this Court deems equitable and just.

                 COUNT 113 – BREACH OF IMPLIED WARRANTY OF
               MERCHANTABILITY/FITNESS FOR PARTICULAR USE
   (Individually and on Behalf of the Nevada Consumer and Medical Monitoring Classes
          Against Defendants L’Oréal, SoftSheen, Strength of Nature, and Revlon)

               Plaintiff Meadows (“Plaintiff,” for purposes of the Nevada Classes’ claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Nevada

Consumer and Medical Monitoring Classes.

               Defendants are in the business of manufacturing, supplying, marketing, advertising,

warranting, and/or selling hair relaxer products.

               Prior to the time that Plaintiff and the other Class members purchased and/or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew of the uses for which their Toxic Hair

Relaxer Products were intended and impliedly warranted to Plaintiff, and to the other Class

members, that Defendants’ Toxic Hair Relaxer Products were of merchantable quality and safe

and fit for such intended and ordinary uses. Defendants also impliedly warranted to Plaintiff and

the other Class members that their Toxic Hair Relaxer Products were of a certain quality.

               Defendants’ warranties include, but are not limited to, the warranties that their

Toxic Hair Relaxer Products are safe, healthy, protective, and/or natural, including but not limited

to the marketing assertions quoted and displayed in the facts alleged above.

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               Defendants breached the implied warranties of their Toxic Hair Relaxer Products

sold to Plaintiff and the other Class members because they were not fit for their ordinary purposes,

or for their intended and reasonably foreseeable uses. Nor were their Toxic Hair Relaxer Products

minimally safe for their expected purpose.

               Defendants’ Toxic Hair Relaxer Products were neither safe for their intended use

nor of merchantable quality, as warranted by Defendants, because their Toxic Hair Relaxer

Products have dangerous propensities when used as intended and cause severe injuries to users,

including Plaintiff and the other Class members.

               Similarly, Defendants’ Toxic Hair Relaxer Products were unfit for their particular

purpose—safely straightening hair. Defendants’ Toxic Hair Relaxer Products could not, and do

not, safely straighten hair, and never could do so at any point after leaving Defendants’ control.

               Defendants’ Toxic Hair Relaxer Products were unfit for their ordinary use, were

not of merchantable quality, did not conform to the representations made by Defendants, and/or

were unfit for their particular purpose when they left Defendants’ control.

               At the time that Plaintiff and the other Class members purchased or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew or should have known that Plaintiff

and the other Class members would detrimentally rely on Defendants’ misrepresentations

regarding safety.

               Plaintiff and the other Class members purchased or used Defendants’ Toxic Hair

Relaxer Products reasonably relying upon Defendants’ implied warranties.

               Plaintiff and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purpose and in the manner intended by Defendants.




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               Plaintiff and the other Class members could not have discovered, through the use

of reasonable care, that Defendants’ implied warranties were false, or that Defendants’ Toxic Hair

Relaxer Products posed danger to them.

               Plaintiff and the other Class members would not have purchased or used

Defendants’ Toxic Hair Relaxer Products if they had known the truth about the misrepresentations

described above, or that Defendants’ Toxic Hair Relaxer Products were unfit for ordinary use or

their particular purpose.

               Defendants’ conduct described in this Complaint constitutes a breach of implied

warranties under Nev. Rev. Stat. § 104.2314, et seq.

               Defendants’ Toxic Hair Relaxer Products are consumer products, and Plaintiff and

the other Class members are consumers. Defendants are suppliers and/or warrantors of the

defective Toxic Hair Relaxer Products, and Defendants breached their implied warranties as

described above.

               Defendants’ breach of warranties were a substantial factor in causing Plaintiff’s and

the other Class members’ injuries.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiff

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the public was fraudulent, malicious, oppressive, willful, reckless, and/or




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grossly negligent, and it indicates a wanton disregard of the rights of others, justifying an award

of punitive or exemplary damages.

               Plaintiff and the other Class members did not need to send (additional) notice to

Defendants of their breaches of warranty because Defendants were already on notice of the defects

alleged herein and of Defendants’ related violations. Defendants received such notice from similar

lawsuits for the same conduct and through other means.

               Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendants’ breach of their implied warranties, in an amount to be determined at trial.

               As a direct and proximate result of each Defendant’s wrongful conduct, Plaintiff

and the other Class members have been significantly exposed to Toxic Hair Relaxer Products, have

sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers,

and have suffered and will continue to suffer economic losses and expenses associated with

medically necessary medical monitoring.

               Plaintiff, on behalf of herself and the other Class members, seeks injunctive and

monetary relief, including (a) the creation of a fund to finance notifying Medical Monitoring Class

members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiff and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.




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                       COUNT 114 – FRAUDULENT OMISSION
 (Individually and on Behalf of the Nevada Consumer Class Against Defendants L’Oréal,
                       SoftSheen, Strength of Nature, and Revlon)

               Plaintiff Meadows (“Plaintiff,” for purposes of the Nevada Classes’ claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Nevada

Consumer Class.

               Through their labeling and advertising, Defendants made representations to

Plaintiff and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

               At all relevant times, Defendants had a duty to provide Plaintiff and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including

warnings about any risks they knew of, or should have known of, posed by their Toxic Hair Relaxer

Products.

               Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that they had a duty to both learn and disclose the dangers associated with

their Toxic Hair Relaxer Products.

               From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiff or the other Class members. Defendants failed to fulfill their duty to accurately

disclose in their labeling and advertising that the Toxic Hair Relaxer Products contained toxic

chemicals.



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               Defendants failed to disclose such material facts with the intent to induce

consumers, including Plaintiff and the other Class members, into purchasing and using their hair

relaxer products.

               Such failures to disclose on the part of Defendants amount to fraudulent omission.

               Plaintiff and the other Class members justifiably relied on Defendants’

nondisclosures to their detriment.

               In reliance on Defendants’ omissions, Plaintiff and the other Class members were

induced to purchase and use Defendants’ Toxic Hair Relaxer Products. If Plaintiff and the other

Class members had known of the facts concealed by Defendants, including facts revealing the

toxic nature of Defendants’ products, then Plaintiff and the other Class members would not have

purchased or used Defendants’ Toxic Hair Relaxer Products.

               As a direct and proximate result of the foregoing fraudulent omissions by

Defendants, Plaintiff and the other Class members suffered injuries and damages as alleged herein.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiff and the other

Class members suffered serious injury, harm, damages, and economic and non-economic loss.

They will continue to suffer such harm, damages, and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the other Class members was malicious, oppressive, willful, reckless,

and/or grossly negligent, and indicates a wanton disregard of the rights of others, justifying an

award of punitive or exemplary damages.

               Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of



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Defendants’ fraudulent omissions regarding the Toxic Defect, in an amount to be determined at

trial.

               P. New Jersey

     COUNT 115 – VIOLATIONS OF THE NEW JERSEY CONSUMER FRAUD ACT
     (Individually and on Behalf of the New Jersey Consumer Class Against Defendants
                    L’Oréal, SoftSheen, Strength of Nature, and Revlon)

                  Plaintiff Loggins (“Plaintiff,” for purposes of the New Jersey Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

                  Plaintiff brings this cause of action individually and on behalf of the New Jersey

Consumer Class.

                  Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the New Jersey Consumer Fraud Act, N.J. Stat. Ann.

§ 56:8-1 et seq., when they misled consumers regarding the safety risks associated with use of their

Toxic Hair Relaxer Products. As a direct result of Defendants’ deceptive, unfair, unconscionable,

and fraudulent conduct, Plaintiff and the other Class members suffered and will continue to suffer

economic loss and other compensable injuries.

                  Defendants’ deceptive, unfair, unlawful, and unconscionable practices included but

were not limited to the following practices, done knowingly:

          a.      Representing that goods have characteristics, ingredients, uses, or benefits that
                   they do not have;

          b.       Representing that goods are of a particular standard, quality, or grade if they are
                   of another; and

          c.       Advertising goods with the intent not to sell them as advertised.




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               Defendants’ actions and failure to act—including their false and misleading

representations and omissions of material facts regarding the safety and potential risks of their

Toxic Hair Relaxer Products, as described above—constitute acts, uses or employment by

Defendants of unconscionable commercial practices, deception, fraud, false pretenses, and

misrepresentations. These actions and omissions further constitute the knowing concealment,

suppression, or omission of material facts, done with the intent that Plaintiff and the other Class

members rely upon such concealment, suppression, or omission of material facts in connection

with the sale of Defendants’ merchandise, in violation of the New Jersey Consumer Fraud Act.

               Defendants’ unfair and deceptive trade practices have caused injuries to consumers,

and the public will benefit from a cessation of these unlawful actions through this litigation.

               By reason of the unlawful acts engaged in by Defendants, Plaintiff and the other

Class members have suffered ascertainable loss and damages.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiff

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses in the future.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiff and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and Defendants’ conduct indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               Due to the above, Defendants are liable to Plaintiff and the other Class members

for compensatory, as well as exemplary, multiple, and/or punitive damages to the extent available



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and as applicable, in amounts to be proven at trial, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.

               Plaintiff did not need to send (additional) notice to Defendants of their violations

of the New Jersey Consumer Fraud Act pled in this Complaint because Defendants were already

on notice of the defects alleged herein and of Defendants’ related violations. Defendants received

such notice from similar lawsuits for the same conduct and through other means.

               Plaintiff and the other Class members would not have purchased the Toxic Hair

Relaxer Products, or alternatively they would have paid less for them, had the truth about the toxic

nature of Defendants’ products been disclosed. Plaintiff, on behalf of herself and the other Class

members, seeks to recover the actual damages they have suffered.

                         COUNT 116 – UNJUST ENRICHMENT
    (Individually and on Behalf of the New Jersey Consumer Class Against Defendants
                   L’Oréal, SoftSheen, Strength of Nature, and Revlon)

               Plaintiff Loggins (“Plaintiff,” for purposes of the New Jersey Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the New Jersey

Consumer Class.

               As a result of Defendants’ wrongful and deceptive conduct, Defendants knowingly

and voluntarily accepted and retained wrongful benefits in the form of money paid by Plaintiff and

the other Class members when they purchased the Toxic Hair Relaxer Products.

               In so doing, Defendants acted with conscious disregard for the rights of Plaintiff

and the other Class members.




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               As an intended and expected result of Defendants’ conscious wrongdoing as set

forth in this Complaint, Defendants have profited and benefited from payments Plaintiff and the

other Class members made for their Toxic Hair Relaxer Products.

               Defendants’ unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein.

               At the time their payments were made, Plaintiff and the other Class members

expected that Defendants’ Toxic Hair Relaxer Products were safe and effective in the ways

Defendants had represented, and could safely be used for the purposes Defendants advertised their

Toxic Hair Relaxer Products. In exchange for their payments, Plaintiff and the other Class

members believed they were receiving a safe method for straightening hair that did not involve the

risk of serious adverse health effects.

               Defendants have voluntarily accepted and retained these payments with full

knowledge that, as a result of their wrongdoing, Plaintiff and the other Class members paid for

Defendants’ Toxic Hair Relaxer Products when they otherwise would not have done so. The failure

of Defendants to provide Plaintiff and the other Class members with the remuneration expected

enriched Defendants unjustly.

               Under the common law doctrine of unjust enrichment, it is inequitable for

Defendants to be permitted to retain the benefits it received, and is still receiving, without

justification, from the false and deceptive labeling and marketing of the Toxic Hair Relaxer

Products to Plaintiff and the other Class members.

               Defendants’ retention of such funds under circumstances making it inequitable to

do so constitutes unjust enrichment. It is unjust to allow Defendants to earn and retain revenues,

profits, and benefits from their Toxic Hair Relaxer Products while Plaintiff and the other Class



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members suffered and are suffering serious illnesses, including but not limited to uterine and

ovarian cancer.

               Plaintiff and the other Class members may assert an unjust enrichment claim even

though a remedy at law may otherwise exist.

               Plaintiff, on behalf of herself and the other Class members, seeks restitution and

disgorgement of Defendants’ wrongful revenues, profits, and benefits to the extent and in the

amount deemed appropriate by the Court, and such other relief as the Court deems just and proper

to remedy Defendants’ unjust enrichment.

                  COUNT 117 – BREACH OF EXPRESS WARRANTY
    (Individually and on Behalf of the New Jersey Consumer Class Against Defendants
                   L’Oréal, SoftSheen, Strength of Nature, and Revlon)

               Plaintiff Loggins (“Plaintiff,” for purposes of the New Jersey Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the New Jersey

Consumer Class.

               As detailed above, Defendants, through their written literature, packaging and

labeling, and through their advertisements, expressly warranted that the Toxic Hair Relaxer

Products were safe and fit for the purposes intended, that they were of merchantable quality, and

that they did not pose dangerous health risks.

               Moreover, the Toxic Hair Relaxer Products’ labeling represents that the regular use

of broad spectrum hair straighteners and/or relaxers is “protective,” and that its use can “decrease

the risk” of skin cancer and early skin aging. Such statements constitute an affirmation of fact or

promise, or a description of the product as being safe and not posing a dangerous health risk.



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Defendants breached this express warranty because their Toxic Hair Relaxer Products are not safe.

To the contrary, the Toxic Hair Relaxer Products pose a dangerous health risk because they

increase the risk of uterine and ovarian cancer, as detailed above.

                Plaintiff and the other Class members read and relied on these express warranties

provided by Defendants in the packaging and written advertisements.

                Defendants breached its express warranties under N.J. Stat. § 12A:2-313, et seq.

because the Toxic Hair Relaxer Products are defective and not reasonably safe for their intended

use.

                Defendants knew or should have known that the Toxic Hair Relaxer Products did

not conform to their express warranties and representations and that, in fact, the Toxic Hair Relaxer

Products are not safe and pose serious health risks.

                Plaintiff and the other Class members have suffered harm on account of

Defendants’ breach of its express warranty regarding the fitness for use and safety of the Toxic

Hair Relaxer Products. Plaintiff, on behalf of herself and the other Class members, seeks recovery

of actual damages, as well as incidental and consequential damages as a direct and proximate result

of the Toxic Defect, in an amount to be determined at trial.

                   COUNT 118 – BREACH OF IMPLIED WARRANTY OF
                 MERCHANTABILITY/FITNESS FOR PARTICULAR USE
       (Individually and on Behalf of the New Jersey Consumer Class Against Defendants
                      L’Oréal, SoftSheen, Strength of Nature, and Revlon)

                Plaintiff Loggins (“Plaintiff,” for purposes of the New Jersey Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

                Plaintiff brings this cause of action individually and on behalf of the New Jersey

Consumer Class.

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               Defendants are in the business of manufacturing, supplying, marketing, advertising,

warranting, and/or selling hair relaxer products.

               Prior to the time that Plaintiff and the other Class members purchased and/or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew of the uses for which their Toxic Hair

Relaxer Products were intended and impliedly warranted to Plaintiff, and to the other Class

members, that Defendants’ Toxic Hair Relaxer Products were of merchantable quality and safe

and fit for such intended and ordinary uses. Defendants also impliedly warranted to Plaintiff and

the other Class members that their Toxic Hair Relaxer Products were of a certain quality.

               Defendants’ warranties include, but are not limited to, the warranties that their

Toxic Hair Relaxer Products are safe, healthy, protective, and/or natural, including but not limited

to the marketing assertions quoted and displayed in the facts alleged above.

               Defendants breached the implied warranties of their Toxic Hair Relaxer Products

sold to Plaintiff and the other Class members because they were not fit for their ordinary purposes,

or for their intended and reasonably foreseeable uses. Nor were their Toxic Hair Relaxer Products

minimally safe for their expected purpose.

               Defendants’ Toxic Hair Relaxer Products were neither safe for their intended use

nor of merchantable quality, as warranted by Defendants, because their Toxic Hair Relaxer

Products have dangerous propensities when used as intended and cause severe injuries to users,

including Plaintiff and the other Class members.

               Similarly, Defendants’ Toxic Hair Relaxer Products were unfit for their particular

purpose—safely straightening hair. Defendants’ Toxic Hair Relaxer Products could not, and do

not, safely straighten hair, and never could do so at any point after leaving Defendants’ control.




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               Defendants’ Toxic Hair Relaxer Products were unfit for their ordinary use, were

not of merchantable quality, did not conform to the representations made by Defendants, and/or

were unfit for their particular purpose when they left Defendants’ control.

               At the time that Plaintiff and the other Class members purchased or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew or should have known that Plaintiff

and the other Class members would detrimentally rely on Defendants’ misrepresentations

regarding safety.

               Plaintiff and the other Class members purchased or used Defendants’ Toxic Hair

Relaxer Products reasonably relying upon Defendants’ implied warranties.

               Plaintiff and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purpose and in the manner intended by Defendants.

               Plaintiff and the other Class members could not have discovered, through the use

of reasonable care, that Defendants’ implied warranties were false, or that Defendants’ Toxic Hair

Relaxer Products posed danger to them.

               Plaintiff and the other Class members would not have purchased or used

Defendants’ Toxic Hair Relaxer Products if they had known the truth about the misrepresentations

described above, or that Defendants’ Toxic Hair Relaxer Products were unfit for ordinary use or

their particular purpose.

               Defendants’ conduct described in this Complaint constitutes a breach of implied

warranties under N.J. Stat. § 12A:2-314, et seq.

               Defendants’ Toxic Hair Relaxer Products are consumer products, and Plaintiff and

the other Class members are consumers. Defendants are suppliers and/or warrantors of the




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defective Toxic Hair Relaxer Products, and Defendants breached their implied warranties as

described above.

               Defendants’ breach of warranties were a substantial factor in causing Plaintiff’s and

the other Class members’ injuries.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiff

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and it indicates a wanton disregard of the rights of others, justifying an award

of punitive or exemplary damages.

               Plaintiff and the other Class members did not need to send (additional) notice to

Defendants of their breaches of warranty because Defendants were already on notice of the defects

alleged herein and of Defendants’ related violations. Defendants received such notice from similar

lawsuits for the same conduct and through other means.

               Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendants’ breach of their implied warranties, in an amount to be determined at trial.




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                       COUNT 119 – FRAUDULENT OMISSION
    (Individually and on Behalf of the New Jersey Consumer Class Against Defendants
                   L’Oréal, SoftSheen, Strength of Nature, and Revlon)

               Plaintiff Loggins (“Plaintiff,” for purposes of the New Jersey Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the New Jersey

Consumer Class.

               Through their labeling and advertising, Defendants made representations to

Plaintiff and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

               At all relevant times, Defendants had a duty to provide Plaintiff and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including

warnings about any risks they knew of, or should have known of, posed by their Toxic Hair Relaxer

Products.

               Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that they had a duty to both learn and disclose the dangers associated with

their Toxic Hair Relaxer Products.

               From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiff or the other Class members. Defendants failed to fulfill their duty to accurately




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disclose in their labeling and advertising that the Toxic Hair Relaxer Products contained toxic

chemicals.

               Defendants failed to disclose such material facts with the intent to induce

consumers, including Plaintiff and the other Class members, into purchasing and using their hair

relaxer products.

               Such failures to disclose on the part of Defendants amount to fraudulent omission.

               Plaintiff and the other Class members justifiably relied on Defendants’

nondisclosures to their detriment.

               In reliance on Defendants’ omissions, Plaintiff and the other Class members were

induced to purchase and use Defendants’ Toxic Hair Relaxer Products. If Plaintiff and the other

Class members had known of the facts concealed by Defendants, including facts revealing the

toxic nature of Defendants’ products, then Plaintiff and the other Class members would not have

purchased or used Defendants’ Toxic Hair Relaxer Products.

               As a direct and proximate result of the foregoing fraudulent omissions by

Defendants, Plaintiff and the other Class members suffered injuries and damages as alleged herein.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiff and the other

Class members suffered serious injury, harm, damages, and economic and non-economic loss.

They will continue to suffer such harm, damages, and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the other Class members was malicious, oppressive, willful, reckless,

and/or grossly negligent, and indicates a wanton disregard of the rights of others, justifying an

award of punitive or exemplary damages.



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               Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendants’ fraudulent omissions regarding the Toxic Defect, in an amount to be determined at

trial.

           Q. Pennsylvania

                        COUNT 120 – MEDICAL MONITORING
    (Individually and on Behalf of the Pennsylvania Medical Monitoring Class Against
   Defendants L’Oréal, SoftSheen, Strength of Nature, Namaste, Dabur, Revlon, JF Labs,
                                    Avlon, and Luster)

               Plaintiffs Hines, Lane, Lawes, Martinez, and Richardson (“Plaintiffs,” for purposes

of the Pennsylvania Medical Monitoring Class’s claims) incorporate by reference and reallege

paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiffs bring this cause of action individually and on behalf of the Pennsylvania

Medical Monitoring Class.

               Through their misrepresentations and omissions, Defendants deceived Plaintiffs

and the other Class members about the presence of toxic chemicals, which are harmful to women’s

health, in their Toxic Hair Relaxer Products. Through their deception, Defendants succeeded in

persuading large segments of the relevant consumer market to purchase Defendants’ Toxic Hair

Relaxer Products despite the presence of significant dangers, as set forth herein.

               Defendants had a pre-marketing, post-manufacturing, and continuing duty to warn,

which arose when Defendants knew, or with reasonable care should have known, that Defendants’

Toxic Hair Relaxer Products were injurious or fatal.

               Defendants omitted, suppressed, or concealed material facts concerning the dangers

and risks associated with the use of Defendants’ Toxic Hair Relaxer Products, including the risks

of death, disease, and other health problems associated with the use of Defendant’s Toxic Hair

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Relaxer Products. Defendants failed to disclose that their Toxic Hair Relaxer Products contained

toxic chemicals, and Defendants downplayed and/or understated the serious nature of the risks

associated with the use of Defendants’ Toxic Hair Relaxer Products. Instead, Defendants

encouraged the use of their Toxic Hair Relaxer Products despite knowledge of the dangerous side

effects that these products present to the consuming population.

               Defendants falsely and deceptively misrepresented, or knowingly omitted,

suppressed, and concealed material facts regarding the ingredients contained within Defendants’

Toxic Hair Relaxer Products, as well as the risk posed by those ingredients to the public.

               Had Plaintiffs and the other Class members known that Defendants’ Toxic Hair

Relaxer Products contained dangerous ingredients and/or that those ingredients could cause serious

life-threatening injuries, none of them would have purchased Defendants’ Toxic Hair Relaxer

Products.

               Defendants knew or should have known, and would have known had appropriate

testing been done, that the use of Defendants’ Toxic Hair Relaxer Products caused the serious and

potentially life-threatening adverse health consequences as described herein, including uterine and

ovarian cancer.

               Defendants’ actions, as set forth herein, constitute knowing omission, suppression

or concealment of material facts, made with the intent that others will rely upon such concealment,

suppression or omission, in connection with the marketing of Defendants’ Toxic Hair Relaxer

Products.

               Plaintiffs and the other Class members have used Defendants’ Toxic Hair Relaxer

Products at least four times—an amount sufficient to significantly increase the risk of and cause

the Subject Cancers.



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               As a proximate result of consuming Defendants’ Toxic Hair Relaxer Products,

Plaintiffs and the other Class members have been significantly exposed to Toxic Hair Relaxer

Products, have sustained a significantly increased risk of developing the serious and potentially

fatal Subject Cancers, and have suffered and will continue to suffer economic losses and expenses

associated with medically necessary medical monitoring.

               As a direct and proximate result of Defendants’ tortious conduct, it is reasonably

medically necessary for Plaintiffs and the other Class members to incur, both now and in the future,

the cost of monitoring, diagnostic testing, clinical examinations, and consultations for the early

detection of the Subject Cancers.

               As a direct and proximate result of Defendants’ tortious and unlawful conduct,

Plaintiffs and the other Class members have suffered and will suffer economic losses and expenses

associated with ongoing medical monitoring.

               The increased susceptibility to injuries and irreparable threat to the health of

Plaintiffs and the other Class members resulting from their exposure to this hazardous substance

can only be mitigated or redressed by medical monitoring for the Subject Cancers, which is

necessary as a result of the use of Defendants’ Toxic Hair Relaxer Products.

               Early detection and diagnosis of cancer is clinically invaluable because it can

prevent, reduce, and/or significantly delay the resulting discomfort, suffering, and/or death.

Medical monitoring is crucial to early detection because these conditions are often asymptomatic

and, therefore, can only be discovered through proper testing.

               There are means to detect the Subject Cancers, caused by the use of Defendants’

Toxic Hair Relaxer Products, at an early stage, such that subsequent treatment would have a higher




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chance of success at prolonging life and/or reducing suffering than would exist without early

detection.

               Such medical monitoring procedures must be prescribed by a qualified physician

and may include but are not limited to certain blood and laboratory tests; physical examinations;

imaging (as discussed below); biopsies of the reproductive organs (uterus, ovary) and accessory

organs; and other medical consultations and procedures necessary for diagnosis.

               Specific tests and procedures used to diagnose the Subject Cancers to be included

in a medical monitoring program may include but are not limited to Pap smears; blood tests,

including CA 125 antigen testing; genetic testing; abdominal ultrasounds; pelvic examinations;

CT scans; and transvaginal ultrasounds.

               The available monitoring regime is specific for individuals exposed to products that

are known to significantly increase the risk of the Subject Cancers because of using Toxic Hair

Relaxer Products. That is because the monitoring regime is different as between women who were

not exposed to the Toxic Hair Relaxer Products, versus Plaintiffs and the other Class members

who are at significantly increased risk of the Subject Cancers by virtue of their exposure to

Defendants’ Toxic Hair Relaxer Products. Such differences include the types, timing, frequency,

and/or scope of screening and diagnostic examinations that would be recommended for women at

this significantly increased risk. The monitoring regime is conducted and analyzed by medical

practitioners skilled in the respective medical areas.

               These monitoring procedures conform to the standard of medical care and are

reasonably medically necessary to ensure that the Subject Cancers can be identified early and

appropriately treated. Said monitoring procedures will facilitate treatment and interventions that

will mitigate the development of, and health effects associated with, the Subject Cancers, which



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may in turn increase Plaintiffs’ and the other Class members’ chances of survival. The present

value of the costs of such tests is calculable.

               Plaintiffs’ and the other Class members’ significantly increased risk of the Subject

Cancers, caused by their exposure to Defendants’ Toxic Hair Relaxer Products, can only be

mitigated or addressed by appropriate medical testing.

               Plaintiffs, on behalf of themselves and the other Class members, seek injunctive

and monetary relief, including (a) the creation of a fund to finance notifying Plaintiffs and the other

Class members of their exposure and its potential consequences, and to fund diagnostic screening,

testing, and procedures for the Subject Cancers for Plaintiffs and the other Class members, and/or

compensatory damages to fund this necessary medical monitoring; (b) attorneys’ fees; (c) costs;

(d) interest; and (e) such further relief as this Court deems equitable and just.

COUNT 121 – VIOLATIONS OF THE PENNSYLVANIA UNFAIR TRADE PRACTICES
                       AND CONSUMER PROTECTION LAW
  (Individually and on Behalf of the Pennsylvania Consumer Class Against Defendants
  L’Oréal, SoftSheen, Strength of Nature, Namaste, Dabur, JF Labs, McBride, Avlon,
                                   Revlon, and Luster)

               Plaintiffs Guillory, Hines, Lane, Lawes, Martinez, and Richardson (“Plaintiffs,” for

purposes of the Pennsylvania Consumer Class’s claims) incorporate by reference and reallege

paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiffs bring this cause of action individually and on behalf of the Pennsylvania

Consumer Class.

               Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the Pennsylvania Unfair Trade Practices and Consumer

Protection Law, 73 Pa. Cons. Stat. § 201-1 et seq., when they misled consumers regarding the

safety risks associated with use of their Toxic Hair Relaxer Products. As a direct result of



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Defendants’ deceptive, unfair, unconscionable, and fraudulent conduct, Plaintiffs and the other

Class members suffered and will continue to suffer economic loss and other compensable injuries.

               Defendants’ deceptive, unfair, unlawful, and unconscionable practices included but

were not limited to the following practices, done knowingly:

         a.     Representing that goods have characteristics, ingredients, uses, or benefits that
                 they do not have;

         b.      Representing that goods are of a particular standard, quality, or grade if they are
                 of another; and

         c.      Advertising goods with the intent not to sell them as advertised.

               Defendants’ actions and failure to act—including their false and misleading

representations and omissions of material facts regarding the safety and potential risks of their

Toxic Hair Relaxer Products, as described above—constitute acts, uses or employment by

Defendants of unconscionable commercial practices, deception, fraud, false pretenses, and

misrepresentations. These actions and omissions further constitute the knowing concealment,

suppression, or omission of material facts, done with the intent that Plaintiffs and the other Class

members rely upon such concealment, suppression, or omission of material facts in connection

with the sale of Defendants’ merchandise, in violation of the Pennsylvania Unfair Trade Practices

and Consumer Protection Law.

               Defendants’ unfair and deceptive trade practices have caused injuries to consumers,

and the public will benefit from a cessation of these unlawful actions through this litigation.

               By reason of the unlawful acts engaged in by Defendants, Plaintiffs and the other

Class members have suffered ascertainable loss and damages.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,


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sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiffs

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses in the future.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiffs and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and Defendants’ conduct indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               Due to the above, Defendants are liable to Plaintiffs and the other Class members

for compensatory, as well as exemplary, multiple, and/or punitive damages to the extent available

and as applicable, in amounts to be proven at trial, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.

               Plaintiffs did not need to send (additional) notice to Defendants of their violations

of the Pennsylvania Unfair Trade Practices and Consumer Protection Law pled in this Complaint

because Defendants were already on notice of the defects alleged herein and of Defendants’ related

violations. Defendants received such notice from similar lawsuits for the same conduct and

through other means.

               Plaintiffs and the other Class members would not have purchased the Toxic Hair

Relaxer Products, or alternatively they would have paid less for them, had the truth about the toxic

nature of Defendants’ products been disclosed. Plaintiffs, on behalf of themselves and the other

Class members, seek to recover the actual damages they have suffered.




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                         COUNT 122 – UNJUST ENRICHMENT
   (Individually and on Behalf of the Pennsylvania Consumer Class Against Defendants
   L’Oréal, SoftSheen, Strength of Nature, Namaste, Dabur, JF Labs, McBride, Avlon,
                                    Revlon, and Luster)

               Plaintiffs Guillory, Hines, Lane, Lawes, Martinez, and Richardson (“Plaintiffs,” for

purposes of the Pennsylvania Consumer Class’s claims) incorporate by reference and reallege

paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiffs bring this cause of action individually and on behalf of the Pennsylvania

Consumer Class.

               As a result of Defendants’ wrongful and deceptive conduct, Defendants knowingly

and voluntarily accepted and retained wrongful benefits in the form of money paid by Plaintiffs

and the other Class members when they purchased the Toxic Hair Relaxer Products.

               In so doing, Defendants acted with conscious disregard for the rights of Plaintiffs

and the other Class members.

               As an intended and expected result of Defendants’ conscious wrongdoing as set

forth in this Complaint, Defendants have profited and benefited from payments Plaintiffs and the

other Class members made for their Toxic Hair Relaxer Products.

               Defendants’ unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein.

               At the time their payments were made, Plaintiffs and the other Class members

expected that Defendants’ Toxic Hair Relaxer Products were safe and effective in the ways

Defendants had represented, and could safely be used for the purposes Defendants advertised their

Toxic Hair Relaxer Products. In exchange for their payments, Plaintiffs and the other Class

members believed they were receiving a safe method for straightening hair that did not involve the

risk of serious adverse health effects.

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               Defendants have voluntarily accepted and retained these payments with full

knowledge that, as a result of their wrongdoing, Plaintiffs and the other Class members paid for

Defendants’ Toxic Hair Relaxer Products when they otherwise would not have done so. The failure

of Defendants to provide Plaintiffs and the other Class members with the remuneration expected

enriched Defendants unjustly.

               Under the common law doctrine of unjust enrichment, it is inequitable for

Defendants to be permitted to retain the benefits it received, and is still receiving, without

justification, from the false and deceptive labeling and marketing of the Toxic Hair Relaxer

Products to Plaintiffs and the other Class members.

               Defendants’ retention of such funds under circumstances making it inequitable to

do so constitutes unjust enrichment. It is unjust to allow Defendants to earn and retain revenues,

profits, and benefits from their Toxic Hair Relaxer Products while Plaintiffs and the other Class

members suffered and are suffering serious illnesses, including but not limited to uterine and

ovarian cancer.

               Plaintiffs and the other Class members may assert an unjust enrichment claim even

though a remedy at law may otherwise exist.

               Plaintiffs, on behalf of themselves and the other Class members, seek restitution

and disgorgement of Defendants’ wrongful revenues, profits, and benefits to the extent and in the

amount deemed appropriate by the Court, and such other relief as the Court deems just and proper

to remedy Defendants’ unjust enrichment.




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                  COUNT 123 – BREACH OF EXPRESS WARRANTY
   (Individually and on Behalf of the Pennsylvania Consumer Class Against Defendants
   L’Oréal, SoftSheen, Strength of Nature, Namaste, Dabur, JF Labs, McBride, Avlon,
                                    Revlon, and Luster)

               Plaintiffs Guillory, Hines, Lane, Lawes, Martinez, and Richardson (“Plaintiffs,” for

purposes of the Pennsylvania Consumer Class’s claims) incorporate by reference and reallege

paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiffs bring this cause of action individually and on behalf of the Pennsylvania

Consumer Class.

               As detailed above, Defendants, through their written literature, packaging and

labeling, and through their advertisements, expressly warranted that the Toxic Hair Relaxer

Products were safe and fit for the purposes intended, that they were of merchantable quality, and

that they did not pose dangerous health risks.

               Moreover, the Toxic Hair Relaxer Products’ labeling represents that the regular use

of broad spectrum hair straighteners and/or relaxers is “protective,” and that its use can “decrease

the risk” of skin cancer and early skin aging. Such statements constitute an affirmation of fact or

promise, or a description of the product as being safe and not posing a dangerous health risk.

Defendants breached this express warranty because their Toxic Hair Relaxer Products are not safe.

To the contrary, the Toxic Hair Relaxer Products pose a dangerous health risk because they

increase the risk of uterine and ovarian cancer, as detailed above.

               Plaintiffs and the other Class members read and relied on these express warranties

provided by Defendants in the packaging and written advertisements.

               Defendants breached its express warranties under 13 Pa. Cons. Stat. § 2313, et seq.

because the Toxic Hair Relaxer Products are defective and not reasonably safe for their intended

use.

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               Defendants knew or should have known that the Toxic Hair Relaxer Products did

not conform to their express warranties and representations and that, in fact, the Toxic Hair Relaxer

Products are not safe and pose serious health risks.

               Plaintiffs and the other Class members have suffered harm on account of

Defendants’ breach of its express warranty regarding the fitness for use and safety of the Toxic

Hair Relaxer Products. Plaintiffs, on behalf of themselves and the other Class members, seek

recovery of actual damages, as well as incidental and consequential damages as a direct and

proximate result of the Toxic Defect, in an amount to be determined at trial.

                COUNT 124 – BREACH OF IMPLIED WARRANTY OF
               MERCHANTABILITY/FITNESS FOR PARTICULAR USE
   (Individually and on Behalf of the Pennsylvania Consumer Class Against Defendants
   L’Oréal, SoftSheen, Strength of Nature, Namaste, Dabur, JF Labs, McBride, Avlon,
                                    Revlon, and Luster)

               Plaintiffs Guillory, Hines, Lane, Lawes, Martinez, and Richardson (“Plaintiffs,” for

purposes of the Pennsylvania Consumer Class’s claims) incorporate by reference and reallege

paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiffs bring this cause of action individually and on behalf of the Pennsylvania

Consumer Class.

               Defendants are in the business of manufacturing, supplying, marketing, advertising,

warranting, and/or selling hair relaxer products.

               Prior to the time that Plaintiffs and the other Class members purchased and/or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew of the uses for which their Toxic Hair

Relaxer Products were intended and impliedly warranted to Plaintiffs, and to the other Class

members, that Defendants’ Toxic Hair Relaxer Products were of merchantable quality and safe




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and fit for such intended and ordinary uses. Defendants also impliedly warranted to Plaintiffs and

the other Class members that their Toxic Hair Relaxer Products were of a certain quality.

               Defendants’ warranties include, but are not limited to, the warranties that their

Toxic Hair Relaxer Products are safe, healthy, protective, and/or natural, including but not limited

to the marketing assertions quoted and displayed in the facts alleged above.

               Defendants breached the implied warranties of their Toxic Hair Relaxer Products

sold to Plaintiffs and the other Class members because they were not fit for their ordinary purposes,

or for their intended and reasonably foreseeable uses. Nor were their Toxic Hair Relaxer Products

minimally safe for their expected purpose.

               Defendants’ Toxic Hair Relaxer Products were neither safe for their intended use

nor of merchantable quality, as warranted by Defendants, because their Toxic Hair Relaxer

Products have dangerous propensities when used as intended and cause severe injuries to users,

including Plaintiffs and the other Class members.

               Similarly, Defendants’ Toxic Hair Relaxer Products were unfit for their particular

purpose—safely straightening hair. Defendants’ Toxic Hair Relaxer Products could not, and do

not, safely straighten hair, and never could do so at any point after leaving Defendants’ control.

               Defendants’ Toxic Hair Relaxer Products were unfit for their ordinary use, were

not of merchantable quality, did not conform to the representations made by Defendants, and/or

were unfit for their particular purpose when they left Defendants’ control.

               At the time that Plaintiffs and the other Class members purchased or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew or should have known that Plaintiffs

and the other Class members would detrimentally rely on Defendants’ misrepresentations

regarding safety.



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               Plaintiffs and the other Class members purchased or used Defendants’ Toxic Hair

Relaxer Products reasonably relying upon Defendants’ implied warranties.

               Plaintiffs and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purpose and in the manner intended by Defendants.

               Plaintiffs and the other Class members could not have discovered, through the use

of reasonable care, that Defendants’ implied warranties were false, or that Defendants’ Toxic Hair

Relaxer Products posed danger to them.

               Plaintiffs and the other Class members would not have purchased or used

Defendants’ Toxic Hair Relaxer Products if they had known the truth about the misrepresentations

described above, or that Defendants’ Toxic Hair Relaxer Products were unfit for ordinary use or

their particular purpose.

               Defendants’ conduct described in this Complaint constitutes a breach of implied

warranties under 13 Pa. Cons. Stat. § 2314, et seq.

               Defendants’ Toxic Hair Relaxer Products are consumer products, and Plaintiffs and

the other Class members are consumers. Defendants are suppliers and/or warrantors of the

defective Toxic Hair Relaxer Products, and Defendants breached their implied warranties as

described above.

               Defendants’ breach of warranties were a substantial factor in causing Plaintiffs’ and

the other Class members’ injuries.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiffs




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and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiffs and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and it indicates a wanton disregard of the rights of others, justifying an award

of punitive or exemplary damages.

               Plaintiffs and the other Class members did not need to send (additional) notice to

Defendants of their breaches of warranty because Defendants were already on notice of the defects

alleged herein and of Defendants’ related violations. Defendants received such notice from similar

lawsuits for the same conduct and through other means.

               Plaintiffs, on behalf of themselves and the other Class members, seek recovery of

actual damages, as well as incidental and consequential damages, as a direct and proximate result

of Defendants’ breach of their implied warranties, in an amount to be determined at trial.

                       COUNT 125 – FRAUDULENT OMISSION
   (Individually and on Behalf of the Pennsylvania Consumer Class Against Defendants
   L’Oréal, SoftSheen, Strength of Nature, Namaste, Dabur, JF Labs, McBride, Avlon,
                                    Revlon, and Luster)

               Plaintiffs Guillory, Hines, Lane, Lawes, Martinez, and Richardson (“Plaintiffs,” for

purposes of the Pennsylvania Consumer Class’s claims) incorporate by reference and reallege

paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiffs bring this cause of action individually and on behalf of the Pennsylvania

Consumer Class.

               Through their labeling and advertising, Defendants made representations to

Plaintiffs and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

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               At all relevant times, Defendants had a duty to provide Plaintiffs and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including

warnings about any risks they knew of, or should have known of, posed by their Toxic Hair Relaxer

Products.

               Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that they had a duty to both learn and disclose the dangers associated with

their Toxic Hair Relaxer Products.

               From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiffs or the other Class members. Defendants failed to fulfill their duty to

accurately disclose in their labeling and advertising that the Toxic Hair Relaxer Products contained

toxic chemicals.

               Defendants failed to disclose such material facts with the intent to induce

consumers, including Plaintiffs and the other Class members, into purchasing and using their hair

relaxer products.

               Such failures to disclose on the part of Defendants amount to fraudulent omission.

               Plaintiffs and the other Class members justifiably relied on Defendants’

nondisclosures to their detriment.

               In reliance on Defendants’ omissions, Plaintiffs and the other Class members were

induced to purchase and use Defendants’ Toxic Hair Relaxer Products. If Plaintiffs and the other

Class members had known of the facts concealed by Defendants, including facts revealing the



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toxic nature of Defendants’ products, then Plaintiffs and the other Class members would not have

purchased or used Defendants’ Toxic Hair Relaxer Products.

               As a direct and proximate result of the foregoing fraudulent omissions by

Defendants, Plaintiffs and the other Class members suffered injuries and damages as alleged

herein.

               As a direct and proximate result of Plaintiffs’ and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiffs and the other

Class members suffered serious injury, harm, damages, and economic and non-economic loss.

They will continue to suffer such harm, damages, and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiffs and the other Class members was malicious, oppressive, willful, reckless,

and/or grossly negligent, and indicates a wanton disregard of the rights of others, justifying an

award of punitive or exemplary damages.

               Plaintiffs, on behalf of themselves and the other Class members, seek recovery of

actual damages, as well as incidental and consequential damages, as a direct and proximate result

of Defendants’ fraudulent omissions regarding the Toxic Defect, in an amount to be determined at

trial.

           R. Tennessee

 COUNT 126 – VIOLATIONS OF THE TENNESSEE CONSUMER PROTECTION ACT
(Individually and on Behalf of the Tennessee Consumer Class Against Defendants L’Oréal,
                       SoftSheen, Revlon, and Strength of Nature)

               Plaintiff Edwards (“Plaintiff,” for purposes of the Tennessee Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.



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               Plaintiff brings this cause of action individually and on behalf of the Tennessee

Consumer Class.

               Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the Tennessee Consumer Protection Act, Tenn. Code

Ann. § 47-18-101 et seq., when they misled consumers regarding the safety risks associated with

use of their Toxic Hair Relaxer Products. As a direct result of Defendants’ deceptive, unfair,

unconscionable, and fraudulent conduct, Plaintiff and the other Class members suffered and will

continue to suffer economic loss and other compensable injuries.

               Defendants’ deceptive, unfair, unlawful, and unconscionable practices included but

were not limited to the following practices, done knowingly:

         g.     Representing that goods have characteristics, ingredients, uses, or benefits that
                 they do not have;

         h.      Representing that goods are of a particular standard, quality, or grade if they are
                 of another; and

         i.      Advertising goods with the intent not to sell them as advertised.

               Defendants’ actions and failure to act—including their false and misleading

representations and omissions of material facts regarding the safety and potential risks of their

Toxic Hair Relaxer Products, as described above—constitute acts, uses or employment by

Defendants of unconscionable commercial practices, deception, fraud, false pretenses, and

misrepresentations. These actions and omissions further constitute the knowing concealment,

suppression, or omission of material facts, done with the intent that Plaintiff and the other Class

members rely upon such concealment, suppression, or omission of material facts in connection

with the sale of Defendants’ merchandise, in violation of the Tennessee Consumer Protection Act.




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               Defendants’ unfair and deceptive trade practices have caused injuries to consumers,

and the public will benefit from a cessation of these unlawful actions through this litigation.

               By reason of the unlawful acts engaged in by Defendants, Plaintiff and the other

Class members have suffered ascertainable loss and damages.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiff

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses in the future.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiff and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and Defendants’ conduct indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               Due to the above, Defendants are liable to Plaintiff and the other Class members

for compensatory, as well as exemplary, multiple, and/or punitive damages to the extent available

and as applicable, in amounts to be proven at trial, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.

               Plaintiff did not need to send (additional) notice to Defendants of their violations

of the Tennessee Consumer Protection Act pled in this Complaint because Defendants were

already on notice of the defects alleged herein and of Defendants’ related violations. Defendants

received such notice from similar lawsuits for the same conduct and through other means.

               Plaintiff and the other Class members would not have purchased the Toxic Hair

Relaxer Products, or alternatively they would have paid less for them, had the truth about the toxic



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nature of Defendants’ products been disclosed. Plaintiff, on behalf of herself and the other Class

members, seeks to recover the actual damages they have suffered.

                        COUNT 127 – UNJUST ENRICHMENT
(Individually and on Behalf of the Tennessee Consumer Class Against Defendants L’Oréal,
                       SoftSheen, Revlon, and Strength of Nature)

               Plaintiff Edwards (“Plaintiff,” for purposes of the Tennessee Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the Tennessee

Consumer Class.

               As a result of Defendants’ wrongful and deceptive conduct, Defendants knowingly

and voluntarily accepted and retained wrongful benefits in the form of money paid by Plaintiff and

the other Class members when they purchased the Toxic Hair Relaxer Products.

               In so doing, Defendants acted with conscious disregard for the rights of Plaintiff

and the other Class members.

               As an intended and expected result of Defendants’ conscious wrongdoing as set

forth in this Complaint, Defendants have profited and benefited from payments Plaintiff and the

other Class members made for their Toxic Hair Relaxer Products.

               Defendants’ unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein.

               At the time their payments were made, Plaintiff and the other Class members

expected that Defendants’ Toxic Hair Relaxer Products were safe and effective in the ways

Defendants had represented, and could safely be used for the purposes Defendants advertised their

Toxic Hair Relaxer Products. In exchange for their payments, Plaintiff and the other Class



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members believed they were receiving a safe method for straightening hair that did not involve the

risk of serious adverse health effects.

               Defendants have voluntarily accepted and retained these payments with full

knowledge that, as a result of their wrongdoing, Plaintiff and the other Class members paid for

Defendants’ Toxic Hair Relaxer Products when they otherwise would not have done so. The failure

of Defendants to provide Plaintiff and the other Class members with the remuneration expected

enriched Defendants unjustly.

               Under the common law doctrine of unjust enrichment, it is inequitable for

Defendants to be permitted to retain the benefits it received, and is still receiving, without

justification, from the false and deceptive labeling and marketing of the Toxic Hair Relaxer

Products to Plaintiff and the other Class members.

               Defendants’ retention of such funds under circumstances making it inequitable to

do so constitutes unjust enrichment. It is unjust to allow Defendants to earn and retain revenues,

profits, and benefits from their Toxic Hair Relaxer Products while Plaintiff and the other Class

members suffered and are suffering serious illnesses, including but not limited to uterine and

ovarian cancer.

               Plaintiff and the other Class members may assert an unjust enrichment claim even

though a remedy at law may otherwise exist.

               Plaintiff, on behalf of herself and the other Class members, seeks restitution and

disgorgement of Defendants’ wrongful revenues, profits, and benefits to the extent and in the

amount deemed appropriate by the Court, and such other relief as the Court deems just and proper

to remedy Defendants’ unjust enrichment.




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                  COUNT 128 – BREACH OF EXPRESS WARRANTY
(Individually and on Behalf of the Tennessee Consumer Class Against Defendants L’Oréal,
                       SoftSheen, Revlon, and Strength of Nature)

               Plaintiff Edwards (“Plaintiff,” for purposes of the Tennessee Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the Tennessee

Consumer Class.

               As detailed above, Defendants, through their written literature, packaging and

labeling, and through their advertisements, expressly warranted that the Toxic Hair Relaxer

Products were safe and fit for the purposes intended, that they were of merchantable quality, and

that they did not pose dangerous health risks.

               Moreover, the Toxic Hair Relaxer Products’ labeling represents that the regular use

of broad spectrum hair straighteners and/or relaxers is “protective,” and that its use can “decrease

the risk” of skin cancer and early skin aging. Such statements constitute an affirmation of fact or

promise, or a description of the product as being safe and not posing a dangerous health risk.

Defendants breached this express warranty because their Toxic Hair Relaxer Products are not safe.

To the contrary, the Toxic Hair Relaxer Products pose a dangerous health risk because they

increase the risk of uterine and ovarian cancer, as detailed above.

               Plaintiff and the other Class members read and relied on these express warranties

provided by Defendants in the packaging and written advertisements.

               Defendants breached its express warranties under Tenn. Code § 47-2-313, et seq.

because the Toxic Hair Relaxer Products are defective and not reasonably safe for their intended

use.



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               Defendants knew or should have known that the Toxic Hair Relaxer Products did

not conform to their express warranties and representations and that, in fact, the Toxic Hair Relaxer

Products are not safe and pose serious health risks.

               Plaintiff and the other Class members have suffered harm on account of

Defendants’ breach of its express warranty regarding the fitness for use and safety of the Toxic

Hair Relaxer Products. Plaintiff, on behalf of herself and the other Class members, seeks recovery

of actual damages, as well as incidental and consequential damages as a direct and proximate result

of the Toxic Defect, in an amount to be determined at trial.

                COUNT 129 – BREACH OF IMPLIED WARRANTY OF
               MERCHANTABILITY/FITNESS FOR PARTICULAR USE
(Individually and on Behalf of the Tennessee Consumer Class Against Defendants L’Oréal,
                       SoftSheen, Revlon, and Strength of Nature)

               Plaintiff Edwards (“Plaintiff,” for purposes of the Tennessee Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the Tennessee

Consumer Class.

               Defendants are in the business of manufacturing, supplying, marketing, advertising,

warranting, and/or selling hair relaxer products.

               Prior to the time that Plaintiff and the other Class members purchased and/or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew of the uses for which their Toxic Hair

Relaxer Products were intended and impliedly warranted to Plaintiff, and to the other Class

members, that Defendants’ Toxic Hair Relaxer Products were of merchantable quality and safe

and fit for such intended and ordinary uses. Defendants also impliedly warranted to Plaintiff and

the other Class members that their Toxic Hair Relaxer Products were of a certain quality.

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               Defendants’ warranties include, but are not limited to, the warranties that their

Toxic Hair Relaxer Products are safe, healthy, protective, and/or natural, including but not limited

to the marketing assertions quoted and displayed in the facts alleged above.

               Defendants breached the implied warranties of their Toxic Hair Relaxer Products

sold to Plaintiff and the other Class members because they were not fit for their ordinary purposes,

or for their intended and reasonably foreseeable uses. Nor were their Toxic Hair Relaxer Products

minimally safe for their expected purpose.

               Defendants’ Toxic Hair Relaxer Products were neither safe for their intended use

nor of merchantable quality, as warranted by Defendants, because their Toxic Hair Relaxer

Products have dangerous propensities when used as intended and cause severe injuries to users,

including Plaintiff and the other Class members.

               Similarly, Defendants’ Toxic Hair Relaxer Products were unfit for their particular

purpose—safely straightening hair. Defendants’ Toxic Hair Relaxer Products could not, and do

not, safely straighten hair, and never could do so at any point after leaving Defendants’ control.

               Defendants’ Toxic Hair Relaxer Products were unfit for their ordinary use, were

not of merchantable quality, did not conform to the representations made by Defendants, and/or

were unfit for their particular purpose when they left Defendants’ control.

               At the time that Plaintiff and the other Class members purchased or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew or should have known that Plaintiff

and the other Class members would detrimentally rely on Defendants’ misrepresentations

regarding safety.

               Plaintiff and the other Class members purchased or used Defendants’ Toxic Hair

Relaxer Products reasonably relying upon Defendants’ implied warranties.



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               Plaintiff and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purpose and in the manner intended by Defendants.

               Plaintiff and the other Class members could not have discovered, through the use

of reasonable care, that Defendants’ implied warranties were false, or that Defendants’ Toxic Hair

Relaxer Products posed danger to them.

               Plaintiff and the other Class members would not have purchased or used

Defendants’ Toxic Hair Relaxer Products if they had known the truth about the misrepresentations

described above, or that Defendants’ Toxic Hair Relaxer Products were unfit for ordinary use or

their particular purpose.

               Defendants’ conduct described in this Complaint constitutes a breach of implied

warranties under Tenn. Code § 47-2-314, et seq.

               Defendants’ Toxic Hair Relaxer Products are consumer products, and Plaintiff and

the other Class members are consumers. Defendants are suppliers and/or warrantors of the

defective Toxic Hair Relaxer Products, and Defendants breached their implied warranties as

described above.

               Defendants’ breach of warranties were a substantial factor in causing Plaintiff’s and

the other Class members’ injuries.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiff

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses into the future.




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               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and it indicates a wanton disregard of the rights of others, justifying an award

of punitive or exemplary damages.

               Plaintiff and the other Class members did not need to send (additional) notice to

Defendants of their breaches of warranty because Defendants were already on notice of the defects

alleged herein and of Defendants’ related violations. Defendants received such notice from similar

lawsuits for the same conduct and through other means.

               Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendants’ breach of their implied warranties, in an amount to be determined at trial.

                       COUNT 130 – FRAUDULENT OMISSION
(Individually and on Behalf of the Tennessee Consumer Class Against Defendants L’Oréal,
                       SoftSheen, Revlon, and Strength of Nature)

               Plaintiff Edwards (“Plaintiff,” for purposes of the Tennessee Consumer Class’s

claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth

herein.

               Plaintiff brings this cause of action individually and on behalf of the Tennessee

Consumer Class.

               Through their labeling and advertising, Defendants made representations to

Plaintiff and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

               At all relevant times, Defendants had a duty to provide Plaintiff and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including



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warnings about any risks they knew of, or should have known of, posed by their Toxic Hair Relaxer

Products.

               Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that they had a duty to both learn and disclose the dangers associated with

their Toxic Hair Relaxer Products.

               From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiff or the other Class members. Defendants failed to fulfill their duty to accurately

disclose in their labeling and advertising that the Toxic Hair Relaxer Products contained toxic

chemicals.

               Defendants failed to disclose such material facts with the intent to induce

consumers, including Plaintiff and the other Class members, into purchasing and using their hair

relaxer products.

               Such failures to disclose on the part of Defendants amount to fraudulent omission.

               Plaintiff and the other Class members justifiably relied on Defendants’

nondisclosures to their detriment.

               In reliance on Defendants’ omissions, Plaintiff and the other Class members were

induced to purchase and use Defendants’ Toxic Hair Relaxer Products. If Plaintiff and the other

Class members had known of the facts concealed by Defendants, including facts revealing the

toxic nature of Defendants’ products, then Plaintiff and the other Class members would not have

purchased or used Defendants’ Toxic Hair Relaxer Products.



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               As a direct and proximate result of the foregoing fraudulent omissions by

Defendants, Plaintiff and the other Class members suffered injuries and damages as alleged herein.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiff and the other

Class members suffered serious injury, harm, damages, and economic and non-economic loss.

They will continue to suffer such harm, damages, and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the other Class members was malicious, oppressive, willful, reckless,

and/or grossly negligent, and indicates a wanton disregard of the rights of others, justifying an

award of punitive or exemplary damages.

               Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendants’ fraudulent omissions regarding the Toxic Defect, in an amount to be determined at

trial.

           S. Texas

    COUNT 131 – VIOLATIONS OF THE TEXAS DECEPTIVE TRADE PRACTICES-
                            CONSUMER PROTECTION ACT
   (Individually and on Behalf of the Texas Consumer Class Against Defendants L’Oréal,
                            SoftSheen, and Strength of Nature)

               Plaintiff Casby (“Plaintiff,” for purposes of the Texas Consumer Class’s claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Texas

Consumer Class.

               Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the Texas Deceptive Trade Practices-Consumer

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Protection Act, Tex. Bus. & Com. Code Ann. § 17.41 et seq., when they misled consumers

regarding the safety risks associated with use of their Toxic Hair Relaxer Products. As a direct

result of Defendants’ deceptive, unfair, unconscionable, and fraudulent conduct, Plaintiff and the

other Class members suffered and will continue to suffer economic loss and other compensable

injuries.

                 Defendants’ deceptive, unfair, unlawful, and unconscionable practices included but

were not limited to the following practices, done knowingly:

            a.   Representing that goods have characteristics, ingredients, uses, or benefits that
                  they do not have;

            b.    Representing that goods are of a particular standard, quality, or grade if they are
                  of another; and

            c.    Advertising goods with the intent not to sell them as advertised.

                 Defendants’ actions and failure to act—including their false and misleading

representations and omissions of material facts regarding the safety and potential risks of their

Toxic Hair Relaxer Products, as described above—constitute acts, uses or employment by

Defendants of unconscionable commercial practices, deception, fraud, false pretenses, and

misrepresentations. These actions and omissions further constitute the knowing concealment,

suppression, or omission of material facts, done with the intent that Plaintiff and the other Class

members rely upon such concealment, suppression, or omission of material facts in connection

with the sale of Defendants’ merchandise, in violation of the Texas Deceptive Trade Practices-

Consumer Protection Act.

                 Defendants’ unfair and deceptive trade practices have caused injuries to consumers,

and the public will benefit from a cessation of these unlawful actions through this litigation.




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               By reason of the unlawful acts engaged in by Defendants, Plaintiff and the other

Class members have suffered ascertainable loss and damages.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiff

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses in the future.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiff and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and Defendants’ conduct indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               Due to the above, Defendants are liable to Plaintiff and the other Class members

for compensatory, as well as exemplary, multiple, and/or punitive damages to the extent available

and as applicable, in amounts to be proven at trial, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.

               Plaintiff did not need to send (additional) notice to Defendants of their violations

of the Texas Deceptive Trade Practices-Consumer Protection Act pled in this Complaint because

Defendants were already on notice of the defects alleged herein and of Defendants’ related

violations. Defendants received such notice from similar lawsuits for the same conduct and

through other means.

               Plaintiff and the other Class members would not have purchased the Toxic Hair

Relaxer Products, or alternatively they would have paid less for them, had the truth about the toxic




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nature of Defendants’ products been disclosed. Plaintiff, on behalf of herself and the other Class

members, seeks to recover the actual damages they have suffered.

                        COUNT 132 – UNJUST ENRICHMENT
  (Individually and on Behalf of the Texas Consumer Class Against Defendants L’Oréal,
                           SoftSheen, and Strength of Nature)

               Plaintiff Casby (“Plaintiff,” for purposes of the Texas Consumer Class’s claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Texas

Consumer Class.

               As a result of Defendants’ wrongful and deceptive conduct, Defendants knowingly

and voluntarily accepted and retained wrongful benefits in the form of money paid by Plaintiff and

the other Class members when they purchased the Toxic Hair Relaxer Products.

               In so doing, Defendants acted with conscious disregard for the rights of Plaintiff

and the other Class members.

               As an intended and expected result of Defendants’ conscious wrongdoing as set

forth in this Complaint, Defendants have profited and benefited from payments Plaintiff and the

other Class members made for their Toxic Hair Relaxer Products.

               Defendants’ unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein.

               At the time their payments were made, Plaintiff and the other Class members

expected that Defendants’ Toxic Hair Relaxer Products were safe and effective in the ways

Defendants had represented, and could safely be used for the purposes Defendants advertised their

Toxic Hair Relaxer Products. In exchange for their payments, Plaintiff and the other Class




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members believed they were receiving a safe method for straightening hair that did not involve the

risk of serious adverse health effects.

               Defendants have voluntarily accepted and retained these payments with full

knowledge that, as a result of their wrongdoing, Plaintiff and the other Class members paid for

Defendants’ Toxic Hair Relaxer Products when they otherwise would not have done so. The failure

of Defendants to provide Plaintiff and the other Class members with the remuneration expected

enriched Defendants unjustly.

               Under the common law doctrine of unjust enrichment, it is inequitable for

Defendants to be permitted to retain the benefits it received, and is still receiving, without

justification, from the false and deceptive labeling and marketing of the Toxic Hair Relaxer

Products to Plaintiff and the other Class members.

               Defendants’ retention of such funds under circumstances making it inequitable to

do so constitutes unjust enrichment. It is unjust to allow Defendants to earn and retain revenues,

profits, and benefits from their Toxic Hair Relaxer Products while Plaintiff and the other Class

members suffered and are suffering serious illnesses, including but not limited to uterine and

ovarian cancer.

               Plaintiff and the other Class members may assert an unjust enrichment claim even

though a remedy at law may otherwise exist.

               Plaintiff, on behalf of herself and the other Class members, seeks restitution and

disgorgement of Defendants’ wrongful revenues, profits, and benefits to the extent and in the

amount deemed appropriate by the Court, and such other relief as the Court deems just and proper

to remedy Defendants’ unjust enrichment.




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                  COUNT 133 – BREACH OF EXPRESS WARRANTY
  (Individually and on Behalf of the Texas Consumer Class Against Defendants L’Oréal,
                           SoftSheen, and Strength of Nature)

               Plaintiff Casby (“Plaintiff,” for purposes of the Texas Consumer Class’s claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Texas

Consumer Class.

               As detailed above, Defendants, through their written literature, packaging and

labeling, and through their advertisements, expressly warranted that the Toxic Hair Relaxer

Products were safe and fit for the purposes intended, that they were of merchantable quality, and

that they did not pose dangerous health risks.

               Moreover, the Toxic Hair Relaxer Products’ labeling represents that the regular use

of broad spectrum hair straighteners and/or relaxers is “protective,” and that its use can “decrease

the risk” of skin cancer and early skin aging. Such statements constitute an affirmation of fact or

promise, or a description of the product as being safe and not posing a dangerous health risk.

Defendants breached this express warranty because their Toxic Hair Relaxer Products are not safe.

To the contrary, the Toxic Hair Relaxer Products pose a dangerous health risk because they

increase the risk of uterine and ovarian cancer, as detailed above.

               Plaintiff and the other Class members read and relied on these express warranties

provided by Defendants in the packaging and written advertisements.

               Defendants breached its express warranties under Tex. Bus. & Com. Code Ann.

§ 2.314 et seq. because the Toxic Hair Relaxer Products are defective and not reasonably safe for

their intended use.




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               Defendants knew or should have known that the Toxic Hair Relaxer Products did

not conform to their express warranties and representations and that, in fact, the Toxic Hair Relaxer

Products are not safe and pose serious health risks.

               Plaintiff and the other Class members have suffered harm on account of

Defendants’ breach of its express warranty regarding the fitness for use and safety of the Toxic

Hair Relaxer Products. Plaintiff, on behalf of herself and the other Class members, seeks recovery

of actual damages, as well as incidental and consequential damages as a direct and proximate result

of the Toxic Defect, in an amount to be determined at trial.

                 COUNT 134 – BREACH OF IMPLIED WARRANTY OF
               MERCHANTABILITY/FITNESS FOR PARTICULAR USE
  (Individually and on Behalf of the Texas Consumer Class Against Defendants L’Oréal,
                           SoftSheen, and Strength of Nature)

               Plaintiff Casby (“Plaintiff,” for purposes of the Texas Consumer Class’s claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Texas

Consumer Class.

               Defendants are in the business of manufacturing, supplying, marketing, advertising,

warranting, and/or selling hair relaxer products.

               Prior to the time that Plaintiff and the other Class members purchased and/or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew of the uses for which their Toxic Hair

Relaxer Products were intended and impliedly warranted to Plaintiff, and to the other Class

members, that Defendants’ Toxic Hair Relaxer Products were of merchantable quality and safe

and fit for such intended and ordinary uses. Defendants also impliedly warranted to Plaintiff and

the other Class members that their Toxic Hair Relaxer Products were of a certain quality.




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               Defendants’ warranties include, but are not limited to, the warranties that their

Toxic Hair Relaxer Products are safe, healthy, protective, and/or natural, including but not limited

to the marketing assertions quoted and displayed in the facts alleged above.

               Defendants breached the implied warranties of their Toxic Hair Relaxer Products

sold to Plaintiff and the other Class members because they were not fit for their ordinary purposes,

or for their intended and reasonably foreseeable uses. Nor were their Toxic Hair Relaxer Products

minimally safe for their expected purpose.

               Defendants’ Toxic Hair Relaxer Products were neither safe for their intended use

nor of merchantable quality, as warranted by Defendants, because their Toxic Hair Relaxer

Products have dangerous propensities when used as intended and cause severe injuries to users,

including Plaintiff and the other Class members.

               Similarly, Defendants’ Toxic Hair Relaxer Products were unfit for their particular

purpose—safely straightening hair. Defendants’ Toxic Hair Relaxer Products could not, and do

not, safely straighten hair, and never could do so at any point after leaving Defendants’ control.

               Defendants’ Toxic Hair Relaxer Products were unfit for their ordinary use, were

not of merchantable quality, did not conform to the representations made by Defendants, and/or

were unfit for their particular purpose when they left Defendants’ control.

               At the time that Plaintiff and the other Class members purchased or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew or should have known that Plaintiff

and the other Class members would detrimentally rely on Defendants’ misrepresentations

regarding safety.

               Plaintiff and the other Class members purchased or used Defendants’ Toxic Hair

Relaxer Products reasonably relying upon Defendants’ implied warranties.



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               Plaintiff and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purpose and in the manner intended by Defendants.

               Plaintiff and the other Class members could not have discovered, through the use

of reasonable care, that Defendants’ implied warranties were false, or that Defendants’ Toxic Hair

Relaxer Products posed danger to them.

               Plaintiff and the other Class members would not have purchased or used

Defendants’ Toxic Hair Relaxer Products if they had known the truth about the misrepresentations

described above, or that Defendants’ Toxic Hair Relaxer Products were unfit for ordinary use or

their particular purpose.

               Defendants’ conduct described in this Complaint constitutes a breach of implied

warranties under Tex. Bus. & Com. Code Ann. § 2.314 et seq.

               Defendants’ Toxic Hair Relaxer Products are consumer products, and Plaintiff and

the other Class members are consumers. Defendants are suppliers and/or warrantors of the

defective Toxic Hair Relaxer Products, and Defendants breached their implied warranties as

described above.

               Defendants’ breach of warranties were a substantial factor in causing Plaintiff’s and

the other Class members’ injuries.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiff

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses into the future.




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               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and it indicates a wanton disregard of the rights of others, justifying an award

of punitive or exemplary damages.

               Plaintiff and the other Class members did not need to send (additional) notice to

Defendants of their breaches of warranty because Defendants were already on notice of the defects

alleged herein and of Defendants’ related violations. Defendants received such notice from similar

lawsuits for the same conduct and through other means.

               Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendants’ breach of their implied warranties, in an amount to be determined at trial.

                       COUNT 135 – FRAUDULENT OMISSION
  (Individually and on Behalf of the Texas Consumer Class Against Defendants L’Oréal,
                           SoftSheen, and Strength of Nature)

               Plaintiff Casby (“Plaintiff,” for purposes of the Texas Consumer Class’s claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Texas

Consumer Class.

               Through their labeling and advertising, Defendants made representations to

Plaintiff and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

               At all relevant times, Defendants had a duty to provide Plaintiff and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including




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warnings about any risks they knew of, or should have known of, posed by their Toxic Hair Relaxer

Products.

               Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that they had a duty to both learn and disclose the dangers associated with

their Toxic Hair Relaxer Products.

               From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiff or the other Class members. Defendants failed to fulfill their duty to accurately

disclose in their labeling and advertising that the Toxic Hair Relaxer Products contained toxic

chemicals.

               Defendants failed to disclose such material facts with the intent to induce

consumers, including Plaintiff and the other Class members, into purchasing and using their hair

relaxer products.

               Such failures to disclose on the part of Defendants amount to fraudulent omission.

               Plaintiff and the other Class members justifiably relied on Defendants’

nondisclosures to their detriment.

               In reliance on Defendants’ omissions, Plaintiff and the other Class members were

induced to purchase and use Defendants’ Toxic Hair Relaxer Products. If Plaintiff and the other

Class members had known of the facts concealed by Defendants, including facts revealing the

toxic nature of Defendants’ products, then Plaintiff and the other Class members would not have

purchased or used Defendants’ Toxic Hair Relaxer Products.



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               As a direct and proximate result of the foregoing fraudulent omissions by

Defendants, Plaintiff and the other Class members suffered injuries and damages as alleged herein.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiff and the other

Class members suffered serious injury, harm, damages, and economic and non-economic loss.

They will continue to suffer such harm, damages, and losses into the future.

               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the other Class members was malicious, oppressive, willful, reckless,

and/or grossly negligent, and indicates a wanton disregard of the rights of others, justifying an

award of punitive or exemplary damages.

               Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendants’ fraudulent omissions regarding the Toxic Defect, in an amount to be determined at

trial.

           T. Virginia

  COUNT 136 – VIOLATIONS OF THE VIRGINIA CONSUMER PROTECTION ACT
  (Individually and on Behalf of the Virginia Consumer Class Against Defendants Revlon,
               Strength of Nature, L’Oréal, SoftSheen, JF Labs, and Luster)

               Plaintiff Lane (“Plaintiff,” for purposes of the Virginia Consumer Class’s claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Virginia

Consumer Class.

               Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the Virginia Consumer Protection Act, Va. Code Ann.



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§ 59.1-196 et seq., when they misled consumers regarding the safety risks associated with use of

their Toxic Hair Relaxer Products. As a direct result of Defendants’ deceptive, unfair,

unconscionable, and fraudulent conduct, Plaintiff and the other Class members suffered and will

continue to suffer economic loss and other compensable injuries.

               Defendants’ deceptive, unfair, unlawful, and unconscionable practices included but

were not limited to the following practices, done knowingly:

         j.     Representing that goods have characteristics, ingredients, uses, or benefits that
                 they do not have;

         k.      Representing that goods are of a particular standard, quality, or grade if they are
                 of another; and

         l.      Advertising goods with the intent not to sell them as advertised.

               Defendants’ actions and failure to act—including their false and misleading

representations and omissions of material facts regarding the safety and potential risks of their

Toxic Hair Relaxer Products, as described above—constitute acts, uses or employment by

Defendants of unconscionable commercial practices, deception, fraud, false pretenses, and

misrepresentations. These actions and omissions further constitute the knowing concealment,

suppression, or omission of material facts, done with the intent that Plaintiff and the other Class

members rely upon such concealment, suppression, or omission of material facts in connection

with the sale of Defendants’ merchandise, in violation of the Virginia Consumer Protection Act.

               Defendants’ unfair and deceptive trade practices have caused injuries to consumers,

and the public will benefit from a cessation of these unlawful actions through this litigation.

               By reason of the unlawful acts engaged in by Defendants, Plaintiff and the other

Class members have suffered ascertainable loss and damages.




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               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiff

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses in the future.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiff and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and Defendants’ conduct indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               Due to the above, Defendants are liable to Plaintiff and the other Class members

for compensatory, as well as exemplary, multiple, and/or punitive damages to the extent available

and as applicable, in amounts to be proven at trial, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.

               Plaintiff did not need to send (additional) notice to Defendants of their violations

of the Virginia Consumer Protection Act pled in this Complaint because Defendants were already

on notice of the defects alleged herein and of Defendants’ related violations. Defendants received

such notice from similar lawsuits for the same conduct and through other means.

               Plaintiff and the other Class members would not have purchased the Toxic Hair

Relaxer Products, or alternatively they would have paid less for them, had the truth about the toxic

nature of Defendants’ products been disclosed. Plaintiff, on behalf of herself and the other Class

members, seeks to recover the actual damages they have suffered.




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                        COUNT 137 – UNJUST ENRICHMENT
 (Individually and on Behalf of the Virginia Consumer Class Against Defendants Revlon,
              Strength of Nature, L’Oréal, SoftSheen, JF Labs, and Luster)

               Plaintiff Lane (“Plaintiff,” for purposes of the Virginia Consumer Class’s claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Virginia

Consumer Class.

               As a result of Defendants’ wrongful and deceptive conduct, Defendants knowingly

and voluntarily accepted and retained wrongful benefits in the form of money paid by Plaintiff and

the other Class members when they purchased the Toxic Hair Relaxer Products.

               In so doing, Defendants acted with conscious disregard for the rights of Plaintiff

and the other Class members.

               As an intended and expected result of Defendants’ conscious wrongdoing as set

forth in this Complaint, Defendants have profited and benefited from payments Plaintiff and the

other Class members made for their Toxic Hair Relaxer Products.

               Defendants’ unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein.

               At the time their payments were made, Plaintiff and the other Class members

expected that Defendants’ Toxic Hair Relaxer Products were safe and effective in the ways

Defendants had represented, and could safely be used for the purposes Defendants advertised their

Toxic Hair Relaxer Products. In exchange for their payments, Plaintiff and the other Class

members believed they were receiving a safe method for straightening hair that did not involve the

risk of serious adverse health effects.




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               Defendants have voluntarily accepted and retained these payments with full

knowledge that, as a result of their wrongdoing, Plaintiff and the other Class members paid for

Defendants’ Toxic Hair Relaxer Products when they otherwise would not have done so. The failure

of Defendants to provide Plaintiff and the other Class members with the remuneration expected

enriched Defendants unjustly.

               Under the common law doctrine of unjust enrichment, it is inequitable for

Defendants to be permitted to retain the benefits it received, and is still receiving, without

justification, from the false and deceptive labeling and marketing of the Toxic Hair Relaxer

Products to Plaintiff and the other Class members.

               Defendants’ retention of such funds under circumstances making it inequitable to

do so constitutes unjust enrichment. It is unjust to allow Defendants to earn and retain revenues,

profits, and benefits from their Toxic Hair Relaxer Products while Plaintiff and the other Class

members suffered and are suffering serious illnesses, including but not limited to uterine and

ovarian cancer.

               Plaintiff and the other Class members may assert an unjust enrichment claim even

though a remedy at law may otherwise exist.

               Plaintiff, on behalf of herself and the other Class members, seeks restitution and

disgorgement of Defendants’ wrongful revenues, profits, and benefits to the extent and in the

amount deemed appropriate by the Court, and such other relief as the Court deems just and proper

to remedy Defendants’ unjust enrichment.




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                  COUNT 138 – BREACH OF EXPRESS WARRANTY
 (Individually and on Behalf of the Virginia Consumer Class Against Defendants Revlon,
              Strength of Nature, L’Oréal, SoftSheen, JF Labs, and Luster)

               Plaintiff Lane (“Plaintiff,” for purposes of the Virginia Consumer Class’s claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Virginia

Consumer Class.

               As detailed above, Defendants, through their written literature, packaging and

labeling, and through their advertisements, expressly warranted that the Toxic Hair Relaxer

Products were safe and fit for the purposes intended, that they were of merchantable quality, and

that they did not pose dangerous health risks.

               Moreover, the Toxic Hair Relaxer Products’ labeling represents that the regular use

of broad spectrum hair straighteners and/or relaxers is “protective,” and that its use can “decrease

the risk” of skin cancer and early skin aging. Such statements constitute an affirmation of fact or

promise, or a description of the product as being safe and not posing a dangerous health risk.

Defendants breached this express warranty because their Toxic Hair Relaxer Products are not safe.

To the contrary, the Toxic Hair Relaxer Products pose a dangerous health risk because they

increase the risk of uterine and ovarian cancer, as detailed above.

               Plaintiff and the other Class members read and relied on these express warranties

provided by Defendants in the packaging and written advertisements.

               Defendants breached its express warranties under Va. Code § 8.2-313, et seq.

because the Toxic Hair Relaxer Products are defective and not reasonably safe for their intended

use.




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               Defendants knew or should have known that the Toxic Hair Relaxer Products did

not conform to their express warranties and representations and that, in fact, the Toxic Hair Relaxer

Products are not safe and pose serious health risks.

               Plaintiff and the other Class members have suffered harm on account of

Defendants’ breach of its express warranty regarding the fitness for use and safety of the Toxic

Hair Relaxer Products. Plaintiff, on behalf of herself and the other Class members, seeks recovery

of actual damages, as well as incidental and consequential damages as a direct and proximate result

of the Toxic Defect, in an amount to be determined at trial.

                COUNT 139 – BREACH OF IMPLIED WARRANTY OF
               MERCHANTABILITY/FITNESS FOR PARTICULAR USE
 (Individually and on Behalf of the Virginia Consumer Class Against Defendants Revlon,
              Strength of Nature, L’Oréal, SoftSheen, JF Labs, and Luster)

               Plaintiff Lane (“Plaintiff,” for purposes of the Virginia Consumer Class’s claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Virginia

Consumer Class.

               Defendants are in the business of manufacturing, supplying, marketing, advertising,

warranting, and/or selling hair relaxer products.

               Prior to the time that Plaintiff and the other Class members purchased and/or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew of the uses for which their Toxic Hair

Relaxer Products were intended and impliedly warranted to Plaintiff, and to the other Class

members, that Defendants’ Toxic Hair Relaxer Products were of merchantable quality and safe

and fit for such intended and ordinary uses. Defendants also impliedly warranted to Plaintiff and

the other Class members that their Toxic Hair Relaxer Products were of a certain quality.




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               Defendants’ warranties include, but are not limited to, the warranties that their

Toxic Hair Relaxer Products are safe, healthy, protective, and/or natural, including but not limited

to the marketing assertions quoted and displayed in the facts alleged above.

               Defendants breached the implied warranties of their Toxic Hair Relaxer Products

sold to Plaintiff and the other Class members because they were not fit for their ordinary purposes,

or for their intended and reasonably foreseeable uses. Nor were their Toxic Hair Relaxer Products

minimally safe for their expected purpose.

               Defendants’ Toxic Hair Relaxer Products were neither safe for their intended use

nor of merchantable quality, as warranted by Defendants, because their Toxic Hair Relaxer

Products have dangerous propensities when used as intended and cause severe injuries to users,

including Plaintiff and the other Class members.

               Similarly, Defendants’ Toxic Hair Relaxer Products were unfit for their particular

purpose—safely straightening hair. Defendants’ Toxic Hair Relaxer Products could not, and do

not, safely straighten hair, and never could do so at any point after leaving Defendants’ control.

               Defendants’ Toxic Hair Relaxer Products were unfit for their ordinary use, were

not of merchantable quality, did not conform to the representations made by Defendants, and/or

were unfit for their particular purpose when they left Defendants’ control.

               At the time that Plaintiff and the other Class members purchased or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew or should have known that Plaintiff

and the other Class members would detrimentally rely on Defendants’ misrepresentations

regarding safety.

               Plaintiff and the other Class members purchased or used Defendants’ Toxic Hair

Relaxer Products reasonably relying upon Defendants’ implied warranties.



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               Plaintiff and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purpose and in the manner intended by Defendants.

               Plaintiff and the other Class members could not have discovered, through the use

of reasonable care, that Defendants’ implied warranties were false, or that Defendants’ Toxic Hair

Relaxer Products posed danger to them.

               Plaintiff and the other Class members would not have purchased or used

Defendants’ Toxic Hair Relaxer Products if they had known the truth about the misrepresentations

described above, or that Defendants’ Toxic Hair Relaxer Products were unfit for ordinary use or

their particular purpose.

               Defendants’ conduct described in this Complaint constitutes a breach of implied

warranties under Va. Code § 8.2-314, et seq.

               Defendants’ Toxic Hair Relaxer Products are consumer products, and Plaintiff and

the other Class members are consumers. Defendants are suppliers and/or warrantors of the

defective Toxic Hair Relaxer Products, and Defendants breached their implied warranties as

described above.

               Defendants’ breach of warranties were a substantial factor in causing Plaintiff’s and

the other Class members’ injuries.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiff

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses into the future.




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               Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and it indicates a wanton disregard of the rights of others, justifying an award

of punitive or exemplary damages.

               Plaintiff and the other Class members did not need to send (additional) notice to

Defendants of their breaches of warranty because Defendants were already on notice of the defects

alleged herein and of Defendants’ related violations. Defendants received such notice from similar

lawsuits for the same conduct and through other means.

               Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendants’ breach of their implied warranties, in an amount to be determined at trial.

                       COUNT 140 – FRAUDULENT OMISSION
 (Individually and on Behalf of the Virginia Consumer Class Against Defendants Revlon,
              Strength of Nature, L’Oréal, SoftSheen, JF Labs, and Luster)

               Plaintiff Lane (“Plaintiff,” for purposes of the Virginia Consumer Class’s claims)

incorporates by reference and realleges paragraphs 1 to 180 above, as though fully set forth herein.

               Plaintiff brings this cause of action individually and on behalf of the Virginia

Consumer Class.

               Through their labeling and advertising, Defendants made representations to

Plaintiff and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

               At all relevant times, Defendants had a duty to provide Plaintiff and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including




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warnings about any risks they knew of, or should have known of, posed by their Toxic Hair Relaxer

Products.

               Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that they had a duty to both learn and disclose the dangers associated with

their Toxic Hair Relaxer Products.

               From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiff or the other Class members. Defendants failed to fulfill their duty to accurately

disclose in their labeling and advertising that the Toxic Hair Relaxer Products contained toxic

chemicals.

               Defendants failed to disclose such material facts with the intent to induce

consumers, including Plaintiff and the other Class members, into purchasing and using their hair

relaxer products.

               Such failures to disclose on the part of Defendants amount to fraudulent omission.

               Plaintiff and the other Class members justifiably relied on Defendants’

nondisclosures to their detriment.

               In reliance on Defendants’ omissions, Plaintiff and the other Class members were

induced to purchase and use Defendants’ Toxic Hair Relaxer Products. If Plaintiff and the other

Class members had known of the facts concealed by Defendants, including facts revealing the

toxic nature of Defendants’ products, then Plaintiff and the other Class members would not have

purchased or used Defendants’ Toxic Hair Relaxer Products.



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                As a direct and proximate result of the foregoing fraudulent omissions by

Defendants, Plaintiff and the other Class members suffered injuries and damages as alleged herein.

                As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiff and the other

Class members suffered serious injury, harm, damages, and economic and non-economic loss.

They will continue to suffer such harm, damages, and losses into the future.

                Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the other Class members was malicious, oppressive, willful, reckless,

and/or grossly negligent, and indicates a wanton disregard of the rights of others, justifying an

award of punitive or exemplary damages.

                Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendants’ fraudulent omissions regarding the Toxic Defect, in an amount to be determined at

trial.

            U. West Virginia

  COUNT 141 – VIOLATIONS OF THE WEST VIRGINIA CONSUMER CREDIT AND
                                    PROTECTION ACT
   (Individually and on Behalf of the West Virginia Consumer Class Against Defendants
                                  L’Oréal and SoftSheen)

                Plaintiff Smith-Pullen (“Plaintiff,” for purposes of the West Virginia Consumer

Class’s claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiff brings this cause of action individually and on behalf of the West Virginia

Consumer Class.




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               Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the West Virginia Consumer Credit and Protection Act,

W. Va. Code § 46A-6-101 et seq., when they misled consumers regarding the safety risks

associated with use of their Toxic Hair Relaxer Products. As a direct result of Defendants’

deceptive, unfair, unconscionable, and fraudulent conduct, Plaintiff and the other Class members

suffered and will continue to suffer economic loss and other compensable injuries.

               Defendants’ deceptive, unfair, unlawful, and unconscionable practices included but

were not limited to the following practices, done knowingly:

         m.       Representing that goods have characteristics, ingredients, uses, or benefits that
                   they do not have;

         n.       Representing that goods are of a particular standard, quality, or grade if they are
                  of another; and

         o.       Advertising goods with the intent not to sell them as advertised.

               Defendants’ actions and failure to act—including their false and misleading

representations and omissions of material facts regarding the safety and potential risks of their

Toxic Hair Relaxer Products, as described above—constitute acts, uses or employment by

Defendants of unconscionable commercial practices, deception, fraud, false pretenses, and

misrepresentations. These actions and omissions further constitute the knowing concealment,

suppression, or omission of material facts, done with the intent that Plaintiff and the other Class

members rely upon such concealment, suppression, or omission of material facts in connection

with the sale of Defendants’ merchandise, in violation of the West Virginia Consumer Credit and

Protection Act.

               Defendants’ unfair and deceptive trade practices have caused injuries to consumers,

and the public will benefit from a cessation of these unlawful actions through this litigation.


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               By reason of the unlawful acts engaged in by Defendants, Plaintiff and the other

Class members have suffered ascertainable loss and damages.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiff

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses in the future.

               Defendants’ conduct with respect to their design and sale of their Toxic Hair

Relaxer Products to Plaintiff and the other Class members was fraudulent, malicious, oppressive,

willful, reckless, and/or grossly negligent, and Defendants’ conduct indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.

               Due to the above, Defendants are liable to Plaintiff and the other Class members

for compensatory, as well as exemplary, multiple, and/or punitive damages to the extent available

and as applicable, in amounts to be proven at trial, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.

               Plaintiff did not need to send (additional) notice to Defendants of their violations

of the West Virginia Consumer Credit and Protection Act pled in this Complaint because

Defendants were already on notice of the defects alleged herein and of Defendants’ related

violations. Defendants received such notice from similar lawsuits for the same conduct and

through other means.

               Plaintiff and the other Class members would not have purchased the Toxic Hair

Relaxer Products, or alternatively they would have paid less for them, had the truth about the toxic




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nature of Defendants’ products been disclosed. Plaintiff, on behalf of herself and the other Class

members, seeks to recover the actual damages they have suffered.

                         COUNT 142 – UNJUST ENRICHMENT
   (Individually and on Behalf of the West Virginia Consumer Class Against Defendants
                                  L’Oréal and SoftSheen)

                Plaintiff Smith-Pullen (“Plaintiff,” for purposes of the West Virginia Consumer

Class’s claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiff brings this cause of action individually and on behalf of the West Virginia

Consumer Class.

                As a result of Defendants’ wrongful and deceptive conduct, Defendants knowingly

and voluntarily accepted and retained wrongful benefits in the form of money paid by Plaintiff and

the other Class members when they purchased the Toxic Hair Relaxer Products.

                In so doing, Defendants acted with conscious disregard for the rights of Plaintiff

and the other Class members.

                As an intended and expected result of Defendants’ conscious wrongdoing as set

forth in this Complaint, Defendants have profited and benefited from payments Plaintiff and the

other Class members made for their Toxic Hair Relaxer Products.

                Defendants’ unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein.

                At the time their payments were made, Plaintiff and the other Class members

expected that Defendants’ Toxic Hair Relaxer Products were safe and effective in the ways

Defendants had represented, and could safely be used for the purposes Defendants advertised their

Toxic Hair Relaxer Products. In exchange for their payments, Plaintiff and the other Class



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members believed they were receiving a safe method for straightening hair that did not involve the

risk of serious adverse health effects.

               Defendants have voluntarily accepted and retained these payments with full

knowledge that, as a result of their wrongdoing, Plaintiff and the other Class members paid for

Defendants’ Toxic Hair Relaxer Products when they otherwise would not have done so. The failure

of Defendants to provide Plaintiff and the other Class members with the remuneration expected

enriched Defendants unjustly.

               Under the common law doctrine of unjust enrichment, it is inequitable for

Defendants to be permitted to retain the benefits it received, and is still receiving, without

justification, from the false and deceptive labeling and marketing of the Toxic Hair Relaxer

Products to Plaintiff and the other Class members.

               Defendants’ retention of such funds under circumstances making it inequitable to

do so constitutes unjust enrichment. It is unjust to allow Defendants to earn and retain revenues,

profits, and benefits from their Toxic Hair Relaxer Products while Plaintiff and the other Class

members suffered and are suffering serious illnesses, including but not limited to uterine and

ovarian cancer.

               Plaintiff and the other Class members may assert an unjust enrichment claim even

though a remedy at law may otherwise exist.

               Plaintiff, on behalf of herself and the other Class members, seeks restitution and

disgorgement of Defendants’ wrongful revenues, profits, and benefits to the extent and in the

amount deemed appropriate by the Court, and such other relief as the Court deems just and proper

to remedy Defendants’ unjust enrichment.




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                   COUNT 143 – BREACH OF EXPRESS WARRANTY
   (Individually and on Behalf of the West Virginia Consumer Class Against Defendants
                                  L’Oréal and SoftSheen)

                Plaintiff Smith-Pullen (“Plaintiff,” for purposes of the West Virginia Consumer

Class’s claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiff brings this cause of action individually and on behalf of the West Virginia

Consumer Class.

                As detailed above, Defendants, through their written literature, packaging and

labeling, and through their advertisements, expressly warranted that the Toxic Hair Relaxer

Products were safe and fit for the purposes intended, that they were of merchantable quality, and

that they did not pose dangerous health risks.

                Moreover, the Toxic Hair Relaxer Products’ labeling represents that the regular use

of broad spectrum hair straighteners and/or relaxers is “protective,” and that its use can “decrease

the risk” of skin cancer and early skin aging. Such statements constitute an affirmation of fact or

promise, or a description of the product as being safe and not posing a dangerous health risk.

Defendants breached this express warranty because their Toxic Hair Relaxer Products are not safe.

To the contrary, the Toxic Hair Relaxer Products pose a dangerous health risk because they

increase the risk of uterine and ovarian cancer, as detailed above.

                Plaintiff and the other Class members read and relied on these express warranties

provided by Defendants in the packaging and written advertisements.

                Defendants breached its express warranties under W. Va. Code § 46-2-313, et seq.

because the Toxic Hair Relaxer Products are defective and not reasonably safe for their intended

use.



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                Defendants knew or should have known that the Toxic Hair Relaxer Products did

not conform to their express warranties and representations and that, in fact, the Toxic Hair Relaxer

Products are not safe and pose serious health risks.

                Plaintiff and the other Class members have suffered harm on account of

Defendants’ breach of its express warranty regarding the fitness for use and safety of the Toxic

Hair Relaxer Products. Plaintiff, on behalf of herself and the other Class members, seeks recovery

of actual damages, as well as incidental and consequential damages as a direct and proximate result

of the Toxic Defect, in an amount to be determined at trial.

                 COUNT 144 – BREACH OF IMPLIED WARRANTY OF
               MERCHANTABILITY/FITNESS FOR PARTICULAR USE
   (Individually and on Behalf of the West Virginia Consumer Class Against Defendants
                                  L’Oréal and SoftSheen)

                Plaintiff Smith-Pullen (“Plaintiff,” for purposes of the West Virginia Consumer

Class’s claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiff brings this cause of action individually and on behalf of the West Virginia

Consumer Class.

                Defendants are in the business of manufacturing, supplying, marketing, advertising,

warranting, and/or selling hair relaxer products.

                Prior to the time that Plaintiff and the other Class members purchased and/or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew of the uses for which their Toxic Hair

Relaxer Products were intended and impliedly warranted to Plaintiff, and to the other Class

members, that Defendants’ Toxic Hair Relaxer Products were of merchantable quality and safe

and fit for such intended and ordinary uses. Defendants also impliedly warranted to Plaintiff and

the other Class members that their Toxic Hair Relaxer Products were of a certain quality.

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               Defendants’ warranties include, but are not limited to, the warranties that their

Toxic Hair Relaxer Products are safe, healthy, protective, and/or natural, including but not limited

to the marketing assertions quoted and displayed in the facts alleged above.

               Defendants breached the implied warranties of their Toxic Hair Relaxer Products

sold to Plaintiff and the other Class members because they were not fit for their ordinary purposes,

or for their intended and reasonably foreseeable uses. Nor were their Toxic Hair Relaxer Products

minimally safe for their expected purpose.

               Defendants’ Toxic Hair Relaxer Products were neither safe for their intended use

nor of merchantable quality, as warranted by Defendants, because their Toxic Hair Relaxer

Products have dangerous propensities when used as intended and cause severe injuries to users,

including Plaintiff and the other Class members.

               Similarly, Defendants’ Toxic Hair Relaxer Products were unfit for their particular

purpose—safely straightening hair. Defendants’ Toxic Hair Relaxer Products could not, and do

not, safely straighten hair, and never could do so at any point after leaving Defendants’ control.

               Defendants’ Toxic Hair Relaxer Products were unfit for their ordinary use, were

not of merchantable quality, did not conform to the representations made by Defendants, and/or

were unfit for their particular purpose when they left Defendants’ control.

               At the time that Plaintiff and the other Class members purchased or used

Defendants’ Toxic Hair Relaxer Products, Defendants knew or should have known that Plaintiff

and the other Class members would detrimentally rely on Defendants’ misrepresentations

regarding safety.

               Plaintiff and the other Class members purchased or used Defendants’ Toxic Hair

Relaxer Products reasonably relying upon Defendants’ implied warranties.



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               Plaintiff and the other Class members used Defendants’ Toxic Hair Relaxer

Products for the purpose and in the manner intended by Defendants.

               Plaintiff and the other Class members could not have discovered, through the use

of reasonable care, that Defendants’ implied warranties were false, or that Defendants’ Toxic Hair

Relaxer Products posed danger to them.

               Plaintiff and the other Class members would not have purchased or used

Defendants’ Toxic Hair Relaxer Products if they had known the truth about the misrepresentations

described above, or that Defendants’ Toxic Hair Relaxer Products were unfit for ordinary use or

their particular purpose.

               Defendants’ conduct described in this Complaint constitutes a breach of implied

warranties under W. Va. Code § 46-2-314, et seq.

               Defendants’ Toxic Hair Relaxer Products are consumer products, and Plaintiff and

the other Class members are consumers. Defendants are suppliers and/or warrantors of the

defective Toxic Hair Relaxer Products, and Defendants breached their implied warranties as

described above.

               Defendants’ breach of warranties were a substantial factor in causing Plaintiff’s and

the other Class members’ injuries.

               As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products as manufactured, designed,

sold, supplied, marketed and/or introduced into the stream of commerce by Defendants, Plaintiff

and the other Class members suffered serious injury, harm, damages, economic and non-economic

loss and will continue to suffer such harm, damages and losses into the future.




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                Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and it indicates a wanton disregard of the rights of others, justifying an award

of punitive or exemplary damages.

                Plaintiff and the other Class members did not need to send (additional) notice to

Defendants of their breaches of warranty because Defendants were already on notice of the defects

alleged herein and of Defendants’ related violations. Defendants received such notice from similar

lawsuits for the same conduct and through other means.

                Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendants’ breach of their implied warranties, in an amount to be determined at trial.

                        COUNT 145 – FRAUDULENT OMISSION
   (Individually and on Behalf of the West Virginia Consumer Class Against Defendants
                                  L’Oréal and SoftSheen)

                Plaintiff Smith-Pullen (“Plaintiff,” for purposes of the West Virginia Consumer

Class’s claims) incorporates by reference and realleges paragraphs 1 to 180 above, as though fully

set forth herein.

                Plaintiff brings this cause of action individually and on behalf of the West Virginia

Consumer Class.

                Through their labeling and advertising, Defendants made representations to

Plaintiff and the other Class members concerning the active and inactive ingredients in their Toxic

Hair Relaxer Products.

                At all relevant times, Defendants had a duty to provide Plaintiff and the other Class

members with true and accurate information about their Toxic Hair Relaxer Products, including



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warnings about any risks they knew of, or should have known of, posed by their Toxic Hair Relaxer

Products.

               Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their Toxic Hair Relaxer Products. Defendants knew

or should have known that they had a duty to both learn and disclose the dangers associated with

their Toxic Hair Relaxer Products.

               From the time Defendants’ Toxic Hair Relaxer Products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,

Defendants failed to disclose material facts regarding the safety of their Toxic Hair Relaxer

Products to Plaintiff or the other Class members. Defendants failed to fulfill their duty to accurately

disclose in their labeling and advertising that the Toxic Hair Relaxer Products contained toxic

chemicals.

               Defendants failed to disclose such material facts with the intent to induce

consumers, including Plaintiff and the other Class members, into purchasing and using their hair

relaxer products.

               Such failures to disclose on the part of Defendants amount to fraudulent omission.

               Plaintiff and the other Class members justifiably relied on Defendants’

nondisclosures to their detriment.

               In reliance on Defendants’ omissions, Plaintiff and the other Class members were

induced to purchase and use Defendants’ Toxic Hair Relaxer Products. If Plaintiff and the other

Class members had known of the facts concealed by Defendants, including facts revealing the

toxic nature of Defendants’ products, then Plaintiff and the other Class members would not have

purchased or used Defendants’ Toxic Hair Relaxer Products.



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                As a direct and proximate result of the foregoing fraudulent omissions by

Defendants, Plaintiff and the other Class members suffered injuries and damages as alleged herein.

                As a direct and proximate result of Plaintiff’s and the other Class members’

reasonably anticipated use of Defendants’ Toxic Hair Relaxer Products, Plaintiff and the other

Class members suffered serious injury, harm, damages, and economic and non-economic loss.

They will continue to suffer such harm, damages, and losses into the future.

                Defendants’ conduct with respect to the design and sale of their Toxic Hair Relaxer

Products to Plaintiff and the other Class members was malicious, oppressive, willful, reckless,

and/or grossly negligent, and indicates a wanton disregard of the rights of others, justifying an

award of punitive or exemplary damages.

                Plaintiff, on behalf of herself and the other Class members, seeks recovery of actual

damages, as well as incidental and consequential damages, as a direct and proximate result of

Defendants’ fraudulent omissions regarding the Toxic Defect, in an amount to be determined at

trial.

                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly situated,

respectfully request the following relief:

                A.      Certify the Classes pursuant to Fed. R. Civ. P. 23(a), (b)(2), (b)(3), and/or

         (c)(4), appoint Plaintiffs as class representatives for the respective Classes, and appoint

         undersigned counsel as class counsel;

                B.      Enter judgment for liability in their favor and against Defendants;

                C.      Grant equitable relief in the form of a medical monitoring program as set

         forth above to be funded by Defendants;

                D.      Award compensatory, punitive, and other damages, as may be allowed by
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      law;

              E.      Require Defendants to pay restitution/damages to restore all funds acquired

      by means of any act or practice declared by this Court to be an unlawful, unfair, or

      fraudulent business act or practice, untrue or misleading advertising in violation of the

      above-cited authority, plus pre- and post-judgment interest thereon;

              F.      Require Defendants to disgorge any ill-gotten benefits received from

      Plaintiff and Class members as a result of any wrongful or unlawful act or practice;

              G.      Grant Plaintiffs attorneys’ fees and costs; and

              H.      Award any such other and further relief as this Court may deem just,

      equitable, or proper.

                                DEMAND FOR JURY TRIAL
      Plaintiffs demand a trial by jury on all issues so triable.



DATED: August 14, 2023                        Respectfully submitted,

                                              /s/ Edward A. Wallace
                                              Edward A. Wallace
                                              WALLACE MILLER
                                              150 N. Wacker Dr., Suite 1100
                                              Chicago, Illinois 60606
                                              Tel.: 312-261-6193
                                              Email: eaw@wallacemiller.com

                                              Plaintiffs’ Liaison Counsel

                                              Diandra “Fu” Debrosse Zimmermann
                                              DICELLO LEVITT LLC
                                              505 20th Street North - Suite 1500
                                              Birmingham, Alabama 35203
                                              Tel.: 205-855-5700
                                              Email: fu@dicellolevitt.com

                                              Plaintiffs’ Co-Lead Counsel


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                                     Fidelma L. Fitzpatrick
                                     MOTLEY RICE LLC
                                     40 Westminster Street, Fifth Floor
                                     Providence, Rhode Island 02903
                                     Tel.: 401-457-7700
                                     Email: ffitzpatrick@motleyrice.com

                                     Plaintiffs’ Co-Lead Counsel

                                     Michael A. London
                                     DOUGLAS & LONDON, P.C.
                                     59 Maiden Lane, Sixth Floor
                                     New York, New York 10038
                                     Tel.:212-566-7500
                                     Email: mlondon@douglasandlondon.com

                                     Plaintiffs’ Co-Lead Counsel

                                     Benjamin L. Crump
                                     BEN CRUMP LAW FIRM
                                     122 South Calhoun Street
                                     Tallahassee, Florida 32301
                                     Tel.: 850-224-2020
                                     Email:ben@bencrump.com

                                     Plaintiffs’ Co-Lead Counsel

                                     and

                                     On behalf of Plaintiffs’ Executive Committee:

Brian Barr                           Tim Becker
LEVIN PAPANTONIO RAFFERTY            JOHNSON BECKER
316 South Baylen St.                 444 Cedar St., Suite 1800
Pensacola, FL 32502                  St. Paul, MN 55101
Tel.: (850) 435-7044                 Tel.: (612) 436-1804
Email: bbarr@levinlaw.com            Email: tbecker@johnsonbecker.com

Jayne Conroy                         Kelly M. Dermody
SIMMONS HANLY CONROY                 LIEFF       CABRASER         HEIMANN            &
112 Madison Avenue, 7th Floor        BERNSTEIN
New York, NY 10016                   275 Battery Street, Suite 2900
Tel.: (212) 257-8482                 San Francisco, CA 94111
Email: jconroy@simmonsfirm.com       Tel.: (415) 956-1000
                                     Email: kdermody@lchb.com



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Jennifer Hoekstra                     LaRuby May
AYLSTOCK, WITKIN, KREIS &             MAY JUNG, LLP
OVERHOLTZ, PLLC                       3216 11th Place SE
17 E. Main St.                        Washington, DC 20032
Pensacola, FL 32502                   Tel.: (202) 869-3735
Tel.: (850) 202-1010                  Email: laruby@mayjung.com
Email: jhoekstra@awkolaw.com

Rene F. Rocha                          Larry Taylor
MORGAN & MORGAN                        THE COCHRAN FIRM
400 Poydras St., Suite 1515            1825 Market Center Blvd #500
New Orleans, LA 70130                  Dallas, TX 75207
Tel.: (954) 318-0268                   Tel.: (214) 466-7620
Email: rrocha@forthepeople.com         Email: ltaylor@cochrantexas.com

Navan Ward
BEASLEY ALLEN
2839 Paces Ferry Rd SE, Suite 400
Atlanta, GA 30339
Tel.: (404) 751-1162
Email: navan.ward@beasleyallen.com


                                      and

                                      On behalf of Plaintiffs’ Steering Committee:

Anne Andrews                          Greg Cade
ANDREWS & THORNTON                    ENVIRONMENTAL LAW GROUP
4701 Von Karman Ave., Suite 300       2160 Highland Ave.
Newport Beach, CA 92660               Birmingham, AL 35205
Tel.: (949) 748-1000                  Tel.: (205) 328-9200
Email: aa@andrewsthornton.com         Email: GregC@elglaw.com

Thomas P. Cartmell                    C. Andrew Childers
WAGSTAFF & CARTMELL LLP               CHILDERS, SCHLEUTER & SMITH
4740 Grand Avenue, Suite 300          1932 North Druid Hills Road, Suite 100
Kansas City, MO 64112                 Atlanta, GA 30319
Tel.: (816) 701-1100                  Tel.: (404) 419-9500
Email: tcartmell@wcllp.com            Email: achilders@cssfirm.com

Erin Copeland                         Maria Fleming
FIBICH      LEEBRON       COPELAND    NAPOLI SHKOLNIK
BRIGGS                                1500 West 3rd Street
1150 Bissonnet                        Cleveland, OH 44113
Houston, TX 77005                     Tel.: (844) 230-7676

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Tel.: (713) 751-0025                  Email: mfleming@napolilaw.com
Email: ecopeland@fibichlaw.com


Lee Floyd                             Kendra Y. Goldhirsch
BREIT BINIAZAN                        CHAFFIN LUHANA LLP
2100 East Cary Street, Suite 310      600 Third Avenue, 12th Floor
Richmond, VA 23223                    New York, NY 10016
Tel.: (804) 351-9040                  Tel.: (888) 480-1123
Email: lee@bbtrial.com                Email: goldhirsch@chaffinluhana.com

Kristine Kraft                        Buffy Martines
SCHLICHTER BOGARD & DENTON            LAMINACK, PIRTLE & MARTINES
100 South Fourth Street, Suite 1200   5020 Montrose Blvd., 9th Floor
St. Louis, MO 63102                   Houston, TX 770606
Tel.: (314) 884-7706                  Tel.: (713) 292-2750
Email: kkraft@uselaws.com             Email: buffym@lpm-triallaw.com

Melanie Muhlstock                     David A. Neiman
PARKER WAICHMAN                       ROMANUCCI & BLANDIN, LLC
6 Harbor Park Dr.                     321 N Clark St. #900
Port Washington, NY 11050             Chicago, Illinois 60654
Tel.: (516) 466-6500                  Tel.: (312) 253-8810
Email: mmuhlstock@yourlawyer.com      Email: dneiman@rblaw.net

Michelle Parfitt                      Syreeta Poindexter
ASHCRAFT & GEREL, LLP                 BABIN LAW
1825 K Street NW, Suite 700           65 E. State St., Suite 1300
Washington, DC 20006                  Columbus, OH 43215
Tel.: (703) 824-4772                  Tel.: (614) 412-0877
Email: mparfitt@ashcraftlaw.com       Email: syreeta.poindexter@babinlaws.com

EricaRae Garcia                       Steve Rotman
WEITZ & LUXENBERG                     HAUSFELD
700 Broadway                          One Marina Park Dr., Suite 1410
New York, NY 10003                    Boston, MA 02210
Tel.: (212) 558-5825                  Tel.: (617) 207-0602
Email: egarcia@weitzlux.com           Email: srotman@hausfeld.com

Richard W. Schulte                    Ashlie Case Sletvold
WRIGHT & SCHULTE LLC                  PEIFFER        WOLF      CARR      KANE
865 S. Dixie Dr.                      CONWAY & WISE, LLP
Vandalia, OH 45377                    6370 SOM Center Road, Suite 108
Tel.: (937) 435-7500                  Cleveland, OH 44139
Email: rschulte@yourlegalhelp.com     Tel.: (216) 260-0808
                                      Email: asletvold@peifferwolf.com




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L. Chris Stewart
STEWART MILLE SIMMONS                  Aimee Wagstaff
55 Ivan Allen Jr. Blvd NW, Suite 700   WAGSTAFF LAW FIRM
Atlanta, GA 30308                      940 N. Lincoln St.
Tel.: (404) 589-3476                   Denver, CO 80203
Email: cstewart@smstrial.com           Tel.: (720) 208-9414
                                       Email: awagstaff@wagstafflawfirm.com

Mikal Watts
WATTS GUERRA
4 Dominion Dr., Bld 3, Suite 100
San Antonio, TX 78257
Tel.: (210) 447-0500
Email: mcwatts@wattsguerra.com




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